         Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                                                     Desc
                             Imaged Certificate of Notice Page 1 of 66
                                                              United States Bankruptcy Court
                                                               Central District of California
In re:                                                                                                                 Case No. 19-23085-BB
Youth Policy Institute, Inc.                                                                                           Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0973-2                                                  User: admin                                                                 Page 1 of 52
Date Rcvd: Oct 12, 2023                                               Form ID: pdf001                                                        Total Noticed: 2627
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. § 342(f)/Fed. R. Bank. P. 2002(g)(4).

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.

++++             Addresses marked '++++' were modified by the USPS Locatable Address Conversion System. This system converts rural route numbers to street
                 addresses.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Oct 14, 2023:
Recip ID                   Recipient Name and Address
db                    #+   Youth Policy Institute, Inc., 6464 Sunset Blvd., Suite 650, Los Angeles, CA 90028-8008
aty                    +   Greenberg Glusker Fields Claman & Machtinger LLP, 1900 Avenue of the Stars, 21st Floor, Los Angeles, CA 90067-4301
aty                    +   Robert D. Bass, 638 Lindero Cannyon Suite 290, Oak Park, CA 91377-5457
cr                     +   Alex Gonzalez, 1035 Hicks Ave., Los Angeles, CA 90023-2406
cr                     +   Blanca Rios, 4936 Whitsett Ave Apt#l, Valley Village, CA 91607-3533
cr                     +   David Ortiz, Jr., 543 N. Ardmore Ave., Los Angeles, CA 90004-2029
op                     +   Interco Management Corporation, 2118 Wilshire Blvd., #717, Santa Monica, CA 90403-5704
cr                     +   Jennifer Orozco Esquivias, 9511 Darby Ave., Apt. 10, Northridge, CA 91325-2183
cr                     +   John Terre, 6615 Lemp Ave., Apt. 4, North Hollywood, CA 91606-1760
cr                     +   Labor Commissioner, California, Division of Labor, 320 W. 4th Street, Suite 600, Los Angeles, CA 90013-2350
cr                         Maria Urquilla, 7332 Santa Clarita Rd., Santa Clarita, CA 91350
cr                         Michelle Emelle, 157 Obama Blvd., Los Angeles, CA 90016
cr                     +   Nonprofit Finance Fund, 89 South Street, Suite 402, Boston, MA 02111-2691
cr                     +   Rocio Rodriguez, 3412 Cudahy St., Huntington Park, CA 90255-6837
intp                   +   Summer Shaw, 42-600 Cook Street, Suite 210, Palm Desert, CA 92211-6108
cr                     +   Wanda Wade, 4221 S Flower St, Los Angeles, CA 90037-2124
39968545               +   1990 Westwood LLC, Attn Property Manager, 2140 W Olympic Blvd Suite 325, Los Angeles, CA 90006-2279
39968546               +   2010 Office Furniture Inc, 2227 N Merced Ave, Suite 110, South El Monte, CA 91733-2622
39968547               +   2ND GEAR LLC, 611 ANTON BOULEVARD, SUITE 700, COSTA MESA, CA 92626-7050
39968548               +   32AUCTIONS, 510 TOWNSEND STREET, SAN FRANCISCO, CA 94103-4918
39968549               +   3D MOLECULAR DESIGNS LLC, 804 N MILWAUKEE ST, STE 200, MILWUAKEE, WI 53202-3619
39968551               +   7 Mindsets Academy LLC, 60 King Street, Roswell, GA 30075-4414
39968552               +   7-ELEVEN, 6051 HOLLYWOOD BLVD, LOS ANGELES, CA 90028-5485
39968553               +   826LA, 1714 W SUNSET BLVD, LOS ANGELES, CA 90026-3225
39968555                   911 PLUMBING SERVICES, 1621 N WILCOX AVE UNIT 243, LOS ANGELES, CA 90028
39968556               +   99 CENTS ONLY STORE, 4000 UNION PACIFIC ACE, COMMERCE, CA 90023-3202
39968557               +   A Heather E Halperin Msw Lcsw, 5353 Balboa Blvd Suite 110, Encino, CA 91316-2859
39968558               +   A NOISE WITHIN, 3352 E FOOTHILL BLVD, PASADENA, CA 91107-3111
39968559               +   A PURPOSE TRANSPORTATION, PO BOX 39A64, LOS ANGELES, CA 90039-0064
39968560               +   A THOUSAND JOYS, 1313 W 8TH STREET, SUITE 212, LOS ANGELES, CA 90017-4420
40210106               +   A.M., a Minor, c/o Daniel C. Sharpe, 3701 Wilshire Blvd. Suite 1111, Los Angeles, CA 90010-2822
39968561               +   AAA INSTITUTE, 12086 Eddleston Dr, Northridge, CA 91326-1308
39968564               +   AARON SEPULVEDA, 3111 BELLEVUE, LOS ANGELES, CA 90026-3716
39968565               +   ABCO TECHNOLOGY, 6733 S SEPULVEDA BLVD, STE 106, LOS ANGELES, CA 90045-1551
39968566               +   ABDO PUBLISHING COMPANY, PO BOX 398166, MINNEAPOLIS, MN 55439-8166
39968567               +   ABEL CURUP, 4416 SINOVA ST, LOS ANGELES, CA 90032-1448
39968570               +   ABIMAGES LLC, 8429 EDWIN DR, LOS ANGELES, CA 90046-1025
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                              Desc
                           Imaged Certificate of Notice Page 2 of 66
District/off: 0973-2                                User: admin                                            Page 2 of 52
Date Rcvd: Oct 12, 2023                             Form ID: pdf001                                   Total Noticed: 2627
39968571         +   ABM, ONE LIBERTY PLAZA, 7TH FL, NEW YORK, NY 10006-1417
39968577         +   ABRIL ZAVALA, 7120 Forbes Ave, Van Nuys, CA 91406-3723
39968578         +   ACADEMIC LEADERSHIP COMMUNITY, 322 S LUCAS AVE, LOS ANGELES, CA 90017-1406
39968579         +   ACCELL CORPORATION, 47211 BAYSIDE PKWY, FREMONT, CA 94538-6517
39968581         +   ACEABLE, 5800 S EASTERN AVE, STE 500, COMMERCE, CA 90040-4033
39968582         +   ACHIEVE3000 INC, 1985 CEDAR BRIDGE AVENUE, STE 3, LAKEWOOD, NJ 08701-7031
39968585         +   ADAM G DAVIS, 1152 w 55th st, Los Angeles, CA 90037-3502
39968586         +   ADAM VARGAS Jr, 27277 Mystical Springs Drive, Corona, CA 92883-8429
39968587         +   ADAM'S JUMPERS, 1509 E 23RD STREET, LOS ANGELES, CA 90011-1801
39968588         +   ADAN RUIZ, 10237 PINEWOOD AVE 3, TUJUNGA, CA 91042-2431
39968589         +   ADELANTE YOUTH ALLIANCE, 805 N MADISON AVENUE, PASADENA, CA 91104-4330
39968591         +   ADRIAN MORENO, 8938 TOBIAS AVENUE APT 304, PANORAMA CITY, CA 91402-1765
39968592         +   ADRIAN WOODSON, 1200 N CULVER AVENUE APT A, COMPTON, CA 90222-4043
39968595         +   ADVENTURE CITY INC, 1238 S BEACH, SUITE E, ANAHEIM, CA 92804-4828
39968596         +   AFLAC, Attn Remittance Processing Services, 1932 Wynnton Rd, Columbus, GA 31993-0001
39968597         +   AGUIRRE GERARDO, 6415 GARVANZA AVE, APT 102, LOS ANGELES, CA 90042-2768
39968598         +   AGUSTIN MELGAR, 6403 LOCH ALENA AVE, PICO RIVERA, CA 90660-3530
39968599         +   AIDS PROJECT LOS ANGELES, 611 SOUTH KINGSLEY DRIVE, LOS ANGELES, CA 90005-2319
39968601         +   AIMEE CAMACHO, 838 S SYCAMORE AVE, LOS ANGELES, CA 90036-4910
39968602         +   AIRBNB INC, 888 BRANNAN ST, SAN FRANCISCO, CA 94103-4928
39968604         +   AIRPORT, 8500 PENA BLVD, DENVER, CO 80249-6205
39968605         +   AIRPORT, 1 WORLD WAY, LOS ANGELES, CA 90045-5857
39968603         +   AIRPORT, 10000 JOHN SAUNDERS ROAD, BAY 41, SAN ANTONIO, TX 78216-4200
39968606         +   AK ATHLETIC EQUIPMENT INC, 8015 HOWE INDUSTRIAL PARKWAY, CANAL WINCHESTER, OH 43110-7890
39968607         +   AKASHA RESTAURANT, 9543 CULVER BLVD, CULVER CITY, CA 90232-2618
39968608         +   ALAN J BAILEY, 5700 SEPULVEDA BLVD APT 328, LOS ANGELES, CA 90230-6407
39968610         +   ALASKA AIRLINE INC, PO BOX 68900, SEATTLE, WA 98168-0900
39968612         +   ALBERTSONS COMPANIES INC, 250 PARKCENTER BLVD, BOISE, ID 83706-3999
39968613         +   ALBORZ ZADEH, 3769 E 11th St 206, Long Beach, CA 90804-8528
39968614         +   ALCHEMY WORKS, 826 E 3RD ST, LOS ANGELES, CA 90013-1820
39968615         +   ALDO J LOPEZ MONDRAGON, 2003 W 11TH STREET APT 4, LOS ANGELES, CA 90006-3724
39968616         +   ALEJANDRA AGUIRRE, 12724 Herrick Ave, Sylmar, CA 91342-4710
39968617         +   ALEJANDRA ANDRADE, 1333 GLENOAKS BLVD, APT 7, SAN FERNANDO, CA 91340-1757
39968618         +   ALEJANDRA APARICIO, 13200 MERCER STREET, PACOIMA, CA 91331-2435
39968619         +   ALEJANDRA CASTANEDA, 3840 SERVICE STREET, LOS ANGELES, CA 90063-1233
39968620         +   ALEJANDRA RUIZ, 1620 E 82nd PL, Los ngeles, CA 90001-3904
39968621         +   ALEJANDRA ZELADA, 11169 Corley Dr, Whittier, CA 90604-1819
39968622         +   ALEJANDRO ALVARADO, 12205 Hillsdale Ave, Los Angeles, CA 91342-5136
39968624         +   ALEJANDRO CORONADO, 531 TOKAY ST, MCFARLAND, CA 93250-1647
39968625        #+   ALEJANDRO OLIVEROS JORDAN, 11432 ERWIN STREET, NORTH HOLLYWOOD, CA 91606-4120
39968628         +   ALEX GONZALEZ, 1035 S Hicks Ave, Los Angeles, CA 90023-2406
39968629         +   ALEX HENRIQUEZ, 8819 RANCHITO AVE, PANORAMA CITY, CA 91402-2629
39968630         +   ALEX HUSMAN, 6901 WALKER AVE, APT D, BELL, CA 90201-2776
39968631         +   ALEX HUSMAN, 1608 E Tucker St, Compton, CA 90221-1640
39968632         +   ALEX MARQUEZ, 300 JESSIE ST APT 11, SAN FERNANDO, CA 91340-3099
39968633         +   ALEX RUIZ, 1333 1/2 E 27th St, Los Angeles, CA 90011-2369
39968634         +   ALEX'S LEMONADE STAND FOUNDATION, 333 E LANCASTER AVE 414, WYNNEWOOD, PA 19096-1929
39968635         +   ALEXA K LEDESMA, 6127 Malaga Ct, Palmdale, CA 93552-4722
39968636         +   ALEXANDER AGUILAR, 10865 LEHIGH AVE APT 148, PACOIMA, CA 91331-2515
39968638         +   ALEXANDRA E PEREZ LARIOS, 10140 SEPULVEDA BLVD APT 6, MISSION HILLS, CA 91345-2633
39968639         +   ALEXANDRA J MEDINA, 4076 CALICO AVENUE, PICO RIVERA, CA 90660-1667
39968640         +   ALEXANDRA M SANCHEZ, 9367 Urbana Ave, Arleta, CA 91331-5542
39968641         +   ALEXANDRA MORALES, 650 GLENOAKS BLVD APT 44, SAN FERNANDO, CA 91340-1445
39968644         +   ALEXANDRIA OSORNIA, 8983 GREENBUSH AVENUE, ARLETA, CA 91331-6124
39968645         +   ALEXIS B AGUILAR, 21731 Chase St, Canoga Park, CA 91304-2515
39968646         +   ALEXIS GONZALEZ, 2320 OCEAN VIEW AVE APT 4, LOS ANGELES, CA 90057-2717
39968647         +   ALEXIS MADRID, 850 1/2 E Adams Blvd, Los Angeles, CA 90011-5689
39968648         +   ALEXIS SALVADOR, 826 N KINGSLEY DR, HOLLYWOOD, CA 90029-3366
39968649         +   ALFRED MENA, 13015 WHEELER AVE, SYLMAR, CA 91342-4828
39968650         +   ALFRED MIRANDA, 12001 FOOTHILL BLVD APT 19, LAKE VIEW TERRACE, CA 91342-6463
39968651         +   ALI GULSARI, 16429 Index St, GRANADA HILLS, CA 91344-3713
39968652         +   ALIANNA M COYT, 13918 Vaughn St, Pacoima, CA 91331-2744
39968653         +   ALIANNA MORAN, 12600 CARL ST APT 24, PACOIMA, CA 91331-1508
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                Desc
                           Imaged Certificate of Notice Page 3 of 66
District/off: 0973-2                                 User: admin                                             Page 3 of 52
Date Rcvd: Oct 12, 2023                              Form ID: pdf001                                    Total Noticed: 2627
39968654         +   ALICIA ACOSTA, 14410 TUPPER ST, PANORAMA CITY, CA 91402-1414
39968657         +   ALINA RODRIGUEZ, 15445 COBALT ST 201, SYLMAR, CA 91342-0535
39968658         +   ALINSON JEREZ, 1106 W 53RD ST, LOS ANGELES, CA 90037-3520
39968659         +   ALINSON JEREZ, 1106 WEST 53RD ST, LOS ANGELES, CA 90037-3520
39968660         +   ALL ELECTRICAL SOLUTIONS INC, 8009 NORTON AVE, WEST HOLLYWOOD, CA 90046-5053
39968662         +   ALL IN ONE ELECTRIC INC, 820 LINDA AVE, LA HABRA, CA 90631-2715
39968661         +   ALL IN ONE ELECTRIC INC, 7200 BANDINI BLVD, COMMERCE, CA 90040-3324
39968663         +   ALL VALLEY FORKLIFTS, 1021 S EASTMAN AVE, LOS ANGELES, CA 90023-2411
39968664         +   ALLEN TEXTILE INC, 505 EAST 9TH STREET, LOS ANGELES, CA 90015-1817
39968668         +   ALLIANCE PIERA BARBAGLIA SHAHEEN HEALTH, 601 SOUTH FIGUEROA ST, 4TH FLOOR, LOS ANGELES, CA 90017-5704
39968672         +   ALMA AVILES, 2615 CALIFORNIA ST, HUNTINGTON PARK, CA 90255-5720
39968673         +   ALMA DELIA JIMENEZ, 13076 CARL ST, UNIT 446, PACOIMA, CA 91331-2587
39968674         +   ALMA R ESTEVEZ, 1001 LORD STREET, LOS ANGELES, CA 90033-1313
39968675         +   ALONDRA ACUNA, 1217 GABRIEL GARCIA MARQUEZ ST, LOS ANGELES, CA 90033-2203
39968676         +   ALPHA PROPERTY MANAGEMENT, 1737 E MARTIN LUTHER KING JR BLVD, LOS ANGELES, CA 90058-1522
39968681             ALYSSA ESTRADA, 10121 BREBS AVENUE, NORTHRIDGE, CA 91324
39968683         +   ALYSSA REPD, 5939 HOLLYWOOD BLVD, LOS ANGELES, CA 90028-5409
39968684         +   AMANDA B TORRES, 2021 ARLINGTON AVE apt 8, LOS ANGELES, CA 90018-1455
39968685         +   AMANDA DUNLAP, 4407 AVOCADO ST, LOS ANGELES, CA 90027-2104
39968687         +   AMBAR MARTINEZ, 19931 INGOMAR ST, WINNETKA, CA 91306-2601
39968688         +   AMBER CHATMAN, 1826 W 66TH STREET, LOS ANGELES, CA 90047-1817
39968689         +   AMBER GALINDO, 12171 MERCER STREET, LAKE VIEW TERRACE, CA 91342-6450
39968690         +   AMBER LOPEZ, 13100 BROMONT AVENUE, SYLMAR, CA 91342-7431
39968693         +   AMC Theaters, 11500 ASH STREET, LEAWOOD, KS 66211-7804
39968697         +   AMERICAN AEROSPACE TECHNICAL ACADEMY, 210 SOUTH AVE 57, LOS ANGELES, CA 90042-4806
39968698         +   AMERICAN AIRLINES, 4255 AMON CARTER BLVD, FT WORTH, TX 76155-2603
39968699         +   AMERICAN DENTAL ACADEMY, 212 S ATLANTIC BLVD, STE 103, LOS ANGELES, CA 90022-1776
39968705         +   AMERICAN PAYROLL ASSOCIATION C/O MEMBERS, 660 NORTH MAIN AVE SUITE 100, SAN ANTONIO, TX 78205-1217
39968706         +   AMERICAN RED CROSS, ATTN HEALTH & SAFETY, CHICAGO, IL 60673-0001
39968709         +   AMERITEK ID, 80 W SIERRA MADRE BLVD 193, SIERRA MADRE, CA 91024-2434
39968711         +   AMY ESPADA, 14924 w navarre way, sylmar, CA 91342-7782
39968712         +   AMY L VASQUEZ, 2636 Hillcrest Dr Apt 6, Los Angeles, CA 90016-2960
39968714             AMY'S FARM, 7648 EUCALYPTUS AVE, ONTARIO, CA 91762
39968715         +   ANA AGUIRRE, 11803 GAGER ST, LAKE VIEW TERRACE, CA 91342-6115
39968716         +   ANA MARIA DELGADO, 4197 MANDALAY DRIVE, LOS ANGELES, CA 90063-1115
39968717         +   ANA OSTORGA, 9800 VESPER AVE APT 55, PANORAMA CITY, CA 91402-1074
39968718         +   ANAHEIM MAJESTIC GARDEN HOTEL, 900 S DISNEYLAND DR, ANAHEIM, CA 92802-1844
39968719         +   ANAHEIM UNION HIGH SCHOOL DISTRICT, 501 CRESCENT WAY, PO BOX 3520, ANAHEIM, CA 92803-3520
39968722         +   ANAHI MEZA, 13339 PIERCE ST, PACOIMA, CA 91331-3159
39968723         +   ANAHI VARGAS, 9701 CANTERBURY AVE, ARLETA, CA 91331-5211
39968724         +   ANALI DIAZ, 1782 E 113TH ST, LOS ANGELES, CA 90059-1922
39968726         +   ANDRE J YACAPIN, 17416 Stare Street, Northridge, CA 91325-1534
39968727         +   ANDREA S RODRIGUEZ, 430 Coronado Terrace Apt 3, Los Angles, CA 90026-4832
39968728         +   ANDREA SANDOVAL, 14623 SYLVAN ST, APT 211, VAN NUYS, CA 91411-2336
39968729         +   ANDRES A RODRIGUEZ, 16709 chatsworth street, Granada hills, CA 91344-6540
39968731         +   ANDREW A MORRISON, 28502 COLHARY COURT, CANYON COUNTRY, CA 91387-5316
39968733         +   ANDREW GONZALEZ, 9219 WILLIS AVE, PANORAMA CITY, CA 91402-1231
39968734         +   ANDREW NIKLAUS, 581 34TH AVENUE, SANTA CRUZ, CA 95062-5104
39968735         +   ANDREW PARKS, 13119 DAVENTRY ST, PACOIMA, CA 91331-1804
39968737         +   ANDREW'S WHOLESALE FLOWERS, 721 SAN PEDRO, LOS ANGELES, CA 90014-2455
39968738         +   ANDY B LAZO, 241 1/2 NORTH PARK VIEW STREET Apt 1, LOS ANGELES, CA 90026-5881
39968740         +   ANGEL LUNA-MENDOZA, 447 S RAMPART APT 212, LOS ANGELES, CA 90057-1750
39968742         +   ANGELA C GALDAMEZ YUEN, 10201 MASON AVENUE UNIT 85, CHATSWORTH, CA 91311-3336
39968744         +   ANGELICA GAITAN, 1920 N MARIANNA AVE APT 309 309, Los Angeles, CA 90032-4055
39968745         +   ANGELICA HERNANDEZ GONZALEZ, 10467 El Dorado Ave, Pacoima, CA 91331-3134
39968746         +   ANGELICA MARTIN, 3624 ALTAMONT ST, LOS ANGELES, CA 90065-1621
39968747         +   ANGELICA MORALES, 1515 S Mansfield Ave, Los Angeles, CA 90019-4120
39968748         +   ANGELICA ROMERO, 18409 COMPANARIO DR, ROWLAND HEIGHTS, CA 91748-2018
39968749         +   ANNA ALVARADO, 12874 SUNBURST ST, PACOIMA, CA 91331-3310
39968750        #+   ANNA BECERRA, 23536 SUMMERGLEN PLACE, VALENCIA, CA 91354-1462
39968752         +   ANNE E KEAN, 2278 E Dudley St, Pasadena, CA 91104-4125
39968753         +   ANNER SALVADOR, 123 N Hagar st, San Fernando, CA 91340-2842
39968754         +   ANTANIK L MILNER, 1958 Lohengrin St, Los Angeles, CA 90047-4707
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                   Desc
                           Imaged Certificate of Notice Page 4 of 66
District/off: 0973-2                                     User: admin                                            Page 4 of 52
Date Rcvd: Oct 12, 2023                                  Form ID: pdf001                                   Total Noticed: 2627
39968756         +   ANTHONY BARAJAS, 905 SAN FERNANDO ROAD APT 6, SAN FERNANDO, CA 91340-3327
39968758         +   ANTHONY GOMEZ, 3866 La Salle Ave, Los Angeles, CA 90062-1159
39968760         +   ANTHONY RUIZ, 1934 RORY LANE, UNIT 06, SIMI VALLEY, CA 93063-4382
39968762         +   ANTONIO AGUILERA Jr, 12972 Vaughn Street, San Fernando, CA 91340-1539
39968763         +   ANTONIO ELLORIN III, 12420 SUNRISE RIDGE ROAD, SYLMAR, CA 91342-7720
39968764         +   ANTONIO GONZALEZ TOC, 722 S Alvarado St Apt 308, Los Angeles, CA 90057-4059
39968766         +   ANTONIO'S TACOS & KABOB, 13630 VAN NUYS BLVD 105, PACOIMA, CA 91331-3666
39968770             APPLEONE EMPLOYMENT SERVICES, PO BOX 29048, GLENDALE, CA 91209-9048
39968771         +   APRIL GARCIA, 340 S La Fayette Pk Pl Apt 226, Los Angeles, CA 90057-1624
39968772         +   APRIL MORAN, 12600 CARL ST APT 24, PACOIMA, CA 91331-1508
39968773         +   APRIL RIOS, PO BOX 1842, BLUE JAY, CA 92317-1842
39968774         +   AQUARIUM OF THE PACIFIC, 100 AQUARIUM WAY, LONG BEACH, CA 90802-8126
39968777         +   ARC, 370 Amapola Avenue Suite 208, Torrance, CA 90501-7241
39968780         +   ARCO, 19100 RIDGEWOOD PARKWAY, SAN ANTONI, TX 78259-1834
39968781         +   ARIANA DAMIAN, 879 W Vernon Ave, Los Angeles, CA 90037-3023
39968782         +   ARIANA WELCH, 155 N OCCIDENTAL BLVD, LOS ANGELES, CA 90026-4641
39968787         +   ARIZMENDI PATRICIA, 13343 PIERCE ST, PACOIMA, CA 91331-3159
39968788         +   ARLENE A ARROYO, 4555 Michigan Ave, Los Angeles, CA 90022-1129
39968789         +   ARLENE A ROBLES, 9025 BRADHURST STREET, PICO RIVERA, CA 90660-3051
39968790         +   ARLENE ROSALES, 13023 CARL ST APT 381, PACOIMA, CA 91331-2509
39968792         +   ARLLY TECUN DELEON, 10857 LEHIGH AVENUE APT 145, PACOIMA, CA 91331-2515
39968793         +   ARMANDO A FLORES Jr, 369 S Columbia Ave Apt 135, Los Angeles, CA 90017-1288
39968795             ARMANINO LLP, PO BOX 398285, SAN FRANCISCO, CA 94139-8285
39968794         +   ARMANINO LLP, 12657 ALCOSTA BLVD, SUITE 500, SAN RAMON, CA 94583-4406
39968797         +   ARMENTA-TEJEDA ANA, 10541 ERWON ST, NORTH HOLLYWOOD, CA 91606-5130
39968798         +   ARNULFO A OCASLA, 2850 Riverside Drive Apt313, Los Angeles, CA 90039-2177
39968799         +   ARPI ZARGARIAN, 10031 Roscoe Blvd Apt 308, Sun Valley, CA 91352-3634
39968801             ARS RESCUE ROOTER, SYLMAR, CA 91342
39968802         +   ART IN HISTORY INC, 200 WILLIS DR, STOCKBRIDGE, GA 30281-7272
39968803         +   ART PRIMO, PO BOX 80932, SEATTLE, WA 98108-0932
39968804         +   ARTHUR CARLIN, 13420 VAN NUYS BLVD, 221, PACOIMA, CA 91331-3007
39968805         +   ARTHUR Z SHEHAN, 6100 MESA AVENUE, LOS ANGELES, CA 90042-3502
39968807         +   ASHLEE GALLEGOS, 664 E ADAMS BLVD APT 1, LOS ANGELES, CA 90011-1554
39968810         +   ASHLEY LA, 10028 BROCKWAY STREET, EL MONTE, CA 91733-1108
39968811         +   ASHLEY M LUNA, 1635 1/2 North Alexandria Ave, Los Angeles, CA 90027-5207
39968812         +   ASHLEY MONTES, 13590 Corcoran St, San Fernando, CA 91340-2507
39968814         +   ASMAA SALAM, 16636 Gilmore St, Van Nuys, CA 91406-5609
39968816         +   ASRM LLC, 505 South Lenola Road Suite 231, Moorestown, NJ 08057-1549
39968821         +   AT&T Mobility (8926/5313), PO Box 6463, Carol Stream, IL 60197-6463
39968823         +   ATHENA PARKING GRAND CENTRAL, 308 S HILL ST, LOS ANGELES, CA 90013-1109
39968826         +   AUBREY GERALD WILLIAMS, 25935 ZAMORA AVE, MORENO VALLEY, CA 92551-2135
39968828         +   AUDIOLOGY SYSTEMS INC, DEPT CH 16948, PALATINE, IL 60055-0001
39968831         +   AURELIA ORTIZ, 19115 FRANFORT STREET, NORTHRIDGE, CA 91324-4227
39968832         +   AUTRY MUSEUM, 4700 WESTERN HERITAGE WAY, LOS ANGELES, CA 90027-1462
39968833         +   AVALON ICE CREAM & CANDY, 9523 AVALON BLVD, LOS ANGELES, CA 90003-4308
39968835         +   AVP-La, Po Box 352204, Los Angeles, CA 90035-8907
39968837         +   AYLEEN ESCOBEDO, 13030 CARL ST APT 417, PACOIMA, CA 91331-2508
39968563         +   Aaron M Rodriguez, 974 S New Hampshire Ave Apt 5, Los Angeles, CA 90006-1694
39968568         +   Abigail Leyva, 424 1/2 E 27TH ST, LOS ANGELES, CA 90011-1990
39968569         +   Abila, Po Box 123303, Dept 3303, Dallas, TX 75312-3303
39968572         +   Abner J Escobedo, 13030 1/2 Carl St Apt417, Pacoima, CA 91331-2508
39968573         +   Abraham Lincoln High School, 3501 N Broadway, Los Angeles, CA 90031-2893
39968574         +   Abraham Rene Venegas, 3938 Perry Street, Los Angeles, CA 90063-1174
39968575         +   Abram Friedman Occupational Center, 1646 S Olive Street, Los Angeles, CA 90015-3507
39968576         +   Abriendo Puertas, 1000 Alameda St 240, LOS ANGELES, CA 90012-1804
39968580         +   Accessline, 11201 Se 8Th Street Suite 200, Bellevue, WA 98004-6420
39968584         +   Adalberto Marcelo, 1390 E 33 St, Los Angeles, CA 90011-2256
39968590         +   Adeline Tsan, 4604 Fern Pl, Los Angeles, CA 90032-2622
39968594         +   Advanced Security Concepts Inc, 16117 Covello Street, Van Nuys, CA 91406-2911
39968600         +   Aileen R Vasquez, 7009 Haseltine Ave, Van Nuys, CA 91405-5322
39968609         +   Alas Media, 451 S Brand Blvd Suite 201, San Fernando, CA 91340-3641
39968611         +   Alberto Fadlallah, 4815 Sawtelle Blvd, Culver City, CA 90230-4836
39968627         +   Alex E Morones, 1706 W Sunset Blvd Apt 203, Los Angeles, CA 90026-3231
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                                       Desc
                           Imaged Certificate of Notice Page 5 of 66
District/off: 0973-2                                         User: admin                                                           Page 5 of 52
Date Rcvd: Oct 12, 2023                                      Form ID: pdf001                                                  Total Noticed: 2627
39968656         +   Alina M Paiz, 11852 Fellow Ave, San Fernando, CA 91340-1830
39968665         +   Alliance For Children And Families, 11700 W Lake Park Drive, Milwaukee, WI 53224-3021
39968666         +   Alliance Funding Group, 3745 W Chapman Ave Ste 200, Orange, CA 92868-1656
39968667         +   Alliance Marc And Eva Stern Math And Sci, 5151 State University Dr, Mail Code 898106, Los Angeles, CA 90032-4226
39968671         +   Allstar Uvillada, 853 E 50th St, Los Angeles, CA 90011-4107
39968677         +   Alta Public Schools, 2665 Clarendon Ave, HUNTINGTON PARK, CA 90255-4138
39968679         +   Alvaro V Rodriguez, 3715 East 4Th Street Unit C, Long Beach, CA 90814-8214
39968680         +   Alvin Rambo, 4036 Fairway Blvd, Los Angeles, CA 90043-1140
39976933         +   Amber Skrumbis, 2628 Surrey Avenue, Modesto, CA 95355-4668
39968692         +   Ambrocio Ortega, 822 E 33Rd St, Los Angeles, CA 90011-2416
39968696        #+   America's Business Leaders, Po Box 27311, San Antonio, TX 78227-0311
39968701         +   American Government Services LLC, 502 Second Street Suite 100, Hudson, WI 54016-1548
39968703         +   American Live Scan, 3850 Wilshire Blvd Suite 132, Los Angeles, CA 90010-3206
39968704             American Payroll Association, CO Membership Services, San Antonio, TX 78205
39968707         +   American Red Cross Greater Los Angeles, 11355 Ohio Avenue, Los Angeles, CA 90025-3266
39968708         +   Amerimacs, 4744 Telephone Road Suite 3295, Ventura, CA 93003-5244
39968710         +   Amf Bowling Centers Inc, 7313 Bell Creek Road, Mechanicsville, VA 23111-3551
39968721         +   Anahi Lara Morales, 6342 Morse Ave Apt 208, North Hollywood, CA 91606-2906
39968725         +   Anderson Trophy Co, 12901 Saticoy Street, North Hollywood, CA 91605-3587
39968730         +   Andres Rodriguez, 14243 HOYT ST, ARLETA, CA 91331-5219
39968732         +   Andrew G Muniz, 1313 Lucas Street, San Fernando, CA 91340-1735
39968739         +   Angel A Alcala, 13733 Judd St, Pacoima, CA 91331-3630
39968741         +   Angel Palomares, 6660 Fulton Ave, Van Nuys, CA 91401-1312
39968755         +   Anthony A Hernandez Barrera, 2760 San Marino St Apt 3B, Los Angeles, CA 90006-1862
39968759         +   Anthony Rodriguez, 9635 SAMOLINE AVE, CA 90240-3246
39968761         +   Antioch University, 900 Dayton Street, Yellow Springs, OH 45387-1745
39968765         +   Antonio L Tamayo, 20317 Jersey Ave, Lakewood, CA 90715-1312
39968767         +   Apex Innovations Courses, Po Box 8171, Calabasas, CA 91372-8171
39968768         +   Apex Learning, 1215 4Th Ave Suite 1500, Seattle, WA 98161-1001
39968769         +   Apple Inc, 1 Infinite Loop, Ms 111Hom, Cupertino, CA 95014-2084
39968776         +   Ararat Home Of Los Angeles Inc, 15105 Mission Hills Rd, Mission Hills, CA 91345-1103
39968783         +   Arieana M Quezada, 10000 Memory Park Ave, Mission Hills, CA 91345-3021
39968784         +   Ariejoyce S Carianga, 1153 South Kenmore Ave Apartment 03, Los Angeles, CA 90006-3334
39968791         +   Arleta Self Storage, 8918 Woodman Ave, Arleta, CA 91331-6401
39968796         +   Armas Construction, 1024 N Maclay Ave Ste L, San Fernando, CA 91340-1361
39968800         +   Arrowhead, Po Box 856158, Louisville, KY 40285-6158
39968806         +   Arvin C Vizcarra, 12620 Judd St, Pacoima, CA 91331-1318
39968815         +   Aspiranet, 400 Oyster Point Blvd, South San Francisco, CA 94080-7600
39968817         +   Asset Panda LLC, 3001 Dallas Parkway Ste 590, Frisco, TX 75034-8748
39968818         +   Asucla, Ucla Restaurants, 308 Westwood Plaza Kh234, Los Angeles, CA 90095-8355
39968819         +   At That One Shop, 7803 Telegraph Rd Suite M, Montebello, CA 90640-6530
39968824         +   Athens Services, PO Box 60009, City Of Industry, CA 91716-0009
39968825         +   Attorney General'S Registry Of Charitabl, PO Box 903447, Sacramento, CA 94203-4470
39968827         +   Audio Video West Inc, 11723 Mississippi Ave, Los Angeles, CA 90025-6107
39968830         +   Audubon Center At Debs Park, 4700 N Griffin Ave, Los Angeles, CA 90031-1472
39968834         +   Avance Schools Inc, Po Box 42095, Los Angeles, CA 90042-0095
39968836         +   Axel Echenique Gomez, 6322 Reseda Blvd Apt 222, Tarzana, CA 91335-6993
39968839         +   Azteca Soccer, 11853 E Valley Blvd, El Monte, CA 91732-3039
39968840         +   B&H PHOTO, 420 9TH AVE, NEW YORK, NY 10001-1644
39968841         +   BACK ALLEY BOWLING, 135 S GLENDALE AVE, GLENDALE, CA 91205-1142
39968843         +   BALTAZAR RODRIGUEZ, 8983 VICTORIA AVE, SOUTH GATE, CA 90280-2929
39968844         +   BAND SHOPPE, 8900 HIGHWAY 65 2, CYNTHIANA, IN 47612-9571
39968845         +   BANH OUI, 1552 N CAHUENGA BLVD, LOS ANGELES, CA 90028-7313
39968847         +   BARBER DEPOT II INC, 400 US HWY 46, SUITE 1, SOUTH HACKENSACK, NJ 07606-1711
39968849             BARGAIN WORLD, 8558 VESPER AVENUE, PANORAMA CITY, CA 91402
39968853         +   BASKIN-ROBBINS, 130 ROYALL STREET, CANTON, MA 02021-1010
39968854         +   BATTERY POWER INC, 11818 GLENOAKS BOULEVARD, SAN FERNANDO, CA 91340-1804
39968855         +   BAUDVILLE INC, 5380 52ND ST SE, GRAND RAPIDS, MI 49512-9765
39968856         +   BAYRON CASTRO, 3480 2ND AVENUE, LOS ANGELES, CA 90018-3724
39968857         +   BAZAAR JOSE, 465 LA CIENEGA BLVD, LOS ANGELES, CA 90048-4001
39968859         +   BEATS BY GIRLZ, 2755 EAST PALMA WAY, COTTONWOOD HEIGHTS, UT 84121-7003
39968861         +   BED BATH BEYOND, 650 LIBERTY AVE, UNION, NJ 07083-8107
39968862         +   BELEN VILLANUEVA, 13510 VAUGHN STREET, SAN FERNANDO, CA 91340-2531
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                               Desc
                           Imaged Certificate of Notice Page 6 of 66
District/off: 0973-2                                User: admin                                             Page 6 of 52
Date Rcvd: Oct 12, 2023                             Form ID: pdf001                                    Total Noticed: 2627
39968863         +   BELINDA KWAN, 2521 MIDWICKHILL DRIVE, LOS ANGELES, CA 91803-4410
39968864         +   BELINDA MEZA, 13339 PIERCE ST, PACOIMA, CA 91331-3159
39968867         +   BENJAMIN BRAY, 18641 SATICOY STREET APT 25, RESEDA, CA 91335-7418
39968868         +   BENJAMIN DELGADO, 848 N ALEXANDER ST, SAN FERNANDO, CA 91340-1720
39968870         +   BERENDOS LP, 3701 WILSHIRE BLVD, SUITE 700, LOS ANGELES, CA 90010-2813
39968871         +   BERENICE VIDANA, 18440 Hatteras St Apt 24, Tarzana, CA 91356-1976
39968875         +   BEST BUSINESS MACHINES, 9178 HADDON AVE, SUN VALLEY, CA 91352-1308
39968877         +   BEST OFFICE PRODUCTS, 176 PACIFIC STREET, PAMONA, CA 91768-3214
39968878         +   BETHANY MARROQUIN, 415 N El Molino Ave 1, Pasadena, CA 91101-1417
39968879         +   BETTER FOR YOU BREAKFAST INC, 5743 SMITHWAY ST, 103, COMMERCE, CA 90040-1548
39968880         +   BEVERLY LOCKSMIITH, 4023-1 W 3RD STREET, LOS ANGELES, CA 90020-3102
39968881         +   BH MIRACLE MILE GROUP LLC, 456 S COCHRAN AVE, LOS ANGELES, CA 90036-3373
39968882             BH PHOTO, 370A W 35th St, New York, NY 10001
39968886         +   BIG BOWL, CONCOURSE C, 8500 PENA BLVD, DENVER, CO 80249-6205
39968887         +   BIG MOMMAS & PAPAS PIZZA, 2136 COLORADO BLVD, LOS ANGELES, CA 90041-1242
39968888         +   BIG SAVER FOODS, 16000 WOODRUFF AVENUE, BELLFLOWER, CA 90706-4904
39968890         +   BLACK MARKET LIQUOR BAR, 11915 VENTURA BLVD, STUDIO CITY, CA 91604-2607
39968893         +   BLANCA CIREROL, 8007 BELLINGHAM AVE, NORTH HOLLYWOOD, CA 91605-1302
39968894        #+   BLANCA E RIOS, 4936 WHITSETT AVENUE APT 7, VALLEY VILLAGE, CA 91607-3533
39968895         +   BLANCA TOSCANO PEREZ, 1533 N Highland St Apt A, Orange, CA 92867-3943
39968896         +   BLESS IT TRANSPORTATION, Po Box 94244, Pasadena, CA 91109-4244
39968897         +   BLOOM CAFE, 5544 Pico Blvd, LOS ANGELES, CA 90019-3918
39968899         +   BLUE GOOSE GRAPHICS - DBA NCRFORMSCOM, 137 OWEN BROWN STREET, SUITE NO B, HUDSON, OH 44236-2811
39968900         +   BMC, 6641 SANTA MONICA, W HOLLYWOOD, CA 90038-1311
39968901         +   BOB HOPE AIRPORT, 2627 N HOLLYWOOD WAY, BURBANK, CA 91505-5033
39968903         +   BOLTON ROSHAWNDA, 6949 LAUREL CANYON BLVD, APT 101, NORTH HOLLYWOOD, CA 91605-6802
39968904         +   BOOK OUTLET, 2321 KENMORE AVE, BUFFALO, NY 14207-1361
39968905         +   BOOST COLLABORATIVE, 1286 UNIVERSITY AVE 739, SAN DIEGO, CA 92103-3312
39968906         +   BOSCH, 1800 W CENTRAL RD, MT PROSPECT, IL 60056-2230
39968907         +   BOWLMOR, 3545 E Foothill Blvd, PASADENA, CA 91107-3119
39968908         +   BRAD'S LOCK SERVICE, PO BOX 10266, BURBANK, CA 91510-0266
39968909         +   BRADLEY BAUDOT, 1101 Westerly Terrace APT 3, LOS ANGELES, CA 90026-2162
39968910         +   BRAIN POP, 71 W 23RD ST 17TH FL, NEW YORK, NY 10010-4183
39968911         +   BRANDON ACUNA, 722 S HARTFORD AVE APT 305, LOS ANGELES, CA 90017-4480
39968912         +   BRANDON APARTMENTS, RE: WILICIA DORSEY, 735 HARTFORD AVE, LOS ANGELES, CA 90017-4472
39968914         +   BRANDON FLORES, 2929 W 14TH STREET, LOS ANGELES, CA 90006-4203
39968915         +   BRANDON HERNANDEZ, 14106 Gain St, Arleta, CA 91331-5342
39968916         +   BRASIL KISS COFFEBAR, 1010 WILSHIRE BLVD, LOS ANGELES, CA 90017-5662
39968917         +   BRAULIO BUSTILLO, 13012 CARFL PL APT 294, PACOIMA, CA 91331-2504
39968918         +   BRAYAN CALEL HERNANDEZ, 2331 OCEAN VIEW AVE APT 6, LOS ANGELES, CA 90057-2786
39968920         +   BREAKTHROUGH SPORTS, 31 NANTUCKET LN, ALISO VIEJO, CA 92656-8056
39968921         +   BREANNA BANUELOS, 16321 CHASE STREET, NORTH HILLS, CA 91343-6205
39968923         +   BRENA HUENDO, 322 N HAGART STREET SPT U, SAN FERNANDO, CA 91340-2855
39968924         +   BRENDA AMAYA, 5300 PASEO RANCHO CASTILLA, APT 2-472, LOS ANGELES, CA 90032-4300
39968925         +   BRENDA DE LA CRUZ, 202 COLUMBIA PL, LOS ANGELES, CA 90026-6002
39968927         +   BRENDA GONZALEZ, 13272 1/2 Glenoaks Blvd, Sylmar, CA 91342-3927
39968929         +   BRENDA TRUJILLO, 1327 SHERIDAN AVE, POMONA, CA 91767-4355
39968930         +   BRERA RISTORANTE, 1331 E 6TH ST, LOS ANGELES, CA 90021-1211
39968931         +   BRETTE SIMS, 724 Arimo Ave, Oakland, CA 94610-1153
39968932         +   BRIAN ALVAREZ, 945 1/2 E 120TH STREET APT B, LOS ANGELES, CA 90059-2801
39968933        #+   BRIAN ARECHIGA, 6821 Otis Ave, Bell, CA 90201-3509
39968934         +   BRIAN D MEDINA, 13370 Kagel Canyon St, Pacoima, CA 91331-3949
39968935         +   BRIAN E CABANAS, 2854 ONRADO STREET, TORRANCE, CA 90503-6031
39968937         +   BRIAN HERNANDEZ, 14417 AZTECA ST, SYLMAR, CA 91342-5108
39968938         +   BRIAN J MARTINEZ, 346 W VALENCIA AVE, BURBANK, CA 91506-3310
39968939         +   BRIAN MEDINA, 13370 KAGEL CANYON, PACOIMA, CA 91331-3949
39968940         +   BRIAN PALACIOS, 20811 Lassen St Apt 12, Chatsworth, CA 91311-4513
39968941         +   BRIANA D AGUILAR, 14662 Hubbard St apt 3, Sylmar, CA 91342-5219
39968942         +   BRIANA SILVA, 8623 Evergreen Ave apt C, South Gate, CA 90280-3168
39968946         +   BRIGETTE ZARAZUA, 11916 STRATHERN STREET, NORTH HOLLYWOOD, CA 91605-1412
39968949         +   BRIGHTWOOD COLLEGE, 3660 GRANDVIEW PARKWAY, STE 300, BIRMINGHAM, AL 35243-3340
39968950         +   BRISTOL HOTEL, 1055 FIRST AVE, SAN DIEGO, CA 92101-4890
39968951         +   BRITTANY PATTERSON, 22814 14TH STREET, NEWHALL, CA 91321-1515
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                               Desc
                           Imaged Certificate of Notice Page 7 of 66
District/off: 0973-2                                      User: admin                                                      Page 7 of 52
Date Rcvd: Oct 12, 2023                                   Form ID: pdf001                                             Total Noticed: 2627
39968952         +   BRIZUELA YAMILLET, 959 S ARDMORE AVE, UNIT 603, LOS ANGELES, CA 90006-1489
39968953         +   BROOKLYN BAGEL BAKERY, 2223 BEVERLY BLVD, LOS ANGELES, CA 90057-2207
39968955         +   BRYAN A GUTIERREZ, 135 N NEW HAMPSHIRE AVE APT 404, LOS ANGELES, CA 90004-4797
39968956         +   BRYAN A SANCHEZ, 12967 Paxton St, Pacoima, CA 91331-1154
39968958         +   BRYAN FLORES, 4215 COMPTON AVE, LOS ANGELES, CA 90011-3809
39968960         +   BRYAN NAVARRETE, 7701 VINELAND AVE, SUN VALLEY, CA 91352-4550
39968961         +   BRYAN SANCHEZ AGUILAR, 11648 GLENOAKS BLVD, PACOIMA, CA 91331-1068
39968962         +   BRYANT DELGADILLO, 1500 S Grand Ave Apt 401, Los Angeles, CA 90015-5404
39968963         +   BSN Sports Collegiate Pacific, Attn AR Department, Po Box 660176, Dallas, TX 75266-0176
39968964         +   BUCK INSTITUTE FOR EDUCATION, 3 HAMILTON LANDING, SUITE 220, NOVATO, CA 94949-8248
39968969         +   BURGERIM, 5001 MELROSE AVENUE, LOS ANGELES, CA 90038-4195
39968970         +   BUY AWARDS AND TROPHIES, 5906 STATE ROUTE 128, SUITE B, CLEVES, OH 45002-9006
39968971         +   BWI AIRPORT TAXI, PO BOX 25, LINTHICUM HEIGHTS, MD 21090-0025
39968842         +   Ballmer Group, 777 108th Ave NE Suite 2020, BELLEVUE, WA 98004-5160
39968846         +   Barbara J Schwartz Ea MAAA, CONSULTING ACTUARY, 4640 ADMIRALTY WAY SUITE 500, MARINA DEL REY, CA
                     90292-6636
39968848         +   Bard College, CO Iwt Business Coordinator, Po Box 5000, Annandale On Hudson, NY 12504-5000
39968850         +   Barius V Lingad, 8531 Whitesails Circle, Huntington Beach, CA 92646-2119
39968852         +   Barry Saravia, 8170 Garden View Ave, South Gate, CA 90280-2209
39968858         +   Be The Change Consulting LLC, 3237 Monterey Blvd, Oakland, CA 94602-3561
39968860         +   Beckylee Cortez, 11529 Aeolian Street, Whittier, CA 90606-3303
39968865         +   Benetrac-A Paychex Company, Lockbox 100906, Po Box 100906, Pasadena, CA 91189-0003
39968872         +   Berkley Life And Health Ins Co, CO Reuben Warner Associates Inc, 1655 Richmond Ave, Staten Island, NY 10314-1582
39968874         +   Bert Corona Charter School, Attn Accounts Payable, 9400 Remick Avenue, Pacoima, CA 91331-4223
39968889         +   Birmingham Community Charter High School, 17000 Haynes St, Lake Balboa, CA 91406-5499
39968891         +   Blackrock Hcm Inc, 21151 S Western Ave Ste 100, Torrance, CA 90501-1724
39968892         +   Blackstone Merchant Services Inc, 11600 Nw 34 St, Doral, FL 33178-1834
40163533        #+   Blanca Rios, 4936 Whitsett Ave Apt #7, Valley Village, CA 91607-3533
39968913         +   Brandon F Duenas, 708 Pico St, San Fernando, CA 91340-3719
39968919         +   Breakaway Press, 9620 Topanga Canyon Place Ste A, Chatsworth, CA 91311-0868
39968922         +   Breen Engineering Inc, 1983 W 190Th St Suite 200, Torrance, CA 90504-6241
39968936         +   Brian Galvan, 13025 San Fernando Rd Apt 8, Sylmar, CA 91342-3592
39968947         +   Bright Star Academy, 600 S La Fayette Park Place Suite 302, LOS ANGELES, CA 90057-3275
39968948         +   Bright Star Schools, 2636 South Mansfield Avenue, Los Angeles, CA 90016-3512
39968954         +   Brooks Transportation, PO Box 2111, Winnetka, CA 91396-2111
39968959         +   Bryan M Aguilar, 11529 Califa St Apt 5, North Hollywodd, CA 91601-1009
39968965         +   Budget Graduation, PO Box 64784, St Paul, MN 55164-0784
39968967         +   Builtall, 1301 N La Brea Ave, Inglewood, CA 90302-1216
39968972         +   C3 Business Solutions, 20321 SW Acacia St Ste 200, Newport Beach, CA 92660-1764
39968974         +   CA Workforce Association, 1107 9Th Street Ste 801, Sacramento, CA 95814-3600
39968976         +   CADENA NORAMAY, 12053 ROSSITER AVE, SYLMAR, CA 91342-5256
39968979         +   CAFETERIA 15L, 1116 15TH ST, SACRAMENTO, CA 95814-4011
39968980         +   CAFFE CONCERTO, 610 S Serrano Ave, LOS ANGELES, CA 90005-2847
39968981         +   CAFLA INC, 5914 E WASHINGTON BLVD, CITY OF COMMERCE, CA 90040-2413
39968986         +   CALIFORNIA CHICKEN CAFE, 6805 MELROSE AVE, LOS ANGELES, CA 90038-3303
39968987         +   CALIFORNIA CHILD DEVELOPMENT ADMINISTRAT, 1107 2ND STREET, SUITE 320, SACRAMENTO, CA 95814-3236
39968991         +   CALIFORNIA DONUTS, 3540 W 3RD STREET, LOS ANGELES, CA 90020-2013
39968995         +   CALIFORNIA LIQUIDATORS, 6821 WATCHER STREET, COMMERCE, CA 90040-3715
39968996         +   CALIFORNIA PAN-ETHNIC HEALTH, 1107 9TH STREET, SUITE 410, SACRAMENTO, CA 95814-3626
39968997         +   CALIFORNIA PAYROLL CONFERENCE, PO BOX 10084, SAN JOSE, CA 95157-1084
39968998         +   CALIFORNIA PIZZA KITCHEN, 6801 HOLLYWOOD BLVD, HOLLYWOOD, CA 90028-6163
39969003             CALIFORNIA STATE UNIVERSITY EAST BAY, CALIFORNIA STATE UNIVERSITY - EAST BAY, HAYWARD, CA 94592
39969005             CALIFORNIA STATE UNIVERSITY LONG BEACH, 1250 Bellflower Blvd, LONG BEACH, CA
39969007         +   CALIFORNIA STATE UNIVERSITY SAN BERNARDI, 5500 UNIVERSITY PKWAY, SAN BERNARDINO, CA 92407-2393
39969009         +   CALIFORNIA VOLUNTEERS, 1400 10TH STREET, SACRAMENTO, CA 95814-5502
39969013         +   CAMILLE BULACLAC, 100 S ALTADENA DR, APT 9, PASADENA, CA 91107-4257
39969014         +   CAMILLE BULACLAC, 100 SOUTH ALTADENA DRIVE APT 9, PASADENA, CA 91107-4257
39969016         +   CAMPAIGN FOR COLLEGE OPPORTUNITY, 1149 S HILL ST, LOS ANGELES, CA 90015-2212
39969017         +   CANDY CASTRO-MONZON, 10175 ELKWOOD ST, SUN VALLEY, CA 91352-4324
39969018             CANVA, 2/2 LACEY ST, SURRY HILLS, NSW 02010-0000
39969022         +   CARLA MANZANARES, 325 S WITMER ST APT 6, LOS ANGELES, CA 90017-1326
39969025         +   CARLOS AQUINO, 3546 East 2nd Street, Los Angeles, CA 90063-2918
39969028         +   CARLOS GARCIA-PAEZ, 1913 E113TH STREET, LOS ANGELES, CA 90059-2005
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                                       Desc
                           Imaged Certificate of Notice Page 8 of 66
District/off: 0973-2                                         User: admin                                                          Page 8 of 52
Date Rcvd: Oct 12, 2023                                      Form ID: pdf001                                                 Total Noticed: 2627
39969030         +   CARLOS MUNOZ, 3066 W 15TH ST, APT 301, LOS ANGELES, CA 90019-4814
39969032         +   CARLOS S SICAL SANCHEZ, 19401 HAYNES STREET APT 10, RESEDA, CA 91335-5702
39969033         +   CARLOTA MERINO, 4560 W 120TH ST, APT 44, HAWTHORNE, CA 90250-2961
39969034         +   CARLOTA MERINO, 4560 W 120th St Apt 44, Los Angeles, CA 90250-2961
39969035         +   CARMEN GUTIERREZ, 11520 MAGEE AVE, PACOIMA, CA 91331-1114
39969036         +   CARMEN LENORGANT, 37523 DENVER COURT, PALMDALE, CA 93552-4305
39969041         +   CAROLINA MARIN, 13433 Corcoran St, San Fernando, CA 91340-2207
39969042         +   CARR ENGINEERING INC, 5433 HAVERHILL DRIVE, DUBLIN, OH 43017-8215
39969043         +   CARRERA-RESENDEZ MARISELA, 7123 HAZELTINE AVE, APT 5, VAN NUYS, CA 91405-3247
39969044         +   CASA FOOD MART, 11885 FOOTHILL BLVD, SYLMAR, CA 91342-7232
39969046         +   CASIO-LARA NATALIA, 5830 LEXINGTON AVE, LOS ANGELES, CA 90038-2048
39969048         +   CATALINA RODRIGUEZ, 9600 SYLMAR AVE APT 43, PANORAMA CITY, CA 91402-1124
39969049         +   CATARINA JUARES CHIGUIL, 4171 S FIGUEROA ST APT 202, LOS ANGELES, CA 90037-2047
39969050         +   CATER2ME, 220 MONTGOMERY ST, SAN FRANCISCO, CA 94104-3402
39969051         +   CAVA MEZZE, 2940 CLARENDON BOULEVARD, ARLINGTON, VA 22201-2802
39969052         +   CCLA-Teacher Prep Academy, 1001 Arroyo St, San Fernando, CA 91340-1817
39969053         +   CDF, 13500 FOOTHILL BLVD B106, SYLMAR, CA 91342-4453
39969054         +   CDSS - Cashier, Community Care Licensing Division, 1000 Corporate Center Drive, Monterey Park, CA 91754-7600
39969055         +   CDW Government Inc, 75 Remittance Drive, Suite 1515, Chicago, IL 60675-1515
39969056         +   CECILIA DAMIAN CARDENAS DE TRUJILLO, 730 S Lyon st 449, Santa ana, CA 92705-7253
39969057         +   CECILIA GARCIA RUIZ, 4106 ROSEWOOD AVE APT 12, LOS ANGELES, CA 90004-2996
39969060         +   CEDARS-SINAI MEDICAL CENTER, 8700 BEVERLY BLVD, LOS ANGELES, CA 90048-1865
39969061         +   CEDARWORKS INC, PO BOX 990, ROCKPORT, ME 04856-0990
39969062         +   CELESTINO J QUINTERO, 10960 SUTTER AVE APT 9, PACOIMA, CA 91331-2481
39969063         +   CENTER FOR FINANCIAL EMPOWERMENT, 12701 SCHABARUM AVENU, IRWINDALE, CA 91706-6807
39969064         +   CENTER FOR LIVING AND LEARNING, 14549 ARCHWOOD ST 221, VAN NUYS, CA 91405-4633
39969067             CENTRAL MARKET, 11479 S FERNANDO ROAD, SAN FERNANDO, CA 91340
39969071         +   CERTIFIX INC, 700 N VALLEY ST, STE B, ANAHEIM, CA 92801-3824
39969073         +   CESAR PEREZ MUNOZ, 655 WEDGEWOOD AVE APT B, UPLAND, CA 91786-4301
39969074         +   CESAR TOBIAS JR, 923 S MARIPOSA AVE APT 3, LOS ANGELES, CA 90006-1422
39969075         +   CET-Nursing, 639 S New Hampshire Ave Ste 301, Los Angeles, CA 90005-1342
39969076         +   CETF, 714 West Olympic Boulevard Suite 923, Los Angeles, CA 90015-1441
39969077         +   CFED-ALC, 1200 G Street Nw, Suite 400, Washington, DC 20005-3832
39969079             CHARLES AUSTIN JR, 7635 LENNOX AVE, APT 226, VAN NUYS, CA 91406
39969081         +   CHARLOTTE L DEJOYA, 4209 GARDEN HOMES AVENUE, LOS ANGELES, CA 90032-1107
39969083         +   CHEAPER OFFICE SOLUTIONS, 17014 S VERMONT AVE UNIT C, GARDENA, CA 90247-6043
39969086         +   CHEYANNE SMITH, 15519 Deblynn Ave, Gardena, CA 90248-2326
39969087         +   CHICORY COFFEE AND TEA, 1131 11TH ST, SACRAMENTO, CA 95814-3801
39969089         +   CHILDCARE CAREERS, 2000 Sierra Point Pkwy, Ste 702, Brisbane, CA 94005-1874
39969092             CHILDREN'S HOSPITAL LOS ANGELES, ATTN PRISCILLA BROWN, LOS ANGELES, CA 90027
39969093         +   CHIPOTLE, 3101 NEWPORT BLVD, NEW PORT BEACH, CA 92663-3811
39969094         +   CHLOE WELMOND, 117 Bimini Place Apt 216, Los Angeles, CA 90004-5900
39969095         +   CHLOIE R BUHAIN, 12746 Glenoaks Blvd, Sylmar, CA 91342-4721
39969097         +   CHRIS MENASTER, 2615 IVANHOE DR, LOS ANGELES, CA 90039-2602
39969099         +   CHRISTIAN A SMITH, 10607 Crenshaw Blvd Apt 3, Inglewood, CA 90303-4925
39969100         +   CHRISTIAN BERRIOS, 3504 11TH AVE, LOS ANGELES, CA 90018-3627
39969101         +   CHRISTIAN E GOMEZ, 14345 BEAVER ST, SYLMAR, CA 91342-5110
39969102         +   CHRISTIAN LARA-PEREZ, 19525 BASSET STREET, RESEDA, CA 91335-3603
39969103         +   CHRISTINA CLIMACO, 11389 ALMOND AVE, FONTANA, CA 92337-1217
39969104         +   CHRISTINE VEGA, 2917 MONTEZUMA AVE, ALHAMBRA, CA 91803-4102
39969106         +   CHRISTOPHER CHILES, 305 E NEECE ST, LONG BEACH, CA 90805-2209
39969107         +   CHRISTOPHER E GARCIA TELLEZ, 1312 1/2 LINWOOD AVE, LOS ANGELES, CA 90017-4515
39969108         +   CHRISTOPHER FERNANDEZ, 12026 MAGNOLIA BLVD APT 6, VALLEY VILLAGE, CA 91607-2722
39969109         +   CHRISTOPHER J HALL, 526 S KERN AVE, LOS ANGELES, CA 90022-1814
39969111         +   CHRISTOPHER PIVARAL, 5939 HOLLYWOOD BLVD, LOS ANGELES, CA 90028-5409
39969112         +   CHRISTOPHER REVOLORIO, 1136 Arapahoe St Apt 101, Los Angeles, CA 90006-2987
39969113         +   CHUBASCO RESTAURANT, 11220 LAUREL CANYON BLVD, SAN FERNANDO, CA 91340-4348
39969114         +   CIABATTA BAR, 6464 SUNSET BLVD, HOLLYWOOD, CA 90028-8001
39969117             CICELY MAJEED, 327 W PCH HWY APT 7, LONG BEACH, CA 90806
39969118         +   CIDERIO FLORES, 300 N TOWNSEND AVE, LOS ANGELES, CA 90063-2338
39969119         +   CINDY BANUELOS, 37921 50TH ST EAST, PALMDALE, CA 93552-3839
39969120         +   CINDY LOPEZ, 13313 OXNARD STREET APT 142, VAN NUYS, CA 91401-4053
39969122             CINTAS, PO BOX 29059, PHOENIX, AZ 85038-9059
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                   Desc
                           Imaged Certificate of Notice Page 9 of 66
District/off: 0973-2                                 User: admin                                               Page 9 of 52
Date Rcvd: Oct 12, 2023                              Form ID: pdf001                                      Total Noticed: 2627
39969123         + CIT, PO Box 100706, Pasadena, CA 91189-0003
39969124         + CIT BANK NA, 888 East Walnut St, PASADENA, CA 91101-1895
39969128         + CITY NATIONAL PLAZA, 515 S Flower St 3220, LOS ANGELES, CA 90071-2215
39969129           CITY OF GLENDALE, ATTN BULANIKIAN, ONNIG, GLENDALE, CA 91204
39969130         + CITY OF GLENDALE COMMUNITY SERVICES AND, 613 EAST BROADWAY, ROOM 120, GLENDALE, CA 91206-4308
39969132           CITY OF LOS ANGELES, DEPARTMENT OF BUILDING & SAFETY, LOS ANGELES, CA 90012
39969137         + CITY YEAR, Kat Decelles, 287 Columbus Ave, Boston, MA 02116-6805
39969138           CLAREMONT GRADUATE UNIVERSITY, PETER F DRUCKER SCHOOL OF MANAGEMENT, CLAREMONT, CA 91711
39969140         + CLARENCE WILLIAMS Jr, 26812 Isabella Pkwy Apt 202, Santa Clarita, CA 91351-4869
39969142         + CLARISA PENA, 13061 CARL ST APT 357, PACOIMA, CA 91331-2592
39969144         + CLAUDIA LARA, 5369 HUNTINGTON DR N, LOS ANGELES, CA 90032-1722
39969145         + CLAUDIA LARA VAZQUEZ, 5369 HUNTINGTON DR N, LOS ANGELES, CA 90032-1722
39969146         + CLAUDIA MEJIA, 13010 CARL PL APT 293, PACOIMA, CA 91331-2504
39969147         + CLAUDIA RAMIREZ, 10400 Swinton Ave, Granada Hills, CA 91344-6904
39969149           CLAUDIA VASQUEZ, 238 S LAFAYETTE PARK PLACE APT 306, LOS ANGELES, CA 90057
39969152         + CLEANTECH GROUP, 220 MONTGOMERY ST, SUITE 1000, SAN FRANCISCO, CA 94104-3443
39969153         + CLEAR IMPACT, 11300 ROCKVILLE PIKE, SUITE 1001, ROCKVILLE, MD 20852-3049
39969157         + CLOUD FOR GOOD LLC, 1854A HENDERSONVILLE, 252, ASHEVILLE, NC 28803-2495
39969159         + COAST TO COAST FORKLIFT TRAINING, 13600 IMPERIAL HWY 5, SANTA FE SPRINGS, CA 90670-4866
39969160         + COE'S GLASS, 15532 CRENSHAW BLVD, GARDENA, CA 90249-4595
39969161         + COLLABORATIVE CLASSROOM, 1001 MARINA VILLAGE PARKWAY 110, ALAMEDA, CA 94501-1092
39969162         + COLLEGE OF INSTRUMENT TECHNOLOGY, 17156 BELLFLOWER BLVD, BELLFLOWER, CA 90706-5949
39969164         + COLUMBIA MEMORIAL SPACE CENTER, 12400 COLUMBIA WAY, DOWNEY, CA 90242-2790
39969165         + COMEDY CLUB LA, 8162 MELROSE AVE, LOS ANGELES, CA 90046-7013
39969172         + COMMUNITY PARTNERS, 1000 NORTH ALAMEDA STREET SUITE 240, LOS ANGELES, CA 90012-1804
39969176         + COMPLETE OFFICE OF CALIFORNIA INC, PO BOX 4318, CERRITOS, CA 90703-4318
39969178         + COMPUTERIZED MANAGEMENT SERVICES INC (RA, 4100 GUARDIAN ST STE 205, SIMI VALLEY, CA 93063-6721
39969179        ++ CONCORD WORLDWIDE INC, ATTN ATTN LEGAL, 177 POST ST SUITE 910, SAN FRANCISCO CA 94108-4712 address filed
                   with court:, Concord, 177 Post St Suite 910, San Francisco, CA 94108
39969185         + CONSTRUCTION DISTRICT, 9909 TOPANGA CANYON BLVD 214, CHATSWORTH, CA 91311-3602
39969189         + COPYMAT HOLLYWOOD, 6501 SUNSET BLVD, HOLLYWOOD, CA 90028-7201
39969190         + CORAIMA HURTADO, 37539 90th Street East, Littlerock, CA 93543-1256
39969192         + CORALY LARA, 673 EAST 49TH STREET, LOS ANGELES, CA 90011-4011
39969193         + CORINA GARCIA, 2210 1/2 W Jefferson Blvd Apt 3, Los Angeles, CA 90018-3750
39969198         + COSCO FIRE PROTECTION, 1075 W LAMBERT RD BLDG D, BREA, CA 92821-2944
39969199         + COSTCO, 999 Lake Dr, Issaquah, WA 98027-5367
39969200         + COUGAR HOOPS CAMPS, 128 N WILDWOOD AVE, GLENDORA, CA 91741-2464
39969201         + COUNCIL OF DEVELOPMENT FINANCE AGENCIES, 100 E BROAD ST, SUITE 1200, COMLUMBUS, OH 43215-3686
39969202         + COUNTY OF LOS ANGELES PROBATION, 901 VIA SAN CLEMENTE, MONTEBELLO, CA 90640-1610
39969203         + COURTNEY L RAMCLAM, 2619 So La Salle Ave 5, Los Angeles, CA 90018-2738
39969204           COVALENCE CONSULTING INC, 902 GORHAM STREET, NEW MARKET, ON L3Y 1
39969206         + CPH & ASSOCIATES, 711 S DEARBORN ST SUITE 205, CHICAGO, IL 60605-1823
39969207         + CPRANGELES, 2425 East Slauson Avenue 214, HUNTINGTON PARK, CA 90255-7191
39969208         + CPS- CHILD CARE LICENSING PROGRAM, 744 P STREET MS T9-15-48, SACRAMENTO, CA 95814-6400
39969210         + CRAIGSLIST, 1381 9TH AVE, SAN FRANCISCO, CA 94122-2308
39969214         + CREATIVE RECREATIONAL SYSTEMS INC, 2377 GOLD MEADOW WAY, SUITE 100, GOLD RIVER, CA 95670-4444
39969215         + CRESCENT COLLEGE, 5940 SANTA FE AVE, HUNTINGTON PARK, CA 90255-2733
39969216         + CRISLY ULLOA, 1029 S Westmoreland Ave Apt104, Los Angeles, CA 90006-5852
39969217         + CRISPY CRUST, 1253 N VINE ST, 6A, HOLLYWOOD, CA 90038-1662
39969218         + CRISTIAN A MENDOZA, 110 W 92 St, Los Angeles, CA 90003-4028
39969220         + CRISTINA GONZALEZ, 13085 CARL ST APT 310, PACOIMA, CA 91331-2593
39969221         + CROWN AWARDS, 9 SKYLINE DR, HAWTHORNE, NY 10532-2146
39969222         + CROWN RECYCLING SERVICES, 9147 DE GARMO AVE, SUN VALLEY, CA 91352-2609
39969223         + CRYSTAL M HOLMES, 438 e 140th st, los angeles, CA 90061-2634
39969224         + CRYSTAL PONCE, 627 E 51 ST, LOS ANGELES, CA 90011-4019
39969225         + CSUN CAREER CENTER, 18111 NORDHOFF ST BH 413, NORTHRIDGE, CA 91330-8200
39969226         + CTE CONFERENCE, 13089 PEYTON DRIVE C232, CHINO HILLS, CA 91709-6018
39969230         + CVAE, 1400 E Janss Road, Thousand Oaks, CA 91362-2133
39969231         + CVS HEALTH CORPORATION, ONE CVS DR, WOONSOCKET, RI 02895-6146
39969232         + CYNTHIA ANGOUILLANT, 11749 TERRA BELLA ST, LAKE VIEW TERRACE, CA 91342-6104
39969233         + CYNTHIA DE LA LUZ, 6528 Otis Ave Apt B, Bell, CA 90201-2452
39969235         + CYNTHIA J CAMACHO, 12734 Rajah St, Sylmar, CA 91342-3317
39969237         + CYNTHIA THOMAS, 4078 BREAKWOOD DR, HOUSTON, TX 77025-4033
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                                            Desc
                           Imaged Certificate of Notice Page 10 of 66
District/off: 0973-2                                           User: admin                                                           Page 10 of 52
Date Rcvd: Oct 12, 2023                                        Form ID: pdf001                                                    Total Noticed: 2627
39969238         +   CYRILLE COOPER, 524 HYDE PARK PLACE APT 1, INGLEWOOD, CA 90302-1691
39968977         +   Caesar's Palace Hotel, 3570 Las Vegas Blvd South, Las Vegas, NV 89109-8933
39968978         +   Cafecito Organico LLC, 2902 Gilroy St, Los Angeles, CA 90039-2818
39968983         +   Cal State La, 5151 State University Drive, Admin Bldg 514, Los Angeles, CA 90032-4226
39968984         +   Cal State University Northridge, University Cash Services 8214, 18111 Nordhoff St, Northridge, CA 91330-0001
41118464         +   California Community Foundation, c/o KTBS Law LLP, Attn: Sasha M. Gurvitz, Esq., 1801 Century Park East, 26th Floor, Los Angeles,
                     CA 90067-2328
39968989         +   California Department of Community Servi, 2389 Gateway Oaks Dr, SACRAMENTO, CA 95833-4245
40277816         +   California Department of Education, c/o Matthew C Heyn, 300 South Spring St, Los Angeles, CA 90013-1230
39968992         +   California Emerging Technology Fund - TH, 5 THIRD STREET SUITE 320, SAN FRANCISCO, CA 94103-3204
39968993         +   California Head Start Association, 1107 9Th St Suite 810, Sacramento, CA 95814-3621
39968994         +   California Healing Arts College, 500 East Carson Plaza Drive Suite 103, Carson, CA 90746-7323
40213925         +   California Institute of Technology,, Jet Propulsion Laboratory, David Flores, 4800 Oak Grove Drive MS180-305, Pasadena CA
                     91109-8001
39968999         +   California School-Age Consortium, 1440 Broadway Suite 501, Oakland, CA 94612-2025
39969000         +   California Science Center, 700 Exposition Park Drive, Los Angeles, CA 90037-1210
39969001         +   California State Controller, Betty T Yee California State Cont, Unclaimed Property Division, Sacramento, CA 94250-0001
39969002         +   California State University Dominguez Hi, College Of Extended & International Educ, 1000 E Victoria St, Carson, CA 90747-0001
39969004             California State University East Bay Hay, California State University East Bay, HAYWARD, CA 94592
39969008             California Volunteers, 400 10th St, SACRAMENTO, CA 95814
39969010         +   California Wellness Foundation, 515 S Flower St 1100, LOS ANGELES, CA 90071-2213
39969011         +   California Workforce Association, 1107 9Th St Suite 801, Sacramento, CA 95814-3600
39969012         +   Calltower, Dept La 23615, Pasadena, CA 91185-0001
39969015         +   Camino Nuevo Charter Schools, 3435 W Temple St, LOS ANGELES, CA 90026-4524
39969020         +   Cardinal Touch Inc, 1572 Sunnyvale Ave 27, Walnut Creek, CA 94597-1928
39969021         +   Career College Consultants Inc, 5015 Eagle Rock Blvd Suite 302, Los Angeles, CA 90041-2088
40144676         +   Career Development Solutions LLC, New Horizons Career Development Solution, 1900 S. State College Blvd. Ste. 100, Anaheim CA
                     92806-6136
39969023         +   Carlos A Vasquez, 16016 1/2 Cantlay St Apt 1/2, Van Nuys, CA 91406-3051
39969024         +   Carlos Antonio Juarez, 720 Beacon Ave Apt 218, Los Angeles, CA 90017-2123
39969026         +   Carlos Cesareo, 2308 W Pico Blvd 3, Los Angeles, CA 90006-4017
39969027         +   Carlos F Botero, 333 Alexander St, San Fernando, CA 91340-2815
39988876         +   Carlos Saul Sical Sanhez, 19401 Haynes St, 10, Reseda, CA 91335-5702
39969037         +   Carmen M Zamora, 3210 Drew St Apt 2, Los Angeles, CA 90065-2326
39969065         +   Center For Nonprofit Management, 1000 N Alameda St Suite 250, Los Angeles, CA 90012-1804
39969066         +   Center For The Collaborative Classroom, 1001 Marian Village Parkway Suite 110, Alameda, CA 94501-1092
39969068         +   Cerritos College Att: Admission & Record, 11110 Alondra Blvd, Norwalk, CA 90650-6203
39969069         +   Certified Officiating, 4211 Redwood Ave Box 109, Los Angeles, CA 90066-5640
39969070         +   Certified Transportaion, 1038 Custer St, Santa Ana, CA 92701-3915
39969072         +   Cesar Iniquez, 11045 Saticoy St, Sun Valley, CA 91352-4725
39969084         +   Cheer Los Angeles, 1223 Wilshire Blvd 1580, Santa Monica, CA 90403-5406
39969088         +   Child Care Resource Center, 20001 Prairie St, Chatsworth, CA 91311-6508
39969091         +   Children's Bureau Of Southern California, 1910 Magnolia Ave, Los Angeles, CA 90007-1220
39969121         +   Cinerama Dome, 120 North Robertson Blvd 3Rd Floor, Los Angeles, CA 90048-3115
40202653         +   Cintas Corporation dba Cintas Location No. 53, c/o Jason V. Stitt, Keating Muething & Klekamp PLL, One East 4th Street, Suite 1400,
                     Cincinnati, OH 45202-3752
39969125             Citi Community Development, 38OO CITIBANK CENTER DR G3-4, TAMPA, FL 33610
39969127         +   City Club Los Angeles, 333 South Grand Ave, Los Angeles, CA 90071-1504
39969131         +   City Of Los Angeles, 200 N Main St, LOS ANGELES, CA 90012-4110
39969133         +   City Of Los Angeles - Hcid, Attn Lyndon Salvador, 1200 West 7Th Street 1St Floor, Los Angeles, CA 90017-2349
39969134             City Of Los Angeles Department Of Recrea, 625 S LAFAYETTE PARK PLACE, Los Angleles, CA 90057
39969136         +   City Of San Fernando, 117 Macneil Street, San Fernando, CA 91340-2993
40180305         +   City of Philadelphia Law Tax & Revenue Unit, 1401 JFK Blvd, 5th flooor, Philadelphia, PA 19102-1617
39969139         +   Clarence A Simpson, 27626 Rosa Lane Apt104, Santa Clarita, CA 91387-6833
39969143         +   Claudia F Torres, 1973 Knox St, San Fernando, CA 91340-1016
39969148         +   Claudia Sosa-Valderrama, 1816 Rancho Tujunga Dr, Covina, CA 91724-3545
39969150         +   Clean Environment Janitorial Service Inc, 3442 Foothill Blvd Apt 182, Glendale, CA 91214-1826
39969151         +   Clean Sweep Group Inc, 8306 Wilshire Blvd Suite 7009, Beverly Hills, CA 90211-2304
39969154         +   Clearpoint Financial Solutions, 270 Peachtree St Nw Suite 1800, Atlanta, GA 30303-1217
39969155         +   Clinical Training Institute, PO Box 7447, Oxnard, CA 93031-7447
39969156         +   Close Range International Inc, 311 N Roberston Blvd 523, Beverly Hills, CA 90211-1705
39969166         +   Comision Femenil San Fernando Valley, PO Box 7263, Northridge, CA 91327-7263
39969167         +   Commline Inc, 5563 Sepulveda Blvd Ste D, Culver City, CA 90230-5581
39969169         +   Communities In Schools Of Los Angeles, CO Caa 2000 Avenue Of The Stars, Los Angeles, CA 90067-4700
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                                  Desc
                           Imaged Certificate of Notice Page 11 of 66
District/off: 0973-2                                       User: admin                                                      Page 11 of 52
Date Rcvd: Oct 12, 2023                                    Form ID: pdf001                                               Total Noticed: 2627
39969170         +   Community Centers Inc, 7518 S Vermont Ave, Los Angeles, CA 90044-5131
39969171         +   Community Charter Early College Hs, 1405 North San Fernando Rd Ste 303, Burbank, CA 91504-4511
39969173         +   Community Partners On Behalf Of Lafpc, 1000 North Alameda Street Suite 240, LOS ANGELES, CA 90012-1804
39969174         +   Community Products LLC, Po Box 2, Ulster Park, NY 12487-0002
39969175         +   Community Reinvestment Fund Inc, Sds 122830, PO Box 86, Minneapolis, MN 55486-0086
39969180         +   Concorde Career College, 12412 Victory Blvd, North Hollywood, CA 91606-3134
39969182         +   Conexis, Po Box 8363, Pasadena, CA 91109-8363
39969184         +   Conqur Endurance Group, 871 Figueroa Terrace, Los Angeles, CA 90012-1150
39969186         +   Container Alliance, 510 Castillo St Suite 340, Santa Barbara, CA 93101-3406
39969187         +   Cool Bus, 5301 Balboa Blvd Unit H14, Encino, CA 91316-2708
39969188         +   Copyfree Document Imaging, 601 S San Gabriel Blvd, San Gabriel, CA 91776-2721
39969191         +   Coral Academy Science Las Vegas, 1051 Sandy Ridge Ave, Henderson, NV 89052-4907
39969194         +   Corner Bakery, 801 South Figueroa Ste 150, Los Angeles, CA 90017-3000
39969195         +   Corner Post Holdings Inc, 266 N Main St, Suite 152, Wichita, KS 67202-1517
39969196         +   Corporation Division, Secretary Of State, 255 Capital St Ne Suite 151, Salem, OR 97310-1429
39969197         +   Corporation for National and Community S, 250 E St SW, WASHINGTON, DC 20024-3249
39969205         +   Coverall North America Inc, 2955 Momentum Place, Chicago, IL 60689-5329
39969212         +   Create Now Inc, 1611 S Hope Street E, Los Angeles, CA 90015-4115
39969213        #+   Creation World Safety, 19401 S Vermont Ave Suite A108, Torrance, CA 90502-4402
40208725         +   Creditor/Claimant A.M, Daniel C. Sharpe, Esq., 3701 Wilshire Blvd., Suite 1111, Los Angeles CA 90010-2822
39969219        #+   Cristian Macias, 11070 Chivers Ave, Pacoima, CA 91331-1561
39969228         +   Curtin Security Company Inc, 10046 Valley Spring Lane, North Hollywood, CA 91602-2928
39969229         +   Curtis K Witherspoon, 6871 Delta Avenue, Long Beach, CA 90805-1112
39969234         +   Cynthia Garcia, 162 E 36th Pl, Los Angeles, CA 90011-2602
39969239             DAEVON GUERRERO, 444 S LAFAYETTE PARK APT 105, LOS ANGELES, CA 90057
39969240         +   DAISY E CHAIDEZ, 7933 Lurline Ave, Winnetka, CA 91306-2114
39969241         +   DAISY N BARRIOS, 1649 S Catalina St, Los Angeles, CA 90006-4420
39969243         +   DAMIAN E ROMERO, 12224 HILLSDALE AVENUE, SYLMAR, CA 91342-5135
39969245             DANA A WALKER, 11757 ADDISON STREET, VALLEY VILLAGE, CA 91607
39969247         +   DANA INN & RESORT, 1710 W MISSION BAY DR, SAN DIEGO, CA 92109-7899
39969250         +   DANIEL GRUNFELD, 2307 DUXBURY CIRCLE, LOS ANGELES, CA 90034-1017
39969251         +   DANIEL M PINEIRO, 8184 Glencrest Dr, Sun Valley, CA 91352-3504
39969253         +   DANIEL PANIAGUA, 13045 1/2 Carl Street Apt 366, Pacoima, CA 91331-2509
39969257         +   DANIELA FLORES BUSSO, 6522 SANTA FE AVE, HUNTINGTON PARK, CA 90255-3810
39969259         +   DANIELA I JUAREZ, 10471 HADDON AVE, PACOIMA, CA 91331-3017
39969260         +   DANIELA J FLORES BUSSO, 2935 EAST 60TH PLACE UNIT E, HUNTINGTON PARK, CA 90255-3199
39969261         +   DANIELA J MEJIA, 1808 2nd St, San Fernando, CA 91340-2629
39969262         +   DANIELLE K MARTINEZ, 2201 CHARNWOOD AVE, ALHAMBRA, CA 91803-3617
39969263         +   DANNY MORALES, 541 N WESTMORELAND AVE, LOS ANGELES, CA 90004-2210
39969265         +   DARIO IBARRA, 6507 WHITE OAK AVENUE, RESEDA, CA 91335-6212
39969267         +   DARREN SU, 2579 LOMBARDY BLVD, LOS ANGELES, CA 90032-2749
39969270             DAVE AND BUSTER, DALLAS, TX 75220
39969272         +   DAVES HOT CHICKEN, 970 N WESTERN AVE, LOS ANGELES, CA 90029-3216
39969273         +   DAVEY'S LOCKER SPORTFISHING, 400 MAIN ST, NEWPORT BEACH, CA 92661-1396
39969275         +   DAVID GARCIA, 9156 Telfair Ave Apt 1, Sun Valley, CA 91352-1845
39969276         +   DAVID HERNANDEZ, 442 S BURLINGTON AVE, LOS ANGELES, CA 90057-3006
39969278         +   DAVID JOVEL, 8034 LINDLEY AVE, RESEDA, CA 91335-1417
39969279         +   DAVID M FLORES, 6455 CLYBOURN AVE, NORTH HOLLYWOOD, CA 91606-2727
39969280         +   DAVID ORTIZ JR, 543 N ARDMORE APT 3, LOS ANGELES, CA 90004-2029
39969282         +   DAVID S SOLIS, 214 W 62ND ST, LOS ANGELES, CA 90003-1410
39969283             DAVID ZAMUDIO, 2710 ILLINOIS AVE, SOUTH GATE, CA 90280-4004
39969284         +   DC Digital, 5385 Edgewood Pl, Los Angeles, CA 90019-6763
39969285         +   DEANNA GUERRERO, 13016 CANTARA ST, NORTH HOLLYWOOD, CA 91605-1047
39969286         +   DEEPTI SAROHA, 6643 WOODEY AVENUE APT 12A, VAN NUYS, CA 91406-5995
39969287         +   DEER USA INC, 517 S ATLANTIC BLVD, MONTERY PARK, CA 91754-3815
39969288         +   DEISY ORELLANA, 4821 SAN VICENTE BLVD APT 7, LOS ANGELES, CA 90019-2942
39969289         +   DELANIE SOLORIO, 1431 HOLLISTER STREET, SAN FERNANDO, CA 91340-3525
39969290         +   DELINA DAWIT, 1516 W 110Th St, Los Angeles, CA 90047-4911
39969291        #+   DELL C/O LAM LYN & PHILIP PC, 6213 SKYLINE DRIVE SUITE 2100, HOUSTON, TX 77057-7027
39969292        ++   DELL FINANCIAL SERVICES, P O BOX 81577, AUSTIN TX 78708-1577 address filed with court:, Dell Financial Services, Payment
                     Processing Center, Po Box 6549, Carol Stream, IL 60197
39969295             DELTA AIR LINES INC, 1020 CARGO SERVICE RD, ATLANTA, GA 30337
39969296         +   DELVY I GARCIA, 1742 WALTON AVENUE, LOS ANGELES, CA 90006-4437
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                Desc
                           Imaged Certificate of Notice Page 12 of 66
District/off: 0973-2                                User: admin                                            Page 12 of 52
Date Rcvd: Oct 12, 2023                             Form ID: pdf001                                     Total Noticed: 2627
39969297         + DENISE A HERNANDEZ, 9235 Woodman avenue unitE, Arleta, CA 91331-6458
39969299         + DENISE ZAMORA, 1600 TREMONT ST, LOS ANGELES, CA 90033-1129
39969301         + DEON J BROWN, 16317 Devonshire, Granada Hills, CA 91344-6852
39969304           DEPARTMENT OF SOCIAL SERVICES, MS 9-3-67, PO BOX 944243, SACRAMENTO, CA 94244-2430
39969305         + DEREK MONUGIAN, 844 CHESTNUT AVE APT 31, LOS ANGELES, CA 90042-3076
39969306         + DESIREE NUNO, 15455 GLENOAKS BLVD APT 195, SYLMAR, CA 91342-7957
39969308         + DESTINY MENDOZA, 13321 GOLETA ST, PACOIMA, CA 91331-3925
39969309         + DESTINY S GALLEGOS, 934 Euclid Ave apt 1, Los Angeles, CA 90023-1536
39969310         + DESTINY VALENCIA, 1124 HOLLISTER STREET, SAN FERNANDO, CA 91340-3513
39969311         + DESTINY YOUNG, 1303 West 106 st, Los Angeles, CA 90044-1660
39969312         + DETROIT RENAISSANCE CENTER, 400 RENAISSANCE CENTER, SUITE 2500, DETROIT, MI 48243-1621
39969313         + DEVELOPMENTAL STUDIES CENTER, 1250 53RD STREET SUITE 3, EMERYVILLE, CA 94608-2965
39969314         + DEVON GLASS AND MIRROR, 5320 N FIGUEROA ST, LOS ANGELES, CA 90042-4004
39969315         + DIANA D SANTOS, 4654 East Ave S, Palmdale, CA 93552-4454
39969316         + DIANA GUILLEN, 15220 TUBA ST, MISSION HILLS, CA 91345-2702
39969317         + DIANA LOPEZ-LOZA, 11021 NORRIS AVE APT 28, PACOIMA, CA 91331-2501
39969318        #+ DIANA MEJIA, 2301 W LA HABRA BLVD APT 5, LA HABRA, CA 90631-5058
39969319         + DIANA MORAN, 10966 LEHIGH AVENUE 52, PACOIMA, CA 91331-2516
39969320         + DIANA PENUELAS, 10907 LENIGH AVENUE APT 412, PACOIMA, CA 91331-2517
39969322        #+ DIANA SANTOS, 10251 KEWEN AVE, PACOIMA, CA 91331-3221
39969323         + DIANA VALENCIA, 11107 ARMINTA ST, APT 1, SUN VALLEY, CA 91352-4472
39969324         + DIANE ESTRADA, 27924 LASSEN ST, CASTAIC, CA 91384-3719
39969325         + DIANE JENKINS, 967 EVENING SHADE DR, SAN PEDRO, CA 90731-1453
39969326         + DIANE KENNEDY, PO BOX 882, PARAMOUNT, CA 90723-0882
39969327         + DIANNA RAMIREZ, 13890 Sayre St Apt 204, Sylmar, CA 91342-0229
39969328         + DICK BLICK, 864 ENTERPRISE AVE, GALESBURG, IL 61401-5797
39969329         + DIEGO A PEREZ, 329 North Ditman Ave, Los Angeles, CA 90063-2331
39969330         + DIEGO DELGADO, 12567 DEBELL ST, PACOIMA, CA 91331-3409
39969331         + DIEGO GARCIA VALENZUELA, 14000 CLYMER ST, SAN FERNANDO, CA 91340-3804
39969333         + DISCOUNT MUGS, 12610 NW 115TH AVE, MIAMI, FL 33178-3178
39969335         + DISCOUNTMUGSCOM, 12610 NW 115TH AVE, BLDG 200, MEDLEY, FL 33178-3178
39969337         + DISCOVERY CUBE, 11800 FOOTHILL BLVD, LOS ANGELES, CA 91342-7165
39969338         + DISCOVERY SCIENCE CENTER, 2500 N MAIN ST, SANTA ANA, CA 92705-6600
39969339         + DISCOVERY SCIENCE CENTER OF LOS ANGELES, 2500 N MAIN ST, SANTA ANA, CA 92705-6600
39969340         + DISCOVERY SCIENCE CENTER OF ORANGE COUNT, 2500 N MAIN ST, SANTA ANA, CA 92705-6600
39969342         + DIVENTURE MARKETING GROUP, 13 ORCHARD ROAD, STE 106, LAKE FOREST, CA 92630-8321
39969343         + DJ CHARLIE, 7338 YSMAEL VILLEGAS ST, RIVERSIDE, CA 92504-4551
39969344         + DKG MEDIA LP, 901 S MOPAC EXPRESSWAY, BUILDING S SUITE 140, AUSTIN, TX 78746-5776
39969345         + DMD ARTISAN WOODWORK, 852 W 10TH, SAN PEDRO, CA 90731-4024
39969348         + DODGERS TICKETS LLC, 1000 ELYSIAN PARK AVE, LOS ANGELES, CA 90012-2112
39969349         + DOLLAR DAYS, 3033N 44TH ST 330, PHOENIX, AZ 85018-7229
39969350         + DOLLAR KINGS INC, 2849 LEONIS BLVD, VERNON, CA 90058-2909
39969351         + DOLORES B LARA FIERRO, 3912 SHIRLEY AVENUE, EL MONTE, CA 91731-1712
39969356         + DOMINIQUE AVALOS, 12902 CORRENTI ST, PACOIMA, CA 91331-4131
39969358         + DONAJI MARTINEZ, 1036 W 49th Street, Los Angeles, CA 90037-2922
39969359         + DONNA C MARTINEZ, 8958 MERCEDES AVENUE, ARLETA, CA 91331-5808
39969360         + DONNA MARTINEZ, 8958 MERCEDES AVENUE, ARLETA, CA 91331-5808
39969361         + DONTE BROWN, 16317 DEVONSHIRE ST, GRANADA HILLS, CA 91344-6852
39969362         + DONUT STAR, 8360 TOPANGA CANYON BOULEVARD, CANOGA PARK, CA 91304-2344
39969363         + DORIS ARANGO-REYES, 1440 E 59TH PL, LOS ANGELES, CA 90001-1214
39969364         + DOUBTING THOMAS, 2510 W TEMPLE ST, LOS ANGELES, CA 90026-7120
39969365         + DOWNEY ADULT SCHOOL, 12340 WOODRUFF AVE, DOWNEY, CA 90241-5610
39969366         + DRAGO CENTRO, 525 S FLOWER ST, LOS ANGELES, CA 90071-2250
39969367         + DREAM HOTEL HOLLYWOOD, 6417 SELMA AVENUE, HOLLYWOOD, CA 90028-7310
39969368         + DREW WARMSLEY, 700 N DWIGHT AVE, COMPTON, CA 90220-1604
39969369         + DREW WARMSLEY, 700 NORTH DWIGHT AVENUE, COMPTON, CA 90220-1604
39969370         + DROPBOX INC, 333 BRANNAN ST, SAN FRANCISCO, CA 94107-1810
39969371         + DRUM CONNECTION INC, 4846 LIBBIT AVE, ENCINO, CA 91436-1204
39969372         + DSH, 3250 Wilshire Blvd Suite 1105, Los Angeles, CA 90010-1513
39969373           DUCK DUCK GOOSE, BALTIMORE, MD 21231
39969374         + DULCE HERNANDEZ, 206 UNION PL APT 207, LOS ANGELES, CA 90026-5983
39969378         + DYLAN J CAMPBELL, 8912 HAZELTINE AVE, PANORAMA CITY, CA 91402-2523
39969380         + DYMOND BURNETTE, 1133 CHERRY AVE, APT 10, LONG BEACH, CA 90813-3948
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                                     Desc
                           Imaged Certificate of Notice Page 13 of 66
District/off: 0973-2                                        User: admin                                                       Page 13 of 52
Date Rcvd: Oct 12, 2023                                     Form ID: pdf001                                                Total Noticed: 2627
39969246         +   Dana Duran Kennedy, Po Box 72441, Los Angeles, CA 90002-0441
39969249         +   Daniel G Cepeda Rodriguez, 10628 Crockett Street, Sun Valley, CA 91352-4026
39969252         +   Daniel Olea, 12592 Bromwhich Street, Pacoima, CA 91331-3407
39969254         +   Daniel Radford, 20152 Bayfront Ln Unit 103, Huntington Beach, CA 92646-4498
39969255         +   Daniel Torres, 1211 West 11th St Apt 310, Los Angeles, CA 90015-1258
39969256         +   Daniela Duarte, 9334 Sunland Park Dr Apt 103, Sun Valley, CA 91352-1615
39969258         +   Daniela G Marquez, 300 Jessie St Apt11, San Fernando, CA 91340-3099
39969264         +   Darell Cooper, 12224 Industrial Ave, South Gate, CA 90280-8218
39969268         +   Darryl Mitchell, 417 N Bonnie Brae Apt 3, Los Angeles, CA 90026-4900
39969269         +   Davalynn M Bustillos, 860 S Harvard Blvd Apt 201, Los Angeles, CA 90005-2577
39969274         +   David A Valdez, 971 S Elden Ave Apt 5, Los Angeles, CA 90006-5733
39969277         +   David Joseph, 4786 Silverwood St, Philadelphia, PA 19128-4622
39969293         +   Dell Marketing LP, CO Dell Usa LP, Po Box 910916, Pasadena, CA 91110-0001
39969294         +   Dell Sonicwall Services, PO Box 49042, San Jose, CA 95161-9042
39969300         +   Dennis K Moore Bsls Cpcm, 707 E Orange Grove No 21, Pasadena, CA 91104-4456
41089049         +   Department of Labor, Employee, Benefits Security Administration, US Department of Labor -EBSA, 200 Constitution Avenue, 5668,
                     Washington DC 20210-0002
39969332         +   DirectED Educational Services, 21820 BURBANK BLVD, SUITE 310, WOODLAND HILLS, CA 91367-6481
39969336         +   Discovery Charter Preparatory School, 13570 Eldridge Ave, SYLMAR, CA 91342-2343
39969341         +   Disney Foundation, 3500 W Olive Ave STE 700, BURBANK, CA 91505-5503
40211892         +   Dixon Slingerland, 4247 Camelia Avenue, Studio City, CA 91604-2937
39969346         +   Dmv Renewal, Po Box 942894, Sacramento, CA 94294-0001
39969352         +   Dolores G Lara-Ramirez, 12844 Woodcock Ave, Sylmar, CA 91342-4625
39969354         +   Dome Exam Prep, 27954 Dickason Dr, Valencia, CA 91354-1200
39969355         +   Dome Garage LLC, 1400 Ivar Ave, Los Angeles, CA 90028-8122
39969357         +   Dominos Pizza, 30 FRANK LLOYD WRIGHT DR, ANN ARBOR, MI 48105-9759
39969375         +   Durham School Services LP, 4300 Weaver Parkway, Warrenville, IL 60555-3919
39969376         +   Dwight Stuart Youth Fund (DSYF), 9595 Wilshire Blvd 212, BEVERLY HILLS, CA 90212-2502
39969377         +   Dworsky Design, 4712 Admiralty Way Unit 395, Marina Del Rey, CA 90292-6905
39969379         +   Dymally High School, 8800 South San Pedro St, Los Angeles, CA 90003-3541
39969381             E-Z RENT A CAR, ORLANDO, FK 32809
39969382         +   E3 DIAGNOSTICS, ACCOUNTS PAYABLE, 3333 N KENNICOTT AVE, ARLINGTON, IL 60004-1429
39969384         +   EAST SIDE FOR HIRE, 11400 NE 132ND ST, KIRKLAND, WA 98034-6324
39969385             EASTBAY INC, PO BOX 1328, WAUSAU, WI 54402-1328
39969387         +   EAT THIS CAFE, 6547 SANTA MONICA BLVD, LOS ANGELES, CA 90038-1432
39969388         +   EBERTH MARTINEZ, 11135 WALNUT ST, EL MONTE, CA 91731-3233
39969390        #+   ECO BEAR BIOHAZARD CLEANING CO, 3740 ALTA MESA DR, STUDIO CITY, CA 91604-4005
39969391         +   ECONOMIC AND WORKFORCE DEVELOPMENT DEPAR, ATTN: CATHERINE BONDOC 1200 W 7TH ST 4TH, LOS ANGELES,
                     CA 90017-2349
39969395         +   EDITH GARCIA, 2218 E 107TH STREET, LOS ANGELES, CA 90002-3829
39969396         +   EDLYN PALAFOX, 160 E 119TH ST, LOS ANGELES, CA 90061-2430
39969397         +   EDLYN PALAFOX, 435 S HOOVER ST APT 11, LOS ANGELES, CA 90020-1200
39969398         +   EDNA J GARCIA, 12368 OSBORNE ST APT 8, PACOIMA, CA 91331-7065
39969401         +   EDUARDO MARROQUIN, 3908 E 56th, Maywood, CA 90270-2704
39969403         +   EDUARDO NAJAR, 14720 Roscoe blvd 34, Panorama City, CA 91402-4160
39969405         +   EDUARDO OCHOA ARAGON, 1136 ARAPAHOE ST APT 102, LOS ANGELES, CA 90006-2987
39969406         +   EDUCATION TO GO, PO BOX 36716, CHICAGO, IL 60694-0001
39969407         +   EDWARD L KLEIN, 12320 CHANDLER BLVD #25, N HOLLYWOOD, CA 91607-4364
39969408         +   EDWIN A ARANGO, 727 SOUTH SERRANO AVENUE APT 17, LOS ANGELES, CA 90005-2880
39969412         +   EINSTEIN BROS, 555 ZANG ST 300, LAKEWOOD, CO 80228-1013
39969413         +   EJIRO NTEKUME, 8721 RAMSGATE AVE, APT 2, WESTCHESTER, CA 90045-4684
39969414         +   EKYAER ALVARADO, 244 1/4/ W 71ST, LOS ANGELES, CA 90003-1866
39969416         +   EL CAMINO COMMUNITY COLLEGE, 16007 CRENSHAW BLVD, TORRANCE, CA 90506-0003
39969417         +   EL MILAGRO PANADERIA, 12040 FOOTHILL BLVD, LAKEVIEW TERRACE, CA 91342-6455
39969418         +   EL UNICO POLLO TAQUERO, 4770 W MISSION BLVD, MONTCLAIR, CA 91762-4413
39969419             EL ZARAPE, 3729 MELROSE AVE, LOS ANGELES, CA 90029
39969420         +   ELADIO CHAVEZ Jr, 4983 La Calandria Way, Los Angeles, CA 90032-3335
39969421         +   ELIEZER ZACARIAS RAMOS, 718 S BURLINGTON AVE, APT 202C, CA 90057-4114
39969422         +   ELIZABETH A HERMOSILLO, 5728 Corbett St, Los Angeles, CA 90016-4541
39969423         +   ELIZABETH BRAVO ROSALES, 815 S Bonnie Brae St Apt 204, Los Angeles, CA 90057-4236
39969424         +   ELIZABETH C GOMEZ, 2952 The Mall St, Los Angeles, CA 90023-2814
39969425         +   ELIZABETH CALDERON, 217 1/2 E 28 St, Los Angeles, CA 90011-5893
39969426         +   ELIZABETH DENNY, 790 MONTEREY ROAD, SOUTH PASADENA, CA 91030-3619
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                        Desc
                           Imaged Certificate of Notice Page 14 of 66
District/off: 0973-2                                    User: admin                                                Page 14 of 52
Date Rcvd: Oct 12, 2023                                 Form ID: pdf001                                         Total Noticed: 2627
39969429         +   ELIZABETH GONZALEZ, 951 W VERNON AVE APT 4, LOS ANGELES, CA 90037-4531
39969428         +   ELIZABETH GONZALEZ, 1137 E 87TH PL, LOS ANGELES, CA 90002-1138
39969430         +   ELIZABETH HERNANDEZ, 10901 Laurel Canyon, San Fernando, CA 91340-4453
39969431         +   ELIZABETH NERI, 736 E 41 PL, LOS ANGELES, CA 90011-3127
39969433        #+   ELVIRA M LUZ, 14922 Polk Street, Sylmar, CA 91342-5069
39969434         +   ELY MEZA, 7953 WASHINGTON AVE, WHITTIER, CA 90602-2230
39969436         +   EMANUEL GONZALEZ, 706 S HOEFNER AVE, LOS ANGELES, CA 90022-3320
39969438         +   EMELLY PALMA, 14145 SYLVAN ST, VAN NUYS, CA 91401-2129
39969440         +   EMILIANO LOPEZ, 1250 MAGNOLIA AVE, LOS ANGELES, CA 90006-3508
39969441         +   EMILIO M BARAJAS, 13368 Pierce St, Pacoima, CA 91331-3127
39969442         +   EMILSA GUTIERREZ, 225 1/2 E 30TH ST, LOS ANGELES, CA 90011-1903
39969444         +   EMILY E RIVERA-MURILLO, 9415 SYLMAR AVE UNIT 7, PANORAMA CITY, CA 91402-6903
39969445             EMILY PALACIOS, 7521 LAS PLUMAS LANE, TUJUNGA, CA 91042
39969446         +   EMMA INC, 123 MISSION ST 26TH, SAN FRANCISCO, CA 94105-1681
39969452         +   ENRIQUE VEGA, 13666 Filmore St, Pacoima, CA 91331-2910
39969453         +   ENTERPRISE RENT-A-CAR, 5462 HOLT BLVD, MONTCLAIR, CA 91763-4528
39969455         +   EPIC SPORTS INC, 9750 EAST 53RD STREET NORTH, BEL AIRE, KS 67226-8718
39969456             ERGONOMIC COMFORT DESIGN INC, PO BOX 79018, CORONA, CA 92877-0167
39969457         +   ERIC G VARGAS, 19436 Vanowen St, Reseda, CA 91335-4919
39969458         +   ERIC GAINES, 14108 DOTY AVE, 15, HAWTHORNE, CA 90250-8058
39969459         +   ERIC MONUGIAN, 844 CHESTNUT AVE APT 31, LOS ANGELES, CA 90042-3076
39969460         +   ERIC TUAZON, 28342 CAMINO DEL ARTE DR, VALENCIA, CA 91354-3093
39969461         +   ERICA GOMEZ, 10551 EL DORADO AVE, PACOIMA, CA 91331-3053
39969463         +   ERICK B TEJADA, 4519 Clinton st, Los Angeles, CA 90004-7200
39969465         +   ERICK J SMITH, 247 N Berendo St, Los Angeles, CA 90004-4786
39969466         +   ERICK ROCHA, 14759 REX STREET, SYLMAR, CA 91342-3953
39969468         +   ERIKA MARTINEZ, 1212 Gordon St 7, Los Angeles, CA 90038-1944
39969469         +   ERIKA V MENENDEZ, 13135 Vanowen St Apt 3, North Hollywood, CA 91605-4758
39969470         +   ERIN MCKENNAS BAKERY ( USED TO BE CALLED, 236 N LARCHMONT BOULEVARD, LOS ANGELES, CA 90004-3707
39969474         +   ERNESTO MORALES, 11068 CHIVERS AVENUE, PACOIMA, CA 91331-1561
39969473         +   ERNESTO MORALES, 5332 SEPULVEDA BLVD APT 26, SHERMAN OAKS, CA 91411-3455
39969477         +   ESCALA, 3451 W 6TH ST, Los Angeles, CA 90020-2539
39969478         +   ESI, 55 Chamberlain St, Wellsville, NY 14895-1305
39969479         +   ESMERALDA B ANZALDO, 14000 Daventry St, PACOIMA, CA 91331-3516
39969481         +   ESMERALDA MUNOZ, 11352 ACALA AVE, SAN FERNANDO, CA 91340-4314
39969482         +   ESPINOZA CRISTINA, 4754 WEST 130TH ST, HAWTHORNE, CA 90250-5149
39969484         +   ESTEFANIA LUNA, 1615 e 42nd St Apt 2, Los Angeles, CA 90011-3346
39969485         +   ESTER DE LA FUENTE, 6304 FAIR AVE, NORTH HOLLYWOOD, CA 91606-3618
39969486         +   ESTHER C GONZALEZ, 8025 Reseda Blvd Apt 129, Reseda, CA 91335-1350
39969487         +   ESTHER R MARTINEZ, 4628 Eagle Rock Blvd Apt 6, Los Angeles, CA 90041-3060
39969488         +   ESTRELLA PEREZ, 160 E 119th st, Los Angeles, CA 90061-2430
39969489         +   ETE Factory Outlet, 8415 Atlantic Ave, Cudahy, CA 90201-5809
39969491         +   EVA M CHAVEZ, 2744 GUIRADO ST, LOS ANGELES, CA 90023-1435
39969492         +   EVA M FLORES, 13190 BROMONT AVE APT 102, SYLMAR, CA 91342-4498
39969493         +   EVALUATION SPECIALISTS, 7040 AVENIDA ENCINAS SUITE 104, CARLSBAD, CA 92011-4653
39969495         +   EVELYN GONZALEZ, 7526 Denny Ave, Sun Valley, CA 91352-5116
39969496         +   EVELYN JIMENEZ, 15260 Carey Ranch Lane, Sylmar, CA 91342-5508
39969498         +   EVERY MONDAY MATTERS, 8223 W 4TH ST, LOS ANGELES, CA 90048-4401
39969499         +   EVERYONEON, 718 7TH ST NW, 2ND FLOOR, WASHINGTON, DC 20001-3782
39969501         +   EVODIO PEREZ RAMOS, 12067 PIERCE ST, LAKE VIEW TERRACE, CA 91342-7122
39969505         +   EXCELLENCE TRANSPORTATION SERVICES INC, PO BOX 296, SUN VALLEY, CA 91353-0296
39969508         +   EXTRA SPACE STORAGE, 15101 RAYMER ST, VAN NUYS, CA 91405-1024
39969509         +   EZEKIEL SARENANA, 512 Chatsworth Dr, San Fernando, CA 91340-4006
39969383         +   East Los Angeles College, Attention Fiscal Office, 1301 Avenida Cesar Chavez, Monterey Park, CA 91754-6001
39969386         +   Eastmont Community Center, 701 S Hoefner Avenue, Los Angeles, CA 90022-3319
39969389         +   Ecm Security Systems, 310 N Indian Hill Blvd 428, Claremont, CA 91711-4611
39969392             Edgar A Chacon, 946 E 118th St, Los Angeles, CA 90059
39969393         +   Edgar A Cobian, 14520 Plummer St Apt22, Panorama City, CA 91402-1174
39969394         +   Edison International, 2244 Walnut Grove Ave, ROSEMEAD, CA 91770-3714
39969409         +   Edy Alvarez, 11763 Glencrest Drive, San Fernando, CA 91340-1813
39969410         +   Efren Cadena, 8694 San Juan Ave, South Gate, CA 90280-3114
39969411         +   Efren Jacobo, 11128 El Dorado Ave, Pacoima, CA 91331-2711
39969415             El Abuelo Restuarant, 425 N Maclay Ave, San Fernando, CA 91340
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                        Desc
                           Imaged Certificate of Notice Page 15 of 66
District/off: 0973-2                                   User: admin                                                Page 15 of 52
Date Rcvd: Oct 12, 2023                                Form ID: pdf001                                         Total Noticed: 2627
39969427         +   Elizabeth Garcia, Po Box 33667, Los Angeles, CA 90033-0667
39969432         +   Elizabeth Rodriguez, 2210 Termino Ave, Long Beach, CA 90815-2515
39969435         +   Elyla H Gonzalez, 11673 1/2 Magnolia Blvd, Valley Village, CA 91601-3065
39969448         +   Employers Group, Serviceone Dept, 400 North Continental Blvd Ste 300, El Segundo, CA 90245-5080
39969449         +   Employment Development Department, ATTN FISCAL SECTION MIC 70, PO BOX 826217, SACRAMENTO, CA 94230-6217
39969451         +   Enrique Ruiz, 14757 Sherman Way Apt 318, Van Nuys, CA 91405-5804
39969464         +   Erick G Monrrigo, 5732 CLEON AVE, NORTH HOLLYWOOD, CA 91601-2005
39969467         +   Erika Casillas Newsome, 3508 Marathon St 3, Los Angeles, CA 90026-2844
39969480         +   Esmeralda Conde, 2892 W 14th Street, Los Angeles, CA 90006-4202
39969483         +   Esteban D Xala, 2224 W Palm Ave, Orange, CA 92868-1911
39969490         +   Eternity Dance Theater, 3234 W Vernon Ave, Los Angeles, CA 90008-5228
39969497         +   Eventbrite, 651 Brannan St Suite 110, San Francisco, CA 94107-1535
39969500        #+   Evilet Diaz, 1131 Elden Ave Apt 108, LOS ANGELES, CA 90006-2935
39969502         +   Evolve Linguistics, 2355 Westwood Blvd 645, Los Angeles, CA 90064-2109
39969503         +   Excel Investments LLC, Po Box 2027, Long Beach, CA 90801-2027
39969506         +   Express Services Inc, Po Box 844277, Los Angeles, CA 90084-4277
39969507         +   Extra Fun Jumpers Inc, 11353 Penrose St, Sun Valley, CA 91352-3109
39969511         +   FABIAN PACHECO, 126 NORTH ELECTRIC AVENUE APT K, ALHAMBRA, CA 91801-1927
39969513         +   FABIOLUS CUCINA (PIZZA PASTA & VINO), 6270 SUNSET BOULEVARD, LOS ANGELES, CA 90028-8725
39969514         +   FABRICCOM, 2151 Northwest Parkway, MARIETTA, GA 30067-8714
39969515         +   FACEBOOK, 1 HACKER WAY, MENLO PARK, CA 94025-1456
39969516         +   FAITH & FLOWER, 705 W 9TH ST, LOSA NGELES, CA 90015-1428
39969517         +   FALLAS DISCOUNT STORE, 928 N SAN FERNANDO BLVD, BURBANK, CA 91504-4350
39969518         +   FAMILIES IN SCHOOL, 1545 WILSHIRE BLVD 700, LOS ANGELES, CA 90017-4508
39969519         +   FAMILIES IN SCHOOLS, 1545 WILSHIRE BLVD SUITE 700, LOS ANGELES, CA 90017-4508
39969520         +   FANATICS RETAIL GROUP, 8100 NATIONS WAY, JACKSONVILLE, FL 32256-4405
39969521         +   FARUK BIDAK, 6956 CHIMINEAS AVE, RESEDA, CA 91335-4528
39969522         +   FATIMA MORALES VASQUEZ, 1431 W 36th Pl, Los Angeles, CA 90018-4502
39969523         +   FATIMA VASQUEZ, 5732 FOUNTAIN AVE, LOS ANGELES, CA 90028-8516
39969524         +   FATMA SALAM Esq, 16636 Gilmore St, Van Nuys, CA 91406-5609
39969525         +   FEDERAL FINGERPRINTING INC, 80 W SIERRA MADRE BLVD, 193, SIERRA MADRE, CA 91024-2434
39969528         +   FELIX ARRIOJA AVALOS, 811 S UNION AVE APT 310, LOS ANGELES, CA 90017-2101
39969530             FELIX J ZACARIAS, 7185 BURLINGTON AVENUE 202C, LOS ANGELES, CA 90057
39969533         +   FERNANDO ANGUIANO, 10181 AMBOY AVE, PACOIMA, CA 91331-3802
39969534             FERNANDO CERDA, 1255 HILLANADALE AVE UNIT 11, LA HABRA, CA 90631
39969536         +   FERNANDO DELACRUZ, 2105 114TH STREET E, LOS ANGELES, CA 90059-2221
39969537         +   FESTIVAL FUN PARKS LLC, 111 RAGING WATERS DR, SAN DIMAS, CA 91773-3928
39969538         +   FIDELIA D BECERRA, 12751 FILMORE ST, PACOIMA, CA 91331-1235
39969540         +   FILIPPIS PIZZA GROTTO, 953 GARNET AVE, SAN DIEGO, CA 92109-2729
39969541         +   FIONA, 339 N FAIRFAX AVE, LOS ANGELES, CA 90036-2108
39969543         +   FIRESTONE COMPLETE AUTO CARE, 104 S MACLAY AVE, SAN FERNANDO, CA 91340-3303
39969546         +   FIRST STUDENT INC, 13200 CROSSROADS PKWY N 450, CITY OF INDUSTRY, CA 91746-3480
39969547         +   FIVE LEAVES LA, 4845 FOUNTAIN AVE, LOS ANGELES, CA 90029-1655
39969548         +   FIYA, PO BOX 451373, LOS ANGELES, CA 90045-8515
39969549         +   FLORENCIA DELGADO, 14360 PARTHENIA ST, PANORAMA CITY, CA 91402-3242
39969551         +   FLORES ERNESTO, 16529 VICTORY BLVD, LAKE BALBOA, CA 91406-5655
39969553         +   FOCUSRITE NOVATION INC, 909 N PACIFIC COAST HWY, SUITE 270, EL SEGUNDO, CA 90245-2733
39969554         +   FOOD 4 LESS, 1014 VINE ST, CINCINNATI, OH 45202-1141
39969555             FORD & HARRISON LLP, POS OFFICE BOX 890836, CHARLOTTE, NC 28289-0836
39969557         +   FOUNDATION FOR CALIFORNIA COMMUNITY COLL, 1102 Q STREET, SUITE 4800, SACRAMENTO, CA 95811-6562
39969563         +   FRANCISCO J CUEVAS Jr, 742 E 43rd st, Los Angeles, CA 90011-3006
39969564         +   FRANK NAPOLEON, 38713 TIERRA SUBUDA AVE, APT 143, PALMDALE, CA 93551-4562
39969566         +   FRANKIE MERCADO, 11710 ELDRIDGE, LAKEVIEW TERRACE, CA 91342-6110
39969567         +   FRED LEEDS PROPERTIES, 3860 CRENSHAW BLVD 201, LOS ANGELES, CA 90008-1816
39969568         +   FRED PRYOR, PO BOX 219468, KANSAS CITY, MO 64121-9468
39969570         +   FREDI MEJIA, 10762 PALA AVENUE APT 278, PACOIMA, CA 91331-2585
39969572         +   FRESH & EASY, 13207 GLADSTONE AVE, SYLMAR, CA 91342-3116
39969574         +   FRIENDS & FAMILY, 5150 HOLLYWOOD BLVD, LOS ANGELES, CA 90027-6114
39969575         +   FRIENDS OF THE FAMILY, 16861 PARTHENIA STREET, NORTH HILLS, CA 91343-4539
39969576         +   FROILAN VASQUEZ, 10984 LEHIGH AVENUE APT 34, PACOIMA, CA 91331-2516
39969581         +   FULCRUM, 3325 PICO AVE, SANTA MONICA, CA 90405-2115
39969512         +   Fabiola A Chavez - Nava, 13034 Carl St Apt 423, Pacoima, CA 91331-2508
39969526         +   Fedex, PO Box 7221, Pasadena, CA 91109-7321
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                  Desc
                           Imaged Certificate of Notice Page 16 of 66
District/off: 0973-2                                 User: admin                                             Page 16 of 52
Date Rcvd: Oct 12, 2023                              Form ID: pdf001                                      Total Noticed: 2627
39969527         +   Felipe Bernardo, 458 Hartford Ave Apt 412, Los Angeles, CA 90017-4014
39969529         +   Felix Dominguez Jr, 14904 Lassen St, Mission Hills, CA 91345-3133
39969531         +   Fenton Charter Schools, 8928 Sunland Blvd, SUN VALLEY, CA 91352-2843
39969532         +   Fermin Mendoza, 425 14 S Union Ave, Los Angeles, CA 90017-1007
39969535         +   Fernando D Velasquez, 335 S Coronado St Apt 335, Los Angeles, CA 90057-1823
39969539         +   Fifth Road Inc, 2821 Elm Street, Los Angeles, CA 90065-1911
39969544         +   First Book Marketplace, Attn Fbnbb Payments, 1319 F Street Nw Suite 1000, Washington, DC 20004-1155
39969545         +   First Insurance Funding Corp, Po Box 7000, Carol Stream, IL 60197-7000
39969550         +   Florencio Lopez, 2831 Vineyard Ave, Los Angeles, CA 90016-2929
40037018             Ford Motor Credit, 260 Interstate N PKWY NW, Atlanta, GA 30339
39969558         +   Foundation For Interscholastic Youth Ath, Po Box 451373, Los Angeles, CA 90045-8515
39969559         +   Four Winds Transportation, 5134 West 106Th Street, Inglewood, CA 90304-1126
39969560         +   Foxy Print, 504 N Guadalupe Ave A, Redondo Beach, CA 90277-2951
39969562         +   Francisco J Canales Jr, 6441 Seville Ave Apt H, Huntington park, CA 90255-4898
39969573         +   Fresh Start Meals Inc, 1530 First St, San Fernando, CA 91340-2708
39969577         +   Frontier Communications, PO Box 5157, Tampa, FL 33675-5157
39969578         +   Froylan Tapia, 1208 Ravenna Ave, Wilmington, CA 90744-3121
39969579         +   Fruta y Cultura LLC, 13512 Van Nuys Blvd, Pacoima, CA 91331-3028
39969580         +   Fry's Electronics, 2311 N Hollywood Way, Burbank, CA 91505-1125
39969582         +   Fulcrum Learning System Inc, ACCOUNTING DEPARTMENT, 4943 MCCONNELL AVE, LOS ANGELES, CA 90066-6763
39969583         +   Fulcrum Learning System Inc, 1035 Pleasantview Ave, Venice, CA 90291-3419
39969584         +   Funtology Fundamental, 3429 MONTE CARLO DY, AUGUSTA, GA 30906-5718
39969586         +   GABRIELA ORELLANA, 8760 de soto ave apt 103, Canoga park, CA 91304-1934
39969589         +   GAME LEARNING, 8306 WILSHIRE BLVD, SUITE 545, BEVERLY HILLS, CA 90211-2304
39969591         +   GAYLORD NATIONAL RESORT & CONVENTION CEN, 201 WATERFRONT ST, OXON HILL, MD 20745-1135
39969592         +   GELSON'S MARKET, 16400 VENTURA BLVD, 240, ENCINO, CA 91436-2197
39969593         +   GEMMA NORTH, 307 LEE AVE, CLAREMONT, CA 91711-3124
39969594         +   GENE VILORIA, 14914 ROSCOE BLVD APT 17, PANORAMA CITY, CA 91402-4679
39969596         +   GENESIS C FIGUEROA, 9800 Vesper Ave 5, Panorama City, CA 91402-1050
39969597         +   GENESIS GARCIA-HENRIQUEZ, 622 Imogen Ave Apt 2, Los Angeles, CA 90026-3542
39969598             GENESIS LA CDE LLC, ATTN JENNIFER QUEVEDO, LOS ANGELES, CA 90017
39969599         +   GENESIS THE SCHLESINGER ACADEMY FOR INNO, 9595 WILSHIRE BLVD, SUITE 700, BEVERLY HILLS, CA 90212-2507
39969600         +   GEORGINA HENRIQUEZ, 4361 DORZIER STREET, LOS ANGELES, CA 90022-1403
39969601         +   GEOVANNY AGUILAR, 10865 LEHIGH AVE APT 148, PACOIMA, CA 91331-2515
39969602         +   GERALD MALINAO, 7925 VENTURA CANYON AVE APT 201, PANORAMA CITY, CA 91402-7703
39969603         +   GERMAN ZAMBRANO, 12952 CARL PL APT 228, PACOIMA, CA 91331-2586
39969604         +   GESSELLE CANO, 8139 COLDWATER CANYON AVE, NORTH HOLLYWOOD, CA 91605-1129
39969606         +   GIGIS BAKERY, 2200 WEST TEMPLE STREET, LOS ANGELES, CA 90026-4918
39969607         +   GILBERT HERNANDEZ, 10124 ARLETA AVE, ARLETA, CA 91331-4410
39969609         +   GILBERTO RUIZ, 1132 S Huron Dr, Santa Ana, CA 92704-3037
39969611         +   GINO A DORANTES, 12249 LOPEZ CANYON RD APT 206, SYLMAR, CA 91342-5730
39969612         +   GINOSI APARTELS & HOTELS, 5825 SUNSET BLVD, LOS ANGELES, CA 90028-6657
39969613         +   GIOVANNI OCAMPO-LEON, 8750 KESTER APT 55, PANORAMA CITY, CA 91402-2155
39969614         +   GIOVANNIE MARTINEZ, 13123 CORCORAN ST, SAN FERNANDO, CA 91340-1515
39969616         +   GISELLE WILLIAMS, 5452 6TH AVENUE, LOS ANGELES, CA 90043-2640
39969617         +   GISSELLE A PEREZ, 10840 PALA AVE APT 347, PACOIMA, CA 91331-2522
39969619             GLOBAL INDUSTRIAL, 29833 NETWORK PLACE, CHICAGO, IL 60673-1298
39969622         +   GLORIA G MACIAS, 905 HARDING AVENUE, SAN FERNANDO, CA 91340-1743
39969623         +   GLORIA S MENDOZA, 1207 N Serrano Ave Apt2, Los Angeles, CA 90029-1045
39969624             GO BISTRO, SAN FRANCISCO AIRPORT(SFO), TERMINAL 1, SAN FRANCISCO, CA 94128
39969626         +   GOFUNDME, 855 JEFFERSON AVE, REDWOOD CITY, CA 94063-9992
39969627         +   GOGO LLC, 111 N CANAL ST, CHICAGO, IL 60606-7218
39969629         +   GOLDEN1CENTER, 500 DAVID J STERN WALK, SACRAMENTO, CA 95814-3346
39969630         +   GOMEZ ERICA, 10551 EL DORADO AVE, PACOIMA, CA 91331-3053
39969631         +   GOOD STUFF EATERY, 2110 CRYSTAL DRIVE, ARLINGTON, VA 22202-4826
39969638         +   GORILLA PRINTING, 117 S ROSEMEAD BLVD, PASADENA, CA 91107-3955
39969640         +   GRACIELA CHIMIL, 1333 2ND AVENUE APT 6, LOS ANGELES, CA 90019-4511
39969645             GRAVIC INC, 17 GENERAL WARREN BLVD, MALVERN, PA 19355-1245
39969646         +   GREGORY L HINDS, 13129 Oxnard St Apt 13, Van Nuys, CA 91401-4129
39969647         +   GRICELLI PARAMO, 12655 Filmore St, Pacoima, CA 91331-1233
39969648         +   GRISELDA PACHECO, 17054 HARTLAND ST, VAN NUYS, CA 91406-4523
39969649         +   GRUBHUB, 111 W WASHINGTON STREET, CHICAO, IL 60602-2783
39969650         +   GSF DRIVING & TRUCK TRAINING SCHOOL, 16211 Filbert St, Sylmar, CA 91342-1040
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                         Desc
                           Imaged Certificate of Notice Page 17 of 66
District/off: 0973-2                                    User: admin                                                Page 17 of 52
Date Rcvd: Oct 12, 2023                                 Form ID: pdf001                                         Total Noticed: 2627
39969651         +   GUADALUPE FLORES, 169 NORTH ALLEN AVENUE UNIT 1, PASADENA, CA 91106-2203
39969652         +   GUADALUPE GASPAR, 401 UNION DR APT 12A, LOS ANGELES, CA 90017-1564
39969653         +   GUADALUPE J OROZCO, 16220 CORNUTA AVE APT 10, BELLFLOWER, CA 90706-4844
39969654         +   GUERRILLA TACO, 2000 E 7TH STREET, LOS ANGELES, CA 90021-1302
39969657         +   GUSTAVO GUTIERREZ, 10425 PLAINVIEW AVE A9, TUJUNGA, CA 91042-1761
39969659         +   GWENLA, 6600 W SUNSET BLVD, LOS ANGELES, CA 90028-7104
39969660         +   GWG CONSTRUCTION INC, 1740 WEST 127TH ST, LOS ANGELES, CA 90047-5258
39969661         +   GZW Enterprises LLC, 6051 De Soto Ave, Woodland Hills, CA 91367-3707
39969587         +   Gala Donations, 6464 Sunset Blvd S 650, LOS ANGELES, CA 90028-8008
39969588             Galpin Ford, 15445 Roscoe Blvd, North Hills, CA 91343
39969605             Gia Murillo, 602 Hillcrest Drive 602 Hillcrest Drive, Bakersfield, CA 93305
39969608         +   Gilbert P Huerta, 18034 W Annes Cir 104, Canyon Country, CA 91387-6477
39969610         +   Giligia College, 15643 Sherman Way Unit 140, Van Nuys, CA 91406-4171
39969615         +   Girls On The Run Of Los Angeles, 556 S Fair Oaks Ave 101307, Pasadena, CA 91105-2656
39969621         +   Gloria Elizabeth Mucino, 12301 Wilshire Blvd Suite 210, Los Angeles, CA 90025-1000
39969628             Golden State Opportunity Foundation, 123 General, LOS ANGLES, CA 90028
39969632         +   Good+Foundation, 4505 W Jefferson Blvd 105, LOS ANGELES, CA 90016-4004
39969633         +   Goodwill of Southern California, 342 N San Fernando Rd, Los Angeles, CA 90031-1730
39969634         +   Goodwin Family Memorial Trust, PO Box 63954 MAC A0348-012, SAN FRANCISCO, CA 94163-0001
39969636         +   Gopher Sport, Nw 5634, Po Box 1450, Minneapolis, MN 55485-1450
39969639         +   Grace Hopper STEM Academy, 601 Grace Ave, INGLEWOOD, CA 90301-1306
39969641         +   Granada Hills High School, 10535 Zelzah Ave, Granada Hills, CA 91344-5999
39969642         +   Grant Elementary School, 1530 N Wilton Place, Los Angeles, CA 90028-6790
39969643         +   Grant Kinman, 2326 Hauser Blvd, Los Angeles, CA 90016-2018
39969655         +   Guss Drive In, 1657 W 3Rd St, Los Angeles, CA 90017-1116
39969656         +   Gustavo A Garcia, 4617 Michigan Ave, Los Angeles, CA 90022-1225
39969663         +   HACIENDA LA PUENTE ADULT EDUCATION/HACIE, 14101 E NELSON AVENUE, LA PUENTE, CA 91746-2640
39969664         +   HAMEN TEDLA, 12829 Wintrop ave, Grandahills, CA 91344-1222
39969667         +   HAROLD M OCAMPO, 1405 W E STREET, ONTARIO, CA 91762-2405
39969668         +   HARSSEN MEJICANOS, 2614 W 7TH ST APT 416, LOS ANGELES, CA 90057-3647
39969670         +   HAYCIE A MANCIA-LOPEZ, 1254 S Berendo St Apt 212, Los Angeles, CA 90006-3345
39969673         +   HEAL TOGETHER MENTAL WELLNESS SERVICES, 2930 W IMPERIAL, INGLEWOOD, CA 90303-3143
39969675         +   HEALTH EDCO, PO BOX 21207, WAXCO, TX 76702-1207
39969677         +   HEARTLAND INSTITUTIONAL REVIEW BOARD, 4226 WOODFIELD PL, BELLEVILLE, IL 62226-7800
39969678         +   HEATHER FUKUNAGA, 229 VIA DE AMO, FALLBROOK, CA 92028-2544
39969680         +   HECTOR D QUIJADA, 18621 saticoy st Apt 102, Reseda, CA 91335-7442
39969681         +   HECTOR G LOPEZ, 8340 S FIR AVE, LOS ANGELES, CA 90001-4122
39969682         +   HECTOR SERRATO, 10077 AMBOY AVE, PACOIMA, CA 91331-3942
39969683         +   HERB N KITCHEN, 720 S MICHIGAN AVENUE, CHICAGO, IL 60605-2116
39969688         +   HI TECH WIRELESS, 5156 W OLIVE AVE, STE 465, GLENDALE, AZ 85302-4205
39969691         +   HILTON INTERNATIONAL, 7930 JONES BRANCH DR, MCLEAN, VA 22102-3388
39969692             HIRERIGHT LLC, PO BOX 847891, DALLAS, TX 75284-7891
39969693         +   HIRSCH PIPE & SUPPLY, PO BOX 749441, LOS ANGELES, CA 90074-9441
39969694         +   HM Logi Children Education Courses LLC, 7618 Jellico Ave, Northridge, CA 91325-4509
39969695         +   HN Harris Plumbing, 1820 Wilshire Blvd 2Nd Floor, Los Angeles, CA 90057-3602
39969698         +   HOLLYWOOD CHAMBER OF COMMERCE, 7018 HOLLYWOOD BLVD, HOLLYWOOD, CA 90028-6000
39969699         +   HOLLYWOOD LA BREA INN, 7110 HOLLYWOOD BLVD, LOS ANGELES, CA 90046-3203
39969700         +   HOLLYWOOD PALMS INN & SUITES, 6055 W SUNSET BOULEVARD, HOLLYWOOD, CA 90028-6434
39969705         +   HOMERO MELENDEZ, 1000 S GRAND VIEW APT 107, LOS ANGELES, CA 90006-2145
39969709         +   HOTWIRE INC, 333 MARKET ST, SAN FRANCISCO, CA 94105-2102
39969711         +   HOUSE OF TROPHIES & AWARDS INC, 1820 EAST 1ST ST, LOS ANGELES, CA 90033-3411
39969713         +   HP INC, 1501 PAGE MILL ROAD, PALO ALTO, CA 94304-1126
39969714        #+   HUB CITIES CONSORTIUM, 2677 ZOE AVE, 2ND FLOOR, HUNTINGTON PARK, CA 90255-4196
39969715         +   HUERTA YVETTE, 5357 LEMON GROVE AVE, APT 2, LOS ANGELES, CA 90038-5007
39969716         +   HUGO CRISOSTOMO-ROMO, 5901 MERIDIAN STREET, LOS ANGELES, CA 90042-2628
39969719         +   HUMBERTO VARGAS, 9701 CANTERBURY AVE, ARLETA, CA 91331-5211
39969722         +   HUNTINGTON HOSPITALITY BY BON APPETIT, 1151 OXFORD ROAD, SAN MARINO, CA 91108-1218
39969723         +   HYATT HOTELS CORPORATION, 71 SOUTH WACKER DR, CHICAGO, IL 60606-4600
39969665         +   Hannah Binder, 2359 Riverdale Ave, Los Angeles, CA 90031-1132
39969669         +   Hatch, PO Box 88576, Milwaukee, WI 53288-8576
39969674         +   Health Advocates LLC, 21540 Plummer St Suite B, Chatsworth, CA 91311-0888
39969676         +   Heart of Los Angeles, Attn Rebecca Clark, 2701 Wilshire Blvd Suite 100, Los Angeles, CA 90057-3231
39969684         +   Herberth Panamero, 1259 N Ditman Ave, Los Angeles, CA 90063-3736
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                                  Desc
                           Imaged Certificate of Notice Page 18 of 66
District/off: 0973-2                                       User: admin                                                      Page 18 of 52
Date Rcvd: Oct 12, 2023                                    Form ID: pdf001                                               Total Noticed: 2627
39969686         +   Hermandad Mexicana Nacional, 11559 Sherman Way, North Hollywood, CA 91605-5883
39969687         +   Hershey Cause, 12304 Santa Monica Blvd Ste 201, Los Angeles, CA 90025-2591
39969689         +   Hi-Desert Truck Driving School Inc, 42739 5Th St East, Lancanster, CA 93535-5101
39969690         +   Hill Morgan and Associates LLP, 19602 Fairman Drive, Carson, CA 90746-2452
39969696         +   Holiday Ice Rink Pershing Square, 532 S OLIVE ST, LOS ANGELES, CA 90013-1014
39969697         +   Hollywood Area Station Fund, 1358 N Wilcox Avenue, Los Angeles, CA 90028-8195
39969701         +   Hollywood Parking Services, 6072 Franklin Ave Unit 101, Los Angeles, CA 90028-5580
39969703         +   Home Builders Institute, 1201 15Th Street Nw Sixth Floor, Washington, DC 20005-2842
39969706         +   Hope-Hispanas Organized For Political Eq, 634 S Spring St Ste 920, Los Angeles, CA 90014-3903
39969707         +   Hot An Dirty Mud Run, PO Box 951, Acton, CA 93510-0951
39969708         +   Hotel Bel-Air, 701 Stone Canyon Rd, Los Angeles, CA 90077-2909
39969710         +   Houghton Mifflin Hartcourt Publishing Co, 222 Berkeley Street, Boston, MA 02116-3748
39969717         +   Human Kinetics Inc, 9224 Payshere Circle, Chicago, IL 60674-0001
39969718         +   Human-I-T, 2202 S Atlantic Blvd, Commerce, CA 90040-3951
39969720         +   Humboldt State University, Housing Cashier, 335 Granite Ave, Arcata, CA 95521-8233
39969721         +   Hummingbird Networks, 2470 Stearns Street 270, Simi Valley, CA 93063-2418
39969724         +   I Drive Safely, 5760 Fleet Street Ste 210, Carlsbad, CA 92008-4713
40210159         +   I.A., a Minor, c/o Daniel C. Sharpe, 3701 Wilshire Blvd. Suite 1111, Los Angeles, CA 90010-2822
39969725         +   IAN S CANIZALES, 1100 MAGNOLIA AVE, LOS ANGELES, CA 90006-2906
39969726         +   ICEF Public Schools, 3855 W Slauson Ave, LOS ANGELES, CA 90043-2947
39969727         +   ICHIMA SUSHI, 325 N ROSEMEAD BOULEVARD, PASADENA, CA 91107-3043
39969728             ICIMS Inc, 29348 NETWORK PLACE, CHICAGO, IL 60673-1294
39969729         +   ICOMFORT HEATING & AIR CONDITIONING REPA, 717 ARROYO ST UNIT A, SAN FERNANDO, CA 91340-1861
39969731         +   IDEALIST, 389 5TH AVE, 9TH FLOOR, NEW YORK, NY 10016-3352
39969732         +   IHOP, 800 S FLOWER STREET, LOS ANGELES, CA 90017-4608
39969733         +   IKEA, 600 SOUTH IKEA WAY, BURBANK, CA 91502-1900
39969734         +   ILIANA AVILA, 3745 MERCURY AVENUE, LOS ANGELES, CA 90031-2126
39969735         +   ILIANA BALTAZAR CORDOVA, 12109 MCKINLEY AVE, LOS ANGELES, CA 90059-2739
39969737         +   IMPACT PHILANTHROPHY LLC, 821 3RD STREET, SUITE 109, SANTA MONICA, CA 90403-1186
39969738         +   IMPAQ INTERNATIONAL LLC, 10420 LITTLE PATUXENT PARKWAY, SUITE 300, COLUMBIA, MD 21044-3636
39969739         +   IN-N-OUT BURGER, 13502 HAMBURGER LANE, BALDWIN PARK, CA 91706-5823
39969741         +   INDUSTRIAL SAFETY SHOE COMPANY, 1421 E FIRST ST, SANTA ANA, CA 92701-6312
39969749         +   INTERNATIONAL INSTITUTE OF LOS ANGELES, 3845 SELIG PLACE, LOS ANGELES, CA 90031-3143
39969751         +   IPICBOOTH, 8007 JAMIESON AVE, RESEDA, CA 91335-1522
39969752         +   IPROMOTEUCOM INC, 321 COMMONWEALTH RD, SUITE 101, WAYLAND, MA 01778-5039
39969753         +   IRENE BORRAS, 8788 Ranchito ave, Panorama City, CA 91402-2639
39969754         +   IRENE DOMINGUEZ, 15455 GLENOAKS BLAVD, SPACE 17, SYLMAR, CA 91342-1395
39969756         +   IRIS ZUNIGA, 3205 LINDA VISTA, GLENDALE, CA 91206-1437
39969758         +   IRMA SEPULVEDA, 26123 BOUQUET CANYON RD APT 223, SANTA CLARITA, CA 91350-2922
39969757         +   IRMA SEPULVEDA, 11339 MONTGOMERY AVE, GRANADA HILLS, CA 91344-3842
39969759         +   IRMA TRANSITO-VALDEZ, 4037 Morgan Ave, Los Angeles, CA 90011-2243
39969761         +   IRVING CABRAL, 1184 E LEXINGTON STREET, PASADENA, CA 91104-1321
39969762         +   ISABEL N MEZA, 1330 S Baker st, Santa Ana, CA 92707-1006
39969763         +   ISABELLE SANCHEZ, 16948 Labrador st, Northridge, CA 91343-1722
39969764         +   ISIS T BYRD, 11015 S BUDLONG AVE APT 302, LOS ANGELES, CA 90044-1544
39969765         +   ISMAEL A DURAN VALERIO, 804 N Avenue 50 Apt 2, LOS ANGELES, CA 90042-3142
39969766         +   IVAN LOPEZ, 426 S Occidental Blvd 1, Los Angeles, CA 90057-1511
39969767         +   IVAN LOPEZ JUAREZ, 14154 SYLVAN STREET, VAN NUYS, CA 91401-2178
39969769         +   IVONNE CALDERON, 348 W Chevy Chase Dr, Glendale, CA 91204-2259
39969770         +   IXCOY CESY, 571 S CORONADO ST, APT 422, LOS ANGELES, CA 90057-1862
39969771         +   IXL Learning, 777 Mariners Island Blvd Suite 600, San Mateo, CA 94404-5046
39969772         +   IZOR AND ASSOCIATES, 2048 ALDERGROVE AVE, SUITE A, ESCONDIDO, CA 92029-1903
39969730         +   Ideal Maintenance Equipment Inc, 341 S Western Ave, Los Angeles, CA 90020-3804
39969740         +   Industrial Compliance Services, 12850 Foothill Blvd, Sylmar, CA 91342-5330
39969743         +   Inner-City Arts, 720 Kohler Street, Los Angeles, CA 90021-1518
39969744         +   Innersight LLC, Po Box 7176, Greensboro, NC 27417-0176
39969745         +   Instructure Inc, Dept Ch 16968, Palatine, IL 60055-0001
39969746         +   Integrated Digital Technologies, 138 N Brand Blvd Suite 200, Glendale, CA 91203-4617
39969750         +   Intersegmental Coordinating Committee, Attn Vicki Lovotti, 1430 N Street Room 3705, Sacramento, CA 95814-5901
40146828         +   Irma Leticia Sepulveda, 26123 Bouquet Canyon Rd., Apt. 223, Santa Clarita, CA 91350-2922
39969768         +   Ivette Lizama, 400 West 9th Street Apt 213, Los Angeles, CA 90015-1572
39969773         +   JACCC, 244 S San Pedro Street, Los Angeles, CA 90012-3814
39969774             JACKELINE HARO, 1408 E 74th St, Los Angeles, CA 90001-3045
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                Desc
                           Imaged Certificate of Notice Page 19 of 66
District/off: 0973-2                                 User: admin                                           Page 19 of 52
Date Rcvd: Oct 12, 2023                              Form ID: pdf001                                    Total Noticed: 2627
39969775         +   JACKIE LYNN SAKANE, 16252 VINTAGE STREET, NORTH HILLS, CA 91343-1315
39969776         +   JACKIE ROSALES, 13023 CARL ST APT 381, PACOIMA, CA 91331-2509
39969777         +   JACKSON STREET BBQ, 209 JACKSON STREET, HOUSTON, TX 77002-2228
39969778         +   JACOB MORUSS-ARELLANO, 13136 DAVENTRY ST, PACOIMA, CA 91331-1803
39969779         +   JACOB REBATET, 10518 SPRY ST, NORWALK, CA 90650-7450
39969780         +   JACOB S OCANA, 12619 victory blvd, North hollywood, CA 91606-3137
39969781         +   JACQUELIN J GARCIA, 1337 CONSTANCE ST APT 7, LOS ANGELES, CA 90015-2728
39969782         +   JACQUELINE ACEVEDO, 819 West Maple Street, Compton, CA 90220-1829
39969783         +   JACQUELINE CRUZ, 2603 Monte Carlo Dr, Santa ana, CA 92706-2103
39969784         +   JACQUELINE G CORNEJO-LOPEZ, 157 S Catalina St, Los Angeles, CA 90004-4654
39969785         +   JACQUELINE GALVEZ-RUIZ, 13320 Corcoran St, San Fernando, CA 91340-2206
39969786         +   JACQUELINE NUNEZ, 1508 2ND ST, SAN FERNANDO, CA 91340-2720
39969788         +   JACQUELINE V ANTILLON, 1954 E 87th st, Los angeles, CA 90002-1502
39969789         +   JADE AGUILAR LARIOS, 10865 LEHIGH AVE APT 148, PACOIMA, CA 91331-2515
39969790         +   JADE E REGALADO, 13161 Foothill Blvd 114, Sylmar, CA 91342-4865
39969791         +   JADE O HERNANDEZ, 2038 E 77th St, Los Angeles, CA 90001-3108
39969792         +   JAHAIRA OSORIO, 10965 GLENOAKS BLVD APT 60, PACOIMA, CA 91331-7560
39969793         +   JAHAIRY RIVERA, 7552 MELVIN AVE, RESEDA, CA 91335-2429
39969797         +   JAIME LEE-RAMIREZ, 16901 GERMAIN ST, GRANADA HILLS, CA 91344-6304
39969801             JAMBA INC, HALL OFFICE PARK, FRISCO, TX 75034
39969804         +   JAMES MORA, 221 N BERENDO ST APT 9, LOS ANGELES, CA 90004-4716
39969805         +   JAMIE D CASTILLO, 7616 KRAFT AVE, NORTH HOLLYWOOD, CA 91605-2915
39969808         +   JANET GARCIA-MONTES, 418 N Concord St, LOS ANGELES, CA 90063-2818
39969809         +   JANETH OCAMPO, 8241 WHITSETT AVE, APT 4, ONTARIO, CA 91605-1252
39969810         +   JANETH OCAMPO, 8241 WHITSETT AVE APT 4, NORTH HOLLYWOOD, CA 91605-1252
39969811         +   JANSPORT, 2601 HARBOR BAY PKWY, ALAMEDA, CA 94502-3042
39969812         +   JAPAN HOUSE, 6801 HOLLYWOOD BLVD, SUITE 167, LOS ANGELES, CA 90028-6139
39969813         +   JAQUELINE CHAVEZ, 13034 CARL ST APT 423, PACOIMA, CA 91331-2508
39969814         +   JARINTZI SANCHEZ, 123 N HAGAR STREET APT B, SAN FERNANDO, CA 91340-2882
39969815         +   JARROD O WILLIAMS, 5925 Crenshaw Blvd 24, Los Angeles, CA 90043-3046
39969816        #+   JASBIR S GHUMAN Jr, 2404 Wilshire 6C, Los Angeles, CA 90057-3375
39969818         +   JASMIN DIAZ, 813 BOYLSTON STREET, PASADENA, CA 91104-4514
39969819         +   JASMIN GONZALEZ, 733 East 53rd Street, Los Angeles, CA 90011-4619
39969820         +   JASMIN M OCHOA, 4107 Walnut St, Cudahy, CA 90201-4136
39969821         +   JASMINE DIAZ, 9414 VAN NUYS BLVD 3, PANORAMA CITY, CA 91402-1334
39969822         +   JASMINE F MARTINEZ, 7553 Beck ave, North Hollywood, CA 91605-3310
39969823         +   JASMINE G ZAMBRANO, 5963 Agra St, Bell Gardens, CA 90201-1701
39969824         +   JASMINE HERNANDEZ ANGUIANO, 7115 Benson St, Huntington Park, CA 90255-5316
39969825         +   JASMINE MEJIA, 13091 1/2 CARL ST APT 303, PACOIMA, CA 91331-2593
39969827         +   JASMINE TOVAR, 434 E 76TH STREET, LOS ANGELES, CA 90003-2324
39969828         +   JASMINE VIDACA, 22761 Vanowen St Apt 216, West Hills, CA 91307-2665
39969829         +   JASON MERTELL, 10121 JORDAN AVENUE, CHATSWORTH, CA 91311-3759
39969830         +   JASON R MAHONEY, 1348 Kellam Ave, Los Angeles, CA 90026-5136
39969831         +   JAVIER A RIOS-GALINDO, 430 S BURLINGTON, LOS ANGELES, CA 90057-3006
39969832         +   JAVIER GONZALEZ, 13715 FLORINE AVE, PARAMOUNT, CA 90723-2132
39969833         +   JAVIER MAZAS, 2226 S HOBART BLVD APT 5, LOS ANGELES, CA 90018-4622
39969834         +   JAY GEHRINGER, 5928 CANTALOUPE AVE, VAN NUYS, CA 91401-4312
39969835         +   JAY'S CATERING, 10581 GARDEN GROVE BLVD, GARDEN GROVE, CA 92843-1128
39969837         +   JAZMIN FLORES, 7357 Denny Ave, Sun Valley, CA 91352-5113
39969839         +   JAZMIN TOVAR, 434 E 76TH ST, LOS ANGELES, CA 90003-2324
39969840         +   JAZMINE CASTANEDA, 1564 W 23RD ST, LOS ANGELES, CA 90007-1620
39969841         +   JAZZIEL RODRIGUEZ, 3532 VINTON AVE APT 3, LOS ANGELES, CA 90034-4842
39969842         +   JEAN RAMIREZ, 15440 SHERMAN WAY APT 124, VAN NUYS, CA 91406-4294
39969843         +   JEANETTE MARTIN, 9755 EAST AVE S-12, LITTLEROCK, CA 93543-2311
39969844         +   JEANNE VENEGAS, 13310 GLENOAKS, SYLMAR, CA 91342-2109
39969846         +   JENNA CIRILLO, 801 Venezia Ave, Venice, CA 90291-3927
39969847         +   JENNIFER A BELTRAN, 14708 REX STREET, SYLMAR, CA 91342-3952
39969849         +   JENNIFER BARRIOS, 5940 WILLOWCREST AVE APT C, NORTH HOLLYWOOD, CA 91601-1532
39969850         +   JENNIFER BRITO, PO BOX 921571, SYLMAR, CA 91392-1571
39969851         +   JENNIFER CALDERON, 1060 S CATALINA ST, LOS ANGELES, CA 90006-2606
39969852         +   JENNIFER LARA, 6342 MORSE AVE APT 208, NORTH HOLLYWOOD, CA 91606-2906
39969853         +   JENNIFER MEJIA, 10884 PALA AVE APT 329, PACOIMA, CA 91331-2522
39969854         +   JENNIFER OROZCO ESQUIVAS, 17806 LASSEN STREET APT 212, NORTHRIDGE, CA 91325-4821
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                          Desc
                           Imaged Certificate of Notice Page 20 of 66
District/off: 0973-2                                    User: admin                                                  Page 20 of 52
Date Rcvd: Oct 12, 2023                                 Form ID: pdf001                                           Total Noticed: 2627
39969855         +   JENNIFER P MIRANDA I, 3200 W 5th st apt 710, Santa Ana, CA 92703-1844
39969857         +   JENNIFER PADILLA, 156 NORTH ALMA AVENUE, LOS ANGELES, CA 90063-4159
39969856         +   JENNIFER PADILLA, 6721 CRESCENT ST, LOS ANGELES, CA 90042-3712
39969858         +   JENNIFER RIVERA, 208 N Burris Ave, COMPTON, CA 90221-2843
39969859         +   JENNIFER TELLES, 816 S Park View St Apt 304, Los Angeles, CA 90057-3946
39969860        #+   JENNIFER VAZQUEZ, 405 EUCLID AVE, LOS ANGELES, CA 90063-3122
39969862         +   JENNIFER WATANABE, 16674 TAYLOR COURT, TORRANCE, CA 90504-2237
39969865         +   JESSE GARCIA, 1917 GLENOAKS BLVD Unit 201, SAN FERNANDO, CA 91340-1684
39969866         +   JESSE HERNANDEZ, 1411 S MENLO AVE APT 2, LOS ANGELES, CA 90006-4603
39969868         +   JESSICA AVINA, 19549 DELIGHT ST, CANYON COUNTRY, CA 91351-2051
39969869         +   JESSICA CRUZ, PO Box 31243, LOS ANGELES, CA 90031-0243
39969870         +   JESSICA FREGOSO, 14017 BEAVER STREET, SYLMAR, CA 91342-4209
39969871         +   JESSICA HENDRICKS, 6600 WHITSETT AVE, APT 7, NORTH HOLLYWOOD, CA 91606-2329
39969873         +   JESSICA HERNANDEZ, 932 S WESTMORELAND, APT 102, CA 90006-5673
39969874         +   JESSICA REYES, 616 CLINTWOOD AVE, LA PUENTE, CA 91744-2418
39969875         +   JESSICA SILVA, 660 LORANNE AVE, POMONA, CA 91767-5063
39969876         +   JESSIE P GONZALEZ, 13058 JOUETT ST, ARLETA, CA 91331-2510
39969877         +   JESSYMAR GALLAGA, 8987 South Gate Ave, South Gate, CA 90280-2914
39969879         +   JESUS G MEJIA, 13010 Carl pl 293, Pacoima, CA 91331-2504
39969880         +   JESUS HERNANDEZ, 1611 W 12TH ST APT 108, LOS ANGELES, CA 90015-1918
39969881         +   JESUS PINEDA, 2320 OCEAN VIEW AVE APT 4, LOS ANGELES, CA 90057-2717
39969884        ++   JFK TRANSPORTATION CO INC, 980 W 17TH STREET SUITE B, SANTA ANA CA 92706-3554 address filed with court:, JFK
                     TRANSPORTATION CO INC, 980 W 17TH STREET SUITE B, SANTA ANA, CA 92706
39969886         +   JIFFFY LUBE, 11541 LAUREL CANYON BOULEVARD, SAN FERNANDO, CA 91340-4115
39969887         +   JIRO F DUENAS, 1371 EAST 48th STREET, LOS ANGELES, CA 90011-4207
39969888         +   JJ 1021 INC, 2082 S HARVARD BLVD, LOS ANGELES, CA 90018-1615
39969889         +   JMG Inc, 1061 Meadowbrook Ave, Los Angeles, CA 90019-6710
39969890         +   JOANA MONTES, 2927 FRANCIS AVENUE APT 217, LOS ANGELES, CA 90005-1767
39969892         +   JOCELYN C AYALA, 11150 Glenoaks 61, Pacoima, CA 91331-6633
39969893         +   JOCELYN CARDENAS, 11150 Glenoaks Blvd Unit 138, Pacoima, CA 91331-6645
39969896         +   JOCELYN POZ-COS, 2914 W 8TH STREET APT 304, LOS ANGELES, CA 90005-1751
39969897         +   JOCELYN PRIETO CRUZ, 2256 PARKSIDE AVE APT 202, LOS ANGELES, CA 90031-2947
39969898         +   JOCELYNE G RIOS, 11538 WELK AVE, PACOIMA, CA 91331-1146
39969899         +   JOE L ORTIZ Jr, 12764 Herrick Ave, Sylmar, CA 91342-4001
39969900         +   JOE MUER SEAFOOD, 400 RENAISSANCE CENTER 1404, DETROIT, MI 48243-1502
39969902         +   JOE S LOPEZ, 12863 Filmore St, Pacoima, CA 91331-1237
39969905         +   JOEL MARTIN, 12963 CHIPPEWA ST, SYLMAR, CA 91342-4906
39969906         +   JOHANNA RODRIGUEZ, 118 N MARGUERITA AVE, ALHAMBRA, CA 91801-2147
39969907         +   JOHANNA RODRIGUEZ, 118 N MARGUERITA AVE APT A, ALHAMBRA, CA 91801-2147
39969909         +   JOHN B GOMEZ, 186 1/2 S MOUNTAIN VIEW AVE, LOS ANGELES, CA 90057-2370
39969912         +   JOHN TERRE, 6615 Lemp Ave 4, North Hollywood, CA 91606-1760
39969913         +   JOLENE SWAIN MSW, 4221 DUQUESNE AVE, CULVER CITY, CA 90232-2807
39969914         +   JOLIE NGUYEN, 8433 Darby Ave, Northridge, CA 91325-3707
39969916         +   JONATHAN A LOPEZ, 12734 Rajah St, Sylmar, CA 91342-3317
39969917         +   JONATHAN CHAVEZ, 129 W 43RD ST, LOS ANGELES, CA 90037-2701
39969920         +   JONATHAN GALICIA, 8227 De Garmo Ave, Sun Valley, CA 91352-4131
39969922         +   JONATHAN I VERGARA-DIAZ, 828 NORTH BRAND BLVD, SAN FERNANDO, CA 91340-1413
39969924         +   JONATHAN OCHOA, 13172 FENTON AVE, SYLMAR, CA 91342-4519
39969925         +   JONATHAN TLATOA, 1136 E 48TH ST, LOS ANGELES, CA 90011-4234
39969926         +   JONATHAN ZELAYA, 7301 Lennox Ave E14, Van Nuys, CA 91405-6255
39969927         +   JONHAIRO ALFARO, 316 N RAMPART BLVD, LOS ANGELES, CA 90026-4824
39969928         +   JORDAN KEELS, 9354 CRENSHAW BLVD, INGLEWOOD, CA 90305-2908
39969929         +   JORDY O LANDAVERDE, 832 W 76TH ST, LOS ANGELES, CA 90044-5121
39969930         +   JORGE A VAZQUEZ, 4011 Randolph St, Huntngton Park, CA 90255-4611
39969932         +   JORGE DE LEON, 11227 HERRICK AVENUE, PACOIMA, CA 91331-1922
39969934         +   JORGE LOPEZ-LOZA, 11021 NORRIS AVE APT 28, PACOIMA, CA 91331-2501
39969935         +   JORGE M HERNANDEZ, 2941 VIA MARINA COURT, OXNARD, CA 93035-2400
39969936         +   JOSE A GUARDADO, 16815 KINGSBURY ST APT 102, GRANADA HILLS, CA 91344-6404
39969937         +   JOSE A HERNANDEZ, 233 W Mission Rd Apt C, San Gabriel, CA 91776-2473
39969938         +   JOSE A LOPEZ, 12734 Rajah Street, SYLMAR, CA 91342-3317
39969940         +   JOSE ESTRADA, 21225 SATICOY STREET APT 4, CANOGA PARK, CA 91304-5636
39969941         +   JOSE FLORES, 330 S GLESS ST, LOS ANGELES, CA 90033-3703
39969943         +   JOSE HEREDIA RECINOS, 5510 LEXINGTON AVE APT 24, LOS ANGELES, CA 90038-2223
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                 Desc
                           Imaged Certificate of Notice Page 21 of 66
District/off: 0973-2                                 User: admin                                            Page 21 of 52
Date Rcvd: Oct 12, 2023                              Form ID: pdf001                                     Total Noticed: 2627
39969944         +   JOSE I HERNANDEZ, 1715 S 5th Street Apt F, Alhambra, CA 91803-3571
39969945         +   JOSE JIMENEZ, 13412 TERRA BELLA ST, PACOIMA, CA 91331-3837
39969946        #+   JOSE L MUNOZ, 6651 BAKMAN AVE APT 3, NORTH HOLLYWOOD, CA 91606-1826
39969947         +   JOSE L SANCHEZ, 11183 HERRICK AVE, PACOIMA, CA 91331-1920
39969948         +   JOSE LUNA, 7422 BLEWETT AVE, VAN NUYS, CA 91406-3102
39969950         +   JOSE M DUARTE HERRERA, 1308 S WESTLAKE AVENUE APT 1/4, LOS ANGELEZ, CA 90006-5013
39969953         +   JOSE R MARTINEZ PEREZ, 233 N Kenmore Avenue Apt 303, Los Angeles, CA 90004-6224
39969954         +   JOSE SEPULVEDA, 11339 MONTGOMERY AVE, GRANADA HILLS, CA 91344-3842
39969955         +   JOSEFINA GAMA, 1236 E 59TH ST, Los Angeles, CA 90001-1112
39969957         +   JOSEPH J AVALOS, 9505 Sylmar Ave 3, Pacoima, CA 91402-1179
39969961         +   JOSHUA J OCHOA, 13172 Fenton Ave, Sylmar, CA 91342-4519
39969962         +   JOSHUA N MCCLAIN MONDAY, 1632 W GAGE AVE, LOS ANGELES, CA 90047-1523
39969963         +   JOSHUA VARELA, 225 S San Dimas Cyn Rd apt8, San Dimas, CA 91773-2777
39969964         +   JOSSELINE HERNANDEZ-GARCIA, 4075 OAKWOOD AVE APT 5, LOS ANGELES, CA 90004-3465
39969965         +   JOSUE JIMENEZ, 1351 W 71 ST, LOS ANGELES, CA 90044-2505
39969966         +   JOUR 'DAN PETERS, 718 E 81ST ST, LOS ANGELES, CA 90001-3216
39969967         +   JPMorgan Chase Foundation, 270 Park Ave 4th Fl, NEW YORK, NY 10017-2014
39969968         +   JUAN A MUNOZ, 13563 SAYRE ST, SYLMAR, CA 91342-2310
39969969         +   JUAN FLORES, 1035S BONNIE BRAE ST, LOS ANGELES, CA 90006-3713
39969971         +   JUAN J GARCIA, 13241 PAXTON ST APT 5, PACOIMA, CA 91331-2362
39969972         +   JUAN J GONZALEZ, 3932 S Sepulveda Blvd 11, Culver City, CA 90230-4653
39969973         +   JUAN ORDUNA, 1459 1/2 E 23RD STREET, LOS ANGELES, CA 90011-1749
39969974         +   JUAN PABLO REYES, 10977 NORRIS AVE APT47, PACOIMA, CA 91331-2564
39969975         +   JUAN PAOLO MANUEL, 4520 CLINTON ST, 106, LOS ANGELES, CA 90004-2016
39969977         +   JUAN TAVIZON, 1218 E 90TH STREET, LOS ANGELES, CA 90002-1712
39969978         +   JUAN ZEPEDA, 245 E AVE 33, LOS ANGELES, CA 90031-1907
39969979         +   JUANY HERNANDEZ, 4171 W 4th St Apt 10, Los Angeles, CA 90020-3661
39969981         +   JUDITH CRUZ ALVARADO, 174 E 46TH STREET, LOS ANGELES, CA 90011-3408
39969982         +   JUDITH I ZUNIGA, 1539 W Gage Ave, Los Angeles, CA 90047-1522
39969984         +   JULIANNA E IXQUIAC SARAVIA, 387 BLOOM ST APT 264, LOS ANGELES, CA 90012-2039
39969985        #+   JULIANNA PEREZ, 13140 DRONFIELD AVENUE APT 313, SYLMAR, CA 91342-4483
39969990         +   JULIE LE, 27498 DAFFODIL COURT APT 308, SANTA CLARITA, CA 91350-5759
39969991         +   JULIE M TEMMERMAN, 10023 Halbrent Ave, Mission Hills, CA 91345-3017
39969992         +   JULIE MOSQUEDA, 2100 San Anseline Ave Apt B, Long Beach, CA 90815-3148
39969993         +   JULIO AVINA LOPEZ, 19549 DELIGHT ST, CANYON COUNTRY, CA 91351-2051
39969994         +   JULIO C HERRERA, 10202 BRADLEY AVE, PACOIMA, CA 91331-2204
39969996         +   JULIO LOPEZ, 19549 DELIGHT ST, CANYON COUNTRY, CA 91351-2051
39969997         +   JULIO PONCE, 13000 Studebaker Rd Apt48, Norwalk, CA 90650-2529
39969998         +   JULISSA CASTELLANOS, 12866 Van Nuys Blvd, Pacoima, CA 91331-1929
39969999         +   JULIUS LISING, 11017 ARBUCKLE AVE, MISSION HILLS, CA 91345-1604
39970002         +   JUSTIN AYALA, 8350 CALVIN AVE, NORTHRIDGE, CA 91324-4210
39970003         +   JUSTIN E HERNANDEZ, 129 S Bushnell Ave 1/2, Los Angeles, CA 91801-3125
39969794         +   Jahcure D Scott, 9316 S Central Ave Apt B, Los Angeles, CA 90002-2020
39969798         +   Jaime Madrigal, 2412 Fairmount St, Los Angeles, CA 90033-2502
39969803         +   James Kidd Studio, 420 West Avenue 33 Unit 10, Los Angeles, CA 90031-3078
39969806         +   Jamz Championships, P O Box 4308, Modesto, CA 95352-4308
39969807         +   Jan Palma, 9743 Cedros Ave, Panorama City, CA 91402-1007
39969836         +   Jazmin B Guzman, 1454 W 69th St, Los Angeles, CA 90047-2026
39969845        #+   Jeffery P Culley, 3301 Griffin Ave apt 1, Los Angeles, CA 90031-1950
39969848         +   Jennifer Baez, 6300 Variel Ave Apt 140, Woodland Hills, CA 91367-7742
39981616         +   Jennifer Orozco Esquivias, 9511 darby ave, 110, northridge, CA 91325-2185
39969861         +   Jennifer Vega, 372 Loma Dr, Los Angeles, CA 90017-1104
39969863         +   Jerry Gonzalez, 4214 Guardia Avenue, Los Angeles, CA 90032-1115
39969864         +   Jesse A Morales, 208 N Ditman Ave, Los Angeles, CA 90063-2330
39969867         +   Jesse Vega, 6230 King Ave A, Bell, CA 90201-1365
39969883         +   Jet Propulsion Laboratory (NASA), 4800 Oak Grove Dr, PASADENA, CA 91109-8001
39969885         +   Jiate L Malvaez, 1611 Silverwood Terrace, Los Angeles, CA 90026-1447
39969891         +   Joann Schnelldorfer Scpad, 2094 Creekridge Ave, Simi Valley, CA 93065-6288
39969895         +   Jocelyn G Carrillo, 9003 Greenbush Ave, Arleta, CA 91331-6107
39969901         +   Joe P Parada, 13014 Bona Vista Ln, La Mirada, CA 90638-1804
39969903         +   Joe's Auto Parks Inc, 550 S Hope St Ste 2200, Los Angeles, CA 90071-3200
39969915         +   Jonathan A Cruz-Chevez, 136 N New Hampshire Ave Apt 2, Los Angeles, CA 90004-4738
39969918         +   Jonathan F Puac, 680 S Burlington Apt237, Los Angeles, CA 90057-3738
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                    Desc
                           Imaged Certificate of Notice Page 22 of 66
District/off: 0973-2                                 User: admin                                             Page 22 of 52
Date Rcvd: Oct 12, 2023                              Form ID: pdf001                                      Total Noticed: 2627
39969919         +   Jonathan G Gales, 1929 Glenoaks Blvd Apt 123, San Fernando, CA 91340-1672
39969921         +   Jonathan I Garcia, 14187 Raven St, Sylmar, CA 91342-4152
39969923         +   Jonathan M Finley, 13555 Egbert Street, Sylmar, CA 91342-1846
39969931         +   Jorge Carrillo, 9208 Dorothy Ave, South Gate, CA 90280-5102
39969933         +   Jorge Gonzalez, 128 N Maple Ave Apt 3, Montebello, CA 90640-4047
39969942         +   Jose Francisco Larios, 5486 Lime Ave, Long Beach, CA 90805-5415
39969949         +   Jose M Barrera, 1400 ALBANY ST APT 5, LOS ANGELES, CA 90015-3255
39969952         +   Jose Montoya, 16600 Downey Ave Spc 16, Paramount, CA 90723-6211
39969956         +   Joseph Drown Foundation, 1999 Avenue of the Stars 2330, LOS ANGELES, CA 90067-6043
39969958         +   Joseph M Guerrero, 8862 Van Nuys Blvd Apt 22, Panorama City, CA 91402-2408
39969959         +   Joseph Salazar, 2232 Hancock St, Los Agneles, CA 90031-3406
39969976         +   Juan Reynaga, 3432 E 3Rd St, Los Angeles, CA 90063-2935
39969980         +   Jude Ortiz, 435 S Chicago St, Los Angeles, CA 90033-4311
39969983         +   Jules And Associates Inc, 515 S Figueroa St Suite 1900, Los Angeles, CA 90071-3336
40037019         +   Jules and Associates, 2 Great Valley Parkway,, Suite 300, Malvern, PA 19355-1319
39969988         +   Julie C Colorado, 8112 JACKSON ST, PARAMOUNT, CA 90723-5514
39969989         +   Julie Gerges, 10121 Remmet Ave, Chatsworth, CA 91311-2926
39969995         +   Julio Cesar Garcia, 4836 Rosewood Ave Apt 3, Los Angeles, CA 90004-2547
39970001         +   Justice & Security Strategies Inc, Po Box 6188, Silver Spring, MD 20916-6188
39970004         +   K&L WINES, 1400 VINE ST, LOS ANGELES, CA 90028-8110
39970007         +   KAMYA JOHNSON, 535 W EL SEGUNDO BLVD APT 324, LOS ANGELES, CA 90061-1271
39970009         +   KAREN B VASQUEZ AGUILAR, 415 1/2 CORONADO TERRACE APT 415 1/2, LOS ANGELES, CA 90026-5183
39970010         +   KAREN CARRANZA, 8735 MURRIETTA AVE, PANORAMA CITY, CA 91402-3224
39970011         +   KAREN MARTELL, 1929 NORTH SUMMIT AVE, APT 1, PASADENA, CA 91103-1758
39970013         +   KARENT RODRIGUEZ, 5711 RUTHELEN ST, LOS ANGELES, CA 90062-2543
39970014         +   KARINA DE ANDA, 16214 S DENVER AVE, GARDENA, CA 90248-2605
39970015         +   KARINA FAVELA-BARRERAS, 2121 N EASTERN AVE, LOS ANGELES, CA 90032-3815
39970016         +   KARINA HERRERA, 5137 Hillcrest Drive, Los Angeles, CA 90043-2354
39970017         +   KARINA J JUAREZ, 6132 Vinevale Ave Apt B, Maywood, CA 90270-3317
39970019         +   KARINA MOSQUEDA, 39513 DIJON LANE, PALMDALE, CA 93551-1014
39970020         +   KARLA J HERNANDEZ, 1190 Rolland Curtis Pl, Los Angeles, CA 90037-1108
39970021         +   KARLA MONTENEGRO GONZALEZ, 17806 KINZIE ST, APT 211, NORTHRIDGE, CA 91325-4785
39970022         +   KARLA ROBLES, 9635 SEPULVEDA BOULEVARD UNIT 1, NORTH HILLS, CA 91343-3320
39970023         +   KARLA ROMAN VALDEZ, 13009 CARL ST APT 394, PACOIMA, CA 91331-2509
39970025             KASSANDRA OROZCO, HATILLO AVENUE 8343, WINNETRO, CA 91306
39970028         +   KATHERINE LOPEZ-ESPINOZA, 356 1/2 N DOUGLAS ST, LOS ANGELES, CA 90026-6647
39970029         +   KATHERINE N PINO, 12600 Carl St 30, Pacoima, CA 91331-1508
39970030         +   KATHLEEN J HOBKIRK, 3023 Glenn Ave, LOS ANGELES, CA 90023-2712
39970031         +   KATHY SILVA, 8421 VENTURA CANYON AVENUE APT 1, PANORAMA CITY, CA 91402-3930
39970032         +   KAYLA M GONZALEZ, 8750 Kester Avenue 60, Panorama City, CA 91402-2156
39970033         +   KAYLA ROSALES, 13023 CARL ST APT 381, PACOIMA, CA 91331-2509
39970034         +   KCRW Foundation, 1900 Pico Blvd, Santa Monica, CA 90405-1628
39970035         +   KEENAN ANDERSON I, 112 E Buckthorn, Inglewood, CA 90301-3336
39970037         +   KEILA ROSADO-SANTOS, 13439 TREGO ST, SYLMAR, CA 91342-1853
39970038         +   KEIRIK MONTANO, 12661 PIERCE STREET APT 101, PACOIMA, CA 91331-1964
39970039         +   KELLY BROOKS, 1298 N Wilson Ave, Pasadena, CA 91104-2913
39970040         +   KELLY RUIZ, 13600 Cantlay St Apt 8, Van Nuys, CA 91405-2886
39970041             KELLY SERVICES INC, PO BOX 31001-0422, PASADENA, CA 91110-0422
39970042         +   KENIA HERNANDO, 1610 N Broadway Apt 119, Santa Ana, CA 92706-3934
39970043         +   KENIA J SORTO CARPIO, 1138 S Fedora St Apt 5, Los Angeles, CA 90006-3251
39970044         +   KENNETH MAURICIO LOPEZ - AREVALO, 2002 CLAUDINA AVE, LOS ANGELES, CA 90016-1628
39970046         +   KEVIN BARRIENTOS, 10974 LEHIGH AVE APT 39, PACOIMA, CA 91331-2516
39970048         +   KEVIN FLORES, 939 N Kenmore Ave, Los Angeles, CA 90029-2511
39970050         +   KEVIN M VALENZUELA, 1730 W 64st, Los angeles, CA 90047-1945
39970051         +   KEVIN MEZA, 10965 GLENOAKS BLVD APT 607, PACOIMA, CA 91331-7707
39970052         +   KEVIN NAJERA TRAIN, 1179 E 25TH ST APT 4, LOS ANGELES, CA 90011-3748
39970054        #+   KEYLA Z ESCOBAR, 15067 Astoria St, Sylmar, CA 91342-5045
39970055         +   KHA NGUYEN, 1543 W ELGENIA ST, WEST COVINA, CA 91790-1210
39970056         +   KHERGTIN SANCHEZ ARROYO, 4326 W MLK JR BLVD APT 5, LOS ANGELES, CA 90008-1733
39970059         +   KIDSPACE CHILDREN'S MUSEUM, 480 N ARROYO BLVD, PASADENA, CA 91103-3269
39970060         +   KIM G GEIGER, 4200 CHINO HILLS PKWY, STE 135-278, CHINO HILLS, CA 91709-3776
39970061         +   KIMBERLEE VILCHES, 17925 DEVONSHIRE STREET APT 16, NORTHRIDGE, CA 91325-1275
39970062         +   KIMBERLY A MELGAR, 1831 Tamarind Ave Apt 7, Los angeles, CA 90028-5533
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                           Desc
                           Imaged Certificate of Notice Page 23 of 66
District/off: 0973-2                                    User: admin                                                   Page 23 of 52
Date Rcvd: Oct 12, 2023                                 Form ID: pdf001                                            Total Noticed: 2627
39970063         +   KIMBERLY C CAAL GARCIA, 4159 Gilman Rd, El Monte, CA 91732-2542
39970064         +   KIMBERLY C RIVAS, 611 N Pearl Ave, Compton, CA 90221-2754
39970066         +   KIMBERLY D KERN, 1532 ARMACOST, APT 3, LOS ANGELES, CA 90025-2720
39970068         +   KIMBERLY GUIDO, 9034 Rosehedge Dr, Pico Rivera, CA 90660-3062
39970069         +   KIMBERLY MORAN, 10966 LEHIGH AVENUE 52, PACOIMA, CA 91331-2516
39970070         +   KIMBERLY SALINAS, 1120 W 57TH ST, LOS ANGELES, CA 90037-3908
39970071         +   KIMPTON HOTEL & RESTAURANT LLC, 222 KEARNY ST STE 200, SAN FRANCISCO, CA 94108-4537
39970072         +   KINBERLIN BALTAZAR, 731 BEACON AVENUE APT 112, LOS ANGELES, CA 90017-2142
39970073         +   KIWANIS INTERNATIONAL, 3636 WOODVIEW TRACE, INDIANAPOLIS, IN 46268-3196
39970074             KIWANIS INTERNATIONAL, PO BOX 6069-DEPT 123, INDIANAPOLIS, IN 46206-6069
39970075             KIWANIS LITERACY CLUB OF SOUTHERN CALIFO, 13881 AZORES AVE, SYLMAR, CA 91342
39970076         +   KNOCKAROUND LLC, 2251 SAN DIEGO AVENUE, STE B-155, SAN DIEGO, CA 92110-2926
39970077         +   KNOTT'S BERRY FARM, 8039 BEACH BLVD, BUENA PARK, CA 90620-3225
39970078         +   KOQUIS MOORE, 1140 WEST BLVD, LOS ANGELES, CA 90019-1852
39970079        #+   KOUNKUEY DESIGN INITIATIVE INC, 309 EAST 8TH STREET, 205, LOS ANGELES, CA 90014-2254
39970082         +   KRISHNA TEMPLE INC, 8628 SOUTH STATE ROAD, SPANISH FORK, UT 84660-9227
39970083         +   KRISTEENA SALAS, 4618 TOPAZ STREET, LOS ANGELES, CA 90032-2665
39970084         +   KRISTI PHAM, 10434 ORION AVE, MISSION HILLS, CA 91345-2416
39970086         +   KWIK GOAL, 140 PACIFIC DRIVE, QUAKERTOWN, PA 18951-3608
39970088         +   KYLE KIRKPATRICK, 26526 CANARY CT, SANTA CLARITA, CA 91351-4897
39970005         +   Kaiser Permanente, File 54803, Los Angeles, CA 90074-0001
39970006         +   Kaiser Permanente Foundation, 1780 Second Street, BERKELEY, CA 94710-1705
39970026         +   Kateryne D Guitron Estrada, 14610 Plummer St Apt 205, Panorama City, CA 91402-7006
39970027         +   Katherine A Orozco, 12707 Bradley Avenue Unit 9, Sylmar, CA 91342-0912
39970036         +   Keenan K Allen, 10014 Lemona Ave, Mission Hills, CA 91345-3004
39970047         +   Kevin E Florian, 940 S Magnolia Ave Apt 23, Los Angeles, CA 90006-6625
39970049         +   Kevin G Rico Copado, 14650 Polk St, Sylmar, CA 91342-4056
39970053         +   Kevin R Galvan, 116 Witmer Street Apt 207, Los Angeles, CA 90026-6968
39970058         +   Kids Kan Inc, PO Box 1181, Calimesa, CA 92320-0918
40093372         +   Kimberly Rodriguez, 655 University Ave., Ste 150, Sacramento, CA 95825-6734
40211655         #   Kounkuey Design Initiative, Inc., 309 E. 8th Street, Suite #205, Los Angeles, CA 90014-2254
39970081         +   Kresge Foundation, 3215 W Big Beaver Rd, TROY, MI 48084-2818
39970085         +   Kroger, 1014 VINE ST, CINCINNATI, OH 45202-1100
39970087         +   Kyion S Petty, 16350 Filbert St, Sylmar, CA 91342-1002
39970089         +   LA BOU BAKERY, 4400 DEL RIO RD, SACRAMENTO, CA 95822-1126
39970091         +   LA CITY PARKING METER, 100 S MAIN ST 10TH FL, LOS ANGELES, CA 90012-3719
39970092             LA CITY RECREATION AND PARKS, CITYWIDE AQUATICS DIVISION, LOS ANGELES, CA 90027
39970090         +   LA Care Health Plan, 1055 7th St, LOS ANGELES, CA 90017-2577
39970093         +   LA Clippers LLC, 1212 S Flower Street 5Th Floor, Los Angeles, CA 90015-2123
39970094         +   LA County Arts Commission, 1055 Wilshire Blvd, LOS ANGELES, CA 90017-5655
39970095         +   LA County Department of Public Health, 313 N Figueroa St, LOS ANGELES, CA 90012-2602
39970096         +   LA County Office of Education, 9300 Imperial Hwy, DOWNEY, CA 90242-2890
39970098         +   LA DWP, PO BOX 30808, LOS ANGELES, CA 90030-0808
39970097         +   LA Dodgers Foundation, 1000 Elysian Park Ave, LOS ANGELES, CA 90012-2112
39970100         +   LA ESPA OLA INC, 15843 SHADYWOOD CT, LA MIRADA, CA 90638-2632
39970101         +   LA FAVORITA BAKERY, 2305 E 4TH STREET, SUITE 4305, LOS ANGELES, CA 90033-4305
39970102         +   LA Galaxy, 18400 Avalon Blvd Ste 200, Carson, CA 90746-2181
39970103         +   LA LIVE PROPERTIES LLC, 9000 SUNSET BLVD 1100, WEST HOLLYWOOD, CA 90069-5811
39970106         +   LA OPINION, 915 WILSHIRE BOULEVARD, SUITE 850, LOS ANGELES, CA 90017-4115
39970107         +   LA PIZZA LOCA, 610 S RAMPART AVE, LOS ANGELES, CA 90057-3213
39970109         +   LA QUINTA RESORT AND CLUB, 49-499 EISENHOWER DRIVE, LA QUINTA, CA 92253-2722
39970111         +   LA'S Promise, 1035 South Grand Avenue 2Nd Floor, Los Angeles, CA 90015-1670
39970112         +   LA84 Foundation, Attn Finance, 2141 West Adams Blvd, Los Angeles, CA 90018-2040
39970114         +   LAAAE, 1200 COLTON ST 320, LOS ANGELES, CA 90026-5816
39970115         +   LAANE, 464 LUCAS AVE 202, LOS ANGELES, CA 90017-2074
39970117         +   LACC - COLLEGE BOOKSTORE, 755 N New Hampshire, Los Angeles, CA 90029-3591
39970118         +   LACER, 1277 N Wilcox Ave Suite 2, Los Angeles, CA 90038-1435
39970119         +   LADEJA MCINTYRE, 4520 Cimarron St, Los Angeles, CA 90062-1918
39970120         +   LADY OF THE HOUSE, 1426 BAGLEY ST, DETROIT, MI 48216-1961
39970121             LAKE DRIVE HARDWARE, 23895 LAKE DRIVE, CRESTLINE, CA 92325
39970122         +   LAKE STREET COMMUNITY CENTER, 227 N LAKE ST, LOS ANGELES, CA 90026-5322
39970125         +   LARCHMONT CHARTER ELEMENTARY, 815 N EL CENTRO AVE, LOS ANGELES, CA 90038-3805
39970126         +   LARRY DIAMOND, 6825 ANDASOL AVENUE, VAN NUYS, CA 91406-4317
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                  Desc
                           Imaged Certificate of Notice Page 24 of 66
District/off: 0973-2                                 User: admin                                             Page 24 of 52
Date Rcvd: Oct 12, 2023                              Form ID: pdf001                                      Total Noticed: 2627
39970128         +   LAS MKT, 5757 WAYNE NEWTON BLVD, LAS VEGAS, NV 89111-8037
39970129         +   LAURA E ESQUIVEL, 4046 W 130TH ST, HAWTHORNE, CA 90250-5200
39970130         +   LAURA ROMERO ESPINOZA, 5656 LEXINGTON AVENUE APT 8, LOS ANGELES, CA 90038-5202
39970133         +   LAURIE MELANSON, 12142 Cantura St, Studio City, CA 91604-2501
39970136         +   LAWRENCE SARENANA, 10631 LINDLEY AVE APT 247, NORTHRIDGE, CA 91326-3278
39970137         +   LAX VAN RENTAL, 5250 W CENTURY BLVD 107, LOS ANGELES, CA 90045-5938
39970138         +   LAYLANY MENDEZ, 1238 115 ST APT 197, LOS ANGELES, CA 90059-1739
39970139             LAZ PARKING, 10635 CA-2 145, LOS ANGELES, CA 90025
39970140         +   LAZARIA M BROOKS, 2328 WEST 25TH ST, LOS ANGELES, CA 90018-1917
39970141         +   LAZEL INC (LEARNING A-Z LLC), 17855 DALLAS PARKWAY, SUITE 400, DALLAS, TX 75287-6857
39970142         +   LB CONSULTING, 5454 VIA CORONA ST, LOS ANGELES, CA 90022-2202
39970147         +   LECTURA BOOKS, 1107 FAIR OAKS AVE 225, SOUTH PASADENA, CA 91030-3311
39970148         +   LEGACY LA, 1350 SAN PABLO ST, LOS ANGELES, CA 90033-1027
39970149         +   LEGO, 555 TAYLOR RD, ENFIELD, CT 06082-2372
39970150         +   LEGOLANDCA, 1 LEGOLAND DRIVE, CARLSBAD, CA 92008-4610
39970153         +   LENIN SOLANO, 330 N BIXEL ST APT 203, LOS ANGELES, CA 90026-5689
39970154         +   LEOBARDO GUTIERREZ, 1651 W 64th Street, Los Angeles, CA 90047-1539
39970157         +   LEONEL JARAMILLO, 3049 MERION ST, ONTARIO, CA 91761-7532
39970159             LESLE J VALLEJO, 3419 Los Angeles Street, Baldwin Park, CA 91706
39970160         +   LESLEY RAMOS, 13217 Kismet Ave, Sylmar, CA 91342-3205
39970162         +   LESLIE ARRIOLA, 335 W 90TH STREET, LOS ANGELES, CA 90003-3625
39970163         +   LESLIE B ESCOTO, 13241 Paxton St Apt3, Pacoima, CA 91331-2354
39970166         +   LESLIE L ZAPATA, 11231 Norris ave, Pacoima, CA 91331-2334
39970167         +   LESLIE MENDEZ, 1238 E 115 STREET APT 197, LOS ANGELES, CA 90059-1739
39970168         +   LESLIE NAVA, 13223 Aztec St, Sylmar, CA 91342-2508
39970169         +   LETICIA DUARTE RODRIGUEZ, 13031 1/2 CARL ST APT 379, PACOIMA, CA 91331-2509
39970170         +   LETTER JACKET, 10733 E UTE, TULSA, OK 74116-1518
39970171         +   LEWIS COLOR, 30 JOSEPH E KENNEDY BLVD, STATESBORO, GA 30458-3417
39970172         +   LEYDI NAVARRO, 828 North Brand Blvd, San Fernando, CA 91340-1413
39970178        #+   LILIA ANTUNA, 420 N Evergreen Ave 221, Los Angeles, CA 90033-3164
39970179         +   LILIANA BARBA, 10524 WOODMAN AVE, MISSION HILLS, CA 91345-2135
39970182             LINA COVARRUBIAS, 505 AXTELL ST APT 2, LOS ANGELES, CA 90032
39970183         +   LINDA ARTIGA, 739 S RAMPART BLVD, LOS ANGELES, CA 90057-3815
39970184         +   LINDA C URIOSTEGUI, 10052 Antigua St, Anaheim, CA 92804-5301
39970185         +   LINDA IHESIABA, 6405 MADDEN AVE, LOS ANGELES, CA 90043-4251
39970188             LINKEDINCOM, 62228 COLLECTIONS CENTER DRIVE, CHICAGO, IL 60693-0622
39970193         +   LIZA CHAVAC, 14525 RATH ST, LA PUENTE, CA 91744-1746
39970194         +   LIZA HERNANDEZ, 410 W WASHINGTON AVE APT 10, SANTA ANA, CA 92706-4075
39970197         +   LOCK & KEY SOCIAL DRINKERY, 11033 DOWNEY AVENUE, DOWNEY, CA 90241-3710
39970198         +   LOGMEIN GOTOMEETING, 320 SUMMER STREET, BOSTON, MA 02210-1701
39970200         +   LOPEZ CHRISTIAN, 5210 ROMAINE ST, APT 16, LOS ANGELES, CA 90029-3254
39970201         +   LOPEZ ERIKA, 4625 TRUJILLO DR, COVINA, CA 91722-2444
39970202         +   LOREAL PATMAN, 1067 E LURAY STREET, LONG BEACH, CA 90807-1019
39970203         +   LORENA S MATAALII, 1616 N SCHRADER BLVD APT 1, LOS ANGELES, CA 90028-6222
39970204         +   LORENA SINOI MATAALII, 1616 N SCHRADER BLVD APT 1, LOS ANGELES, CA 90028-6222
39970206             LORMANCOM, JEFFERSON COUNTY, MS 39096
39970215         +   LOS ANGELES COUNTY MUSEUM OF NATURAL HIS, 900 EXPOSITION BOULEVARD, LOS ANGELES, CA 90007-4057
39970217         +   LOS ANGELES COUNTY PARKS & RECREATION, 31320 CASTAIC ROAD, CASTAIC, CA 91384-3900
39970219         +   LOS ANGELES DODGERS, 1000 VIN SCULLY AVE, LOS ANGELES, CA 90012-2112
39970221         +   LOS ANGELES METROPOLITAN TRANPORTION, 1 GATEWAY PLAZA, LOS ANGELES, CA 90012-2952
39970223         +   LOS ANGELES REGIONAL FOOD BANK, 1734 EAST 41ST STREET, LOS ANGELES, CA 90058-1502
39970225         +   LOS ANGELES SCHOOL OF GLOBAL STUDIES, 322 S LUCAS AVE, LOS ANGELES, CA 90017-1406
39970226         +   LOS ANGELES SCHOOL POLICE ACTIVITIES LEA, 125 N BEAUDRY AVENUE, LOS ANGELES, CA 90012-2009
39970231         +   LOS ANGELES UNIFIED SCHOOL DISTRICT, ATTN: LEASING & SPACE UTILIZATION, 333 SOUTH BEAUDRY AVENUE,
                     LOS ANGELES, CA 90017-5141
39970232             LOS ANGELES UNIFIED SCHOOL DISTRICT, GRANTS ACCOUNTING SECTION, LOS ANGELES, CA 90017
39970230         +   LOS ANGELES UNIFIED SCHOOL DISTRICT, BEYOND THE BELL, 333 S BEAUDRY 29TH FL, LOS ANGELES, CA 90017-5106
39970235         +   LOS TOROS MEXICAN RESTAURANT, 21743 DEVONSHIRE STREET, CHATSWORTH, CA 91311-2938
39970236         +   LOU MALNATI PIZZERIA, 439 N WELLS, CHICAGO, IL 60654-4512
39970237         +   LOURDES RAMOS, 17261 SUNDERLAND DR, GRANADA HILLS, CA 91344-2358
39970241             LUCAS ASSOCIATES TEMPS INC, PO BOX 638364, CINCINNATI, OH 45263-8364
39970242         +   LUCERO AGUILAR, 10865 LEHIGH AVE APT D, PACOIMA, CA 91331-2515
39970243         +   LUCID SOFTWARE INC, 10355 S JORDAN GATEWAY, AUITE 150, SOUTH JORDAN, UT 84095-3914
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                                        Desc
                           Imaged Certificate of Notice Page 25 of 66
District/off: 0973-2                                         User: admin                                                         Page 25 of 52
Date Rcvd: Oct 12, 2023                                      Form ID: pdf001                                                  Total Noticed: 2627
39970244         +   LUCIE F BARRAGAN, 14200 Polk St Unit 17, Sylmar, CA 91342-2982
39970245         +   LUCK THAI CUISINE, 524 S OCCIDENTAL BLVD, LOS ANGELES, CA 90057-1502
39970246         +   LUCKY STRIKE, 800 WEST OLYMPIC BLVD SPACE A-250, LOS ANGELES, CA 90015-1366
39970247         +   LUCRECIA YESCAS, 2858 Leeward Ave Apt 309, Los Angeles, CA 90005-1137
39970251         +   LUIS ARANDA, 1031 S KINGSLEY DR APT 2, LOS ANGELES, CA 90006-2449
39970252         +   LUIS CARBAJO, 13890 SAYRE ST APT 120, SYLMAR, CA 91342-0228
39970253         +   LUIS CHAVEZ, 10422 S TRURO AVE, INGLEWOOD, CA 90304-1813
39970255         +   LUIS F COLEOTE REYES, 1162 E 56th St, Los Angeles, CA 90011-4724
39970256         +   LUIS GOMEZ, 807 N BUNKER HILL AVE APT 201, LOS ANGELES, CA 90012-1667
39970258         +   LUIS MOLINA, 14606 BLYTH ST, APT 21, PANORAMA CITY, CA 91402-5927
39970259         +   LUIS ZAMUDIO MARTINEZ, 6125 S MAIN STREET APT 1, LOS ANGELES, CA 90003-1249
39970260         +   LUISA F FLOREZ, 6651 BAKMAN AVE APT 3, NORTH HOLLYWOOD, CA 91606-1826
39970262         +   LUPREE GRAY, 11502 GORMAN AVE APT 331, LOS ANGELES, CA 90059-2244
39970266         +   LYFT INC, 185 BERRY ST 5000, SAN FRANCISCO, CA 94107-2503
39970104         +   La Michoacana Ice Cream, 803 S Workman St, San Fernando, CA 91340-4156
39970108         +   La Plaza De Cultura Y Artes, 501 N Main St, Los Angeles, CA 90012-2828
39970134         +   LaWanda M Bailey, 9725 Ramona St 6, Bellflower, CA 90706-6646
40209470         +   Labor Commissioner of the State of California, 320 W. 4th Street, Suite 600, Los Angeles, CA 90013-2350
39970116         +   Labor Law Center, 12534 Valley View Street Suite 134, Garden Grove, CA 92845-2006
39970124             Laquica Hawkins, 3842 Bonsallo Ave 1, Los Angeles, CA 90044
39970127         +   Larry Reed, 937 W 138Th Street, Compton, CA 90222-3432
39970135         +   Lawrence J Schmahl, 11209 Howard Street, Whittier, CA 90606-1429
39970143         +   Leah Annett Trujillo, 13302 Louvre St, Pacoima, CA 91331-2331
39970144         +   Learn4Life, 177 Holston Dr, LANCASTER, CA 93535-4570
41410926         +   Lena Georgas, 2351 Fernleaf St, Los Angeles, CA 90031-1219
39970155         +   Leon Pierce Jr, 4017 Country Club Dr 209, Los Angeles, CA 90019-3349
39970156         +   Leonardo J Pablo, 441 Hartford Ave Apt 208, Los Angeles, CA 90017-5210
39970161         +   Lesli Cervantes, 939 Valencia St Apt 107, Los Angeles, CA 90015-1121
39970165         +   Leslie J Barrios, 1722 w 20th st apt 5, Los angeles, CA 90007-1180
39970174         +   Liberty Hill Foundation, 6420 Wilshire Blvd Suite 700, LOS ANGELES, CA 90048-5547
39970176         +   Library Plaza Partners LLC, CO Aszkenazy Development Inc, 601 S Brand Blvd 3Rd Floor, San Fernando, CA 91340-4069
39970177         +   Lifesigns Inc, 2222 Laverna Ave, Los Angeles, CA 90041-2625
39970181         +   Liliana Torres, 212 S Normandie Ave Apt 105, Los Angeles, CA 90004-5385
39970189         +   Linoy Utkina, 7107 Kester Ave Apt 114, Van Nuys, CA 91405-2944
39970190         +   Lissette Robles-Cruz, 3066 W 15th St Apt 201, Los Angeles, CA 90019-4864
39970192         +   Little Lady Enterprises LLC, 17919 E Orkney St, Azusa, CA 91702-5724
39970195         +   Local Initiatives Support Corporation, Attn Jeurys Grullon, 501 Seventh Avenue 7Th Floor, New York, NY 10018-5970
39970196         +   Local Initiatives Support Corporation (L, 500 S Grand Ave, LOS ANGELES, CA 90071-2609
39970207         +   Los Angeles Academy Of Arts & Enterprise, 1200 Colton St 320, LOS ANGELES, CA 90026-5816
39970208         +   Los Angeles Arts Commission, 1055 Wilshire Blvd Suite 800, LOS ANGELES, CA 90017-5655
39970209         +   Los Angeles Beautification Team, 1741 N Cherokee Ave, Los Angeles, CA 90028-4806
39970211         +   Los Angeles Chamber Of Commerce, 350 South Bixel St Ste 200, Los Angeles, CA 90017-1418
39970212         +   Los Angeles Chapter Of The American Payr, 4325 Glencoe Avenue 11745, Marina Del Rey, CA 90292-6444
39970213         +   Los Angeles City College Foundation, 855 N Vermont Ave, Los Angeles, CA 90029-3588
39970214         +   Los Angeles Cleantech Incubator, 525 S Hewitt Street, Los Angeles, CA 90013-2217
39970216         +   Los Angeles County Office Of Education, 12830 Columbia Way, DOWNEY, CA 90242-4720
39970224         +   Los Angeles Regional Youthbuild Collabor, 7227 Owensmouth Ave, Canoga Park, CA 91303-2381
39970227         +   Los Angeles Times, PO Box 79151, Phoenix, AZ 85062-9151
39970228         +   Los Angeles Trade Tech, 400 W Washington Blvd, Los Angeles, CA 90015-4108
39970229         +   Los Angeles Unified School District, 333 S Beaudry Ave, LOS ANGELES, CA 90017-5141
39970233             Los Angeles Valley College -, Extension/Workforce Training, 5800 Fulton Ave., ACA #1301, Valley Glen, CA 91401-4096
39970234             Los Angeles Zoo, Attn Advance Ticket Sales, Los Angeles, CA 90027
39970240         +   Loyola Marymount University, ATTN: PAYROLL, 1 LMU DRIVE UH 1880, LOS ANGELES, CA 90045-2623
39970239         +   Loyola Marymount University, Attn Paula Mark, 1 Lmu Drive Suite 2100, Los Angeles, CA 90045-4902
39970248         +   Luggage Plus La, 1119 S Los Angeles St, Los Angeles, CA 90015-2536
39970249             Luis A Garcia Estrada, 10511 Shaff Ave, Arleta, CA 91371
39970250         +   Luis A Rodriguez, 21425 Longworth Ave, Lakewood, CA 90715-2037
39970254         +   Luis E Melgar Orellana, 13092 Carl St Apt281, Pacoima, CA 91331-2587
39970268         +   MAAT-TEHUTI PEART, 357S WESTLAKE AVE, LOS ANGELES, CA 90057-2905
39970269         +   MABELYN MEDRANO, 2467 ELKGROVE AVE, COMMERCE, CA 90040-2203
39970270         +   MACLAY VALERO, 601 N MACLAY, SAN FERNANDO, CA 91340-2136
39970273         +   MADELYN J DELEON-CHAVEZ, 536 N ALEXANDRIA AVE, LOS ANGELES, CA 90004-2802
39970274         +   MAGDALENA PABLO VASQUEZ, 2752 1/2 West 15th ST, Los Angeles, CA 90006-4302
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                  Desc
                           Imaged Certificate of Notice Page 26 of 66
District/off: 0973-2                                User: admin                                              Page 26 of 52
Date Rcvd: Oct 12, 2023                             Form ID: pdf001                                       Total Noticed: 2627
39970275         +   MAGDIEL NAVARRO GUERRERO, 12900 FILMORE STREET APT 119, PACOIMA, CA 91331-1847
39970277         +   MAGNOLIA HOTEL DALLAS DOWNTOWN, 1401 COMMERCE ST, DALLAS, TX 75201-4901
39970279         +   MAIRANY G DIAZ, 210 E 64TH STREET, LOS ANGELES, CA 90003-1516
39970281         +   MANAGEMENT CONCEPTS, 8230 LEESBURG PIKE, TYSONS CORNER, VA 22182-2641
39970285         +   MANUEL GALLARDO JR, 1440 Veteran Ave Apt 504, Los Angeles, CA 90024-4837
39970287         +   MANUEL ORTEGA, 1704 MORISAN AVE, PALMDALE, CA 93550-7302
39970289         +   MARCO A SANCHEZ, 820w 80th st, Los Angeles, CA 90044-5016
39970291         +   MARIA A MAGANA, 14140 CLARETTA ST, ARLETA, CA 91331-5011
39970293         +   MARIA B PONCE, 225 NORTH AVENUE 53 APT 6, LOS ANGELES, CA 90042-4055
39970294         +   MARIA C RAMIREZ, 1809 Kearney street, Los Angeles, CA 90033-2315
39970297         +   MARIA D RAMIREZ, 14717 COBALT ST, SYLMAR, CA 91342-1423
39970298         +   MARIA DAVILA, 10305 Buford Ave Apt 1, INGLEWOOD, CA 90304-3362
39970299         +   MARIA FLORES, 156 W GAGE AVE APT 2, LOS ANGELES, CA 90003-1448
39970301         +   MARIA G HERNANDEZ, PO BOX 6746, FULLERTON, CA 92834-6746
39970300         +   MARIA G HERNANDEZ, 11001 S MCKINLEY AVE, LOS ANGELES, CA 90059-1525
39970302         +   MARIA G LOPEZ, 535 N Coronado Street Apartment A, Los Angeles, CA 90026-7214
39970303         +   MARIA H RODRIGUEZ, 232 s Harvard Blvd 5, Los Angeles, CA 90004-4367
39970304         +   MARIA I JACOBO, 12573 Bradley Ave Unit 6, Sylmar, CA 91342-4681
39970306         +   MARIA J LEONIDO, 1562 WEST 4th STREET APT 208, LOS ANGELES, CA 90017-1277
39970307         +   MARIA JIMENEZ, 1106 HOLLISTER ST, SAN FERNANDO, CA 91340-3513
39970308         +   MARIA L HERNANDEZ, 460 S BURLINGTON AVE APT 309, LOS ANGELES, CA 90057-5703
39970309         +   MARIA POITAN, 13032 S MAIN ST, LOS ANGELES, CA 90061-1606
39970310         +   MARIA T LIZARRAGA, 8434 TWEEDY LANE APT 106, DOWNEY, CA 90240-2155
39970311         +   MARIA URQUILLA, 27332 SANTA CLARITA RD, SANTA CLARITA, CA 91350-1368
39970312         +   MARIA VALLEJO VAZQUEZ, 1627 S VERMONT AVE APT 1, LOS ANGELES, CA 90006-4534
39970315             MARIANA C EUAN-CAN, 6315 BONNIE BRAE ST APT 206, LOS ANGELES, CA 90057
39970316         +   MARIANA CASTANEDA, 1920 LUCAS STREET UNIT 5, SAN FERNANDO, CA 91340-1668
39970317         +   MARIANNE LAI YING CHEN, 1812 TRINITY AVENUE 226, WALNUT CREEK, CA 94596-4093
39970318         +   MARIANO CABRERA, 433 N BRAND BLVD, SAN FERNANDO, CA 91340-2401
39970319         +   MARIANO CHRISTINE, 6620 NORTHSIDE DR, LOS ANGELES, CA 90022-4732
39970320         +   MARIBEL HERNANDEZ, 13320 Dyer st, Sylmar, CA 91342-2445
39970321         +   MARIBEL LOERA, 3534 E 56TH ST, MAYWOOD, CA 90270-2510
39970322         +   MARILU RAMOS, 5087 Bohlig Rd, Los Angeles, CA 90032-3907
39970325         +   MARIO VAZQUEZ SOLORZANO, 351 S OCCIDENTAL BLVD, LOS ANGELES, CA 90057-1559
39970326         +   MARISSA C JOHNSON, 6358 HAZELTINE AVENUE APT 100, VALLEYGLEN, CA 91401-3545
39970329         +   MARITZA ORTEGA, 11372 VILLA DEL SOL, PACOIMA, CA 91331-1859
39970330         +   MARITZA RAMIREZ, 742 E GRANADA COURT, ONTARIO, CA 91764-3421
39970331         +   MARK ROJAS, 795 RAYMOND ST, UPLAND, CA 91786-6817
39970332         +   MARKET RESTAURANT, 862 S LOS ANGELES STREET, LOS ANGELES, CA 90014-3302
39970333         +   MARKO A ALVARADO, 15555 NORDHOFF ST APT 6, NORTH HILLS, CA 91343-3252
39970334         +   MARLAINA L GARCIA, 1371 E Garfield Ave Apt A, Glendale, CA 91205-2618
39970335         +   MARLENE GURROLA, 17731 ROSCOE BLVD, NORTHRIDGE, CA 91325-3909
39970338         +   MARLENE MENDOZA, 13163 CARL ST, PACOIMA, CA 91331-2566
39970341         +   MARRIOTT INTERNATIONAL, 10400 FERNWOOD RD, BETHESDA, MD 20817-1102
39970343         +   MARSHALLS, 4669 FIRESTONE BLVD, SOUTHGATE, CA 90280-3446
39970345         +   MARTA SCHULTZ, 1019 6TH ST APT 4, SANTA MONICA, CA 90403-3956
39970346         +   MARTHA MARIN, 970 Menlo Ave apt 20, Los Angeles, CA 90006-2821
39970347         +   MARTHA NEMECEK, 965 BARBARA LANE, POMONA, CA 91767-4117
39970348         +   MARTIN A HERNANDEZ, 15723 SEPTO STREET, NORTH HILLS, CA 91343-1535
39970349         +   MARTIN D ALCALA, 13700 KAGEL CANYON ST, ARLETA, CA 91331-5404
39970350         +   MARTIN OUTDOOR MEDIA LLC, 1990 WESTWOOD BLVD, STE 300, LOS ANGELES, CA 90025-8408
39970351         +   MARTIN ROY DELA CRUZ, 9601 MONTECELLO STREET, PACOIMA, CA 91331-1546
39970352         +   MARVIN A RAMIREZ, 9541 WOODMAN AVE UNIT 3, ARLETA, CA 91331-6417
39970353         +   MARY ROJAS, 13107 MINEOLA ST, ARLETA, CA 91331-4218
39970354         +   MARYAM MALEKI MS RD, 9165 ALCOTT ST 203, LOS ANGELES, CA 90035-3263
39970355         +   MARYSOL NAVARRO, 4191 BRIGHTON AVE, LOS ANGELES, CA 90062-1843
39970357         +   MASA OF ECHO PARK BAKERY & CAFE, 1800 SUNSET BOULEVARD, LOS ANGELES, CA 90026-3227
39970359         +   MATEOS ICE CREAM & FRUIT BARS, 4234 W PICO BOULEVARD, LOS ANGELES, CA 90019-3161
39970361             MATTHEW J QUEVEDO, 18204 Nordhoff St, Northridge, CA 91325-2734
39970362         +   MATTHEW W LITCHFIELD, 1913 ROSEWOOD COURT, THOUSAND OAKS, CA 91362-1325
39970363         +   MAUDA RUIZ, 13012 CARL PL, UNIT 294, PACOIMA, CA 91331-2504
39970368         +   MAYRA A MARTINEZ, 6000 GOTHAM ST, BELL GARDENS, CA 90201-5524
39970370         +   MAYRA MORENO, 13313 BEAVER STREET, SYLMAR, CA 91342-2350
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                              Desc
                           Imaged Certificate of Notice Page 27 of 66
District/off: 0973-2                               User: admin                                           Page 27 of 52
Date Rcvd: Oct 12, 2023                            Form ID: pdf001                                    Total Noticed: 2627
39970371         + MAYRA PANIAGUA, 13045 1/2 CARL ST APT 366, PACOIMA, CA 91331-2509
39970372         + MAYRA PEREZ GOMEZ, 1172 Graham St, Simi Valley, CA 93065-1950
39970374           MCDONALDS, 110 NORTH CARPENTER STREET, ONE MCDONALDS PLAZA, CHICAGO, IL 60607
39970377         + MDB International Branding LLC, 2707-2711 Beverly Blvd, Los Angeles, CA 90057-1007
40038209         + MEDG International, Inc, 701 SONORA AVE, SUITE 200, GLENDALE, CA 91201, GLENDALE, CA 91201-2431
39970378         + MEDG LLC, 701 Sonora Ave Suite 200, Glendale, CA 91201-2431
39970380         + MEGAN H ACOSTA CARR, 1000 Tiverton Ave, Los Angeles, CA 90024-3015
39970381         + MEGAN HARRIS, 6835 MAYESDALE AVE, SAN GABRIEL, CA 91775-1514
39970382         + MELANIE CRISANTE, 1102 W 97th st apt 5, Los Angeles, CA 90044-3235
39970383         + MELANIE PANDURO, 10974 LEHIGH AVE APT 39, PACOIMA, CA 91331-2516
39970385        #+ MELISSA AGUILAR, 4630 LIVE OAK STREET, CUDAHY, CA 90201-5112
39970387           MELISSA ANTUNA, 15044 BECKNER ST, LA PUENTE, CA 91744-3738
39970388         + MELISSA ARREOLA, 3338 SEYMOUR ST, LOS ANGELES, CA 90065-1611
39970389         + MELISSA DIAZ, 645 1/2 E 48TH ST, LOS ANGELES, CA 90011-4066
39970391         + MELISSA MARTINEZ, 311 S NEW HAMPSHIRE AVE APT 20, LOS ANGELES, CA 90020-1834
39970392         + MELISSA MARTINEZ E, 3453 N MISSION RD, LOS ANGELES, CA 90031-3134
39970393         + MELISSA MOLINA, 8227 BIRCHCREST RD, DOWNEY, CA 90240-2215
39970395         + MENDOCINO FARMS, ONE CALIFORNIA PLAZA, 300 S GRAND AVE, LOS ANGELES, CA 90071-3109
39970396         + MENDOZA VIOLETA, 5132 BALTIMORE ST, LOS ANGELES, CA 90042-2338
39970397         + METABANK, 5501 S BROADBAND LN, SIOUX FALLS, SD 57108-2253
39970401         + METROPOLITAN ELEVATOR COMPANY INC, 3008 WILSHIRE BLVD, 201, LOS ANGELES, CA 90010-1122
39970402         + MI PUEBLITO RESTAURANT, 12824, VAN NUYS BOULEVARD, PACOIMA, CA 91331-1926
39970403         + MIA Q ORTIZ, 1114 W Ralston St Apt A, Ontario, CA 91762-4871
39970404         + MICHAEL A FLETCHER, 2421 Foothill Blvd 25C, La Verne, CA 91750-3045
39970406         + MICHAEL B GARCIA, 326 BELMONT AVENUE APT 1, LOS ANGELES, CA 90026-5047
39970407         + MICHAEL BIN, 1058 E ANGELENO AVE, BURBANK, CA 91501-1421
39970408         + MICHAEL CHAVEZ, 320 W 67 St, Los Angeles, CA 90003-1820
39970409         + MICHAEL CHOW, 3850 SEPULVEDA BLVD, CULVER CITY, CA 90230-4606
39970410         + MICHAEL GARCIA, 13278 Hubbard St, Sylmar, CA 91342-3221
39970411         + MICHAEL J MILES, 27940 Solanint Road, Canyon Country, CA 91387-5404
39970412         + MICHAEL OQUELI, 2221 BELLEVUE AVE, LOS ANGELES, CA 90026-4057
39970413         + MICHAEL REYES, 501 S MANHATTAN PLACE APT 106, LOS ANGELES, CA 90020-4430
39970415         + MICHAELS, 8000 BENT BRANCH DR, IRVING, TX 75063-6023
39970416         + MICHELE G RAMIREZ, 634 WEST 113th STREET, LOS ANGELES, CA 90044-4214
39970417         + MICHELLE B EMELLE, 5157 OBAMA BLVD, LOS ANGELES, CA 90016-5230
39970419         + MICHELLE MEJIA, 10884 PALA AVE APT 329, PACOIMA, CA 91331-2522
39970420         + MID VALLEY FAMILY YMCA, 6901 LENNOX AVE, VAN NUYS, CA 91405-4093
39970421         + MIGUEL A GARCIA, 711 1/2 Euclid Ave, Los Angeles, CA 90023-1517
39970422         + MIGUEL A SANCHEZ, 6442 LINDLEY AVE, RESEDA, CA 91335-6113
39970424         + MIGUEL ARRIAGA, 420 S SOTO ST, LOS ANGELES, CA 90033-4316
39970426         + MIGUEL CONTRERAS LEARNING COMPLEX, 322 LUCAS AVE, LOS ANGELES, CA 90017-1406
39970425         + MIGUEL CONTRERAS LEARNING COMPLEX, 322 S LUCAS AVE, LOS ANGELES, CA 90017-1406
39970428         + MIGUEL J FAVELA, 13237 Klein court, Sylmar, CA 91342-4857
39970429         + MIGUEL LEON, 3620 GRIFFITH AVE, LOS ANGELES, CA 90011-2816
39970432         + MILDRED J HEUR, 5509 LAKEWOOD BLVD, LAKEWOOD, CA 90712-1723
39970433         + MILIAN MARTINEZ, 1323 S WESTMORELAND AVE, LOS ANGELES, CA 90006-4632
39970434         + MILLENIUM BILTMORE, 506 S GRAND AVE, LOS ANGELES, CA 90071-2602
39970438         + MIRIAM A LOPEZ-VAZQUEZ, 4818 W MARTIN LUTHER KING JR APT 2, Los Angeles, CA 90016-5526
39970439         + MIRIAM A MEJIA PINEDA, 839 W 167th STREET APT 7, GARDENA, CA 90247-5160
39970440         + MIRIAM RUEDA, 15147 ROXFORD STREET, SYLMAR, CA 91342-1357
39970441         + MIRIAM SERRANO, 308 1/2 VIA VISTA, MONTEBELLO, CA 90640-3829
39970442         + MIRNA E ALEGRIA BORJAS, 1053 S NEW HAMPSIRE AVE APT 208, LOS ANGELES, CA 90006-3776
39970443         + MIRRIAM BATERINA, 8700 ADRIANA STREET, SPRING VALLEY, CA 91977-4801
39970444         + MISHELLE RODRIGUEZ, 4213 yosemite way, Los angeles, CA 90065-5118
39970447         + MISSION ECONOMIC DEVELOPMENT AGENCY, 2301 MISSION STREET SUITE 301, SAN FRANCISCO, CA 94110-1900
39970450         + MJ MAYBERRY MA, 1448 MARINE AVE UNIT 4, GARDENA, CA 90247-3368
39970451         + MMC Associates, 5747 W Venice Blvd, Los Angeles, CA 90019-5015
39970456         + MODERN PARKING INC, 303 S UNION AVE, FIRST FLOOR, LOS ANGELES, CA 90017-1111
39970458         + MOISES A AVALOS, 2731 BEVERLY BLVD APT 206, LOS ANGELES, CA 90057-1007
39970459         + MOISES CERVANTES, 2819 West Main Street, Alhambra, CA 91801-1655
39970460         + MOISES GARCIA, 1516 Gaspar Ave, Los Angeles, CA 90022-4251
39970461           MOISES PAGAN REYES, 221 LOMA PLACE APT 40, LOS ANGELES, CA 90026
39970462         + MOLAA, 628 ALAMITOS AVE, LONG BEACH, CA 90802-1513
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                                     Desc
                           Imaged Certificate of Notice Page 28 of 66
District/off: 0973-2                                        User: admin                                                       Page 28 of 52
Date Rcvd: Oct 12, 2023                                     Form ID: pdf001                                                Total Noticed: 2627
39970463         +   MONICA CANTORAN, 10414 Morning Ave, Downey, CA 90241-2239
39970464         +   MONICA JIMENEZ, 13457 BORDEN AVE, SYLMAR, CA 91342-2114
39970465         +   MONICA LEON, 10764 SUTTER AVENUE, PACOIMA, CA 91331-2571
39970466         +   MONICA MENDEZ, 641 1/2 WEST 48TH STREET, LOS ANGELES, CA 90037-3654
39970467         +   MONICA N SANTIAGO, 7901 broadleaf ave, panorama city, CA 91402-6103
39970469         +   MONROVIA COMMUNITY ADULT SCHOOL, 920 SOUTH MOUNTAIN AVE, MONROVIA, CA 91016-3641
39970472         +   MOONEY JONATHAN, 328 PACIFIC ST, APT 3, SANTA MONICA, CA 90405-2350
39970474         +   MORTON LAUREN, 19145 SHERMAN WAY, RESEDA, CA 91335-3871
39970475         +   MOSES MAGANA, 12249 LOPEZ CANYON RD APT 317, SYLMAR, CA 91342-5730
39970476             MOSKATELS, 733 S SAN JULIAN, LOS ANGELES, CA 90014
39970479         +   MOTIONWEAR LLC, 1315 SUNDAY DRIVE, INDIANAPOLIS, IN 46217-9334
39970480         +   MOUNTASIA FAMILY FUN CENTER, 21516 GOLDEN TRIANGLE ROAD, SANTA CLARITA, CA 91350-2612
39970484         +   MULTICULTURAL LEARNING CENTER, 7510 DESOTO AVE, CANOGA PARK, CA 91303-1430
39970486         +   MUSICIANS FRIEND, PO BOX 7479, WEST LAKE VILLAGE, CA 91359-7479
39970487         +   MYINTENT PROJECT, 1211 LONG BEACH AVENUE, UNIT 102, LOS ANGELES, CA 90021-1524
39970488         +   MYKE'S CAFE, 13171 VAN NUYS BLVD, PACOIMA, CA 91331-2560
39970489         +   MYRNA GONZALEZ, 13431 ASTORIA ST, SYLMAR, CA 91342-2401
39970271         +   Macmall, 3820 Micro Drive, Millington, TN 38053-6215
39970272         +   Maddison Owens, 3003 12 Cloverdale Ave, Los Angeles, CA 90016-3811
39970276         +   Magic Jump Rentals, 9165 Glenoaks Blvd, Sun Valley, CA 91352-2612
39970278         +   Mailfinance, Dept 3682, Po Box 123682, Dallas, TX 75312-3682
39970280             Mama Shelter Los Angeles, 650 Selma Ave, Los Angeles, CA 90028
39970282         +   Manchester Community Technologies Inc, 3320 W Manchester Boulevard, Inglewood, CA 90305-2322
39970283         +   Manuel A Mata-Zepeda, 444 S Burlington Ave Apt 214, Los Angeles, CA 90057-3080
39970284         +   Manuel Esqueda, 9845 Ahmann Ave, Whittier, CA 90605-3103
39970286         +   Manuel Medina, 11260 Strathern St, Sun Valley, CA 91352-3938
39970288         +   Manuel Vega, 3555 E 4Th St, Los Angeles, CA 90063-2903
39970292         +   Maria B Hernandez, 5135 Dartmouth Ave, Los Angeles, CA 90032-3323
39970296         +   Maria D Hernandez, 5135 Dartmouth Ave, Los Angeles, CA 90032-3323
39970305         +   Maria I Lopez-Herrera, 1217 W 11th St Apt 1, Los Angeles, CA 90015-1249
39970314         +   Mariajose J Olandes, 13063 Gladstone Ave, Sylmar, CA 91342-4524
39970337         +   Marlene J Cruz Montes, 426 17th st Ste 100, Oakland, CA 94612-2814
39970339         +   Marlene R Anguiano, 10825 Telfair Ave, Pacoima, CA 91331-2818
39970340         +   Marlin Business Bank, Po Box 13604, Philadelphia, PA 19101-3604
39970342         +   Marsh & Mclennan Agency LLC, Lockbox 740663, Los Angeles, CA 90074-0663
39970356         +   Maryum Ali, Po Box 480738, Los Angeles, CA 90048-9338
39970365             Mauricio Jorge, 446 14 W 40Th Place, Los Angeles, CA 90037
39970366         +   Maximus Protective Services, 2540 Grand Avenue, Huntington Park, CA 90255-6306
39970367         +   Mayor'S Office Of Community Empowerment, 1234 Market Street 16Th Floor, Philadelphia, PA 19107-3706
39970373         +   McCarthy Burgess & Wolff, 26000 CANNON RD, BEDFORD HEIGHTS, OH 44146-1807
39970375         +   McGrath/Abrams Family Foundation, 16000 Ventura Blvd Ste 900, ENCINO, CA 91436-2760
39970376         +   Mcgraw-Hill School Education Holdings LL, Lockbox 71545, Chicago, IL 60694-1545
39970394         +   Mend-Meeting Each Need With Dignity, 10641 N San Fernando Rd, Pacoima, CA 91331-2626
39970398         +   Metro Commute Services, Attn Employer Annual Pass Program, One Gateway Plaza 99Pl4, Los Angeles, CA 90012-3745
39970399         +   Metro Video Systems Inc, 1220 E Imperial Ave, El Segundo, CA 90245-2698
39970400         +   Metroplex Wilshire, 3530 Wilshire Blvd, Los Angeles, CA 90010-2328
39970414         +   Michael Teta Associates, 13743 Ventura Blvd, Suite 220, Sherman Oaks, CA 91423-3047
39970423         +   Miguel A Zamora, 15709 Horace Street, Granada Hills, CA 91344-5433
39970430         +   Miguel Rodriguez, 10810 St James Ave, South Gate, CA 90280-7112
39970435         +   Mimi Diep, 66 Trofello Ln, Aliso Viejo, CA 92656-6216
39970446         +   Mission City Community Network Inc, 15206 Parthenia St, North Hills, CA 91343-5305
39970449         +   Mitchell Silberberg & Knupp, 2049 CENTURY PARK EAST, 18TH FLOOR, Los Angeles, CA 90067-3120
39970452         +   Mobile Mini, PO BOX 7144, PASADENA, CA 91109-7144
39970454         +   Mobile Modular Management Corporation, Po Box 45043, San Francisco, CA 94145-5043
39970457         +   Moems, Director, 2154 Bellmore Ave, Bellmore, NY 11710-5645
39970470         +   Monsenor Oscar Romero Charter School, 1157 South Berendo Street, LOS ANGELES, CA 90006-3301
39970471         +   Monstercom, Po Box 740889, Los Angeles, CA 90074-0889
39970473         +   Morfin Magic, 726 E 95Th St, Los Angeles, CA 90002-1915
39970478         +   Mother Goose Time, Po Box 225, Interlochen, MI 49643-0225
39970481         +   Mozaik Solutions, 501 W BROADWAY SUITE A522, SAN DIEGO, CA 92101-3536
39970482         +   Multi Business Systems, PO Box 3039, Bakersfield, CA 93385-3039
39970483         +   Multicultural Learning Center, 7510 De Soto Ave, CANOGA PARK, CA 91303-1430
39970485         +   Museum Of Tolerance, 9786 W Pico Blvd, Los Angeles, CA 90035-4720
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                          Desc
                           Imaged Certificate of Notice Page 29 of 66
District/off: 0973-2                             User: admin                                         Page 29 of 52
Date Rcvd: Oct 12, 2023                          Form ID: pdf001                                  Total Noticed: 2627
39970491         + Mystaffingpro, Po Box 642, Toledo, OH 43697-0642
39970492         + NADIA C NAJAR, 15002 MINNEHAHA STREET, MISSION HILLS, CA 91345-2521
39970493           NAEEM CHHIPA, 1259 N ARMORE AVE, APT 202, LOS ANGELES, CA 90029
39970494         + NAHAL C KAIVAN PHD PLLC, 911 BROAD STREET, DURHAM, NC 27705-4141
39970495         + NAHAL C KAIVAN PHD PLLC, 2003 CHAPEL HILL RD, DURHAM, NC 27707-1109
39970496         + NAIMA LOUIS JEAN, 12249 LOPEZ CANYON RD, SYLMAR, CA 91342-5730
39970497         + NAKA, 3455 OVERLAND AVE, LOS ANGELES, CA 90034-5419
39970499         + NANCY ARIAS, 3757 PUEBLO AVE, LOS ANGELES, CA 90032-1630
39970500         + NANCY CARDENAS, 671 GRISWOLD AVE, SAN FERNANDO, CA 91340-2101
39970501         + NANCY QUIROZ PEREZ, 3715 W 1ST STREET 104, LOS ANGELES, CA 90004-5814
39970503         + NANCY V REYES CRISANTO, 1416 W OLYMPIC BLVD APT 3, LOS ANGELES, CA 90015-3913
39970505         + NATALIA SIMPSON, 27626 ROSA LN APT 104, SANTA CLARITA, CA 91387-6833
39970510           NATALIE MERCADO, 12941 CARL P;L APT 194, PACOIMA, CA 91331
39970512         + NATALIE VENTURA, 750 S CARANDOLET ST APT 209, LOS ANGELES, CA 90057-5013
39970515         + NATHAN GARCIA, 6245 King Avenue, Bell, CA 90201-1314
39970516         + NATHAN R MORALES, 620 Orange Grove Avenue, San Fernando, CA 91340-1944
39970517         + NATHAN TAPIA, 1424 W 10TH PLACE, LOS ANGELES, CA 90015-1204
39970521         + NATIONAL BUSINESS FURNITURE, 770 SOUTH 70TH STREET, MILWAUKEE, WI 53214-3109
39970523         + NATIONAL CENTER FOR FAMILIES LEARNING, 325 W MAINT ST, SUITE 300, LOUISVILLE, KY 40202-4237
39970526         + NATIONAL COUNCIL FOR COMMUNITY & EDUCATI, 1331 H St NW 900, WASHINGTON, DC 20005-4739
39970529           NATIONAL DROPOUT PREVENTION CENTER, ANDERSON, SC 29621
39970532         + NATIONAL FITNESS PRODUCTIONS, 722 AMERICANA WAY 201, GLENDALE, CA 91210-1543
39970531         + NATIONAL FITNESS PRODUCTIONS, 217 S KENWOOD ST, GLENDALE, CA 91205-1634
39970533           NATIONAL RESTAURANT ASSOCIATION, 37020 EAGLE WAY, CHICAGO, IL 60678-1370
39970534         + NATIONAL RETAIL FOUNDATION, 12TH FLOOR, 1101 NEW YORK AVE, NW, DC 20005-4348
39970536         + NATUS MEDICAL INCORPORATED, 12301 LAKE UNDERHILL RD, SUITE 201, ORLANDO, FL 32828-4511
39970538         + NAYELI CRUZ, 458 S HARTFORD AVE APT 210, LOS ANGELES, CA 90017-4010
39970540         + NEFTALY J AGUIRRE, 505 S BONNIE BRAE ST APT 201, LOS ANGELES, CA 90057-5229
39970542         + NELI PETROSYAN, 524 PORTER ST, GLENDALE, CA 91205-1912
39970543         + NELLIE ATTIAS, 1760 RAMBLING RD, SIMI VALLEY, CA 93065-5910
39970544         + NELSON ARRIAZA, 6335 ORCHARD AVE, BELL, CA 90201-1017
39970546         + NETTALK, 1100 NW 163 DR B-4, MIAMI, FL 33169-5816
39970549           NEUROTIC GANGSTER PRODUCTIONS INC, ATTN BEN GLEIB, SHERMAN OAKS, CA 91411
39970552         + NEW LINE FIRE, 283 S KATHLEEN LANE, ORANGE, CA 92869-3736
39970553         + NEW SEASON CORPORATE SERVICES, 4600 LARSON WAY, SACRAMENTO, CA 95822-2039
39970554         + NEW STAR ACTIVE WEAR INC, 12933 FOOTHILL BLVD, SYLMAR, CA 91342-4929
39970556         + NEWPORT INTERNATIONAL UNITED COLLEGE, 5959 TOPANGA CANYON BLVD, SUITE 110, WOODLAND HILLS, CA
                   91367-7537
39970557           NEWSELA INC, 475 10TH AVENUE, 4 FL, NEW YORK, NY 10019
39970559         + NICHOLAS CAPRETTA, 1420 N ALTA VISTA BLVD APT 208, LOS ANGELES, CA 90046-4381
39970560         + NICHOLAS HON, 1226 N BONNIE BEACH PL, LOS ANGELES, CA 90063-1250
39970561         + NICHOLAS PHAM, 5925 Middleton St Apt 48, Huntington Park, CA 90255-7133
39970562         + NICHOLAS SILVA, 3116 BLANCHARD ST, LOS ANGELES, CA 90063-4004
39970563         + NICHOLAS WU, 5510 POPLAR BLVD, LOS ANGELES, CA 90032-2421
39970564         + NICOLAS DUARTE RODRIGUEZ, 13031 1/2 CARL ST APT 379, PACOIMA, CA 91331-2509
39970565         + NISHKIAN & ASSOCIATES, 3710 SOUTH ROBERTSON BLVD, STE 220, CULVER CITY, CA 90232-2350
39970566         + NOAHS NY BAGELS, 10050 MISSION MILL ROAD, INDUSTRY, CA 90601-1738
39970567         + NOE QUIRARTE, 1913 E 124TH ST, COMPTON, CA 90222-1230
39970568         + NOELL PENSADO, 3900 W 5th St Apt D8, Santa Ana, CA 92703-3206
39970569         + NOEMI GARCIA, 1115 W 127TH PL, COMPTON, CA 90222-1131
39970570         + NOEMI RODRIGUEZ, 18551 DEARBORN STREET APT 38, NORTHRIDGE, CA 91324-3017
39970572         + NONPROFIT WEBADVISOR, 901 S MOPAC EXPRESSWAY, BUILDING 5 SUITE 140, AUSTIN, TX 78746-5776
39970573         + NORBERTS, 354 W GARDENA BLVD, GARDENA, CA 90248-2739
39970574         + NORMA MESA, 5624 MERIDIAN ST APT 102, LOS ANGELES, CA 90042-1853
39970575         + NORMA QUINTANILLA RAMIREZ, 18553 Saticoy St Unit 151, Reseda, CA 91335-7450
39970580         + NOVA STORAGE SYLMAR, 13043 FOOTHILL BLVD, SYLMAR, CA 91342-4931
39970581         + NP SOLUTIONS INC, 5694 MISSION CENTER ROAD, STE 316, SAN DIEGO, CA 92108-4355
39970582           NRG DANCE & CHEER, 2858 N MILLS AVE, PMB BOX 219, CLAREMONT, CA 91711
39970585         + NUBIA ZAMBRANO, 12952 CARL PL APT 228, PACOIMA, CA 91331-2586
39970586         + NUE, 1519 14TH AVE, SEATTLE, WA 98122-4023
39970587        #+ NUEJAH OUTTEN, 11451 BROOKHURST ST, GARDEN GROVE, CA 92840-1505
39970588         + NUMA P JUAREZ Jr, 1104 W 37TH PL APT 101, LOS ANGELES, CA 90007-4270
39970502         + Nancy Rojas, 11977 Allegheny St Apt 6, Sun Valley, CA 91352-1842
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                                    Desc
                           Imaged Certificate of Notice Page 30 of 66
District/off: 0973-2                                        User: admin                                                       Page 30 of 52
Date Rcvd: Oct 12, 2023                                     Form ID: pdf001                                                Total Noticed: 2627
39970504         +   Nano's Cafe, 9599 Pinehurst Ave, South Gate, CA 90280-5222
39970506         +   Natalie C Marquez, 1425 Hollister St, San Fernando, CA 91340-3525
39970508         +   Natalie G Castillo, 9250 Sepulveda Blvd Apt 112, North Hills, CA 91343-3906
39970509         +   Natalie J Gonzalez, 8847 Willis St Unit C2, Panorama City, CA 91402-2110
39970513         +   Nataly Reyna, 704 W Doran St Apt 6, Glendale, CA 91203-1541
39970514         +   Nathalie Banos, 10340 Virginia Ave, South Gate, CA 90280-6527
39970519         +   National After School Association, 2961A Hunter Mill Road 626, Oakton, VA 22124-1704
39970520         +   National Association for College Admissi, 1050 North Highland Street, Suite 400, ARLINGTON, VA 22201-2197
39970522         +   National Career College, 14355 Roscoe Blvd, Panorama City, CA 91402-4222
39970527         +   National Council Of La Raza, 1126 16Th St, NW Suite 600, WASHINGTON, DC 20036-4844
39970530         +   National Endowment of the Arts, 400 7th Street, SW, WASHINGTON, DC 20506-0001
39970535         +   National Student Clearinghouse, Po Box 826576, Philadelphia, PA 19182-6576
39970537         +   Naviance Inc, Po Box 504571, St Louis, MO 63150-4571
39970541         +   Neighborhood Reinvestment Training, Po Box 418630, Boston, MA 02241-8630
39970545         +   Nestle Pure Life, PO Box 856158, Louisville, KY 40285-6158
39970547         +   Network Services, 3700 Barron Way, Reno, NV 89511-2388
39970548         +   NeueHouse Hollywood LLC, 6121 SUNSET BLVD, LOS ANGELES, CA 90028-6448
39970550         +   New Horizons Charter Academy, 5955 Lankershim Blvd, NORTH HOLLYWOOD, CA 91601-1006
39970551         +   New Horizons Clc Career Development LLC, 1900 S State College Blvd Ste 100, Anaheim, CA 92806-6136
39970555         +   New Village Girls Academy, 147 N Occidental Blvd, LOS ANGELES, CA 90026-4601
40024061         +   Newport International United College, 5959 TOPANGA CANYON BLVD. SUIT, SUITE 110, Woodland Hills, CA 91367-7537
40037020         +   Non Profit Finance Fund, 5 Hanover Square, 9th, Floor, New York, NY 10004-2614
40202051         +   Nonprofit Finance Fund, Sidley Austin LLP Attn Genevieve G Weine, 555 W Fifth St Ste 4000, Los Angeles CA 90013-3000
39970571         +   Nonprofit Finance Fund, 70 West 36Th St, New York, NY 10018-1249
39970576             North Valley Military Institute College, 12105 Allegheny St, SUN VALLEY, CA 91352
39970577         +   North Valley Occupational Center, 11450 Sharp Ave, Mission Hills, CA 91345-1232
39970579         +   Northwest Evaluation Association, 121 Nw Everett Street, Portland, OR 97209-4049
39970584         +   Nthonet Inc, 6464 Sunset Blvd Ste 755, Los Angeles, CA 90028-8006
39970590         +   ODETTE LIMANI, 11411 Dronfield Ave Apt51, Pacoima, CA 91331-1466
39970591         +   OFFICE 365, 1 MICROSOFT WAY, REDMOND, WA 98052-8300
39970595      ++++   OLD MISSION SAN JUAN, 26801 OLD MISSION RD, SAN JUAN CAPISTRANO CA 92675-3200 address filed with court:, OLD
                     MISSION SAN JUAN, 26801 ORTEGA HIGHWAY, SAN JUAN CAPISTRANO, CA 92675
39970596         +   OLGA M NAJERA, 151 N OCCIDENTAL BLVD APT 319, LOS ANGELES, CA 90026-4692
40026972        ++   OLIVAREND INC, 16211 FILBERT ST, SYLMAR CA 91342-1040 address filed with court:, Olivarend Inc., 16211 Filbert St, Sylmar,
                     CA 91342-9134
39970597         +   OLIVE GARDEN, 1000 DARDEN CENTER DRIVE, ORLANDO, FL 32837-4032
39970598         +   OLIVER DOMINGUEZ, 13322 JUDD STREET, PACOIMA, CA 91331-2425
39970599         +   OLIVIA HORSLEY, 1510 N WILLOWBROOK AVE APT A, COMPTON, CA 90222-7408
39970600         +   OLMOS GARDEN AND DESIGN, 7344 TRANQUIL DR, TUJUNGA, CA 91042-3054
39970601         +   OMAR HERNANDEZ, 124 n soto st Apt 3, Los Angeles, CA 90033-2929
39970603         +   OMAR MENDEZ, 4427 S Morgan Ave, Los Angeles, CA 90011-3826
39970604         +   OMNI CHEER, 12375 World Trade Dr, SAN DIEGO, CA 92128-3743
39970605         +   OMNI HOTELS & RESORTS, 4001 MAPLE AVE STE 500, DALLAS, TX 75219-3241
39970611         +   ORANGE COUNTY DEPT OF ED, 200 KALMUS DR, COSTA MESA, CA 92626-5922
39970613         +   ORIENTALTRADING, PO BOX 2308, OMAHA, NE 68103-2308
39970614         +   OSBALDO ROBLES, 1317 LUCAS ST, SAN FERNANDO, CA 91340-1735
39970615         +   OSC Computer Training, 9700 Business Park Dr 206, Sacramento, CA 95827-1717
39970618         +   OSCAR LETONA, 839 E 81ST STREET, LOS ANGELES, CA 90001-3217
39970620         +   OSCAR MAGANA, 4642 E 52ND PLACE APT B, MAYWOOD, CA 90270-5441
39970622         +   OSCAR VENEGAS (OSCAR'S JANITORIAL SERVIC, 13310 GLENOAKS BLVD, SYLMAR, CA 91342-2109
39970623         +   OSTERIA TOSCANA, 247 HAMILTON AVE, PALO ALTO, CA 94301-2530
39970624         +   OSVALDO MOLINA RODRIGUEZ, 6807 BELLAIRE AVE, NORTH HOLLYWOOD, CA 91605-5222
39970625         +   OSWALDO A OCHOA, 2170 1/2 W 31st St, Los Angeles, CA 90018-3423
39970626         +   OSWALDO M RODRIGUEZ CISNEROS, 1087 W 39th St Apt 16, Los Angeles, CA 90037-1530
39970627         +   OTIUM, 222 S HOPE ST, LOS ANGELES, CA 90012-3011
39970628         +   OYAMEL COCINA MEXICANA, 401 7TH ST NW, NW, DC 20004-2202
39970592         +   Office Depot, PO Box 88040, Chicago, IL 60680-1040
40003716         +   Office Depot, 6600 N Military Trail, Bankruptcy Filing, Boca Raton, FL 33496-2434
39970594         +   Old Grove Orange Inc, Po Box 534, Mentone, CA 92359-0534
39970602         +   Omar Mendez, 322 12 Vernon Ave, Venice, CA 90291-8624
39970606         +   One Hundred Eighty Degrees & Still Stand, 1314 W 12Th Street, Los Angeles, CA 90015-2009
39970607         +   Open Mesh, 20049 Sw 112Th Ave, Tualatin, OR 97062-6895
39970608         +   Oracle America Inc, Po Box 44471, San Francisco, CA 94144-0001
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                        Desc
                           Imaged Certificate of Notice Page 31 of 66
District/off: 0973-2                                    User: admin                                               Page 31 of 52
Date Rcvd: Oct 12, 2023                                 Form ID: pdf001                                        Total Noticed: 2627
39970609         +   Orale Enterprises, 11071 Hatteras St, North Hollywood, CA 91601-1314
39970610         +   Orange County Debate League, Attn Treasurer, 6931 Orangethorpe Ave, Buena Park, CA 90620-1350
40208479         +   Orenda Education (Principals Exchange), 2101 E 4th Street 200B, santa ana, CA 92705-3822
39970612         +   Organizational Services Inc, 3380 Travis Pointe, Ann Arbor, MI 48108-5926
39970616         +   Oscar Cosby, 970 W 19Th St Apt 9, San Pedro, CA 90731-4546
39970621         +   Oscar Signs, 902 San Fernando Rd, San Fernando, CA 91340-3311
39970629         +   PACIFIC MARINE MAMAL CENTER, 20612 LAGUNA CANYON ROAD, LAGUNA BEACH, CA 92651-1137
39970634         +   PAIN CHIROPRACTIC CLINIC, 835 N WESTERN AVE, LOS ANGELES, CA 90029-3765
39970635         +   PANADERIA SAN FERNANDO, 313 S MACLAY AVE, SAN FERNANDO, CA 91340-3605
39970636         +   PANDA EXPRESS, 1683 WALNUT AVE, ROSEMEAD, CA 91770-3711
39970637         +   PANERA BREAD, 3630 S GEYER RD 100, ST LOUIS, MO 63127-1234
39970638         +   PANORAMA HIGH SCHOOL, 8015 VAN NUYS BLVD, PANORAMA CITY, CA 91402-6009
39970639         +   PANTAGES THEATRE, 6233 HOLLYWOOD BLVD, LOS ANGELES, CA 90028-5310
39970640         +   PAOLA D MEJIA, 1808 2nd street, San Fernando, CA 91340-2629
39970642         +   PAOLA HUERTA, 2580 N SOTO ST 421, LOS ANGELES, CA 90032-1470
39970643         +   PAOLA NAVA JIMENEZ, 23412 MAGIC MOUNTAIN PKWY APT 1112, VALENCIA, CA 91355-1311
39970644        #+   PAOLA SHAMMAS, 752 LAINE STREET APT A, MONTEREY, CA 93940-1154
39970645         +   PAPA JOHNS, 2002 PAPA JOHNS BLOULEVARD, LOUISVILLE, KY 40299-2333
39970649         +   PARK SAMUEL, 1258 1/2 4TH AVE, LOS ANGELES, CA 90019-3430
39970651         +   PARSA TECH INC, 23454 BLYTHE ST, WEST HILLS, CA 91304-4495
39970654         +   PARTNERSHIPS FOR PURPOSE, 8726 S SEPULVEDA BLVD, SUITE D-B93, LOS ANGELES, CA 90045-4014
39970655         +   PARTY CITY, 25 Green Pond Road, STE 1, ROCKAWAY, NJ 07866-2047
39970656         +   PARTY CORNER, 2219 N ROAN ST, JOHNSON CITY, TN 37601-2501
39970658         +   PASADENA ICE SKATING CENTER, 300 E GREEN ST, PASADENA, CA 91101-2308
39970659         +   PASKENTA BAND OF NOMLAKI INDIANS, 2655 EVERETT FREEMAN WAY, CORNING, CA 96021-9000
39970660         +   PASSION PLANNER LLC, PO BOX 434, NATIONAL CITY, CA 91951-0434
39970662         +   PATRICIA GALINDO, 16750 SHERMAN WAY APT 205, VAN NUYS, CA 91406-3743
39970663         +   PATRICIA GUZMAN, 10965 LEHIGH AVENUE 410, PACOIMNA, CA 91331-2518
39970664         +   PATRICIA NUNEZ, 13113 Kagel Cyn, Pacoima, CA 91331-3219
39970665         +   PATRICIA SANDOVAL, 926 S Duncan Ave, Los Angeles, CA 90022-2905
39970666             PATRICK BLANKE, 5959 HOLLYWOOD BLVD, LOS ANGELES, CA 90028
39970667         +   PATRICK NAVAS, 26849 SHOREBREAK LN APT 41, VALENCIA, CA 91355-1674
39970669         +   PATY COREAS, 4572 Maplewood Ave 2, Los Angeles, CA 90004-1918
39970670         +   PAUL E FLOOD, 2750 Guirado Street, LOS ANGELES, CA 90023-1435
39970672         +   PAULA S NAZARIO, 2858 LEEWARD AVENUE APT 304, LOS ANGELES, CA 90005-1136
39970674         +   PC ADAPTER SHOP, 832 FRANCISCO ST 625, SAN FRANCISCO, CA 94109
39970675         +   PCS EDVENTURES!COM INC, 11915 WEST EXECUTIVE DRIVE, SUITE 101, BOISE, ID 83713-5465
39970677         +   PEDRO CHAVIRA, 3064 ISABEL DRIVE, LOS ANGELES, CA 90065-1974
39970678         +   PEDRO J GALVEZ, 535 S CATALINA ST APT 107, LOS ANGELES, CA 90020-2280
39970679         +   PEERSPACE, 743 CLEMENTINA ST, SAN FRANCISCO, CA 94103-3812
39970681         +   PENSKE, 11200 PEORIA, SUN VALLEY, CA 91352-1632
39970682             PEOPLE 20 NORTH AMERICA, PO BOX 677905, DALLAS, TX 75267-7905
39970684         +   PEREZ CESAR, 655 WEDGEWOOD AVE APT B, UPLAND, CA 91786-4301
39970685         +   PEREZ JESUS, 14071 DAUBERT ST, SAN FERNANDO, CA 91340-3844
39970686         +   PERLA I PEREZ, 12247 Klingerman St, El Monte, CA 91732-3838
39970690         +   PF BRESEE FOUNDATION, 184 SOUTH BIMINI PLACE, LOS ANGELES, CA 90004-5903
39970692         +   PHILIP ARMSTRONG, 117 BIMINI PL, APT 218, LOS ANGELES, CA 90004-5900
39970693         +   PHILLIPS SEAFOOD, 601 E PRATT ST, BALTIMORE, MD 21202-3114
39970694         +   PHO & CRAB RESTAURANT, 11660 WESTHEIMER ROAD, HOUSTON, TX 77077-6863
39970695         +   PINEAPPLE & PEARLS, 715 8TH ST SE, WASHINGTON, DC 20003-2861
39970696         +   PIONEER FIRE PROTECTION, 14819 CALVERT STREET, VAN NUYS, CA 91411-2779
39970697         +   PITA ON VINE, 1253 VINE STREET, LOS ANGELES, CA 90038-1662
39970698         +   PIZZA HUT, 14841 DALLAS PARKWAY, DALLAS, TX 75254-7558
39970699         +   PLACENCIA CONSULTING LLC, 7949 Newlin Ave APT A, Whittier, CA 90602-2176
39970700         +   PLATT COLLEGE LOS ANGELES LLC, 1000 SOUTH FREMONT AVENUE, ALHAMBRA, CA 91803-1323
39970701         +   PLAY THERAPY SUPPLY, 701 W MARSHALL ST, PO BOX 7, ARGOS, IN 46501-0007
39970702         +   PLAY WITH A PURPOSE, 2525 LEMOND ST SW, OWATONNA, MN 55060-5081
39970705         +   POETS MODERN COCKTAILS & EATS, 24 W FRANKLIN ST, BALTIMORE, MD 21201-5006
39970708         +   POINTS RAPID REWARDS, 6464 SUNSET BLVD, LOS ANGELES, CA 90028-8001
39970709         +   POLLO LOCO, 3535 HARBOR BLVD 100, COSTA MEZA, CA 92626-1494
39970710         +   PORRIDGE & PUFFS, 2801 BEVERLY BLVD, LOS ANGELES, CA 90057-1009
39970711         +   PORTLAND INTERNATIONAL AIRPORT, 7000 NE AIRPORT WAY, PORTLAND, OR 97218-1041
39970712         +   PORTO'S BAKERY INC, 3614 WEST MAGNOLIA BLVD, BURBANK, CA 91505-2913
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                                       Desc
                           Imaged Certificate of Notice Page 32 of 66
District/off: 0973-2                                         User: admin                                                         Page 32 of 52
Date Rcvd: Oct 12, 2023                                      Form ID: pdf001                                                  Total Noticed: 2627
39970715         +   POWER GRAPHICS DIGITAL IMAGING INC, 9645 SOUTH 600 WEST, SANDY, UT 84070-6616
39970716         +   PR-Tech Services LLC, Po Box 861241, Los Angeles, CA 90086-1241
39970718         +   PRETEND CITY, 29 HUBBLE, IRVINE, CA 92618-4209
39970719         +   PRICELINECOM, 800 CONNECTICUT AVE, NORWALK, CT 06854-1625
39970720         +   PRIDE SASH, 3341 JACK NORTHROP AVE, HAWTHORNE, CA 90250-4426
39970721         +   PRINCE ALLEN, 5657 LA MIRADA AVE APT 103, LOS ANGELES, CA 90038-2224
39970722         +   PRINCESS ALLEN, 5657 LA MIRADA AVE APT 103, LOS ANGELES, CA 90038-2224
39970723         +   PRINCIPAL'S EXCHANGE, 2101 E FOURTH ST SUITE 200B, Santa Ana, CA 92705-3822
39970724         +   PRISCILLA RIESTA, 13010 CARL ST APT 163, PACOIMA, CA 91331-2508
39970728         +   PROTOGE, 250 CALIFORNIA AVE, PALO ALTO, CA 94306-1618
39970730         +   PUBLIC RELATIONS & TECHNOLOGY SERVICES, 27022 VICTORIA LANE, SUITE 83, VALENCIA, CA 91355-5133
39970731         +   PUC Excel Charter, 1855 N Main St, Floor 2, LOS ANGELES, CA 90031-3227
39970733         +   PULSE UNIFORM, 205 BELL PL D, WOODSTOCK, GA 30188-1671
39970734         +   PVJobs, 4112 S Main Street, Los Angeles, CA 90037-2223
39970736         +   PYK INVESTMENT, 1665 S HARVARD ST, LOS ANGELES, CA 90006-5245
39970630         +   Pacoima Beautiful, 13520 Van Nuys Blvd Suite 209, Pacoima, CA 91331-3028
39970631         +   Pacoima Business Center Lp, Po Box 570661, Tarzana, CA 91357-0661
39970632         +   Pacoima Charter School, 11016 Norris Avenue, PACOIMA, CA 91331-2598
39970633         +   Pagoda Tee Fashion, 2408 S Broadway, Los Angeles, CA 90007-2716
39970641         +   Paola Evaristo, 20312 Vose St, Winnetka, CA 91306-3405
40139347         +   Paola Mejia, 1808 2nd St, San Fernando, CA 91340-2629
39970646         +   Paramount Contractors And Developers Inc, 6464 Sunset Blvd Suite 700, Hollywood, CA 90028-8009
39970647         +   Paramount Pictures Special Events, Attn Kathlene Stakely, 5555 Melrose Ave Dietrich Bldg 204, Hollywood, CA 90038-3197
39970648         +   Park & Save Inc, 1300 W Olympic Blvd 400, Los Angeles, CA 90015-3964
39970652         +   Partnership For Los Angeles Schools, 1541 Wilshire Blvd Ste 200, Los Angeles, CA 90017-2294
39970653         +   Partnership To Uplift Communities, 1405 N San Fernando Blvd Suite 303, Burbank, CA 91504-4511
39970657         +   Pasadena Center Operating Company, 300 E Green Street, Pasadena, CA 91101-2308
39970661         +   Patina Restaurant Group Newco LLC, 1000 N Alameda, Los Angeles, CA 90012-1804
39970668         +   Patrick Radford, 6111 Los Santos Dr, Long Beach, CA 90815-3335
39970671         +   Paula N White, 222 N Sepulveda Blvd Ste 2000, El Segundo, CA 90245-5614
39970676         +   Pearson Vue, 62160 Collections Center Dr, Chicago, IL 60693-0001
40149829         +   Pedro T. Chavira, 3064 Isabel Dr., Los Angeles, CA 90065-1974
39970687             Permaguard Security Systems Inc, PO Box 55065, Valencia, CA 91385
39970688         +   Peter Cuevas, 2424 E 2Nd St, Los Angeles, CA 90033-4008
39970689         +   Peter L Mendoza, 18257 Vanowen St, Reseda, CA 91335-5521
39970691         +   Philadelphia Insurance Companies, PO Box 70251, Philadelphia, PA 19176-0251
40203158         +   Pioneer Fire Professionals, Inc., 14819 Calvert Street, Van Nuys, CA 91411-2779
39970703         +   Playground Of Dreams, 8635 Falmouth Ave No 206, Playa Del Rey, CA 90293-8256
39970706         +   Points Of Light Foundation, Attn Accounts Receivables, 600 Means Street Suite 210, Atlanta, GA 30318-5799
39970707         +   Points Of Light Foundation - Attn Accoun, 600 Means Street, Suite 210, ATLANTA, GA 30318-5799
39970714         +   Possible Productions Inc, 111 W Verdugo Ave, BURBANK, CA 91502-2131
39970725         +   Pro Boxing Supplies, 4405 Laurel Canyon Blvd, Studio City, CA 91607-4120
39970726         +   Prosight Specialty Insurance Co, Tangram Insurance Services, PO Box 969, Westbrook, CT 06498-0969
39970729         +   Public Counsel, 610 S Ardmore Avenue, Los Angeles, CA 90005-2322
39970732         +   Pueblo Y Salud, Attn Cesar E Chavez Commemorative Commit, 1024 N Maclay M13, San Fernando, CA 91340-1361
39970735         +   PwC Charitable Foundation Inc, 4040 W Boyscout Blvd, TAMPA, FL 33607-5750
39970737         +   Q&M ENTERTAINMENT, 12827 HARBOR BLVD, SUITE G2, GARDEN GROVE, CA 92840-5838
39970742             QUINONEZ WENDY, 1307 OTTOMAN ST, ARLETA, CA 91331
39970743         +   QUINTIN M REFFELLS, 725 Manchester Dr, Inglewood, CA 90301-9244
39970740         +   Queenscare Foundation, 950 S Grand Ave, 2nd floor, LOS ANGELES, CA 90015-3999
39970741         +   Quick Scores LLC, 1501 Monclair Drive, Richardson, TX 75081-2544
39970744         +   RACHEL MEJIA, 13091 1/2 CARL ST APT 303, PACOIMA, CA 91331-2593
39970745             RAE'KWON ROBERTSON, 4315 FIRTH BLVD APT 302, LOS ANGELES, CA 90002
39970746             RAFAEL ORTIZ, 82165 CARUNDELET ST APT 22, LOS ANGELES, CA 90057
39970747         +   RALPHS GROCERY STORE, 7257 Sunset Blvd, West Hollywood, CA 90046-3409
39970748         +   RAMON RAMIREZ, 4063 1/2 WOODLAWN AVE, LOS ANGELES, CA 90011-2995
39970749         +   RAMONA ABENDROTH, 319 N OXFORD AVE APT 8, LOS ANGELES, CA 90004-2742
39970750         +   RAMPART PROPERTY MANAGEMENT, 2404 WILSHIRE BLVD STE 8A, C/O GLADYS BURGOS, LOS ANGELES, CA
                     90057-3342
39970751             RANCH DELI, 16236 SAN DIEGUITO ROAD, RANCHO SANTA FE, CA 92091
39970752         +   RANDY QUEZADA, 7500 PENFIELD AVENUE, WINNETKA, CA 91306-2922
39970754         +   RAQUEL PANUCO-HERNANDEZ, 5239 Monte Vista St APT308, Los Angeles, CA 90042-4025
39970755         +   RAQUEL S CETZ Tamayo, 670 Shatto Pl Apt 308, Los Angeles, CA 90005-1379
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                                  Desc
                           Imaged Certificate of Notice Page 33 of 66
District/off: 0973-2                                       User: admin                                                      Page 33 of 52
Date Rcvd: Oct 12, 2023                                    Form ID: pdf001                                               Total Noticed: 2627
39970756         +   RAQUEL S MAZAS, 297 N State College Blvd Apt 4018, Orange, CA 92868-1793
39970760         +   RED HAWK FIRE & SECURITY (CA) LLC, PO BOX 512250, LOS ANGELES, CA 90051-0250
39970761         +   REEF PLAYGROUND INC, 8801 CEDROS AVE, 6, PANORAMA CITY, CA 91402-2250
39970762         +   REGAL ENTERTAINMENT GROUP, 101 E BLOUNT AVENUE, KNOXVILLE, TN 37920-1632
39970772         +   RENEE OCHOA, 3426 ISABEL DRIVE APT 1, LOS ANGELES, CA 90065-2633
39970775         +   REPUBLIQUE, 624 SOUTH LA BREA AVE, LOS ANGELES, CA 90036-3568
39970777         +   RESUME NOW, 1 HALLIDIE PLAZA, SUITE 600, SAN FRANCISCO, CA 94102-2842
39970778         +   REVOLUTION DANCEWEAR LLC, 6100 WEST HOWARD, NILES, IL 60714-3402
39970779         +   REVOLUTION K12, 1337 3RD ST, 2ND FL, SANTA MONICA, CA 90401-1379
39970780         +   REYES CARLOS, 5542 SIERRA VISTA AVE, APT 303, LOS ANGELES, CA 90038-4234
39970783         +   RICARDO A SPARKS, 6055 Bonfair Ave, Lakewood, CA 90712-1123
39970784         +   RICARDO D AGUILAR, 3546 WEST 132nd STREET, HAWTHORNE, CA 90250-5508
39970785         +   RICARDO GUERECA, 12601 PIERCE STREET APT 132, PACOIMA, CA 91331-1733
39970786         +   RICARDO HUENDO, 322 N Hagar st apt U, San Fernando, CA 91340-2871
39970788         +   RICHARD CASTILLO, 5661 LEXINGTON AVE APT 103, LOS ANGELES, CA 90038-2233
39970789         +   RICHARD HERRERA, 16914 KESWICK STREET, VAN NUYS, CA 91406-2145
39970790         +   RICHARD HU, 429 S ALMANSOR ST, ALHAMBRA, CA 91801-4256
39970793         +   RING, 1523 26TH ST, SANTA MONICA, CA 90404-3507
39970794         +   RISEUP, 6001 HOSPITALITY COURT, STE 100, MORRISVILLE, NC 27560-7422
39970796         +   RITE AID STORE, 6130 W SUNSET BLVD, HOLLYWOOD, CA 90028-6424
39970797         +   RIVERS EDGE CAFE, 200 S ALAMO STREET, SAN ANTONIO, TX 78205-3213
39970798         +   RMA GEOSCIENCE, 12223 HIGHLAND AVE, SUITE 106-579, RANCHO CUCAMONGA, CA 91739-2574
39970799         +   ROBERT BARBA, 4302 Amistad Ave, Pico Rivera, CA 90660-1805
39970800         +   ROBERT BOSCH TOOL CORPORATION, 1800 WEST CENTRAL ROAD, MOUNT PROSPECT, IL 60056-2230
39970804         +   ROBERTO MILLAN, 14939 FLORENTINE ST, SYLMAR, CA 91342-5054
39970805             ROBERTO SANCHEZ, PO BOX 1380, LOS ANGELES, CA 90078-1380
39970806         +   ROBIN SHARP, 6710 VARNA AVE, VALLEY GLEN, CA 91401-1219
39970807         +   ROBINETTE RAMIREZ, 13700 COMMUNITY ST, PACOIMA, CA 91402-3928
39970808         +   ROCIO R RODRIGUEZ, 3412 CUDAHY ST, HUNTINGTON PARK, CA 90255-6837
39970809         +   ROCIO RIVERA-MURILLO, 9415 SYLMAR AVENUE UNIT 7, PANORAMA CITY, CA 91402-6903
39970810         +   RODOLFO ANDALON GARCIA, 5135 WOOD AVE, SOUTH GATE, CA 90280-5235
39970811         +   ROGELIO MORALES, 1740 1/4 N GARFIELD PL, LOS ANGELES, CA 90028-5973
39970812         +   ROMERO STEPHANIE, 7359 ADWEN ST, DOWNEY, CA 90241-4151
39970813         +   RONALD DELGADO, 631 E 47TH ST, LOS ANGELES, CA 90011-5401
39970817         +   ROROS CHICKEN, 6660 SUNSET BLVD, STE C, LOS ANGELES, CA 90028-7161
39970819         +   ROSA RAMIREZ, 3140 FAIRMOUNT ST, LOS ANGELES, CA 90063-2710
39970822             ROSARIOS, 920 S ALAMO, SAN ANTONIO, TX 78205
39970823         +   ROSE DIAZ-DOMINGUEZ, 11126 KESWICK ST, SUN VALLEY, CA 91352-4735
39970824        #+   ROSE MARY JILES, 423 EAST 118TH PLACE, LOS ANGELES, CA 90061-2822
39970825         +   ROSEMARY ENCINAS, 2211 Gates St, Los Angeles, CA 90031-2905
39970827         +   ROSS STORES, 4440 ROSEWOOD DR, PLEASANTON, CA 94588-3050
39970828         +   ROSSOBLU RESTAURANT, 1124 SAN JULIAN ST, LOS ANGELES, CA 90015-4438
39970831         +   ROXANA MAYORGA, 11346 EMELITA ST, NORTH HOLLYWOOD, CA 91601-1226
39970832         +   ROXANNA MORENO, 12873 Cometa Ave, San Fernando, CA 91340-1122
39970836         +   ROYAL SECURITY TRAINING ACADEMY, 1111 W 6TH ST SUITE 100, LOS ANGELES, CA 90017-1821
39970837         +   RUBEN D GOMEZ, 948 N EASTMAN AVE, Los Angeles, CA 90063-2112
39970838         +   RUBEN LEIVA, 11752 GLENAOKS BLVD, SAN FERNANDO, CA 91340-1802
39970839         +   RUBI LEON GONZALEZ, 1816 s Harvard Blvd, Los Angeles, CA 90006-5231
39970840         +   RUBY A RODRIGUEZ, 5103 WOODLAWN AVE, LOS ANGELES, CA 90011-4544
39970841         +   RUBY SUSHI, 201 UNIVERSITY AVE, PALO ALTO, CA 94301-1712
39970843         +   RUSSIAN NEWSPAPER DISTRIBUTION INC, 425 S Fairfax Ave, SUITE 301, LOS ANGELES, CA 90036-3148
39970844         +   RUSTIC CANYON, 1119 WILSHIRE BLVD, SANTA MONICA, CA 90401-2011
39970845         +   RUTH I MONZON, 1032 North Evergreen Avenue, Los Angeles CA 90033-2006
39970846             RUTH MONZON, 1515 DEL AMO BLVD, APT 3, TORRANCE, CA 90501
39970847         +   RUTHLYNN DINEROS, 426 MANZANITA AVE, SIERRA MADRE, CA 91024-2322
39970848         +   RUTHS CHRIS STEAK HOUSE, 2231 CRYSTAL DRIVE, 11TH FLOOR, ARLINGRON, VA 22202-3729
39970849             RWM FIBER OPTICS INC, 16627 AVILLON BLVD STE A, CARSON, CA 90746
39970850         +   RX For Reading, Po Box 491190, Los Angeles, CA 90049-9190
39970851         +   RYAN STEWART, 1749 NORTH SERRANO AVE APT 340, LOS ANGELES, CA 90027-3419
39970753         +   Raquel J Frausto, 1304 S Pearl Ave, Compton, CA 90221-4910
39970757         +   Rawda H Douma, 3317 West 118th Pl Apt 308, Inglewood, CA 90303-3042
39970758         +   Ready Refresh, Po Box 856158, Louisville, KY 40285-6158
39970766         +   Regents Of The University Of Cal At Irvi, Accounting Office 120 Theory Suite 200, Irvine, CA 92617-3210
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                        Desc
                           Imaged Certificate of Notice Page 34 of 66
District/off: 0973-2                                   User: admin                                                Page 34 of 52
Date Rcvd: Oct 12, 2023                                Form ID: pdf001                                         Total Noticed: 2627
39970768         + Regents Of The University Of California, 900 University Ave, Riverside, CA 92521-9800
39970764           Regents of the Univerity of California, DEPARTMENT K/UCLA EXTENSION, PO BOX 24901, LOS ANGELES, CA 90024-0901
39970765           Regents of the Univerity of California, UCLA EVENTS & TRANSPORTATION, 555 WESTWOOD PLAZA STE 100 BOX 951360,
                   LOS ANGELES, CA 90095-1360
39970763         + Regents of the Univerity of California, Box 957089, 1125 Murphy Hall, Los Angeles, CA 90095-7089
39970770         + Reich Industries Inc/ TGA TRUCK DRIVING, 1115 S TAYLOR AVE, MONTEBELLO, CA 90640-6022
39970771         + Renaissance Learning Inc, 2911 Peach Street, Po Box 8036, Wisconsin Rapids, WI 54495-8036
39970773         + Reptacular Animals, 8309 Laurelcanyon Blvd 316, Sun Valley, CA 91352-3809
39970774         + Republic Services 902, Po Box 78829, Phoenix, AZ 85062-8829
39970776         + Resource Area For Teaching, 1355 Ridder Park Drive, San Jose, CA 95131-2306
39970781         + Reymundo Barrasa, 3357 Stallo Ave, Rosemead, CA 91770-2646
39970782         + Reymundo G MONTIEL III, 15215 Victory Blvd apt 119, Van Nuys, CA 91411-1709
39970787         + Ricardo M Simoni Romero, 701 S Oxford Ave 104, Los Angeles, CA 90005-2907
39970791         + Ricky Alejandro, 714 S New Hampshire Ave Apt 15, Los Angeles, CA 90005-4938
39970792         + Riders Express T&C, Po Box 923248, Sylmar, CA 91392-3248
39970795           Rita Flora, LOS ANGELES, CA 90004
39970801         + Robert C Cravens, 4224 Ostrom Ave, Lakewood, CA 90713-3240
39970802         + Robert Ramirez, 1121 S Garfield Ave Apt A, Alhambra, CA 91801-4779
39970803         + Robert Simpson Jr, 816 W 60Th St, Los Angeles, CA 90044-5513
39970816         + Ronald Robinson, 4054 W 58Th Place, Los Angeles, CA 90043-3402
39970818         + Rosa Isela Ramirez, 3140 Fairmount St, Los Angeles, CA 90063-2710
39970820         + Rosalba E Lemus, 11023 Norris Ave Apt27, Pacoima, CA 91331-2501
39970821         + Rosalinda Mancillas, PO Box 2135, West Sacramento, CA 95691-7135
39970826         + Rosmery Gramajo, 13100 Bromont Avenue Apt 49, Sylmar, CA 91342-7439
39970829         + Roth Staffing Companies LP, Po Box 60003, Anaheim, CA 92812-6003
39970830         + Roxana Jullapat, 638 Maltman Ave, Los Angeles, CA 90026-3519
39970833         + Roxanna Vanessa Alvarado, 3414 Milton St, Pasadena, CA 91107-4532
39970835         + Roy W Buchanan, 1426 1/2 W 83rd St, Los Angeles, CA 90047-3101
39970834         + Roy and Patricia Disney Family Foundatio, 181 S Buena Vista St, BURBANK, CA 91505-4504
39970842         + Rubyth Cortes-Bello, 219 E 28th St, Los Angeles, CA 90011-1419
39970852         + S&S WORLDWIDE, 75 Mill Street, Colchester, CT 06415-1263
39970853         + SAAVEDRA MARICELA, 10532 CAPISTRANO AVE, SOUTH GATE, CA 90280-5813
39970855         + SABRINA I ANGUIANO, 10825 Telfair Ave, Pacomia, CA 91331-2818
39970856         + SAFETYSIGNCOM, 64 OUTWATER LANE, GARAFIELD, NJ 07026-3845
39970858         + SAISON, 178 TOWNSEND STREET, SAN FRANCISCO, CA 94107-1919
39970859         + SALEF, 421 S Bixel St Suite A, Los Angeles, CA 90017-1428
39970861         + SALESFORCEORG, 50 FREMONT ST, STE 300, SAN FRANCISCO, CA 94105-2231
39970862         + SALOMON ROMAN ALVAREZ Jr, 5853 Virginia Ave APT 6, Los Angeles, CA 90038-2019
39970863         + SALVADOR COVARRUBIAS, 14646 BLYTHE ST APT 18, PANORAMA CITY, CA 91402-5936
39970864         + SALVADOR GONZALEZ, 26671 WHIPPORWILL PL, CANYON COUNTRY, CA 91351-5540
39970866         + SALVADOR PINONES Jr, 1272 E 54st, Los Angeles, CA 90011-4712
39970867         + SALVADOR SALOMON, 15056 Vose St, Van Nuys, CA 91405-2933
39970868         + SAMANTHA D TZINTZUN, 10420 Marklein Ave, Mission Hills, CA 91345-2412
39970869         + SAMANTHA G ZUNIGA, 1539 W Gage Ave, Los Angeles, CA 90047-1522
39970870         + SAMANTHA STEFFIN, 7114 POMELO DR, WEST HILLS, CA 91307-1219
39970871         + SAMANTHA TORRES, 25399 The Old Road APT 2-208, Stevenson Ranch, CA 91381-1617
39970872         + SAMONE EDWARDS, 11333 MONA BLVD APY 288, LOS ANGELES, CA 90059-2139
39970875         + SAMUEL MARCKWORDT, 10870 PALA AVE APT 334, PACOIMA, CA 91331-2522
39970876         + SAMUEL PENA, 13061 CARL ST UNIT 357, APT 357, CA 91331-2592
39970881         + SAN FERNANDO INSTITUTE OF APPLIED MEDIA, 130 N BRAND BLVD, SAN FERNANDO, CA 91340-2901
39970883         + SAN FERNANDO TIRES & WHEELS INC, 1500 SAN FERNANDO RD, SAN FERNANDO, CA 91340-3151
39970884         + SANABRIA ELDER, 729 E 84TH PL, LOS ANGELES, CA 90001-3620
39970885         + SANDRA A GONZALEZ, 9010 TOBIAS AVENUE APT 107, PANORAMA CITY, CA 91402-1705
39970886         + SANDRA CHAVEZ, 8148 SAINT CLAIR AVE, NORTH HOLLYWOOD, CA 91605-1323
39970888         + SANDY ALVIRDE, 1417 W 3rd St Apt 505, Los Angeles, CA 90017-1469
39970889         + SANDY SANTOS, 5711 1/2 Ruthelen st, Los Angeles, CA 90062-2543
39970893         + SARA PANAMENO, 7945 Peachtree Ave, Panorama City, CA 91402-6109
39970894         + SARA SERRANO, 8137 California Ave, South Gate, CA 90280-2411
39970896         + SARAH RUSSO, 1072 LAGUNA AVE, APT 7, LOS ANGELES, CA 90026-4245
39970897           SARAHI MORALES, 15237 Lemarsh St, Mission Hills, CA 91345
39970898         + SARETH ELIZARRARAS-HUERTA, 3438 GLENALBYN DRIVE, LOS ANGELES, CA 90065-2512
39970899         + SARI SARI STORE, 317 S BROADWAY, LOS ANGELES, CA 90013-1222
39970901         + SAUL SERRANO VALLADARES, 10472 Laurel Canyon Blvd, Pacoima, CA 91331-3671
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                               Desc
                           Imaged Certificate of Notice Page 35 of 66
District/off: 0973-2                                User: admin                                           Page 35 of 52
Date Rcvd: Oct 12, 2023                             Form ID: pdf001                                    Total Noticed: 2627
39970902         +   SAUL YAVE HERNANDEZ, 30530 SAN MARTINEZ RD, VAL VERDE, CA 91384-2470
39970903         +   SAURABH SHAH, 1615 GREENCASTLE AVE UNIT C, ROWLAND HEIGHTS, CA 91748-2114
39970904         +   SCARLETT GOMEZ, 1207 E 66th St, Los Angeles, CA 90001-1622
39970908         +   SCHOOL NURSE SUPPLY, 1690 WRIGHT BLVD, SCHAUMBURG, IL 60193-4512
39970909         +   SCHOOL OF BUSINESS AND TOURISM, 322 S LUCAS AVENUE, LOS ANGELES, CA 90017-1406
39970910         +   SCHOOL OF BUSINESS AND TOURISM-MCLC, 322 S LUCAS AVE, LOS ANGELES, CA 90017-1406
39970911         +   SCHOOL OF SOCIAL JUSTICE- MCLC, 322 LUCAS AVE, LOS ANGELES, CA 90017-1406
39970912         +   SCHOOL OUTFITTERS, 3736 REGENT AVE, CINCINNATI, OH 45212-3724
39970914             SCHOOL SPECIALTY EDUCATION ESSENTIALS, MB UNIT 67-3106, MILWAUKEE, WI 53268
39970919         +   SEA LAB-LA CONSERVATION CORPS, 1021 N HARBOR DRIVE, REDONDO BEACH, CA 90277-6912
39970920         +   SEARS, 3333 BEVERLY ROAD, HOFFMAN ESTATES, IL 60179-1999
39970921         +   SEASON 52, 1689 ARDEN WAY SUITE 1065, SACRAMENTO, CA 95815-4094
39970922         +   SEBASTIAN ARAUJO, 7706 Eton Avenue, Canoga Park, CA 91304-5603
39970923             SECRETARY OF STATE, BE CERTIFICATION AND RECORDS, PO BOX 944260, SACRAMENTO, CA 94244-2600
39970924         +   SECURITY UNLIMITED LOCKSMITH, 15339 PARTHENIA ST, NORTH HILLS, CA 91343-5105
39970925             SELMA COMMUNITY HOUSING, ATTN: HELEN AGUIRRE PALMA (MANAGER) 1605, LOS ANGELES, CA 90028
39970926         +   SELWYN ARCHILA, 10193 MOREHART AVE, PACOIMA, CA 91331-3731
39970927         +   SEMILLAS SOCIEDAD CIVIL, 4736 HUNTINGTON DR SOUTH, LOS ANGELES, CA 90032-1942
39970928         +   SERENA HAEUSER, 3762 CRAWFORD ST, LOS ANGELES, CA 90011-2616
39970929         +   SERGIO D GERMAN, 9832 SAN ANTONIO AVE, South Gate, CA 90280-4622
39970930         +   SERGIO GARAY, 12753 OTTOMAN ST, PACOIMA, CA 91331-4250
39970931         +   SERGIO GASCON & ASSOCIATES, 520 N HUNTINGTON AVE, SUITE A, MONTEREY PARK, CA 91754-1162
39970932         +   SERGIO GUTIERREZ, 13321 GOLETA STREET, PACOIMA, CA 91331-3925
39970933         +   SERGIO RUIZ, 8015 VAN NUYS BLVD, PANORAMA CITY, CA 91402-6009
39970934         +   SERVICE AMERICA CORPORATION, ATTN: FRONT DESK, 5333 ZOO DRIVE, LOS ANGELES, CA 90027-1451
39970935         +   SERVICE YEAR ALLIANCE, 1400 EYE STREET NW, SUITE 900, WASHINGTON, DC 20005-6527
39970936         +   SFHS ALUMNI ASSOCIATION, PO BOX 1051, SAN FERNANDO, CA 91341-1051
39970937         +   SHAHEED A CHAPPLE, 9320 South Figueroa, Los Angeles, CA 90003-3944
39970938         +   SHARMAINE MAPOTE, 1008 ROSEMONT AVE, APT 114, LOS ANGELES, CA 90026-3072
39970940         +   SHARROL GODOY-GARCIA, 4401 CIMARRON ST, LOS ANGELES, CA 90062-1916
39970941         +   SHAWN SNOW, 1862 Via Bandera, Whittier, CA 90601-1432
39970943         +   SHELL OIL COMPANY, 910 LOUISIANA ST, HOUSTON, TX 77002-4934
39970944         +   SHELLY V GARCIA-RODRIGUEZ, 9500 Zelzah Ave Apt M314, Northriddge, CA 91325-2001
39970946         +   SHERYLEE S WARRIOR, 5815 2ND AVE, LOS ANGELES, CA 90043-3217
39970947         +   SHEYLA MONTERROSO MARROQUIN, 16344 BRYANT STREET, NORTH HILLS, CA 91343-5702
39970948             SHI INTERNATIONAL CORP, I290 DAVIDSON AVENUE, SOMERSET, NJ 08873
39970949         +   SHIELDS FOR FAMILIES, 11601 SOUTH WESTERN AVENUE, LOS ANGELES, CA 90047-5006
39970950         +   SHINMAI JAPANESE RESTAURANT, 1825 SAN PABLO AVE, OAKLAND, CA 94612-1517
39970951         +   SHIVANI P NARANG, 7 Redcrown, Mission Viejo, CA 92692-5195
39970952         +   SHNEAKY ENTERTAINMENT AND CONSULTING, 3323 HOPE ST APT C, HUNTINGTON PARK, CA 90255-6267
39970954         +   SILVIA VALDEZ, 13030 garber st, pacoima, CA 91331-3228
39970955         +   SINTIA MANDUJANO, 1617 S HOOVER STREET APT 5, LOS ANGELES, CA 90006-4921
39970959         +   SKYLER B GODOY-GARCIA, 4401 Cimarron st, Los Angeles, CA 90062-1916
39970960             SLB PRINTING INC, 2818 S ROBERTSON BLVD, LOS ANGELES, CA 90034
39970961         +   SLED BACKGROUND CHECK, 3111 CAMINO DEL RIO N SUITE 400, SAN DIEGO, CA 92108-5724
39970962         +   SMART & FINAL, 600 CITADEL DR, COMMERCE, CA 90040-1562
39970963         +   SMART JANITORIAL LLC, 17192 MURPHY AVE 16261, IRVINE, CA 92623-0498
39970964         +   SNAP INC, 2772 DONALD DOUGLAS LOOP N, SANTA MONICA, CA 90405-2951
39970965         +   SO CAL FARMERS NEPANOLIZTLI LLC, 11003 PENROSE STREET, 1, SUN VALLEY, CA 91352-2757
39970966         +   SOCAL CODE CAMP INC, 17702 SEMINOLE WAY, YORBA LINDA, CA 92886-5154
39970971         +   SOCIALE CHICAGO, 800 S CLARK STREET, CHICAGO, IL 60605-1707
39970972         +   SOFIA M GOODE, 678 E WALNUT STREET UNIT 512, PASADENA, CA 91101-2287
39970973         +   SOMNI, 9247 ALDER DR, BEVERLY HILLS, CA 90210-3703
39970974         +   SONIA E Oliva, 13255 Reliance St, Arleta, CA 91331-5818
39970975         +   SONIA MORENO, 2001 NEW JERSEY ST, LOS ANGELES, CA 90033-2805
39970976         +   SONIA TORRES, 6100 MESA AVE, LOS ANGELES, CA 90042-3502
39970977         +   SORIE ALBA, 2049 CALLA LA SOMBRA UNIT 1, SIMI VALLEY, CA 93063-3665
39970978         +   SORRA, 1550 N EL CENTRO AVE ROOFTOP, LOS ANGELES, CA 90028-6497
39970979         +   SOUDERS MEGAN, 1720 W 24TH ST, LOS ANGELES, CA 90018-2111
39970980             SOUND BODY SOUND MIND FOUNDATION, ATTN MATTHEW FLESOCK, LOS ANGELES, CA 90025
39970982         +   SOUTH BAY COMMUNITY SERVICES, 430 F ST, CULA VISTA, CA 91910-3711
39970985         +   SOUTHERN CALIFORNIA GAS, PO Box C, Monterey Park, CA 91754-0932
39970988         +   SOUTHWINDS TRANSPORTATION, 9303 SUNLAND BLVD, SUN VALLEY, CA 91352-2057
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                           Desc
                           Imaged Certificate of Notice Page 36 of 66
District/off: 0973-2                                     User: admin                                                 Page 36 of 52
Date Rcvd: Oct 12, 2023                                  Form ID: pdf001                                          Total Noticed: 2627
39970992         +   SPORTS FLAG & PENNANTS, 1862 E BELVIDERE RD UNIT 106, GRAYSLAKE, IL 60030-2289
39970994         +   SPOTLESS RUG CLEANERS, 1035 S SERRANO AVE 4, LOS ANGELES, CA 90006-2442
39970996         +   ST JOHN'S WELL CHILD & FAMILY CENTER INC, 808 W 58TH ST, LOS ANGELES, CA 90037-3632
39970997         +   STACEY M TAPIA, 8505 COLUMBUS AVENUE UNIT 302, NORTH HILLS, CA 91343-6712
39970998         +   STACEY RODRIGUEZ, 6561 FULTON AVE APT 7, VAN NUYS, CA 91401-1311
39970999         +   STACY CAMARILLO MENDOZA, 2940 INDIANA AVENUE, SOUTH GATE, CA 90280-4130
39971002         +   STANFORD UNIVERSITY, Stanford Univeristy Dept 33725 PO Box 39, SAN FRANCISCO, CA 94139-0001
39971004         +   STANLEY SAUNDERS, 15106 NW OAKMONT LOOP, BEAVERTON, OR 97006-5503
39971007         +   STARBUCKS, 2401 UTAH AVENUE SOUTH, SEATTLE, WA 98134-1436
39971011         +   STAY LIMITLESS, PO BOX 33667, LOS ANGELES, CA 90033-0667
39971012         +   STEM & MORE LLC, 7618 JELLICO AVE, NORTHRIDGE, CA 91325-4509
39971015             STEMFINITY, 501 S 11TH ST, BOISE, ID 83702
39971016         +   STEPHANIE A MENDEZ, 1200 E 49TH STREET, LOS ANGELES, CA 90011-4204
39971017         +   STEPHANIE AYALA, 225 N AVE 25 APT 222, LOS ANGELES, CA 90031-3081
39971018         +   STEPHANIE CALDERON, 1324 1/2 S Spruce, Montebello, CA 90640-6466
39971019         +   STEPHANIE CORTES, 8363 Willis Ave 15, Panorama City, CA 91402-3527
39971020         +   STEPHANIE DURAN, 14366 Germain St, Mission Hills, CA 91345-2303
39971021         +   STEPHANIE GUZMAN, 1817 W Washington Ave, Santa Ana, CA 92706-3229
39971022         +   STEPHANIE HUEZO-LAZO, 13159 CHASE ST, ARLETA, CA 91331-4719
39971023         +   STEPHANIE J CALDERON, 6806 BRYNHURST AVENUE, LOS ANGELES, CA 90043-4664
39971025         +   STEPHANIE M CALIXTO, 1833 W39th St, Los Angeles, CA 90062-1021
39971026         +   STEPHANIE MOZQUEDA, 12050 VAN NUYS BLVD, LAKE VIEW TERRACE, CA 91342-6054
39971027         +   STEPHANIE NUNEZ, 2036 LUCAS STREET, SAN FERNANDO, CA 91340-1658
39971028         +   STEPHANIE PAOLA GONZALEZ, 6610 DENSMORE AVE, VAN NUYS, CA 91406-6026
39971029         +   STEPHANIE RAMIREZ, 2731 OLIVE STREET, HUNTINGTON PARK, CA 90255-6325
39971031         +   STEPHANIE TORRES, 12152 ROSSITER AVE, SYLMAR, CA 91342-5257
39971033         +   STEPHEN E IGWE, 20109 THORNLAKE AVE, CERRITOS, CA 90703-7630
39971034         +   STEPHEN SMITH, 3014 5TH AVE, LOS ANGELES, CA 90018-2909
39971037         +   STEVIE J MANCILLAS, 1751 E 83RD STREET, LOS ANGELES, CA 90001-4052
39971038         +   STEWART FOUNDATION, PO BOX 54680, ATLANTA, GA 30308-0680
39971039         +   STEWART I LEON, 8334 Sepulveda Blvd 17, North hills, CA 91343-6537
39971041         +   STOCK ADOBE SYSTEMS, 345 PARK AVENUE, SAN JOSE, CA 95110-2704
39971042        ++   STOKED MENTORING INC, 68 JAY STREET, SUITE 407, BROOKLYN NY 11201-8361 address filed with court:, STOKED
                     MENTORING INC, 68 JAY ST, SUITE 425, BROOKLYN, NY 11201
39971043         +   STS EDUCATION, 130-A W COCHRAN ST, SIMI VALLEY, CA 93065-6272
39971045      ++++   SUBWAY, 325 SUB WAY, MILFORD CT 06461-3059 address filed with court:, SUBWAY, 325 BIC DRIVE, MILFORD, CT 06460
39971046         +   SUE LYNN BERNACHE, 6322 BRIGHT AVE, WHITTIER, CA 90601-3626
39971047             SUGARFISH, LOS ANGELES, CA 90038
39971048         +   SUMAYYA KHAN, 6528 Wilbur Avenue Apt 204, Reseda, CA 91335-5943
39971049         +   SUN VALLEY PETRO, 9089 GLENOAKS BLVD, SUN VALLEY, CA 91352-2040
39971050         +   SUPER FINE PIZZA, 1101 S SAN PEDRO ST, UNIT F, LOS ANGELES, CA 90015-2465
39971051         +   SUPERIOR ELECTRONICS, 1028 SAN FERNANDO RD, SAN FERNANDO, CA 91340-3313
39971055         +   SURVEY MONKEY, 3050 SOUTH DELAWARE STREET, SAN MATEO, CA 94403-2392
39971056         +   SUSANA GOMEZ, 12921 CHIPPEWA STREET, SYLMAR, CA 91342-4906
39971057         +   SUSANA GONZALEZ, 7304 Craner Ave, Sun Valley, CA 91352-4817
39971058         +   SUSANA REINISCH, 6 VIA PERICO, RANCHO SANTA MARGARITA, CA 92688-3429
39971060         +   SUSHI ONE, 3905 W 6th St, LOS ANGELES, CA 90020-4202
39971062         +   SWIM OUTLET, 1919 S BASCOM AVE, CAMPBELL, CA 95008-2220
39971063         +   SYLMAR LOCK & KEY, 13754 FOOTHILL BLVD UNIT 2, SYLMAR, CA 91342-3104
39971065         +   SYLVIA RODRIGUEZ, 10977 NORRIS AVE, UNIT 47, PACOIMA, CA 91331-2564
39970854         +   Sabio Enterprises Inc, 400 Corporate Pointe Suite 300, Culver City, CA 90230-7620
39970857         +   Safeway Inc, Po Box 742918, Los Angeles, CA 90074-2918
39970860         +   Saleha Kaiser, 22330 S Ladeene Ave, Torrance, CA 90505-2234
39970865         +   Salvador Olavarrieta, 12703 S San Pedro St Apt 15, Los Angeles, CA 90061-2358
39970877         +   Samuel Valle, 9726 San Miguel Ave Apt B, South Gate, CA 90280-4822
39970878         +   Samy's Camera, 12636 Beatrice St, Los Angeles, CA 90066-7312
39970879         +   San Fernando Community Hospital, Attn Audrey L Simmons Msha, 732 Mott St Suite 100, San Fernando, CA 91340-4240
39970880         +   San Fernando First Street LLC, 601 S Brand Blvd 3Rd Floor, San Fernando, CA 91340-4069
39970882         +   San Fernando Recreation & Community Serv, 208 Park Ave, San Fernando, CA 91340-3009
39970890         +   Sandy Spin Slade Inc, 670 E Parkridge Ave Suite 104, Corona, CA 92879-6606
39970895         +   Sarah Furnari, 5300 Kester Ave Apt 104, Sherman Oaks, CA 91411-4058
39970900         +   Saul Mendoza, 12715 Wardman St, Whittier, CA 90602-1260
39970906         +   Scholastic Inc, PO Box 3720, Jefferson City, MO 65102-3720
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                              Desc
                           Imaged Certificate of Notice Page 37 of 66
District/off: 0973-2                               User: admin                                           Page 37 of 52
Date Rcvd: Oct 12, 2023                            Form ID: pdf001                                    Total Noticed: 2627
39970913         + School Specialty, 3825 S Willow Ave, Fresno, CA 93725-9025
39970915           School Specialty Math, PO Box, Nashua, NH 03061
39970916           School Specialty Sportime, Mb Unit 673106, Milwaukee, WI 53268
39970917         + School Tech Supply, Po Box 2999, Phoenix, AZ 85062-2999
39970918         + Score Sports, 726 East Anaheim St, Wilmington, CA 90744-3635
39970939         + Sharp International, PO Box 338, Claremont, CA 91711-0338
39970953         + Shred It Usa Inc, 8600 Tamarack Ave, Sun Valley, CA 91352-2504
39970956         + Six Flags Magic Mountain, Attn Group Sales, 26101 Magic Mountain Parkway, Valencia, CA 91355-1095
39970957         + Skillpath Seminars, Po Box 804441, Kansas City, MO 64180-4441
39970967         + Socal Office Technologies, 5700 Warland Dr, Cypress, CA 90630-5030
39970969         + Soccerstores Inc, 11118 Balboa Blvd, Granada Hills, CA 91344-4203
39970970         + Social Solutions Global Inc, 425 Williams Court Suite 100, Baltimore, MD 21220-2939
39977673         + Sofia Goode, 1070 S Crescent Heights Blvd, Los Angeles, CA 90035-2633
39970981         + South Bay Community Services, 430 F Street, CHULA VISTA, CA 91910-3711
39970983         + Southeast Community Development Corp, 6423 Florence Place Suite 103, Bell Gardens, CA 90201-3248
39970986         + Southern California Grantmakers, 1000 N Alameda, Ste 230, LOS ANGELES, CA 90012-1804
39970993         + Sports Imports, Po Box 21040, Columbus, OH 43221-0040
39971001         + Standard Parking, Attn Ramon Pena, 1055 W 7Th Street Suite 1500, Los Angeles, CA 90017-5599
39971003         + Stanley Royster, 1621 S Victoria Ave, Los Angeles, CA 90019-5929
39971005         + Staples Contract & Commercial Inc, Dept La, Po Box 83689, Chicago, IL 60696-0001
39971006         + Staples Technology Solutions, PO BOX 95230, CHICAGO, IL 60694-5230
39971009         + State of California, 3301 C Street, Suite 700, SACRAMENTO, CA 95816-3372
39971010         + State of California - Public Utilities C, 505 Van Ness Avenue, SAN FRANCISCO, CA 94102-3298
39971013         + Stem Academy Of Hollywood, 1309 N Wilton Place 4Th Fl, Los Angeles, CA 90028-8526
39971014         + Stem Preparatory Schools Inc, 3200 W Adams Blvd, LOS ANGELES, CA 90018-1832
39971024         + Stephanie M Alfaro, 12600 Van Nuys Blvd Apt 58, Pacoima, CA 91331-7958
39971035         + Steve Zimmer, 6344 Lexington Avenue, Los Angeles, CA 90038-1645
39971036         + Steven R Armenta, 8416 Luxor Street, Downey, CA 90241-5120
39971040         + Stipend, 6464 Sunset Blvd, Suite 650, Los Angeles, CA 90028-8008
39971052         + Superior Investments LLC, PO Box 2027, Long Beach, CA 90801-2027
39971053         + Superior Press, 11930 Hamden Place, Santa Fe Springs, CA 90670-3216
39971054         + Survey Gizmo, 4888 Pearl East Circle Ste 100, West Boulder, CO 80301-2492
39971061         + Suzanne M Steinke A Prof Corp, 11377 W Olympic Boulevard, Los Angeles, CA 90064-1625
39971064         + Sylmar's Fix Restaurant, 13790 Foothill Blvd, Sylmar, CA 91342-3166
39971066         + T Rowe Price, PO Box 64012, Baltimore, MD 21264-4012
39971070         + TAMARA MAIMON, 2633 LINCOLN BLVD 218, SANTA MONICA, CA 90405-4619
39971071        #+ TAMEARA LEWIS, 10008 s Manhattan pl, Los Angeles, CA 90047-4248
39971072         + TANIA C RAMIREZ Cordova, 14959 Vanowen Street 24, Van Nuys, CA 91405-3749
39971073         + TANIA FLORES, 8005 S WADSWORTH AVE, LOS ANGELES, CA 90001-3243
39971074        #+ TANIA TORRES, 6720 HAYVENHURST AVENUE APT 55, VAN NUYS, CA 91406-6509
39971076         + TAQUITO Y MAS CATERING SERVICES, 9662 ARLETA AVE, ARLETA, CA 91331-4650
39971079         + TASHA WALKER, 4757 West Slauson Avenue 8, Los Angeles, CA 90056-1209
39971081         + TASTY N ALDER, 580 SW 12TH AVENUE, PORTLAND, OR 97205-2300
39971082         + TATIANA DURAN, 13233 HARDING ST, SYLMAR, CA 91342-4845
39971083         + TATIANA S LANDAVERDE, 13030 RAMONA BLVD APT 32, BALDWIN PARK, CA 91706-3761
39971084         + TATYANA DACE, 634 E HOLBORN DR, CARSON, CA 90746-2327
39971085         + TAYLOR CANIZALEZ, 12700 VAN NUYS BLVD APT 353, PACOIMA, CA 91331-7723
39971086         + TAYLOR M THOMAS, PO BOX 7023, Long Beach, CA 90807-0023
39971087         + TEBOW LOCKLIN, 9507 FLOWER STREET APT 203, BELLFLOWER, CA 90706-5788
39971089         + TECH SOUP, 435 BRANNAN ST 100, SAN FRANCISCO, CA 94107-1780
39971091         + TED GIBSON PICTURE FRAMES INC, 4271 W 3RD ST, LOS ANGELES, CA 90020-3448
39971092         + TEGRA SOLUTIONS, 13069 RED CORRAL DRIVE, CORONA, CA 92883-6313
39971094         + TENDER GREENS, 1201 WEST 5TH ST, T400, LOS ANGELES, CA 90017-2090
39971095         + TERESITA RODRIGUEZ, 6464 W SUNSET, 650, LOS ANGELES, CA 90028-8008
39971097         + TESSA DI MANTOVA, 5519 TIERRA GARDENS LANE, CARMICHAEL, CA 95608-4794
39971100         + THANIA VELA, 5409 MILDRED ST, SIMI VALLEY, CA 93063-4538
39971104         + THE BERENDOS, 226 S BERENDO STREET, LOS ANGELES, CA 90004-5701
39971107         + THE CANDY BAR, 1509 BROADWAY ST, DETROIT, MI 48226-2114
39971110           THE CHRONICLE OF HIGHER EDUCATION, 1255TWENTY-THIRD STREET, NW 7TH FLOOR, WASHINGTON, DC 20037
39971111         + THE COVE HOTEL, 200 EAST WILLOW STREET, LONG BEACH, CA 90806-2624
39971112        #+ THE CRONER COMPANY, 1028 SIR FRANCIS DRAKE BLVD, KENTFIELD, CA 94904-1426
39971113         + THE ESQUIRE TAVERN, 155 E COMMERCE STREET, SAN ANTONIO, TX 78205-2226
39971114         + THE FINANCIAL CLINIC, 115 WEST 30TH ST, SUITE 700, NEW YORK, NY 10001-4063
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                Desc
                           Imaged Certificate of Notice Page 38 of 66
District/off: 0973-2                               User: admin                                            Page 38 of 52
Date Rcvd: Oct 12, 2023                            Form ID: pdf001                                     Total Noticed: 2627
39971115         + THE FISH MARKET RESTAURANT, 750 NORTH HARBOR DRIVE, SAN DIEGO, CA 92132-0001
39971116         + THE GATEMASTER JP INC, 8508 KEWEN AVE, SUN VALLEY, CA 91352-3120
39971117         + THE GRIFFITH OBSERVATORY, 2800 E OBSERVATORY ROAD, LOS ANGELES, CA 90027-1299
39971119           THE HAMPTON SOCIAL, 353 W HUBBARD STREET, CHICAGO, IL 60654
39971122         + THE HOW KIDS LEARN FOUNDATION, 467 RICH STREET, OAKLAND, CA 94609-2512
39971123         + THE INTEGRATED AUTHENTICITY HEART PROJEC, 300 W VALLEY BLVD, B129, ALHAMBRA, CA 91803-3338
39971124         + THE LATINO FAMILY LITERACY PROJECT, 1107 FAIR OAKS AVENUE, SUITE 225, SOUTH PASADENA, CA 91030-3311
39971125         + THE LAW OFFICE OF OMID NOSRATI CLIENT TR, 1875 CENTURY PARK EAST SUITE 600, LOS ANGELES, CA 90067-2507
39971126         + THE LAWYERS FOR EMPLOYEE AND CONSUMER RI, 4100 W ALAMEDA AVE, THIRD FLOOR, BURBANK, CA 91505-4195
39971127         + THE LINE DC, 1770 EUCLID ST NW 20009-2836
39971129         + THE LOFT HAWAIIAN RESTAURANT, 20157 PIONEER BLVD, LAKEWOOD, CA 90715-1051
39971131         + THE MYERS-BRIGGS COMPANY, 185 N WOLFE ROAD, SUNNYVALE, CA 94086-5212
39971132         + THE NARRATIVE METHOD INC, 16060 VENTURA BLVD, SUITE 110 PMB 189, ENCINO, CA 91436-4428
39971134           THE PACIFIC BATTLESHIP CENTER, 250 S HARBOR BLVD, BERTH 87, SAN PEDRO, CA 90731
39971135         + THE PARKING SPOT, 200 W MONROE STREET, STE 1500, CHICAGO, IL 60606-5114
39971140         + THE RONALD REAGAN PRESIDENTIAL FOUNDATIO, 40 PRESIDENTIAL DRIVE, SUITE 200, SIMI VALLEY, CA 93065-0600
39971142         + THE SIREN HOTEL, 1509 BROADWAY ST, DETROIT, MI 48226-2114
39971145           THE UNIVERSITY CORPORATION, 18111 NORDHOFF ST, NORTHRIDGE, CA 91330-8309
39971146         + THE VALLEY ECONOMIC ALLIANCE, 5121 VAN NUYS BLVD, SUITE 200, SHERMAN OAKS, CA 91403-1497
39971147         + THE WHYTRY ORGANIZATION, 5455 N RIVER RUN DR, PROVO, UT 84604-7726
39971148         + THOMASKELLY SOFTWARE ASSOCIATES, 1 SUGAR CREEK CENTER BLVD, SUITE 410, SUGAR LAND, TX 77478-3582
39971150         + TICKETMASTER, 7060 HOLLYWOOD BLVD, Los Angeles, CA 90028-6040
39971151         + TIDES CENTER, 1014 TORNEY AVENUE, SAN FRANCISCO, CA 94129-1756
39971152         + TIET NANCY, 440 N LAZARD ST, SAN FERNANDO, CA 91340-1923
39971154         + TIFFANY HERNANDEZ, 13272 Judd St, Pacoima, CA 91331-2463
39971155         + TIGER DIRECT INC, 7795 W FLAGLER STREET SUITE 35, MIAMI, FL 33144-2367
39971157         + TIMONTHY G MORRIS, 13555 EGBERT ST, SYLMAR, CA 91342-1846
39971159         + TOCAYA ORGANICA, 6550 SUNSET BLVD, LOS ANGELES, CA 90028-7202
39971160         + TOM'S URBAN, 1011 S FIGUEROA ST B101, LOS ANGELES, CA 90015-1363
39971161         + TOMAS D GRANADOS, 15455 GLENOAKS BLVD APT 510, SYLMAR, CA 91342-7903
39971162         + TOMMY ALTAMIRANO, 14255 TYLER STREET APT 2016, SYLMAR, CA 91342-7527
39971163         + TOOKAN SOCOMO INC, 388 MARKET ST, STE 1300, SAN FRANCISCO, CA 94111-5316
39971165         + TOTAL CORPORATE SOLUTIONS, 20335 S WESTERN AVE, TORRANCE, CA 90501-1504
39971168         + TOWN HALL LOS ANGELES, 200 N SPRING ST, LOS ANGELES, CA 90012-4801
39971170         + TPR EDUCATION LLC, 110 E 42ND ST, SUITE 700, NEW YORK, NY 10017-8538
39971171         + TR TRADING COMPANY, 15604 BROADWAY ST, GARDENA, CA 90248-2211
39971172         + TRADER JOE'S, 800 S SHAMROCK, MONROVIA, CA 91016-6346
39971173           TRAINERS WAREHOUSE, 89 WASHINGTON AVE, SUITE K, NATICK, MA 01760-3441
39971174         + TRANSPERFECT HOLDINGS LLC, 3 PARK AVENUE, 40TH FLOOR, NEW YORK, NY 10016-5917
39971176         + TRASH OUT, 12224 INDUSTRIAL AVE, SOUTH GATE, CA 90280-8218
39971177         + TRAVEL GUARD GROUP INC, 175 WATER ST 15TH FLOOR, NEW YORK, NY 10038-4918
39971178         + TRAVIS RUSSELL, 19716 Azure Field Drive, Newhall, CA 91321-1342
39971179         + TREEHOUSE ISLAND INC, 3514 N VANCOUVER AVE, SUITE 500, PORTLAND, OR 97227-2026
39971181         + TREVOR C ANDERSON, 1843 N Easterly Terr, Los Angeles, CA 90026-1314
39971182         + TREVOR KEYS-ALTENBURG, 3901 FRANKLIN AVE, LOS ANGELES, CA 90027-4623
39971183         + TRIPLE A RENTS AND EVENTS, 16010 STRATHERN STREET, VAN NUYS, CA 91406-1316
39971184         + TROY WILLIAMS Jr, 11844 S Normandie Ave, Los Angeles, CA 90044-1222
39971186         + TUESDAY MORNING, 18040 CHATSWORTH SUITE A, GRANADA HILLS, CA 91344-5658
39971188         + TWITTER INC, 1355 MARKET STREET, SUITE 900, SAN FRANCISCO, CA 94103-1337
39971069         + Talx Corporation, 4076 Paysphere Circle, Chicago, IL 60674-0001
39971075         + Taqueria Vista Hermosa, 3655 S Grand Ave C5, Los Angeles, CA 90007-4308
39971090         + Technical College, 7916 Long Beach Blvd, South Gate, CA 90280-2072
39971093         + Templo Calvario Inc, 2501 W 5Th St, Santa Ana, CA 92703-1816
40113670         + Teresa A. McQueen, 2101 E 4th Street 200B, santa ana, CA 92705-3822
39971096         + Terminix, Terminix Processing Center, Po Box 742592, Cincinnati, OH 45274-2592
39971098         + Thai CDC, 6376 Yucca St Suite B, Los Angeles, CA 90028-5037
39971099         + Thais A Morales, 208 N Ditman Ave, Los Angeles, CA 90063-2330
39971101         + The Accelerated School, 4000 South Main St, Los Angeles, CA 90037-1022
39971102         + The Accounting Annex Inc, 41 E Foothill Blvd 201, Arcadia, CA 91006-2361
39971103         + The Actors' Gang, 9070 Venice Blvd, Culver City, CA 90232-2305
39971106         + The California Endowment, 1000 N Alameda Street, Los Angeles, CA 90012-1804
39971108         + The Carol and James Collins Foundation, 6101 W CENTINELA AVE STE 100, CULVER CITY, CA 90230-6318
39971109         + The Children'S Project, 18653 Ventura Blvd Suite 547, Tarzana, CA 91356-4103
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                                Desc
                           Imaged Certificate of Notice Page 39 of 66
District/off: 0973-2                                      User: admin                                                     Page 39 of 52
Date Rcvd: Oct 12, 2023                                   Form ID: pdf001                                              Total Noticed: 2627
39971120         + The Heart Project DBA ARTWORXLA, 1930 Wilshire Blvd Suite 800, Los Angeles, CA 90057-3618
39971133         + The New Moon, 112 W 9Th 102, Los Angeles, CA 90015-1510
39971136         + The Princeton Review, 110 E 42ND STREET 7TH FLOOR, NEW YORK, NY 10017-8538
39971137           The Princeton Review, 62996 COLLECTION CENTER DRIVE, CHICAGO, IL 60693-0629
39971138         + The Queen Mary, 1126 Queen Highway, Long Beach, CA 90802-6390
39971139         + The Ralph M Parsons Foundation, 888 W 6th St 700, LOS ANGELES, CA 90017-2733
40278378         + The Regents of the University of California, 1111 Franklin Street, 8th Floor, Oakland, CA 94607-5201
39971141         + The Salvation Army, 1532 W 11Th St, Los Angeles, CA 90015-2001
39971143         + The Stronghold Climbing Gym, 650 S Avenue 21, Los Angeles, CA 90031-3283
39971144         + The Ultimate Software Group Inc, Po Box 930953, Atlanta, GA 31193-0953
40113671         + Think Together, 2101 E 4th Street 200B, santa ana, CA 92705-3822
39971153         + Tiffany D De La Cruz, 14690 Nordhoff Street Apt 305, Panorama City, CA 91402-1783
39971156         + Time Warner, PO Box 60074, City Of Industry, CA 91716-0074
39971158         + Timothy Ernst, 6440 Orange St 103, Los Angeles, CA 90048-4754
39971166         + Total Funds By Hasler, PO Box 30193, Tampa, FL 33630-3193
39971167         + Touchstone Climbing, 1107 N Bronson Ave, Los Angeles, CA 90038-2007
39971169         + Town Ride Inc, Po Box 3607, Glendale, CA 91221-0607
40194490         + TransPerfect Document Management, Inc., 5700 Wilshire Blvd #265, Los Angeles, CA 90036-4488
40238916         + TransPerfect Legal Solutions, c/o Metrogroup Inc, Attention: Lee, 61 Broadway Suite 905, New York, NY 10006-2724
39971187         + Tuff Shed Inc, 12776 Foothills Blvd Unit A, Sylmar, CA 91342-5306
39971190         + UBER, 1455 MARKET ST, SAN FRANCISCO, CA 94103-1331
39971191         + UBIQUITOUS MUSIC INC, 348 E GRAND AVE, ESCONDIDO, CA 92025-3302
39971192         + UC Regents, 360 Deneve Drive Box 951383, Los Angeles, CA 90095-1383
39971193         + UCLA, Attention Mary Kiepp, 405 Hilgard Ave 70 Powell, Los Angeles, CA 90095-9000
39971194           UCLA, DEPARTMENT K - UCLA EXTENSION, PO BOX 24901, LOS ANGELES, CA 90024-0901
39971195         + UCLA CONFERENCES & CATERING, 360 DE NEVE DRIVE, BOX 951383, LOS ANGELES, CA 90095-1383
39971196         + UHAUL, 2727 N CENTRAL AVE, PHOENIX, AZ 85004-1158
39971200         + ULYSSES URQUIZO, 1413 CEDAR ST, MONTEBELLO, CA 90640-6414
39971203         + UNILAV DESIGN, 5450 W 83RD STREET, LOS ANGELES, CA 90045-3204
39971204         + UNION 76 GAS, PO BOX 7200, BARTLESVILLE, OK 74005-7200
39971205           UNION BANK, ACCOUNTS PAYABLE DEPARTMENT, LOS ANGELES, CA 90060
39971206         + UNITED AIRLINES INC, PO BOX 0664, CHICAGO, IL 60690-0664
39971207         + UNITED SECURITY INSTITUTE, 1111 W 6TH ST, SUITE 100, LOS ANGELES, CA 90017-1821
39971213         + UNIVERSITY OF LA VERNE, 1950 THIRD STREET, LA VERNE, CA 91750-4401
39971214           UNIVERSITY OF OREGON, EDUCATIONAL AND COMMUNITY SUPPORTS, EUGENE, OR 97403
39971215        ++ UNIVERSITY OF SAN DIEGO, 5998 ALCALA PARK, HUGHES ADMINISTRATION BUILDING-ROOM 212, SAN DIEGO CA
                   92110-2492 address filed with court:, University Of San Diego, 5998 Alcala Park, San Diego, CA 92110
39971219         + URBAN HOUSE LLC, 1001 STARBUCK ST L102, FULLERTON, CA 92833-5705
39971220         + URBAN SOCCER 5 CENTER, 12000 FIRESTONE BOULEVARD, NORWALK, CA 90650-2907
39971222         + URENA MICHEAL, 1116 S KENMORE AVE, LOS ANGELES, CA 90006-3311
39971223         + URTH CAFFE, 451 S HEWITT ST, LOS ANGELES, CA 90013-2215
39971227           US DEPARTMENT OF HOMELAND SECURITY, US CITIZENSHIP AND IMMIGRATION SERVICES, PHOENIX, AZ 85036
39971224         + US Department of Agriculture, 1280 Maryland Ave SW, WASHINGTON, DC 20250-0018
39971226         + US Department of Health and Human Servic, 330 C St SW, WASHINGTON, DC 20416-0001
39971229         + US Department of Labor, 200 Constitution Ave NW, WASHINGTON, DC 20210-0002
39971230         + USC - University Of Southern California, Attn Emily Martin, 3601 Trousdale Parkway Stu 110, Los Angeles, CA 90089-0046
39971231         + USPS, 475 L ENFANT PLAZA SW RM 4012, WASHINGTON, DC 20260-0004
39971198         + Ulises Aguilar, 1190 Rolland Curtis Pl, Los Angeles, CA 90037-1108
39971201         + UnidosUS, 1126 16th Street NW, WASHINGTON, DC 20036-4804
39971202         + Uniforms & Safety Supplies, 11011 San Fernando Rd, Pacoima, CA 91331-2642
39971209         + United Spirit Association, 5770 Warland Dr Suite B, Cypress, CA 90630-5047
39971210         + United Way, 1150 S Olive St, LOS ANGELES, CA 90015-2481
39971211         + Universal Printing Solutions Inc, 10573 West Pico Blvd 610, Los Angeles, CA 90064-2333
40114439           University of Southern California, ATTN: Niels Frenzen, 699 Exposition Blvd., Los Angeles, CA 90089-0071
39971218         + Up2Us Inc, 520 8Th Ave 2Nd Floor, New York, NY 10018-6590
39971221         + Urbano Bruno, 487 E 48Th St, Los Angeles, CA 90011-3923
39971232         + VALERIE E MALESPIN, 12652 Mercer St, Pacoima, CA 91331-1324
39971233         + VALINDA MENESES, 635 SOUTH SHELTON STREET APT C, BURBANK, CA 91506-3157
39971236         + VALLEY GUARD TRAINING, 16140 COHASSET ST, VAN NUYS, CA 91406-2909
39971238         + VANESSA A SAUCEDO, 14547 Fox St Rear, Mission Hills, CA 91345-1820
39971239         + VANESSA BENAVIDES, 12218 Crest Ave, Sylmar, CA 91342-5505
39971240         + VANESSA CERDA, 9214 San Luis Ave A, South Gate, CA 90280-4763
39971242         + VANESSA ESPARZA, 13035 1/2 CARL ST APT 375, PACOIMA, CA 91331-2509
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                           Desc
                           Imaged Certificate of Notice Page 40 of 66
District/off: 0973-2                                   User: admin                                                Page 40 of 52
Date Rcvd: Oct 12, 2023                                Form ID: pdf001                                         Total Noticed: 2627
39971244         +   VANESSA GONZALEZ, 13093 1/2 Carl St Apt 301, Pacoima, CA 91331-2593
39971243         +   VANESSA GONZALEZ, 11416 Newgate Ave, Whittier, CA 90605-3725
39971245         +   VANESSA GUTIERREZ, PO BOX 31084, LOS ANGELES, CA 90031-0084
39971246         +   VANESSA GUTIERREZ, 1621 WEST LOS ANGELES AVENUE, MONTEBELLO, CA 90640-5032
39971247         +   VANESSA MAIRE HERNANDEZ, 30530 SAN MARTINEZ RD, VAL VERDE, CA 91384-2470
39971248         +   VANESSA MONTANO, 14849 LORNE ST, PANORAMA CITY, CA 91402-5707
39971249         +   VANESSA NEGRETE, 1745 S Harvard Blvd, Los Angeles, CA 90006-5228
39971250         +   VANESSA NUNEZ CRUZ, 8020 LEMONA AVENUE, PANORAMA CITY, CA 91402-5605
39971255         +   VEDC, 5121 VAN NUYS BLVD, 3RD FLOOR, VAN NUYS, CA 91403-1498
39971256         +   VENMO, 3790 S LAS VEGAS BLVD, LAS VEGAS, NV 89109-4338
39971258         +   VENTRA CUSTOMER SERVICE CENTER, 567 W LAKE STREET, CHICAGO, IL 60661-1405
39971262         +   VERONICA F IGNACIO VENTURA, 441 S Hartford ave 102, Los Angeles, CA 90017-5208
39971263         +   VERONICA GARCIA-VARGAS, 437 N BRAND BLVD, SAN FERNANDO, CA 91340-2401
39971264         +   VERONICA HERNANDEZ, 2624 CALIFORNIA STREET, HUNTINGTON PARK, CA 90255-5721
39971265         +   VERONICA PEREZ ROGEL, 8801 WILLIS AVE APT D5, PANORAMA CITY, CA 91402-2115
39971266         +   VERONICA RODRIGUEZ-CABRERA, 385 E LINCOLN AVE, MONTEBELLO, CA 90640-2704
39971268         +   VIANEY GARCIA, 4318 E 60TH ST, HUNTINGTON PARK, CA 90255-3408
39971269         +   VIASAT, 6155 EL CAMINO REAL, CARLSBAD, CA 92009-1602
39971271         +   VICTOR M HUERTA, 6724 AURA AVENUE, LOS ANGELES, CA 91335-4905
39971272         +   VICTOR M VELEZ, 1190 Rolland Curtis Pl, Los Angeles, CA 90037-1108
39971273         +   VICTORIA AHUACTZI, 7016 NATICK AVE, VAN NUYS, CA 91405-3022
39971274         +   VICTORIA ALEMAN, 5711 S Hooper ave, Los Angeles, CA 90011-4842
39971276         +   VINCENT LOPEZ, 5932 South Flower street, Los Angeles, CA 90003-1036
39971279         +   VINO VOLO, 6850-6900 AIRPORT BLVD, SACRAMENTO, CA 95837-1126
39971280         +   VIOLETA ZAMORA, 2107 CAMBRIDGE ST, LOS ANGELES, CA 90006-4208
39971281             VIRGIN AMERICA, BURLINGAME, CA 94010
39971290         +   VITORIA DE VALENTIM MEIRA, 444 N Euclid Ave Apt 22, Pasadena, CA 91101-1345
39971292         +   VIVIAN YOUSSEF, 24120 ADAMS AVE, MURRIETA, CA 92562-9558
39971293         +   VIVIANA HERNANDEZ, 13866 Mercer street, Pacoima, CA 91331-3662
39971294         +   VIVIEN MIRHOSSAINI, 16349 CHATSWORTH ST, GRANADA HILLS, CA 91344-6806
39971295         +   VIVIEN SANCHEZ, 16349 CHATSWORTH ST, GRANADA HILLS, CA 91344-6806
39971297         +   VOCATIONAL RESEARCH INSTITUTE, 1845 WALNUT STREET, PHILADELPHIA, CA 19103-4708
39971298         +   VONS, 5918 Stoneridge Mall Road, PLEASENTON, CA 94588-3229
39971299         +   VOODOO DOUGHNUT, 100 UNIVERSAL CITY PLAZA, UNIVERSAL CITY, CA 91608-1002
39971300             VWR FUNDING INC, 100 MATSONFORD RD PO BOX6660, BUILDING ONE STE 200, RADNOR, PA 19087-8660
39971301         +   VYOND, 204 E 2ND AVE 638, SAN MATEO, CA 94401-3904
39971234         +   Valley College Of Medical Careers, 8399 Topanga Canyon Blvd Suite 200, West Hills, CA 91304-2357
39971235         +   Valley Fitness Center, 7630 Vineland Ave, Sun Valley, CA 91352-4535
39971237         +   Vanelly De Los Santos, 6959 Murietta Ave, Van Nuys, CA 91405-4116
39971252         +   Vanessa Torres, 1973 Knox St, San Fernando, CA 91340-1016
39971253         +   Vanessa Valencia, 319 N Lafayette Park Pl Apt 1, Los Angeles, CA 90026-4739
39971270         +   Victor Hernandez, 272 1/2 Witmer St, Los Angeles, CA 90026-6073
39971278         +   Vine Off LLC, 1425 North Cahuenga Blvd, Los Angeles, CA 90028-8125
39971282         +   Vishnu LLC, Po Box 922435, Sylmar, CA 91392-2435
39971283         +   Vision Service Plan, PO Box 45210, San Francisco, CA 94145-5210
39971284         +   Vista Charter Middle Charter, 2900 W Temple St, LOS ANGELES, CA 90026-4516
39971285         +   Vista Condor Global Academy, 2519 W fifth, SANTA ANA, CA 92703-1816
39971286         +   Vista Heritage Global Academy, 2609 W 5th St, SANTA ANA, CA 92703-1818
39971289         +   Vistashare LLC, 1400 Technology Drive, Harrisonburg, VA 22802-2542
39971302         +   WAFFLE HOUSE, 1015 N HIGHWAY 6, HOUSTON, TX 77079-1004
39971306         +   WAKUWAKU, 1511 N CAHUENGA BLVD, LOS ANGELES, CA 90028-7312
39971307         +   WALGREENS, 1501 VINE ST, LOS ANGELES, CA 90028-7304
39971309         +   WALTER CRUZ, 552 1/4 KINGSLEY DR, LOS ANGELES, CA 90004-1954
39971310         +   WALTER CRUZ, 552 1/4/ N KINGSLEY DR, LOS ANGELES, CA 90004-1954
39971311         +   WALTER E LOPEZ Jr, 19553 HEMMINGWAY STREET, RESEDA, CA 91335-1641
39971313         +   WALTER QUINTANILLA, 13255 TERRA BELLA ST, PACOIMA, CA 91331-3162
39971314         +   WANDA WADE, 4221 So FLOWER ST, LOS ANGELES, CA 90037-2124
39971315         +   WATERCOM, 6464 SUNSET BLVD, LOS ANGELES, CA 90028-8001
39971317         +   WEBEXCOM, CISCO WEBEX LLC, CHICAGO, IL 60693-0001
39971319         +   WELCH ALLYN INC, 4341 STATE STREET ROAD, SKANEATELES FALLS, NY 13153-5301
39971324         +   WELLS FARGO VENDOR FIN SERV, PO BOX 51043, LOS ANGELES, CA 90051-5343
39971325         +   WENDY GARCIA, 3725 CRAWFORD STREET, LOS ANGELES, CA 90011-2615
39971326         +   WENDY SANCHEZ, 6717 MIDDLETON ST, APT B, HUNTINGTON PARK, CA 90255-3969
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                      Desc
                           Imaged Certificate of Notice Page 41 of 66
District/off: 0973-2                                   User: admin                                              Page 41 of 52
Date Rcvd: Oct 12, 2023                                Form ID: pdf001                                       Total Noticed: 2627
39971327         +   WENDY TEPOX, 4228 WALL STREET, LOS ANGELES, CA 90011-2930
39971328         +   WEST COAST MAINTENANCE MATERIALS CO, 337 S WESTERN AVE, LOS ANGELES, CA 90020-3804
39971330         +   WESTERN ASSOCIATION FOR COLLEGE ADMISSIO, 2629 FOOTHILL BLVD 124, LA CRESCENTA, CA 91214-3511
39971331         +   WESTIN HOTELS & RESORTS, 777 SAINT CLAIR AVE NE, CLEVELAND, OHIO 44114-1791
39971332         +   WGASC, 16027 BROOKHURST ST G, FOUNTAIN VALLEY, CA 92708-1562
39971334         +   WHITNEY A TOWNSEND, 528 N BENTON WAY APT 214, LOS ANGELES, CA 90026-3880
39971335         +   WHOLE FOODS MARKET INC, 550 BOWIE STREET, AUSTIN, TX 78703-4644
39971337         +   WILLIAMS CORTEZ, 1230 W 8TH STREET APT 2, LOS ANGELES, CA 90017-4448
39971338         +   WILLOW LEWIS, 13052 DRONFIELD AVE APT 118, SYLMAR, CA 91342-4274
39971340         +   WINCHELLS, 716 N WESTERN AVENUE, LOS ANGELES, CA 90029-3726
39971341         +   WINGS FOR KIDS, 476 MEETING ST, SUITE E, CHARLESTON, SC 29403-4841
39971342         +   WINGSTOP, 5501 LBJ FREEWAY, DALLAS, TX 75240-2348
39971343         +   WIPFLI LLP, Po Box 8700, Madison, WI 53708-8700
39971345         +   WITH LOVE MARKET AND CAFE, 1969 S VERMONT AVENUE, LOS ANGELES, CA 90007-1254
39971350         +   WSP LOCKWOOD ELIXIR LLC, ATTN: DANIEL ESPINOZA ARROYO, 5849 W SUNSET BLVD 10, LOS ANGELES, CA
                     90028-3400
39971351         +   WYANDOTTE LLC, 269 S BEVERLY DR STE 403, BEVERLY HILLS, CA 90212-3851
39971303         +   Wag My Tail Inc, 8459 Foothill Blvd, Sunland, CA 91040-2811
39971305             Wageworks Inc, PO BOX 870725, KANSAS CITY, MO 64187-0725
39971304         +   Wageworks Inc, PO Box 8363, Pasadena, CA 91109-8363
39971312         +   Walter Hernandez, 7415 Irwingrove Dr, Downey, CA 90241-2162
39971316         +   We The Pie People LLC, 20436 Corisco St, Chatsworth, CA 91311-6121
39971318         +   Weingart Foundation, 1055 W 7th St 3200, LOS ANGELES, CA 90017-2557
39971320         +   Welligent Inc, 5005 Colley Avenue, Norfolk, VA 23508-2039
39971321         +   Wellnessmart Md, 141 Duesenberg Drive Suite 3, Thousand Oaks, CA 91362-3468
39971322         +   Wells Fargo Bank, Payment Remittance Center, Po Box 6426, Carol Stream, IL 60197-6426
39971323         +   Wells Fargo Foundation, 550 S 4th Street, MINNEAPOLIS, MN 55415-1529
40128617         +   Wendy Fabiola Quinonez, 13107 Ottoman St., Arleta CA 91331-4822
39971329         +   West Valley Occupational Center, 6200 Winnetka Ave, Woodland Hills, CA 91367-3826
39971333         +   White Sakuras Floral Design, 16892 Gothard St, Huntington Beach, CA 92647-5473
39971336         +   Why Try LLC, 5455 N River Run Drive, Provo, UT 84604-7726
39971344             Wishtoyo Foundation & Chumash Village, 33304 Pacific Coast Highway, Malibu, CA 90265
39971346         +   Woodrow Wilson High School, 4500 Multnomah St, Los Angeles, CA 90032-3799
39971348         +   Worth Ave Group, PO Box 2077, Stillwater, OK 74076-2077
39971349         +   Write Brain LLC, 4252 W 1St St, Los Angeles, CA 90004-4310
39971354         +   XITLALY HERNANDEZ, 961 1/4/ E EDGWARE RD, LOS ANGELES, CA 90026-5778
39971352         +   Xerox Financial Services, PO Box 202882, Dallas, TX 75320-2882
39971355         +   YADIRA QUEZADA, 7500 Penfield Avenue, WINNETKA, CA 91306-2922
39971356         +   YAHTZIRI MARCIAL-SALIGAN, 5115 Towne Ave, Los Angeles, CA 90011-4538
39971357         +   YAIRA TORRES, 10914 El Dorado Ave, Los Angeles, CA 91331-2806
39971358         +   YANA MARTINEZ-JOVEL, 5624 SANTA MONICA BLVD APT 103, LOS ANGELES, CA 90038-2911
39971359         +   YANELI Y ALVEAR, 2771 San Marino St Apt1, Los Angeles, CA 90006-1816
39971360         +   YANG CHOW RESTAURANT, 819 N BROADWAY, LOS ANGELES, CA 90012-2309
39971361        #+   YASIN PARLAK, 3338 REDONDO BEACH BLVD APT 214, TORRANCE, CA 90504-1436
39971362         +   YEDID RUVALCABA, 132 3/4 E 47TH PL, LOS ANGELES, CA 90011-4091
39971366         +   YESENIA IBARRA, 14238 SHERMAN WAY, APT F, VAN NUYS, CA 91405-2477
39971368         +   YESENIA LUIS, 1256 E MARTIN LUTHER KING JR BLVD, LOS ANGELES, CA 90011-2112
39971369         +   YESSICA CASTANEDA, 8201 NOBLE AVENUE, PANORAMA CITY, CA 91402-4509
39971370         +   YMCA, ATTN: AUDRIE ECHNOZ, 1553 N SCHRADER BLVD, LOS ANGELES, CA 90028-7295
39971372         +   YONI TUELLS, 240 N WESTLAKE, LOS ANGELES, CA 90026-5333
39971378             YOUTHBUILD USA, CO LAKEISHA N FRANKLIN, SOMERVILLE, MA 02144
39971379         +   YPI CITI CARD, 388-390 GREENWICH ST, NEW YORK CITY, NY 10013-2362
39971380         +   YPI Donations, 6464 Sunset Blvd Suite 650, LOS ANGELES, CA 90028-8008
39971381         +   YULISSA Y LOPEZ, 2771 San Marino St Apt1, Los Angeles, CA 90006-1816
39971382         +   YURI Y ALMANZA, 588 N SUMMIT AVE APT A, PASADENA, CA 91103-3471
39971383         +   YVONNE GUTIERREZ-SOLORZANO, 3551 E 56TH ST, MAYWOOD, CA 90270-2509
39971384         +   YXTA COCINA MEXICANA, 601 S CENTRAL AVE, LOS ANGELES, CA 90021-1050
39971363         +   Yehudellie LLC, 719 N Roxbury Dr, Beverly Hills, CA 90210-3211
39971375         +   Youth Policy Institute, 634 S Spring St 10Th Fl, Los Angeles, CA 90014-3912
39971376         +   Youth Policy Institute Charter Schools, 9400 Remick Ave, PACOIMA, CA 91331-4223
40209472         +   Youth Policy Institute, Inc, 4820 S. Eastern Ave., Unit O, Commerce, CA 90040-2933
39971377         +   Youthbuild Charter School Of California, 155 W Washington Blvd Suite 944, Los Angeles, CA 90015-3580
39971385         +   ZABDI ALVAREZ, 1000 S COAST DR L202, COSTA MESA, CA 92626-1761
           Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                                                  Desc
                               Imaged Certificate of Notice Page 42 of 66
District/off: 0973-2                                                   User: admin                                                             Page 42 of 52
Date Rcvd: Oct 12, 2023                                                Form ID: pdf001                                                      Total Noticed: 2627
39971386               +   ZACARIAS CHRISTIAN, 5613 LEXINGTON AVE, LOS ANGELES, CA 90038-2259
39971387               +   ZAIDA GOYAS, 12330 OSBORNE ST APT 59, PACOIMA, CA 91331-2062
39971388               +   ZANKOU CHICKEN, 5065 W SUBSET BOULEVARD, LOS ANGELES, CA 90027-5839
39971389               +   ZECHARIAH ADENIJI, 11314 HAYVENHURST AVE, GRANADA HILLS, CA 91344-3601
39971392               +   ZERMENOS RESTAURANT, 6115 SANTA MONICA BLVD, LOS ANGELES, CA 90038-1799
39971393               +   ZIPRECRUITER, 604 ARIZONA AVE, SANTA MONICA, CA 90401-1610
39971397               +   ZULEMA A CARLOS MONTANO, 13074 Weidner St, Pacoima, CA 91331-1821
39971398               +   ZULU DANCE FOUNDATION, PO BOX 1574, NIPOMO, CA 93444-1574
39971399               +   ZULY REYES, 18813 SCHOENBORN STREET, NORTHRIDGE, CA 91324-4550
39971390               +   Zema Foods LLC, 8612 Hillside Ave, Los Angeles, CA 90069-1509

TOTAL: 2549

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
smg                        Email/Text: itcdbg@edd.ca.gov
                                                                                        Oct 13 2023 03:32:00      Employment Development Dept., Bankruptcy
                                                                                                                  Group MIC 92E, P.O. Box 826880, Sacramento,
                                                                                                                  CA 94280-0001
smg                        Email/Text: BKBNCNotices@ftb.ca.gov
                                                                                        Oct 13 2023 03:33:00      Franchise Tax Board, Bankruptcy Section MS:
                                                                                                                  A-340, P.O. Box 2952, Sacramento, CA
                                                                                                                  95812-2952
smg                        Email/Text: finance.bankruptcy@lacity.org
                                                                                        Oct 13 2023 03:32:00      Los Angeles City Clerk, P.O. Box 53200, Los
                                                                                                                  Angeles, CA 90053-0200
39968686                   Email/Text: bankruptcynotices@amazon.com
                                                                                        Oct 13 2023 03:33:00      AMAZON, 410 Terry Ave North, SEATTLE, WA
                                                                                                                  98109-5210
39968700               + Email/PDF: bncnotices@becket-lee.com
                                                                                        Oct 13 2023 01:57:26      AMERICAN EXPRESS, WORLD FINANCIAL
                                                                                                                  CENTER, NEW YORK, NY 10285-0001
39968820               + Email/Text: g20956@att.com
                                                                                        Oct 13 2023 03:33:00      AT&T, PO Box 60017, Los Angeles, CA
                                                                                                                  90060-0017
39968822               + Email/Text: g17768@att.com
                                                                                        Oct 13 2023 03:32:00      AT&T U-Verse, PO Box 5014, Carol Streem, IL
                                                                                                                  60197-5014
40117030                   Email/PDF: bncnotices@becket-lee.com
                                                                                        Oct 13 2023 02:09:06      American Express National Bank, c/o Becket and
                                                                                                                  Lee LLP, PO Box 3001, Malvern PA 19355-0701
39968778               + Email/Text: lnelson@arcmgmt.com
                                                                                        Oct 13 2023 03:33:00      Arc Management Group, 1825 Barrett Lakes Blvd
                                                                                                                  Suite 505, Kennesaw, GA 30144-7570
40055753               + Email/Text: bankruptcy@bbandt.com
                                                                                        Oct 13 2023 03:32:00      BB&T now Truist, Bankruptcy Management,
                                                                                                                  100-50-01-51, P.O. box 1847, Wilson, NC
                                                                                                                  27894-1847
39968869               + Email/Text: legal@benuckrainey.com
                                                                                        Oct 13 2023 03:33:00      BENUCK & RAINEY INC, 25 CONCORD
                                                                                                                  ROAD, LEE, NH 03861-6624
39968876               ^ MEBN
                                                                                        Oct 13 2023 01:35:39      BEST BUY, 7601 Penn Ave S, RICHFIELD, MN
                                                                                                                  55423-3683
39968982               + Email/Text: caineweiner@ebn.phinsolutions.com
                                                                                        Oct 13 2023 03:32:00      CAINE & WEINER CO INC, PO BOX 5010,
                                                                                                                  WOODLAND HILLS, CA 91365-5010
39968990                   Email/Text: USCBNotices@cdtfa.ca.gov
                                                                                        Oct 13 2023 03:33:00      CALIFORNIA DEPARTMENT OF TAX AND
                                                                                                                  FEE ADM, PO BOX 942879, SACRAMENTO,
                                                                                                                  CA 94279-6001
39971008                   Email/Text: USCBNotices@cdtfa.ca.gov
                                                                                        Oct 13 2023 03:33:00      State Board Of Equalization, Special Taxes And
                                                                                                                  Fees, PO Box 942879, Sacramento, CA 94279
39969006                   Email/Text: bgonza53@calstatela.edu
                                                                                        Oct 13 2023 03:32:00      CALIFORNIA STATE UNIVERSITY LOS
                                                                                                                  ANGELES, 5151 STATE UNIVERSITY DRIVE,
                                                                                                                  ADMIN 514, LOS ANGELES, CA 90032
39969085                   Email/Text: DCMLawBankruptcy@chevron.com
                                                                                        Oct 13 2023 03:32:00      CHEVRON, 6001BOLLINGER CANYON RD,
                                                                                                                  SAN RAMON, CA 94583
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                                     Desc
                           Imaged Certificate of Notice Page 43 of 66
District/off: 0973-2                                           User: admin                                                    Page 43 of 52
Date Rcvd: Oct 12, 2023                                        Form ID: pdf001                                             Total Noticed: 2627
39969096         + Email/Text: eliza.ballin@choicehotels.com
                                                                           Oct 13 2023 03:33:35   CHOICE HOTELS INTERNATIONAL INC, 1
                                                                                                  CHOICE HOTELS CIR, SUITE 400,
                                                                                                  ROCKVILLE, MD 20850-5172
39969126         + Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                           Oct 13 2023 02:09:14   CITIBANK, PO BOX 6201, SIOUX FALLS, SD
                                                                                                  57117-6201
39969135           Email/Text: megan.harper@phila.gov
                                                                           Oct 13 2023 03:33:00   CITY OF PHILADELPHIA, 1401 JFK BLVD,
                                                                                                  SUITE 1380, PHILADELPHIA, PA 19102-1693
39969179           Email/Text: legal@concordnow.com
                                                                           Oct 13 2023 03:32:00   Concord, 177 Post St Suite 910, San Francisco,
                                                                                                  CA 94108
39969181           Email/Text: sap_bankruptcy_matters@sap.com
                                                                           Oct 13 2023 03:32:00   CONCUR TECHNOLOGIES, 601 108TH
                                                                                                  AVENUE NE, SUITE 1000, BELLEVUE, WA
                                                                                                  98004
40670310           Email/Text: USCBNotices@cdtfa.ca.gov
                                                                           Oct 13 2023 03:33:00   California Dept. of Tax & Fee Administration,
                                                                                                  Collections Support Bureau MIC:55, PO BOX
                                                                                                  942879, SACRAMENTO CA 94279-0055
39969019         + Email/PDF: AIS.cocard.ebn@aisinfo.com
                                                                           Oct 13 2023 01:57:22   Capital One, 1680 CAPITAL ONE DR,
                                                                                                  MCLEAN, VA 22102-3407
40080139         + Email/Text: lemaster@slollp.com
                                                                           Oct 13 2023 03:32:00   Dell Marketing, L.P., c/o Streusand Landon
                                                                                                  Ozburn & Lemmon, 1801 S. MoPac Expressway,
                                                                                                  Suite 320, Austin, TX 78746-9817
39969303         + Email/Text: gabriela.ortiz@doj.ca.gov
                                                                           Oct 13 2023 03:33:00   Department Of Justice, PO Box 944255,
                                                                                                  Sacramento, CA 94244-2550
39969302         + Email/PDF: OGCRegionIXBankruptcy@hud.gov
                                                                           Oct 13 2023 01:58:02   Department of Housing and Urban Developm, 451
                                                                                                  7th Street SW, WASHINGTON, DC 20410-0002
40023780         + Email/Text: srivera@jnacollect.com
                                                                           Oct 13 2023 03:32:00   Direct Ed, c/o Jonathan Neil & Assoc. Inc., P.O.
                                                                                                  Box 7000, Tarzana CA 91357-7000
39969347         + Email/Text: billing@docusign.com
                                                                           Oct 13 2023 03:33:00   Docusign Inc, Dept 3428, Po Box 123428, Dallas,
                                                                                                  TX 75312-3428
39969450           Email/Text: itcdbg@edd.ca.gov
                                                                           Oct 13 2023 03:32:00   Employment Development Department, PO BOX
                                                                                                  826880 MIC 92T, SACRAMENTO, CA
                                                                                                  94280-0001
39969561         + Email/Text: BKBNCNotices@ftb.ca.gov
                                                                           Oct 13 2023 03:33:00   FRANCHISE TAX BOARD, PO BOX 94267,
                                                                                                  SACRAMENTO, CA 94267-0001
39969556         + Email/Text: EBNBKNOT@ford.com
                                                                           Oct 13 2023 03:33:00   Ford Credit, Po Box 552679, Detroit, MI
                                                                                                  48255-2679
41648150           Email/Text: BKBNCNotices@ftb.ca.gov
                                                                           Oct 13 2023 03:33:00   Franchise Tax Board, Bankruptcy Section MS
                                                                                                  A340, PO BOX 2952, Sacramento CA
                                                                                                  95812-2952
39969635         + Email/Text: bankruptcy-notification@google.com
                                                                           Oct 13 2023 03:32:00   GOOGLE, 1600 AMPHITHEATER PARKWAY,
                                                                                                  MOUNTAIN VIEW, CA 94043-1351
39969637         + Email/Text: payrollhelpdesk@grsm.com
                                                                           Oct 13 2023 03:32:00   Gordon & Rees Llp, 275 Battery Street 20Th
                                                                                                  Floor, San Francisco, CA 94111-3305
39969704           Email/PDF: ais.sync.ebn@aisinfo.com
                                                                           Oct 13 2023 01:58:28   HOME DEPOT, 2455 Paces Ferry Rd NW,
                                                                                                  ATLANTA, GA 30339
39969747         + Email/Text: sbse.cio.bnc.mail@irs.gov
                                                                           Oct 13 2023 03:32:00   INTERNAL REVENUE SERVICE, 611 W 6TH
                                                                                                  STREET, STE 400, LOS ANGELES, CA
                                                                                                  90017-3211
39969760         + Email/Text: bankruptcy2@ironmountain.com
                                                                           Oct 13 2023 03:33:00   Iron Mountain, Po Box 601002, Pasadena, CA
                                                                                                  91189-0002
39969951         + Email/PDF: juda7jose_@hotmail.com
                                                                           Oct 13 2023 03:31:00   JOSE M POLANCO, 1223 E Imperial Hwy, Los
                                                                                                  Angeles, CA 90059-2434
39970008           Email/Text: ahutchins@kaplanco.com
                                                                           Oct 13 2023 03:32:00   Kaplan Early Learning Company, Po Box 890575,
                                                                                                  Charlotte, NC 28289
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                                     Desc
                           Imaged Certificate of Notice Page 44 of 66
District/off: 0973-2                                           User: admin                                                    Page 44 of 52
Date Rcvd: Oct 12, 2023                                        Form ID: pdf001                                             Total Noticed: 2627
39970123           Email/Text: rrizzo@lakeshorelearning.com
                                                                           Oct 13 2023 03:32:00   Lakeshore Learning Materials, 2695 E Dominguez
                                                                                                  St, Carson, CA 90895
39970218           Email/Text: bankruptcy@ttc.lacounty.gov
                                                                           Oct 13 2023 03:32:00   Los Angeles County Tax Collector, Po Box 54027,
                                                                                                  Los Angeles, CA 90054
39970238         + Email/PDF: ais.sync.ebn@aisinfo.com
                                                                           Oct 13 2023 01:57:22   LOWES, 1000 LOWES BLVD, MOORSEVILLE,
                                                                                                  NC 28117-8520
39970445           Email/Text: credit@missionassetfund.org
                                                                           Oct 13 2023 03:32:00   Mission Asset Fund, 3269 Mission Street, San
                                                                                                  Francisco, CA 94110
39970468           Email/Text: ar.ac.team@monoprice.com
                                                                           Oct 13 2023 03:32:35   MONOPRICE INC, 1 POINTE DRIVE, SUITE
                                                                                                  400, BREA, CA 92821
39970373         ^ MEBN
                                                                           Oct 13 2023 01:35:49   McCarthy Burgess & Wolff, 26000 CANNON
                                                                                                  RD, BEDFORD HEIGHTS, OH 44146-1807
39970593           Email/Text: finance.bankruptcy@lacity.org
                                                                           Oct 13 2023 03:32:00   Office Of Finance City Of Los Angeles, Office Of
                                                                                                  Finance, PO Box 30716, Los Angeles, CA 90030
40026972           Email/Text: jesus@gsfschools.com
                                                                           Oct 13 2023 03:32:00   Olivarend Inc., 16211 Filbert St, Sylmar, CA
                                                                                                  91342-9134
40201378         + Email/Text: schristianson@buchalter.com
                                                                           Oct 13 2023 03:32:00   Oracle America, Inc, c/o Shawn M Christianson
                                                                                                  Esq, Buchalter, a Professional Corp, 55 Second St,
                                                                                                  17th Fl, San Francisco, CA 94105-3493
39970673         + Email/Text: recovery@paypal.com
                                                                           Oct 13 2023 03:32:00   PAYPAL, 2211 NORTH FIRST ST, SAN JOSE,
                                                                                                  CA 95131-2021
39970683         + Email/Text: erin.coleman@pepperdine.edu
                                                                           Oct 13 2023 03:33:40   Pepperdine University, 24255 Pacific Coast
                                                                                                  Highway, Malibu, CA 90263-0002
39970767         + Email/Text: UCSD-OOC-EBN@ucsd.edu
                                                                           Oct 13 2023 03:32:00   Regents Of The University Of California, 9500
                                                                                                  Gilman Drive, La Jolla, CA 92093-5004
39970873         + Email/PDF: ais.sync.ebn@aisinfo.com
                                                                           Oct 13 2023 02:09:09   SAMS CLUB, 2101 SE SIMPLE SAVINGS DR,
                                                                                                  BENTONVILLE, AK 72712-4304
39970905         + Email/Text: lossprevention@scefcu.org
                                                                           Oct 13 2023 03:33:00   SCE FEDERAL CREDIT UNION, 12701
                                                                                                  SCHABARUM AVE, IRWINDALE, CA
                                                                                                  91706-6807
39970907           Email/Text: AR@schoolhealth.com
                                                                           Oct 13 2023 03:32:00   SCHOOL HEALTH CORPORATION, 5600
                                                                                                  APOLLO DRIVE, ROLLING MEADOWS, IL
                                                                                                  60008
39970945         + Email/Text: sw.bankruptcy@sherwin.com
                                                                           Oct 13 2023 03:32:00   SHERWIN WILLIAMS COMPANYM INC, 101
                                                                                                  W PROSPECT AVE, CLEVELAND, OH
                                                                                                  44115-1027
39970984           Email/Text: bankruptcygroup@sce.com
                                                                           Oct 13 2023 03:32:00   Southern California Edison, PO Box 300,
                                                                                                  Rosemead, CA 91772
39970995           Email/PDF: ais.sprint.ebn@aisinfo.com
                                                                           Oct 13 2023 01:58:28   SPRINT, PO BOX 4191, CAROL STREAM, IL
                                                                                                  60197
39996987           Email/Text: thomas.riggleman@staples.com
                                                                           Oct 13 2023 03:32:00   Staples Business Advantage, Staples/Tom
                                                                                                  Riggleman, 7 Technology Circle, Columbia SC
                                                                                                  29203
39970987         + Email/Text: james.sheppard@wnco.com
                                                                           Oct 13 2023 03:33:00   Southwest Airlines, 2702 Love Field Dr, Dallas,
                                                                                                  TX 75235-1908
39970990         + Email/Text: bankruptcy@dsservices.com
                                                                           Oct 13 2023 03:32:00   Sparkletts, PO Box 660579, Dallas, TX
                                                                                                  75266-0579
39970991         + Email/Text: dl-csgbankruptcy@charter.com
                                                                           Oct 13 2023 03:33:00   Spectrum, 9260 Topanga Cyn Bv, Chatsworth, CA
                                                                                                  91311-5726
39971067           Email/PDF: ais.tmobile.ebn@aisinfo.com
                                                                           Oct 13 2023 01:58:02   T-Mobile, PO Box 51843, Los Angeles, CA 90051
39971077         + Email/Text: bncmail@w-legal.com
                                                                           Oct 13 2023 03:32:00   TARGET, 1000 NICOLLET MALL,
                                                                                                  MINNEAPOLIS, MN 55403-2542
        Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                                              Desc
                            Imaged Certificate of Notice Page 45 of 66
District/off: 0973-2                                              User: admin                                                           Page 45 of 52
Date Rcvd: Oct 12, 2023                                           Form ID: pdf001                                                    Total Noticed: 2627
39971121                 Email/Text: bankruptcy@hertz.com
                                                                                   Oct 13 2023 03:33:00     THE HERTZ CORPORATION, 8501 WILLIAMS
                                                                                                            RD, ESTERO, FL 33928
39970704                 Email/Text: dllawbankruptcy@exchange.principal.com
                                                                                   Oct 13 2023 03:32:00     PLIC - SBD Grand Island, Po Box 10372, Des
                                                                                                            Moines, IA 50306
39968902                 Email/Text: BankruptcyNotices@exchange.boeing.com
                                                                                   Oct 13 2023 03:32:00     Boeing, 100 North Riverside, CHICAGO, IL
                                                                                                            60606
39971078              + Email/Text: bncmail@w-legal.com
                                                                                   Oct 13 2023 03:32:00     Target Corporation, 1000 Nicollet Mall,
                                                                                                            MLNNEAPOLLS, MN 55403-2542
39971197              + Email/Text: accounts.receivable@uline.com
                                                                                   Oct 13 2023 03:33:00     ULINE INC, 12575 ULINE DRIVE, PLEASANT
                                                                                                            PRAIRIE, WI 53158-3686
39971199              + Email/Text: BNC-ALLIANCE@QUANTUM3GROUP.COM
                                                                  Oct 13 2023 03:32:00                      ULTA, 1000 Remington Boulevard, SUITE 250,
                                                                                                            Bolingbrook, IL 60440-5136
39971225              + Email/Text: edbknotices@ecmc.org
                                                                                   Oct 13 2023 03:32:00     US Department of Education, 400 Maryland Ave,
                                                                                                            SW, WASHINGTON, DC 20202-0001
39971228              ^ MEBN
                                                                                   Oct 13 2023 01:35:31     US Department of Justice, 950 Pennsylvania Ave
                                                                                                            NW, WASHINGTON, DC 20530-0009
39971208              + Email/Text: CorporateCollections@unitedsiteservices.com
                                                                                   Oct 13 2023 03:32:00     United Site Services, PO Box 53267, Phoenix, AZ
                                                                                                            85072-3267
39971267                 Email/Text: accounting@innovationfirst.com
                                                                                   Oct 13 2023 03:32:00     VEX ROBOTICS, 6725 W FM 1570,
                                                                                                            GREENVILLE, TX 75042
39971259              + Email/Text: wfmelectronicbankruptcynotifications@verizonwireless.com
                                                                                 Oct 13 2023 03:32:00       Verizon, PO Box 920041, Dallas, TX 75392-0041
39971260              + Email/Text: wfmelectronicbankruptcynotifications@verizonwireless.com
                                                                                 Oct 13 2023 03:32:00       Verizon Wireless, PO Box 660108, Dallas, TX
                                                                                                            75266-0108
39971287              + Email/Text: rsinger@vistapaint.com
                                                                                   Oct 13 2023 03:32:00     Vista Paint Corporation, 2020 E
                                                                                                            ORANGETHORPE AVE, FULLERTON, CA
                                                                                                            92831-5327
39971308              + Email/PDF: ais.sync.ebn@aisinfo.com
                                                                                   Oct 13 2023 02:08:57     WALMART, 702 SW 8TH ST, BENTONVILLE,
                                                                                                            AR 72716-6299
40117045              + Email/PDF: ais.wellsfargo.ebn@aisinfo.com
                                                                                   Oct 13 2023 02:08:57     Wells Fargo Bank, N.A., Small Business Lending
                                                                                                            Division, P.O. Box 29482 MAC S4101-08C,
                                                                                                            Phoenix, AZ 85038-9482
40186616              + Email/PDF: BankruptcyNoticesDFVendor@wellsfargo.com
                                                                                   Oct 13 2023 01:58:02     Wells Fargo Vendor Financial Services, 1010
                                                                                                            Thomas Edison Blvd SW, Cedar Rapids IA
                                                                                                            52404-8247
39971395              + Email/Text: bankruptcy@zones.com
                                                                                   Oct 13 2023 03:33:00     ZONES INC, 1102 15TH STREE SW, SUITE
                                                                                                            102, AUBURN, WA 98001-6524

TOTAL: 81


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
cr                            A.M.
intp                          Courtesy NEF
op                            David Oshiro
cr                            Ford Motor Credit Company LLC
acc                           Hahn Fife & Company, LLP
cr                            I. A.
sp                            Law Office of Philip Dracht
39970105                      LA MONARCA BAKERY & CAFE, 6091 SUNSET BLVD, Los Angeles
39971088                      TEC IT, Hans-Wagner-Str 6, Datenverarbeitung GmbH A-4400 Steyr
39971257                      VENNGAGE, 1140 DOVERCOURT, TORONTO
39971373                      YOUCANBOOKME LTD, 38 MILL STREET, BEDFORD MK40 3HD
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                                   Desc
                           Imaged Certificate of Notice Page 46 of 66
District/off: 0973-2                                      User: admin                                                        Page 46 of 52
Date Rcvd: Oct 12, 2023                                   Form ID: pdf001                                                 Total Noticed: 2627
cr           *+           Ariella Ramirez, 329 N 16th, Montebello, CA 90640-3903
cr           *+           Catalina Rodriguez, 9600 Sylmar Ave Apt 43, Panorama City, CA 91402-1124
cr           *+           Drew Warmsley, 700 N. Dwight Ave., Compton, CA 90220-1604
cr           *+           Evaluation Specialists, 7040 Avenida Encinas, Suite 104, Carlsbad, CA 92011-4653
cr           *+           Karla Robles, 9635 Sepulveda Blvd. Unit 1, North Hills, CA 91343-3320
cr           *+           Lena Georgas, 2351 Fernleaf St, Los Angeles, CA 90031-1219
cr           *+           Liliana Barba, 10524 Woodman Ave., Mission Hills, CA 91345-2135
cr           *+           MDB International Branding, LLC, 2707-2711 Beverly Blvd., Los Angeles, CA 90057-1007
cr           *+           Marin Harper, 500 Evergreen Street Unit 108, Inglewood, CA 90302-7234
cr           *+           Stanley Saunders, 15106 NW Oakmont Loop, Beaverton, OR 97006-5503
39969090     *+           CHILDCARE CAREERS, 2000 SIERRA POINT PKWY SUITE 702, BRISBANE, CA 94005-1874
39969116     *+           CIARA TUREK, 1329 N COLUMBUS AVE APT D, GLENDALE, CA 91202-3808
39969443     *+           EMILSA GUTIERREZ, 225 1/2 E 30TH STREET, LOS ANGELES, CA 90011-1903
41648243     *            FRANCHISE TAX BOARD, BANKRUPTCY SECTION MS A340, PO BOX 2952, SACRAMENTO CA 95812-2952
39969590     *+           GAME LEARNING LLC, 8306 WILSHIRE BLVD, SUITE 545, BEVERLY HILLS, CA 90211-2304
39969658     *+           GUSTAVO GUTIERREZ, 10425 PLAINVIEW AVE A9, TUJUNGA, CA 91042-1761
39969712     *+           HOUSE OF TROPHIES AND AWARDS INC, 1820 EAST 1ST ST, LOS ANGELES, CA 90033-3411
40028731     *+           IMPAQ International, LLC, 10420 Little Patuxent Pkwy, Suite 300, Columbia, MD 21044-3636
39969748     *P++         INTERNAL REVENUE SERVICE, CENTRALIZED INSOLVENCY OPERATIONS, PO BOX 7346, PHILADELPHIA PA
                          19101-7346, address filed with court:, Internal Revenue Service (IRS), 1111 Constitution Ave NW, WASHINGTON, DC 20224
39969872     *+           JESSICA HENDRICKS, 6600 WHITSETT AVE APT 7, NORTH HOLLYWOOD, CA 91606-2329
39971374     *+           Jasmine Tovar, 434 E 76th St, Los Angeles CA 90003-2324
39970099     *            LA DWP, PO BOX 30808, Los Angeles, CA 90030-0808
39970113     *+           LA84 Foundation Attn Finance, 2141 West Adams Blvd, LOS ANGELES, CA 90018-2040
39970175     *+           LIBERTY HILL FOUNDATION, 6420 WILSHIRE BLVD STE 700, LOS ANGELES, CA 90048-5547
39970257     *+           LUIS GOMEZ, 807 N BUNKER HILL AVE APT 201, LOS ANGELES, CA 90012-1667
39970386     *+           MELISSA AGUILAR, 4630 LIVE OAK ST, CUDAHY, CA 90201-5112
39970427     *+           MIGUEL CONTRERAS LEARNING COMPLEX, 322 S LUCAS AVE, LOS ANGELES, CA 90017-1406
39970448     *+           MISSION ECONOMIC DEVELOPMENT AGENCY, 2301 MISSION STREET, SUITE 301, SAN FRANCISCO, CA
                          94110-1900
39970490     *+           MYRNA GONZALEZ, 13431 ASTORIA STREET, SYLMAR, CA 91342-2401
39970453     *            Mobile Mini, PO BOX 7144, Pasadena, CA 91109-7144
40025487     *+           National Career College, Inc., 14355 Roscoe Blvd., Panorama City, CA 91402-4222
39970528     *+           National Council Of La Raza, 1126 16Th St NW Suite 600, Washington, DC 20036-4845
40081504     *+           Uniforms and Safety Supplies, 11011 San Fernando Rd., Pacoima, CA 91331-2642
39971367     *+           YESENIA IBARRA, 14238 SHERMAN WAY APT F, VAN NUYS, CA 91405-2477
39971394     *+           ZIPRECRUITER INC, 604 ARIZONA AVE, SANTA MONICA, CA 90401-1610
cr           ##+          Haziel Angeles, 11270 Huston St. Apt. 108, North Hollywood, CA 91601-5330
cr           ##+          Ruth Monzon, 1505 Del Amo Blvd., Apt 3, Torrence, CA 90501-1634
39968550     ##+          4 Over Electric, 9928 Pali Avenue, Tujunga, CA 91042-2941
39968554     ##+          9 DOTS COMMUNITY LEARNING CENTER, 931 N HIGHLAND AVE, LOS ANGELES, CA 90038-2412
39968562     ##+          AARON GARCIA, 5719 Camellia Ave, North Hollywood, CA 91601-1684
39968593     ##+          ADRIANA ROBLES, 14833 Parthenia St Apt 25, Panorama City, CA 91402-2895
39968623     ##+          ALEJANDRO CEJA Jr, 13681 Carl st, Pacoima, CA 91331-3716
39968626     ##+          ALEJANDRO SANCHEZ, 13112 El Dorado Ave, Sylmar, CA 91342-3511
39968637     ##+          ALEXANDER'S MOBILITY SERVICES, 2942 DOW AVE, TUSTIN, CA 92780-7266
39968642     ##+          ALEXANDRIA D PATTISON, 11777 Foothill Boulevard Apt B 14, Lake View Terrace, CA 91342-7282
39968643     ##+          ALEXANDRIA N GUTIERREZ, 11408 Cresson St, Norwalk, CA 90650-7902
39968655     ##+          ALICIA SANTANA, 9937 STANWIN AVE, ARLETA, CA 91331-5204
39968669     ##+          ALLIANCE SCHOOL OF TRUCKING INC, 9410 JORDAN AVENUE, CHATSWORTH, CA 91311-5813
39968670     ##+          ALLISON CANTON, 15833 Ocean Ave, Whittier, CA 90604-3737
39968678     ##+          ALTERNATIVE SOURCE LA, 2310 S ATLANTIC BLVD, MONTEREY PARK, CA 91754-6825
39968691     ##+          AMBER M SKRUMBIS, 5710 Crescent Park East APT 436, Playa Vista, CA 90094-1907
39968694     ##+          AMDA DISTRIBUTORS, 4804 NW 167 ST, MIAMI GARDENS, FL 33014-6426
39968702     ##+          AMERICAN GTS INC, 2369 COLORADO BLVD STE 201, LOS ANGELES, CA 90041-1185
39968713     ##+          AMY RUBINSTEIN, 411 N 3RD STREET APT G, ALHAMBRA, CA 91801-2432
39968736     ##+          ANDREW W ARTHUR, 3842 PROSPECT AVENUE 6, CULVER CITY, CA 90232-3858
39968743     ##+          ANGELICA ARNOLD, 1635 N MARTEL AVE APT 304, LOS ANGELES, CA 90046-3957
39968751     ##+          ANNA L VENEGAS, 12659 CATHY ST, SYLMAR, CA 91342-3333
39968757     ##+          ANTHONY DE LA CRUZ, 136 N HUBBARD AVE, UNIT 6, SAN FERNANDO, CA 91340-2581
39968775     ##+          ARANZAZU MEDELLIN GUERRERO, 12330 OSBORNE ST Apt 14, PACOIMA, CA 91331-2015
39968779     ##+          ARCELIA HERNANDEZ, 501 S OXFORD AVE APT 12, LOS ANGELES, CA 90020-4222
39968785     ##+          ARIEL N BURTON, 1335 N DETROIT ST APT 102, LOS ANGELES, CA 90046-4437
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                                    Desc
                           Imaged Certificate of Notice Page 47 of 66
District/off: 0973-2                                      User: admin                                                          Page 47 of 52
Date Rcvd: Oct 12, 2023                                   Form ID: pdf001                                                   Total Noticed: 2627
39968808     ##+          ASHLEY A RODRIGUEZ, 7934 Laurel Canyon Blvd Apt 1, North Hollywood, CA 91605-2443
39968809     ##+          ASHLEY DOE, 133 PARK AVE APT 118, SAN FERNANDO, CA 91340-3086
39968813     ##+          ASHRAKAT FADEL, 6219 Reseda Blvd Apt25, Tarzana, CA 91335-6923
39968829     ##+          AUDREY LOPEZ, 564 OLEANDER DR, LOS ANGELES, CA 90042-1314
39968838     ##+          AZIN GHOURCHIAN, 401 SOUTH DETROIT STREET APT 408, LOS ANGELES, CA 90036-3622
39968583     ##+          Action Without Borders, 302 Fifth Avenue 11Th Floor, New York, NY 10001-3604
39968682     ##+          Alyssa M Thompson, 13428 Vaughn St, San Fernando, CA 91340-2529
39968695     ##+          America Learns LLC, 10718 White Oak Ave Suite 4, Granada Hills, CA 91344-4643
39968720     ##+          Anahi E Gomez Lagunas, 2952 The Mall St, Los Angeles, CA 90023-2814
39968786     ##+          Ariella Ramirez, 329 N 16th, Montebello, CA 90640-3903
39968851     ##+          BARNES AND NOBLE, PO Box 111, Lyndhurst, NJ 07071-0111
39968866     ##+          BENITA MARTA, 14305 DAUBERT ST, SAN FERNANDO, CA 91340-4406
39968873     ##+          BERNADETTE AVILA, 7228 Jamieson Ave, Reseda, CA 91335-3205
39968883     ##+          BIANCA CAMACHO, 8443 LANGDON AVE APT 14, NORTH HILLS, CA 91343-6518
39968884     ##+          BIANCA MORA-MENDEZ, 6638 TOLER AVE, BELL GARDENS, CA 90201-3206
39968885     ##+          BIANKA RODRIGUEZ, 8734 WAKEFIELD AVE, PANORAMA CITY, CA 91402-3126
39968926     ##+          BRENDA GARCIA, PO BOX 331311, PACOIMA, CA 91333-1311
39968928     ##+          BRENDA QUEZADA, 27240 LUTHER DRIVE UNIT 511, CANYON COUNTY, CA 91351-3771
39968943     ##+          BRIANNE SULLIVAN, 1735 WINONA BLVD APT 8, LOS ANGELES, CA 90027-3860
39968944     ##+          BRIANNE T SULLIVAN, 1735 WINONA BLVD APT 8, LOS ANGELES, CA 90027-3860
39968945     ##+          BRIAUNA N CRENSHAW, 151 N OCCIDENTAL BLVD APT 212, LOS ANGELES, CA 90026-4690
39968957     ##+          BRYAN COREAS, 16352 GLENHOPE DR, LA PUENTE, CA 91744-4122
39968966     ##+          BUFFALO WILD WINGS, 950 N GLEBE ROAD, SUITE 130, ARLINGTON, VA 22203-4181
39968968     ##+          BUMPBOXX, 1551 STIMSON RD, STOCKTON, CA 95206-3946
39968898     ##+          Blue Garnet, 8055 W Manchester Ave Suite 430, Los Angeles, CA 90293-7991
39968973     ##+          C3 Business Solutions, 3130 S Harbor Blvd, Santa Ana, CA 92704-6829
39968975     ##+          CACTUS MEXICAN CUSINE, 1320 VINE ST, LOS ANGELES, CA 90028-8108
39969031     ##+          CARLOS R TOBAR Jr, 846 west 83rd st Apt 4, Los Angeles, CA 90044-4974
39969038     ##+          CARMIN HERMOSILLO, 827 VINELAND AVENUE, LA PUENTE, CA 91746-1212
39969039     ##           CAROL BURCHARDS, 2856 El Roble Dr, Los Angeles, CA 90041-1804
39969045     ##+          CASEY C MCQUERRY, 25 GENOA STREET APT B, ARCADIA, CA 91006-3594
39969047     ##+          CASSIE WOODS, 2354 FLETCHER DRIVE APT 233, LOS ANGELES, CA 90039-4032
39969058     ##+          CECILIA L FAVELA, 26713 N Isabella Parkway Unit 204, Santa clarita, CA 91351-5229
39969059     ##+          CECILIA S SOLIS, 19545 Sherman Way Unit 109, Reseda, CA 91335-3452
39969078     ##+          CHANTAL J RICHMOND, 3365 SANTA FE AVENUE APT 18, LONG BEACH, CA 90810-2439
39969080     ##+          CHARLES T HAYES, 2485 QUEENBERRY RD, PASADENA, CA 91104-3440
39969082     ##+          CHARMANE ZIMMERMAN, 3330 HOLLYPARK DRIVE APT 4, INGLEWOOD, CA 90305-4689
39969098     ##+          CHRISTEEN MAZED, 6434 BALBOA BLVD APT 202, VAN NUYS, CA 91406-5558
39969105     ##+          CHRISTOPHER BUSTAMANTE, 8063 ORANGE STREET, DOWNEY, CA 90242-3523
39969110     ##+          CHRISTOPHER LARA, 1310 12TH AVE, APT 106, LOS ANGELES, CA 90019-4391
39969115     ##+          CIARA TUREK, 1329 N COLUMBUS AVENUE, APT D, GLENDALE, CA 91202-3808
39969141     ##+          CLARICZA D ORTIZ, 215 S ARMONA, LOS ANGELES, CA 90731-2823
39969158     ##+          CM School Supply 2, 1025 E Orangethorpe Ave, Anaheim, CA 92801-1135
39969163     ##+          COLLEGESPRING, 1333 BROADWAY, SUITE 250, OAKLAND, CA 94612-2081
39969183     ##+          CONNIE JACKSON, 1912 WHITLEY AVE 103, LOS ANGELES, CA 90068-3202
39969209     ##+          CRAIG WILLIAMS, 17821 LASSEN STREET APT 340, NORTHRIDGE, CA 91325-4721
39969211     ##+          CRANE BUSINESS GROUP INC, 11052 PICAZA PLACE, SAN DIEGO, CA 92127-1342
39969227     ##+          CURBSTAND, 1017 N LA CIENEGA BOULEVARD, WEST HOLLYWOOD, CA 90069-4195
39969236     ##+          CYNTHIA NAVA, 4668 S HUNTINGTON DRIVE APT 107, LOS ANGELES, CA 90032-1965
39968985     ##+          California Arts Council, 1300 I Street Ste 930, SACRAMENTO, CA 95814-2951
39968988     ##+          California Dental Network Inc, Po Box 2428, Laguna Hills, CA 92654-2428
39969029     ##+          Carlos Inda, 1425 1/2 Lucille Ave, Los Angeles, CA 90026-6715
39969040     ##+          Carola Secada, 5218 Meridian Street, Los Angeles, CA 90042-1712
39969168     ##+          Common Threads, 3811 Bee Caves Road Suite 108, Austin, TX 78746-5399
39969177     ##+          Computer Institute Of Technology, 6444 Bellingham Ave Suite 202, North Hollywood, CA 91606-1400
39969242     ##+          DAJA S ROBINSON, 630 S ALVARADO ST APT 206, LOS ANGELES, CA 90057-3320
39969244     ##+          DAMION A MORENO, 6013 Maywood Ave 22, Huntington Park, CA 90255-3202
39969266     ##+          DARIUS FEQUIERE, 2958 HALLDALE AVE, LOS ANGELES, CA 90018-3139
39969271     ##+          DAVE MARTINEZ, 2323 LOGAN ST, POMONA, CA 91767-2647
39969281     ##+          DAVID OSHIRO, 1120 CAMPANILE, NEWPORT BEACH, CA 92660-9036
39969298     ##+          DENISE FLORES, 14847 Chatsworth Drive, Mission hills, CA 91345-1640
39969307     ##+          DESTINY HOWARD, 18520 Vincennes Street APT 36, NORTHRIDGE, CA 91324-2941
39969321     ##+          DIANA RODRIGUEZ, 13888 HUBBARD ST, SYLMAR, CA 91342-4231
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                        Desc
                           Imaged Certificate of Notice Page 48 of 66
District/off: 0973-2                                  User: admin                                                 Page 48 of 52
Date Rcvd: Oct 12, 2023                               Form ID: pdf001                                          Total Noticed: 2627
39969248     ##+          Daniel E Kugler, 13243 Sayre St, Sylmar, CA 91342-2537
39969334     ##+          Discount School Supply, PO Box 6013, Carol Stream, IL 60197-6013
39969353     ##+          Dolphin Trucking School Inc, 4820 S EASTER AVE, UNIT 0, COMMERECE, CA 90040-2933
39969399     ##+          EDNET CAREER INSTITUTE INC, 7301 TOPANGA CANYON BLVD, 350, CANOGA PARK, CA 91303-1202
39969400     ##+          EDUARDO BARRANCA, 2001 E El Segundo Blvd Apt 7, Compton, CA 90222-2158
39969402     ##+          EDUARDO MENDOZA, 1309 W 36th PL, Los Angeles, CA 90007-3902
39969404     ##+          EDUARDO NAVARRETE, 11047 Strathern St Apt7, Sun Valley, CA 91352-3966
39969437     ##+          EMBARGO GRILL, 3960 WEST POINT LOMA BOULEVARD, SAN DIEGO, CA 92110-5643
39969471     ##+          ERIN SULLIVAN, 12449 LOUISE AVE APT 5, LOS ANGELES, CA 90066-6165
39969475     ##+          ERNESTO PRECIADO, 4415 E 6TH ST, LOS ANGELES, CA 90022-1505
39969476     ##+          ERNESTO PRECIADO, 4415 E 6th, LOS ANGELES, CA 90022-1505
39969494     ##+          EVANNE A GORDON, 2017 Argyle Avenue 410, LOS ANGELES, CA 90068-2395
40203336     ##+          EdNet Career Institute, Inc., 7301 Topanga Canyon Blvd., Suite 350, CANOGA PARK, CA 91303-1202
39969439     ##           Emely Gonsalez, 13314 Glenoaks Blvd, Sylmar, CA 91342-2109
39969447     ##+          Employed Security Service Center Inc, 959 E Walnut St Suite 112, Pasadena, CA 91106-1461
39969454     ##+          Envision Consulting LLC, 3231 E Foothill Blvd, Pasadena, CA 91107-3110
39969462     ##+          Erick B Soto, 7115 Geyser Ave, Reseda, CA 91335-4035
39969472     ##+          Ernest Stewart, 1317 W 98Th St, Los Angeles, CA 90044-1827
39969504     ##+          Excelencia Charter Academy, 2821 E 7th, LOS ANGELES, CA 90023-1501
39969510     ##+          FABIAN OJEDA, 5829 SULTANA AVE, TEMPLE CITY, CA 91780-1840
39969565     ##+          FRANK O POLAT, 18553 Saticoy St Unit119, Reseda, CA 91335-7448
39969569     ##           FREDDY J ZUNIGA, 3958 1/2 2ND AVE, LOS ANGELES, CA 90008
39969571     ##+          FREE SPIRIT PUBLISHING INC, 6325 SANDBURG ROAD, SUITE 100, GOLDEN VALLEY, MN 55427-3674
39969542     ##+          Firehose Institute LLC, CO Firehose ProjectRunway, 1355 Market St 488, San Francisco, CA 94103-1337
39969552     ##+          Focused Fitness LLC, 2426 S Dishman Mica Rd, Spokane Valley, WA 99206-6409
39969585     ##+          GABRIELA HERNANDEZ, 6719 Seville Ave Apt G, Huntington Park, CA 90255-4842
39969595     ##+          GENERAL ASSEMBLY, 360 E 2ND STREET, SUITE 400, LOS ANGELES, CA 90012-4244
39969618     ##+          GLENDALE GLASS CO INC, 3646 SAN FERNANDO RD, GLENDALE, CA 91204-2945
39969620     ##+          GLORIA C SALGADO, 236 S Avenue 55 APT J, Los Angeles, CA 90042-4673
39969644     ##+          GRANT PROFESSIONALS ASSOCIATION, 10881 LOWELL AVE, SUITE 190, OVERLAND PARK, KS 66210-1666
39969625     ##+          Goals Soccer Center LLC, 9599 Pinehurst Ave, South Gate, CA 90280-5222
39969662     ##+          H & L CHARTER CO INC, 8801 HELMS AVENUE, RANCHO CUCAMONGA, CA 91730-4525
39969666     ##+          HARBOR FREIGHT TOOLS, 26541 Agoura Rd, Calabasas, CA 91302-2094
39969672     ##+          HAZIEL I ANGELES, 11270 Huston Street Apt 108, North Hollywood, CA 91601-5330
39969679     ##+          HECTOR CHAIRA, 801 W MINES AVE, APT A, MONTEBELLO, CA 90640-5540
39969685     ##+          HERIBERTO PANTOJA, 463 N Meyer St, San Fernando, CA 91340-1932
39969671     ##+          Haymen Gebru, 1290 W 37Th Drive, Los Angeles, CA 90007-4211
39969702     ##+          Hollywood Police Support Association, 6464 Sunset Blvd Ste 715, Hollywood, CA 90028-8014
39969736     ##+          ILLUMINATE EDUCATION INC, 6531 IRVINE CENTER DR, IRVINE, CA 92618-2145
39969742     ##+          INDYAH DAVIS, 1307 W 105 ST APT 131, LOS ANGELES, CA 90044-1786
39969755     ##+          IRENE FORTUNA GUTIERREZ, 1270 SOUTH CITRUS AVE, APT 1/2, LOS ANGELES, CA 90019-1604
39969787     ##+          JACQUELINE SALINAS, 1147 Van Pelt Ave, Los Angeles, CA 90063-1223
39969796     ##+          JAHLYN WOODS-MCGUIRE, 4455 East Goldfield Ave, Long Beach, CA 90807-2530
39969799     ##+          JALEN CHAPPELL, 3653 W 116TH ST, INGLEWOOD, CA 90303-2906
39969800     ##+          JALIN BRUHIL, 1219 E 53rd street, Los Angeles, CA 90011-4707
39969802     ##           JAMERE AUSTIN, 11755 Hunnewell Ave, Sylmar, CA 91342-6057
39969826     ##+          JASMINE SILVA, 439 NEWTON ST, SAN FERNANDO, CA 91340-2418
39969838     ##+          JAZMIN ROMERO, 10331 COLLETT AVE, GRANADA HILLS, CA 91344-7009
39969878     ##+          JESUS A ESCOBEDO Jr, 1833 MADISON AVENUE, PASADENA, CA 91104-1237
39969882     ##+          JESUS V OROZCO Jr, 16220 Cornuta Ave Apt 10, Bellflower, CA 90706-4844
39969894     ##+          JOCELYN FLORES, 12300 OSBORN PL APT 208, PACOIMA, CA 91331-7050
39969908     ##+          JOHN AGUIRRE, 11150 GLENOAKS BLVD APT 34, PACOIMA, CA 91331-6628
39969910     ##+          JOHN G TOLEDO, 149 N Kenmore Ave, Los Angeles, CA 90004-6278
39969911     ##+          JOHN S AGUIRRE, 11150 GLENOAKS BLVD APT 34, PACOIMA, CA 91331-6628
39969939     ##+          JOSE AVELAR, 12912 Longworth Ave, Norwalk, CA 90650-2769
39969960     ##+          JOSHUA AVITIA, 7610 MANZANAR AVE, PICO RIVERA, CA 90660-4431
39969970     ##+          JUAN I MIGUEL, 839 S CARONDELET ST APT 12, LOS ANGELES, CA 90057-5006
39969986     ##+          JULIANNE BERG, 1320 N SYCAMORE AVE, APT 310, LOS ANGELES, CA 90028-7552
39969987     ##+          JULIANNE J BERG, 1320 N SYCAMORE AVE APT 310, LOS ANGELES, CA 90028-7552
39970000     ##+          JUSTEEN ANTONIO, 946 S CARONDELET ST APT 2, LOS ANGELES, CA 90006-1902
39969795     ##+          Jahlil Stansell, 2820 S Palm Grove Ave, Los Angeles, CA 90016-2922
39969817     ##+          Jasmin B Amezcua, 12112 Peoria St, Sun Valley, CA 91352-2324
39969904     ##+          Joel A Yahutentzi, 13214 Terra Bella st, Pacoima, CA 91331-3103
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                                   Desc
                           Imaged Certificate of Notice Page 49 of 66
District/off: 0973-2                                      User: admin                                                        Page 49 of 52
Date Rcvd: Oct 12, 2023                                   Form ID: pdf001                                                 Total Noticed: 2627
39970012     ##+          KAREN MARTELL, 282 WHITNEY AVE APT 1, POMONA, CA 91767-1661
39970018     ##+          KARINA LIRA, 10063 Mountair Ave Apt 2, Tujunga, CA 91042-3681
39970045     ##+          KENNY S PROEUK, 1037 ALPINE ST, LOS ANGELES, CA 90012-1220
39970057     ##+          KIDS IN NEED FOUNDATION, 3055 KETTERING BLVD, SUITE 119, DAYTON, OH 45439-1900
39970065     ##+          KIMBERLY CHAVEZ, 4713 GRAPE ST, PICO RIVERA, CA 90660-2230
39970067     ##+          KIMBERLY G PERALTA, 11411 Dronfield Ave 47, Pacoima, CA 91331-1466
39970024     ##+          Kasey B Hayes, 7437 Haskell Ave Apt 10, Van Nuys, CA 91406-6748
39970080     ##+          Kravitz Inc, 16030 Ventura Blvd Ste 200, Encino, CA 91436-2754
39970110     ##+          LA TRANSLATION AND INTERPRETATION INC, 2975 WILSHIRE BOULEVARD, SUITE 640, LOS ANGELES, CA
                          90010-1114
39970131     ##+          LAUREL GREENE, 1724 NORTH HIGHLAND AVENUE APT 516, LOS ANGELES, CA 90028-4421
39970132     ##+          LAUREN GREEN, 6323 RESEDA BLVD UNIT 35, TARZANA, CA 91335-6957
39970145     ##+          LEARNING ENRICHMENT AFTER-SCHOOL PROGRAM, 1310 N LA BREA AVENUE, INGLEWOOD, CA 90302-1200
39970146     ##+          LEARNING GENIE INC, 5868 OWENS AVENUE STE 250, CARLSBAD, CA 92008-5503
39970151     ##+          LEILANI SALCEDO, 13712 MERCER STREET, PACOIMA, CA 91331-3643
39970164     ##+          LESLIE EIGLE, 26211 Thistle Glen, Lake Forest, CA 92630-7264
39970173     ##+          LEYLANI LIRA, 7751 3/4 SCOUT AVE, BELL GARDENS, CA 90201-6567
39970180     ##+          LILIANA DEL CID, 12348 N VILLAR WAY, SYLMAR, CA 91342-7784
39970186     ##+          LINDA SZABO, 5403 CEDROS AVE, SHERMAN OAKS, CA 91411-3714
39970187     ##+          LINDSAY SIMPSON, 1435 N Placentia Avenue APT 64, Fullerton, CA 92831-2582
39970191     ##+          LITTLE KIDS ROCK, 271 GROVE AVE BLDG E2, VERONA, NJ 07044-1729
39970199     ##+          LONG BEACH RUN LLC, 3900 E MEXICO AVE, 1350, DENVER, CO 80210-3940
39970210     ##+          LOS ANGELES CENTER OF PHOTOGRAPHY, 1515 WILCOX AVENUE, LOS ANGELES, CA 90028-7308
39970261     ##+          LUNA IMPACT INC, 12449 LOUISE AVE UNIT 5, LOS ANGELES, CA 90066-6165
39970263     ##+          LUVETTE RANDALL, 13019 CARL ST APT 388, PACOIMA, CA 91331-2509
39970264     ##+          LUVIE RANDALL, 13019 CARL ST APT 388, PACOIMA, CA 91331-2509
39970265     ##+          LYDIA ESCOBAR, 11020 HESBY STREET APT 107, NORTH HOLLYWOOD, CA 91601-3891
39970267     ##+          LYNDA DE ANDA, 334 N ATLANTIC BLVD 108, ALHAMBRA, CA 91801-2222
39970152     ##+          Lena Georgas, 1248 S ORANGE GROVE AVE, LOS ANGELES, CA 90019-6525
39970158     ##+          Les Guttman, 11488 Biona Dr, Los Angeles, CA 90066-3332
39970205     ##+          Lori Baker Schena, 23603 Via Ebano, Valencia, CA 91355-3214
39970220     ##+          Los Angeles Education Partnership, 202 West 1St Street Ste 060410, Los Angeles, CA 90012-4105
39970222     ##+          Los Angeles Ort Technical Institute, 6435 Wilshire Blvd, Los Angeles, CA 90048-4907
39970290     ##+          MARGUERITE WOMACK, 5108 BUCHANAN STREET, LOS ANGELES, CA 90042-2342
39970295     ##+          MARIA CALVILLO, 3303 Marine Ave 5, Gardena, CA 90249-3921
39970313     ##+          MARIAH PEREZ, 14424 PLUMMER STREET APT 10, PANORAMA CITY, CA 91402-1187
39970323     ##+          MARILYNN M ALVARADO, 4811 Rosewood Ave APT 6, LOS ANGELES, CA 90004-2545
39970324     ##+          MARIN K HARPER, 500 Evergreen Street Unit 108, Inglewood, CA 90302-7234
39970327     ##+          MARISSA RASCON, 1319 S MERIDIAN AVE, ALHAMBRA, CA 91803-1848
39970328     ##+          MARISSA RASCON, 1319 SOUTH MERIDIAN AVE, ALHAMBRA, CA 91803-1848
39970336     ##+          MARLENE GUZMAN, 5310 EDNA ST, LOS ANGELES, CA 90032-2322
39970344     ##+          MARTA I LOMAS, 1503 Menlo Ave apt 8, Los Angeles, CA 90006-4600
39970358     ##+          MASANGHAI YOUBOTY, 1426 ALLESANDRO ST, LOS ANGELES, CA 90026-2441
39970360     ##+          MATHEU R CEA, 402 S GARFIELD AVE UNIT 20, ALHAMBRA, CA 91801-3851
39970364     ##+          MAURICE BUNTIN, 1523 SOUTH HOLT AVE APT 1, LOS ANGELES, CA 90035-3681
39970369     ##+          MAYRA GUTIERREZ, 13085 DESMOND ST, PACOIMA, CA 91331-1026
39970379     ##+          MEETUP INC, 632 BROADWAY, 1OTH FLOOR, NEW YORK, NY 10012-2614
39970390     ##+          MELISSA E MACEDO, 8191 San Vincente Ave, South Gate, CA 90280-2556
39970405     ##+          MICHAEL A SILVA, 14906 Polk Street, Sylmar, CA 91342-5069
39970418     ##+          MICHELLE BRAVO, 1605 1/2 E 62nd St, Los Angeles, CA 90001-1701
39970431     ##+          MIGUEL RODRIGUEZ, 1089 HARRIS AVE, LOS ANGELES, CA 90063-1733
39970437     ##+          MIREYA GOMEZ, 4127 WOODLAWN AVE, LOS ANGELES, CA 90011-2933
39970455     ##+          MOBINA SHAHRBANOO, 20409 NAPA STREET, WINNETKA, CA 91306-1348
39970477     ##+          MOTEL 6, 6909 SEPULVEDA BLVD, VAN NUYS, CA 91405-3505
40078030     ##+          Marin Harper, 500 Evergreen Street, Unit 108, Inglewood, CA 90302-7234
39970384     ##+          Melina Cruz Bautista, 1412 W 10th PL Apt 1, Los Angeles, CA 90015-1243
40136559     ##+          Melinda Guzman - SBN 137678, Melinda Guzman Professional Corporation, 455 University Avenue, Suite 330, Sacramento, CA
                          95825-6580
39970436     ##+          Mind Research Institute, 111 Academy Drive Suite 100, Irvine, CA 92617-3046
39970498     ##+          NAKIA BRAZIER, 3317 WILTON ST APT 1, LONG BEACH, CA 90804-1846
39970507     ##+          NATALIE ESPINAL, 8640 hillrose st Apt b6, Sunland, CA 91040-2748
39970511     ##+          NATALIE RODRIGUEZ, 10958 S Figueroa St, Los Angeles, CA 90061-1552
39970518     ##+          NATHANIEL SHUTMAN, 1525 LAS LUNAS STREET, PASADENA, CA 91106-1228
       Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                               Desc
                           Imaged Certificate of Notice Page 50 of 66
District/off: 0973-2                               User: admin                                            Page 50 of 52
Date Rcvd: Oct 12, 2023                            Form ID: pdf001                                     Total Noticed: 2627
39970524     ##+          NATIONAL CENTER FOR YOUTH LAW, 405 14TH STREET, 15TH FLOOR, OAKLAND, CA 94612-2777
39970525     ##+          NATIONAL COLLEGE RESOURCES FOUNDATION, 750 N DIAMOND BAR BLVD, SUITE 208, DIAMOND BAR, CA
                          91765-1023
39970539     ##+          NED MARTINEZ-ZAVALA, 8030 LAURELGROVE AVE, NORTH HOLLYWOOD, CA 91605-1313
39970583     ##+          NTEN, 621 SW ALDER, SUITE 310, PORTLAND, OR 97205-3634
39970558     ##+          Nicholas B Hubacki, 7611 Corbin Ave, Winnetka, CA 91306-2607
39970578     ##+          Northridge Skateland, 18140 Parthenia St, Northridge, CA 91325-3302
39970589     ##+          O2WESTGROUP, 12843 FOOTHILL, STE C, SYLMAR, CA 91342-8701
39970619     ##+          OSCAR M MAIDANA, 6002 Coke Avenue, Long Beach, CA 90805-3924
39970617     ##+          Oscar G Cruz, 4729 Mascot St, Los Angeles, CA 90019-5708
39970680     ##+          PENSION ASSURANCE LLP, 20335 VENTURA BOULEVARD, SUITE 305, WOODLAND HILLS, CA 91364-2470
39970650     ##+          Parking Company Of America, 523 W 6Th St 528, Los Angeles, CA 90014-1225
39970713     ##+          Positive Coaching Alliance, 1001 N Rengstorff Ave 100, Mountain View, CA 94043-1766
39970717     ##+          Premium Assignment Corporation, Po Box 8000, Tallahassee, FL 32314-8000
39970727     ##+          Prosource Facility Supply, 11954 Washingtone Boulevard, Whittier, CA 90606-2608
39970738     ##+          QTRAK, 575 VIRGINA DR D, FORT WASHINGTON, PA 19034-2731
39970739     ##+          Quantum Learning Network, 1938 Avenida Del Oro, Oceanside, CA 92056-5803
39970759     ##+          REBECCA G SOWERS, 1456 SOUTH WOOSTER STREET APT 1, LOS ANGELES, CA 90035-3441
39970769     ##+          Region 9 Head Start Association, 1225 8Th Street Suite 342, Sacramento, CA 95814-4804
39970814     ##+          Ronald Eugene Diaz Jr, 12327 Orange Dr, Whittier, CA 90601-3047
39970815     ##+          Ronald Paul Milam, 1704 Morton Ave, Los Angeles, CA 90026-2614
39970874     ##+          SAMUEL D RESTREPO, 344 W Duarte Rd A, Monrovia, CA 91016-4566
39970887     ##+          SANDRA TARANGO, 13550 FOOTHILL BLVD UNIT 6, SYLMAR, CA 91342-4462
39970891     ##+          SANTIAGO BOLANOS, 13751 Hubbard St Apt 106, Sylmar, CA 91342-4324
39970892     ##+          SARA ISRAEL, 638 WEST KNOLL DRIVE APT 5, WEST HOLLYWOOD, CA 90069-5212
39970968     ##+          SOCCERONE, 7349 Canoga Ave, CANOGA PARK, CA 91303-1394
39971000     ##+          STACY TAPIA, 9233 VAN NUYS BLVD 224, PANORAMA CITY, CA 91402-6771
39971030     ##+          STEPHANIE ROMERO, 8710 Rialton St, Pico Rivera, CA 90660-2344
39971044     ##+          STUBHUB, 199 FREEMONT ST FL 4, SAN FRANCISCO, CA 94105-6634
39971059     ##+          SUSETT MENDOZA, 144 S EDGEMONT ST APT 201, LOS ANGELES, CA 90004-5527
39970942     ##+          Shayan Shafiei, 321 N Orange Street Unit 210, Glendale, CA 91203-5503
39970958     ##+          Sky Zone Van Nuys, 7741 Hayvenhurst Ave, Van Nuys, CA 91406-1730
39970989     ##+          Spark Program Inc, 145 S Spring St Suite 410, Los Angeles, CA 90012-4054
39971032     ##+          Stephanie Valverde, 221 Lucas Ave, Los Angeles, CA 90026-6130
39971068     ##+          TAKASHI MATSUMOTO, 5229 COGSWELL ROAD, EL MONTE, CA 91732-1211
39971080     ##+          TASHEENA MEDINA, 354 Shults Street 9, Los Angeles, CA 90042-4848
39971105     ##+          THE CALIFORNIA CONFERENCE FOR EQUALITY A, 3711 LONG BEACH BLVD, SUITE 1017, LONG BEACH, CA
                          90807-3352
39971118     ##+          THE HABIT BURGER GRILL, 17320 RED HILL AVENUE, SUITE 140, IRVINE, CA 92614-5695
39971128     ##+          THE LITERACY CLUB, 13381 AZORES AVE, SYLMAR, CA 91342-3075
39971130     ##+          THE MAP SHOP, 1500 E MOREHEAD STREET, CHARLOTTE, NC 28207-1606
39971149     ##+          TIA CHUCHA'S CENTRO CULTURAL INC, 13197-A GLADSTONE AVE, SYLMAR, CA 91342-3246
39971164     ##+          TORRIANNA FOSTER, 16211 PARKSIDE LANE APT 164, HUNTINGTON BEACH, CA 92647-7613
39971180     ##+          TREJOS COFFEE & DONUTS, 6785 SANTA MONICA BOULEVARD, HOLLYWOOD, CA 90038-1218
39971185     ##+          TRUPATH, 1440 EAST SOUTHERN AVE, TEMPE, AZ 85282-5612
39971189     ##+          TWO BIT CIRCUS FOUNDATION, 12815 S WESTERN AVE, GARDENA, CA 90249-1915
40210537     ##+          Teachers On Reserve LLC, 604 Sonora Ave, Glendale, CA 91201-2339
39971175     ##+          Trash For Teaching (T4TOrg), 12815 S Western Ave, Gardena, CA 90249-1915
39971212     ##+          UNIVERSITY OF CALIFORNIA, PO BOX 1432, BAKERSFIELD, CA 93302-1432
39971216     ##+          University Of Western California, 3550 Wilshire Bl Suite 750, Los Angeles, CA 90010-2426
39971217     ##+          Unusual Suspects Theatre Company, 3719 Verdugo Rd, Los Angeles, CA 90065-3627
39971241     ##+          VANESSA DELEON, 11732 1/2 LAKEWOOD BLVD, DOWNEY, CA 90241-5230
39971251     ##+          VANESSA TARAX, 15038 Paddock St, Sylmar, CA 91342-5010
39971261     ##+          VERONICA ANAYA, 1150 N EVERGREEN ST, BURBANK, CA 91505-2430
39984049     ##+          VERONICA Z. ANAYA, 1150 N Evergreen St, Burbank, CA 91505-2430
39971275     ##+          VICTORIA RODRIGUEZ, 10893 LEHIGH AVE APT 157, PACOIMA, CA 91331-2515
39971277     ##+          VINCENT M CASTILLO, 13217 ALANWOOD RD, LA PUENTE, CA 91746-1810
39971288     ##+          VISTAPRINT, 275 WYMAN STREET, WALTHAM, MA 02451-1218
39971291     ##+          VIVIAN ACOSTA, 13827 Kamloops st, Arleta, CA 91331-6010
39971254     ##+          Vaughn Next Century Learning Center, 13330 Vaughn Street, SAN FERNANDO, CA 91340-2216
39971296     ##+          VocabularyspellingcityCom, 6300 Ne 1St Ave Ste 203, Fort Lauderdale, FL 33334-1901
39971339     ##+          WILLY BIETAK PRODUCTIONS INC, 1404 THIRD ST PROMENADE, SUITE 200, SANTA MONICA, CA 90401-3426
39971347     ##+          Worldwide Computer Solutions Corp, 2050 S Bundy Drive Suite 202, Los Angeles, CA 90025-6139
         Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                                           Desc
                             Imaged Certificate of Notice Page 51 of 66
District/off: 0973-2                                              User: admin                                                          Page 51 of 52
Date Rcvd: Oct 12, 2023                                           Form ID: pdf001                                                   Total Noticed: 2627
39971353            ##+          XIOMARA E RIVAS, 2158 N MANANNA AVE APT 1, LOS ANGELES, CA 90032-4063
39971364            ##+          YEKATERINA KOROLKOV, 10615 ROSE AVE APT 301, LOS ANGELES, CA 90034-8112
39971371            ##+          YOLANDA ESTELA P SEGURA, 1656 W 11th PL APT 2, Los Angeles, CA 90015-1914
39971365            ##+          Yen Ling Shek, 512 Evergreen St Unit 303, Inglewood, CA 90302-7220
39971391            ##+          Zendesk Inc, 1019 Market St, San Francisco, CA 94103-1637
39971396            ##+          Zuleika Andrade, 2372 Florencita Ave 1, Montrose, CA 91020-1839
40193142            ##+          leap, 1310 N La Brea Avenue Ste. A, Inglewood, CA 90302-1200

TOTAL: 11 Undeliverable, 35 Duplicate, 281 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Oct 14, 2023                                        Signature:          /s/Gustava Winters




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on October 12, 2023 at the address(es) listed
below:
Name                             Email Address
Andy C Warshaw
                                 on behalf of Creditor Evaluation Specialists awarshaw@bwlawcenter.com warshaw.andyb110606@notify.bestcase.com

Brian L Davidoff
                                 on behalf of Trustee Jason M Rund (TR) bdavidoff@greenbergglusker.com
                                 calendar@greenbergglusker.com;jking@greenbergglusker.com;cmillerwatkins@greenbergglusker.com

Christopher E Prince
                                 on behalf of Defendant Dixon Slingerland cprince@lesnickprince.com
                                 jmack@lesnickprince.com;cprince@ecf.courtdrive.com;jnavarro@lesnickprince.com

Christopher E Prince
                                 on behalf of Interested Party Courtesy NEF cprince@lesnickprince.com
                                 jmack@lesnickprince.com;cprince@ecf.courtdrive.com;jnavarro@lesnickprince.com

Daniel C Sharpe
                                 on behalf of Creditor A.M. daniel.c.sharpe@me.com

Daniel C Sharpe
                                 on behalf of Creditor I. A. daniel.c.sharpe@me.com

David W. Meadows
                                 on behalf of Interested Party Courtesy NEF david@davidwmeadowslaw.com

David W. Meadows
                                 on behalf of Creditor MDB International Branding LLC david@davidwmeadowslaw.com

EmmaElizabeth A Gonzalez
                                 on behalf of Interested Party Courtesy NEF egonzalez@publiccounsel.org

Genevieve G Weiner
                                 on behalf of Creditor Nonprofit Finance Fund gweiner@sidley.com
                                 laefilingnotice@sidley.com;genevieve-weiner-0813@ecf.pacerpro.com;psantos@sidley.com

Hayes F Michel
                                 on behalf of Defendant Hill Morgan and Associates, LLP hmichel@krakowskymichel.com

Jason M Rund (TR)
                                 trustee@srlawyers.com jrund@ecf.axosfs.com

Jeffrey A Krieger
         Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                                        Desc
                             Imaged Certificate of Notice Page 52 of 66
District/off: 0973-2                                          User: admin                                                          Page 52 of 52
Date Rcvd: Oct 12, 2023                                       Form ID: pdf001                                                   Total Noticed: 2627
                             on behalf of Trustee Jason M Rund (TR) jkrieger@ggfirm.com
                             kwoodson@greenbergglusker.com;calendar@greenbergglusker.com;jking@greenbergglusker.com

Keith Patrick Banner
                             on behalf of Trustee Jason M Rund (TR) kbanner@greenbergglusker.com
                             vafanasieva@greenbergglusker.com;calendar@greenbergglusker.com

Keith Patrick Banner
                             on behalf of Plaintiff JASON M RUND kbanner@greenbergglusker.com
                             vafanasieva@greenbergglusker.com;calendar@greenbergglusker.com

Kevin Meek
                             on behalf of Debtor Youth Policy Institute Inc. kmeek@robinskaplan.com,
                             kevinmeek32@gmail.com;kmeek@ecf.inforuptcy.com

Magdalena R Bordeaux
                             on behalf of Interested Party Courtesy NEF mbordeaux@publiccounsel.org

Matthew N Sirolly
                             on behalf of Creditor Labor Commissioner California, Division of Labor Standards Enforcement msirolly@dir.ca.gov

Philip D Dracht
                             on behalf of Plaintiff JASON M RUND pdracht@drachtlaw.com

Robert D Bass
                             on behalf of Attorney Robert D. Bass bob.bass47@icloud.com

Shawn M Christianson
                             on behalf of Interested Party Courtesy NEF cmcintire@buchalter.com schristianson@buchalter.com

Sheryl K Ith
                             on behalf of Creditor Ford Motor Credit Company LLC sith@cookseylaw.com

Steven Goldsobel
                             on behalf of Defendant Steven Schultz steve@sgoldsobel.com vandad@sgoldsobel.com

Summer M Shaw
                             on behalf of Defendant Suzanne M Steinke ss@shaw.law shawsr70161@notify.bestcase.com;shawsr91811@notify.bestcase.com

Summer M Shaw
                             on behalf of Defendant Suzanne M. Steinke A Professional Corporation ss@shaw.law
                             shawsr70161@notify.bestcase.com;shawsr91811@notify.bestcase.com

Summer M Shaw
                             on behalf of Interested Party Summer Shaw ss@shaw.law shawsr70161@notify.bestcase.com;shawsr91811@notify.bestcase.com

United States Trustee (LA)
                             ustpregion16.la.ecf@usdoj.gov


TOTAL: 27
  Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                       Desc
    Jason M. Rund         Imaged Certificate of Notice Page 53 of 66
    270 Coral Circle
    El Segundo, CA 90245
    Telephone: 310-640-1200
    Facsimile: 310-640-0200
    Email: jrund@srlawyers.com
                           UNITED STATES BANKRUPTCY COURT
                           CENTRAL DISTRICT OF CALIFORNIA
                                 LOS ANGELES DIVISION

     In Re:                                              §
                                                         §
     YOUTH POLICY INSTITUTE, INC.                        §      Case No. 2:19-bk-23085-BB
                                                         §
                         Debtor                          §

                                       NOTICE OF TRUSTEE’S FINAL REPORT AND
                                         APPLICATIONS FOR COMPENSATION
                                           AND DEADLINE TO OBJECT (NFR)

              Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that JASON M.
     RUND, TRUSTEE, trustee of the above styled estate, has filed a Final Report and the trustee and the
     trustee’s professionals have filed final fee applications, which are summarized in the attached Summary
     of Trustee's Final Report and Applications for Compensation.

             The complete Final Report and all applications for compensation are available for inspection at
     the Office of the Clerk, at the following address:
                                           United States Bankruptcy Court
                                           Central District of California
                                           Edward R. Roybal Federal Building
                                           255 E. Temple Street, Room 100
                                           Los Angeles, California 90012

             A hearing on the Trustee's Final Report and Applications for Compensation will be held at
     SPon 1RYHPEHU in Courtroom 1539, Edward R. Roybal Federal Building and
     Courthouse, located at 255 East Temple Street, Los Angeles, California 90012. Any person
     wishing to object to any fee application that has not already been approved, or to the Trustee's
     Final Report, must file a written opposition thereto pursuant to Local Bankruptcy Rule 9013-1(f)
     not later than 14 days before the date designated for hearing and serve a copy of the opposition
     upon the trustee, any party whose application is being challenged and the United States Trustee.
     Untimely objections may be deemed waived. In the absence of a timely objection by the United
     States Trustee or other party in interest, the Court may discharge the Chapter 7 Trustee and close
     the case without reviewing the Final Report and Account or determining the merits of the Chapter
     7 Trustee's certification that the estate has been fully administered. See Federal Rule of
     Bankruptcy Procedure 5009.

     Date Mailed: //2023                                By: /s/ JASON M. RUND




UST Form 101-7-NFR (10/1/2010) (Page: 1)
  Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                                                                    Desc
                      Imaged Certificate of Notice Page 54 of 66




                                               UNITED STATES BANKRUPTCY COURT
                                                CENTRAL DISTRICT OF CALIFORNIA
                                                     LOS ANGELES DIVISION


      In Re:                                                                §
                                                                            §
      YOUTH POLICY INSTITUTE, INC.                                          §           Case No. 2:19-bk-23085-BB
                                                                            §
                               Debtor                                       §

                                               SUMMARY OF TRUSTEE'S FINAL REPORT
                                               AND APPLICATIONS FOR COMPENSATION


                     The Final Report shows receipts of                                                                $                6,677,810.76
                     and approved disbursements of                                                                     $                2,498,191.81
                                                              1
                     leaving a balance on hand of                                                                      $                4,179,618.95


                   Claims of secured creditors will be paid as follows:

                                                                           Allowed                          Interim
                                                                           Amount of                        Payment to               Proposed
       Claim No. Claimant                                   Claim Asserted Claim                            Date                     Payment
                           BB&T now Truist,
                           Bankruptcy
       000028              Management                   $         109,325.73 $           109,325.73 $                       0.00 $                   0.00
                           Nonprofit Finance
       000130A Fund                                     $ 4,350,000.00 $                 826,933.37 $             826,933.37 $                       0.00
                           Los Angeles
                           Unified School
       000142B             District                     $         399,115.53 $           399,115.53 $                       0.00 $                   0.00
                     Total to be paid to secured creditors                                                             $                             0.00
                     Remaining Balance                                                                                 $                4,179,618.95


____________________
           1
               The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.

UST Form 101-7-NFR (10/1/2010) (Page: 2)
  Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                            Desc
                      Imaged Certificate of Notice Page 55 of 66




               Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                          Interim Payment      Proposed
                        Reason/Applicant              Total Requested     to Date              Payment
      Trustee Fees: JASON M. RUND,
      TRUSTEE                                         $      223,584.32 $                 0.00 $    223,584.32
      Trustee Expenses: JASON M. RUND,
      TRUSTEE                                         $        6,377.13 $                 0.00 $         6,377.13
      Attorney for Trustee Fees: Greenberg
      Glusker Fields                                  $      558,314.50 $                 0.00 $    558,314.50
      Attorney for Trustee Expenses: Greenberg
      Glusker Fields                                  $        9,488.16 $                 0.00 $         9,488.16
      Accountant for Trustee Fees: HAHN FIFE
      & COMPANY LLP                                   $       40,476.00 $                 0.00 $      40,476.00
      Accountant for Trustee Expenses: HAHN
      FIFE & COMPANY LLP                              $          921.10 $                 0.00 $          921.10
      Charges: United States Bankruptcy Court         $          350.00 $                 0.00 $          350.00
      Other: Interco Management Corporation           $       45,000.00 $                 0.00 $      45,000.00
      Other: Interco Management Corporation           $        5,681.40 $                 0.00 $         5,681.40
      Other: LAW OFFICE OF PHILIP
      DRACHT                                          $    1,612,642.68 $     1,612,642.68 $                 0.00
      Other: LAW OFFICE OF PHILIP
      DRACHT                                          $        1,701.96 $          1,701.96 $                0.00
      Other: MDB International Branding LLC           $      105,000.00 $                 0.00 $    105,000.00
      Other: Barbara J Schwartz                       $          590.63 $                 0.00 $          590.63
      Other: FRANCHISE TAX BOARD                      $        3,793.68 $                 0.00 $         3,793.68
                Total to be paid for chapter 7 administrative expenses                $             999,576.92
                Remaining Balance                                                     $            3,180,042.03


               Applications for prior chapter fees and administrative expenses have been filed as follows:




UST Form 101-7-NFR (10/1/2010) (Page: 3)
  Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                      Desc
                      Imaged Certificate of Notice Page 56 of 66




                                                            NONE


              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $ 1,104,782.01 must be paid in advance of any dividend to general (unsecured)
     creditors.

                 Allowed priority claims are:

                                                    Allowed Amount   Interim Payment to
     Claim No.          Claimant                    of Claim         Date               Proposed Payment
                        HEATHER
     000001             FUKUNAGA                $           4,995.98 $            0.00 $           4,995.98
     000002             Amber Skrumbis          $           3,405.00 $            0.00 $           3,405.00
     000003             STANLEY SAUNDERS $                     0.00 $             0.00 $               0.00
     000004             ANGELICA ARNOLD $                   3,390.96 $            0.00 $           3,390.96
     000005             Sofia Goode             $           3,251.86 $            0.00 $           3,251.86
     000007             VERONICA Z. ANAYA $                 2,143.77 $            0.00 $           2,143.77
     000008             JOSE ESTRADA            $            310.00 $             0.00 $             310.00
     000009             Carlos Saul Sical Sanhez $          2,570.74 $            0.00 $           2,570.74
     000011             CAMILLE BULACLAC $                  2,152.40 $            0.00 $           2,152.40
     000014             JULIE LE                $           2,031.48 $            0.00 $           2,031.48
     000020             NICHOLAS WU             $         10,106.27 $             0.00 $         10,106.27
     000026             EMILSA GUTIERREZ $                  3,536.30 $            0.00 $           3,536.30
     000029             MAYRA GUTIERREZ $                   3,361.08 $            0.00 $           3,361.08
     000030             John Terre              $              0.00 $             0.00 $               0.00
                        KIMBERLY A
     000031             MELGAR                  $            201.60 $             0.00 $             201.60
     000032             WANDA WADE              $              0.00 $             0.00 $               0.00
     000033             SONIA MORENO            $           2,012.00 $            0.00 $           2,012.00
     000034             HECTOR SERRATO          $           3,903.91 $            0.00 $           3,903.91
     000035             DAVID ORTIZ JR          $              0.00 $             0.00 $               0.00




UST Form 101-7-NFR (10/1/2010) (Page: 4)
  Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                          Desc
                      Imaged Certificate of Notice Page 57 of 66




                                           Allowed Amount   Interim Payment to
     Claim No.          Claimant           of Claim         Date               Proposed Payment
     000036             MARVIN A RAMIREZ $          303.68 $            0.00 $           303.68
     000037             MICHELLE B EMELLE $           0.00 $            0.00 $             0.00
     000038             DREW WARMSLEY      $          0.00 $            0.00 $             0.00
     000039             LUIS CARBAJO       $       8,581.11 $           0.00 $         8,581.11
     000041             JASMINE TOVER      $       5,521.00 $           0.00 $         5,521.00
     000042             DIANA MEJIA        $       1,438.53 $           0.00 $         1,438.53
     000045A            BRYAN COREAS       $       3,289.61 $           0.00 $         3,289.61
     000046             MARISSA C JOHNSON $         206.25 $            0.00 $           206.25
     000047             LUIS GOMEZ         $       3,240.16 $           0.00 $         3,240.16
     000051A            Marin Harper       $          0.00 $            0.00 $             0.00
     000052             EDWARD L KLEIN     $        242.25 $            0.00 $           242.25
     000053             HAZIEL I ANGELES   $          0.00 $            0.00 $             0.00
     000054             ANA OSTORGA        $        186.24 $            0.00 $           186.24
     000055             DYLAN J CAMPBELL $          154.60 $            0.00 $           154.60
     000056             YESENIA IBARRA     $       5,656.76 $           0.00 $         5,656.76
     000060             DIANE ESTRADA      $       1,884.20 $           0.00 $         1,884.20
     000064             ROXANA MAYORGA $           1,266.51 $           0.00 $         1,266.51
     000067B            Think Together     $          0.00 $            0.00 $             0.00
     000071             ZULY REYES         $       1,540.00 $           0.00 $         1,540.00
     000072             KARINA MOSQUEDA $          1,885.26 $           0.00 $         1,885.26
                        Wendy Fabiola
     000074             Quinonez           $       2,000.00 $           0.00 $         2,000.00
     000075             KARLA ROBLES       $          0.00 $            0.00 $             0.00
     000076A            BELINDA KWAN       $       2,781.93 $           0.00 $         2,781.93
                        DANIELA J FLORES
     000077             BUSSO              $       2,416.72 $           0.00 $         2,416.72
     000082A            AURELIA ORTIZ      $       1,779.83 $           0.00 $         1,779.83




UST Form 101-7-NFR (10/1/2010) (Page: 5)
  Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                    Desc
                      Imaged Certificate of Notice Page 58 of 66




                                                     Allowed Amount   Interim Payment to
     Claim No.          Claimant                     of Claim         Date               Proposed Payment
     000083A            Paola Mejia              $            283.51 $            0.00 $           283.51
     000084             ALMA R ESTEVEZ           $           4,756.74 $           0.00 $         4,756.74
                        CATALINA
     000085             RODRIGUEZ                $              0.00 $            0.00 $             0.00
     000087             DELVY I GARCIA           $           1,003.62 $           0.00 $         1,003.62
     000089             RUTH MONZON              $              0.00 $            0.00 $             0.00
     000090             Irma Leticia Sepulveda   $           2,584.68 $           0.00 $         2,584.68
     000091A            JESSICA HENDRICKS $                  3,282.57 $           0.00 $         3,282.57
     000092             Pedro T. Chavira         $           3,443.37 $           0.00 $         3,443.37
     000095             KARLA ROBLES             $              0.00 $            0.00 $             0.00
     000096             CICELY MAJEED            $           2,037.00 $           0.00 $         2,037.00
                        VANESSA NUNEZ
     000097             CRUZ                     $           2,196.40 $           0.00 $         2,196.40
     000100             Lena Georgas             $           4,927.60 $           0.00 $         4,927.60
     000102             MARIA URQUILLA           $              0.00 $            0.00 $             0.00
     000107             BRIAN J MARTINEZ         $            863.94 $            0.00 $           863.94
                        MELISSA MARTINEZ
     000108             E                $                   1,806.42 $           0.00 $         1,806.42
                        MARIA VALLEJO
     000109             VAZQUEZ                  $           1,151.24 $           0.00 $         1,151.24
     000110             NANCY CARDENAS           $            245.14 $            0.00 $           245.14
     000111             LILIANA BARBA            $              0.00 $            0.00 $             0.00
     000112             NOEMI RODRIGUEZ          $           4,238.55 $           0.00 $         4,238.55
     000113             DANIEL GRUNFELD          $         10,433.65 $            0.00 $        10,433.65
     000116             MARILU RAMOS             $            180.87 $            0.00 $           180.87
     000117             ROSA RAMIREZ             $           2,708.63 $           0.00 $         2,708.63
     000118             Ariella Ramirez          $              0.00 $            0.00 $             0.00
     000119             RENEE OCHOA              $            129.69 $            0.00 $           129.69




UST Form 101-7-NFR (10/1/2010) (Page: 6)
  Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                     Desc
                      Imaged Certificate of Notice Page 59 of 66




                                                      Allowed Amount   Interim Payment to
     Claim No.          Claimant                      of Claim         Date               Proposed Payment
                        DANIELLE K
     000120             MARTINEZ                  $            289.98 $            0.00 $           289.98
     000121             AUDREY LOPEZ              $            163.87 $            0.00 $           163.87
     000122             PAOLA HUERTA              $            220.87 $            0.00 $           220.87
     000123             ALEX GONZALEZ             $              0.00 $            0.00 $             0.00
     000124             MIGUEL A GARCIA           $            187.07 $            0.00 $           187.07
                        HUGO CRISOSTOMO-
     000125             ROMO             $                     213.75 $            0.00 $           213.75
     000126             ROBERT BARBA              $            216.45 $            0.00 $           216.45
     000128A            JOCELYN FLORES            $            425.00 $            0.00 $           425.00
                        GUSTAVO
     000135             GUTIERREZ                 $           2,311.03 $           0.00 $         2,311.03
                        Labor Commissioner of
     000137A            the State of          $            620,536.37 $            0.00 $       620,536.37
                        MARYAM MALEKI
     000145             MS RD                     $           6,435.00 $           0.00 $         6,435.00
     000146A            Dixon Slingerland         $              0.00 $            0.00 $             0.00
     000149             STACY TAPIA               $           1,255.52 $           0.00 $         1,255.52
     000150             RANDY QUEZADA             $            275.50 $            0.00 $           275.50
     000151             YADIRA QUEZADA            $            759.20 $            0.00 $           759.20
                        INTERNAL REVENUE
     000158A            SERVICE          $                       0.00 $            0.00 $             0.00
                        California Dept. of Tax
     000159A            & Fee                     $         16,177.00 $            0.00 $        16,177.00
     000161             Kaiser Permanente         $        294,107.90 $            0.00 $       294,107.90
                        VERONICA
     000164             HERNANDEZ                 $           2,551.14 $           0.00 $         2,551.14
     000088A            Yehudellie LLC            $              0.00 $            0.00 $             0.00
                        FRANCHISE TAX
     000167A            BOARD                     $           2,516.23 $           0.00 $         2,516.23




UST Form 101-7-NFR (10/1/2010) (Page: 7)
  Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                           Desc
                      Imaged Certificate of Notice Page 60 of 66




                                                      Allowed Amount   Interim Payment to
     Claim No.          Claimant                      of Claim         Date               Proposed Payment
                        INTERNAL REVENUE
     AUTO               SERVICE          $                    9,506.23 $             0.00 $           9,506.23
                        INTERNAL REVENUE
     AUTO               SERVICE          $                    1,117.88 $             0.00 $           1,117.88
                        INTERNAL REVENUE
     AUTO               SERVICE          $                    2,223.22 $             0.00 $           2,223.22
                        EMPLOYMENT
                        DEVELOPMENT
     AUTO               DEPARTMENT                $            124.22 $              0.00 $             124.22
                        EMPLOYMENT
                        DEVELOPMENT
     AUTO               DEPARTMENT                $           4,222.97 $             0.00 $           4,222.97
                        INTERNAL REVENUE
     AUTO               SERVICE          $                     189.00 $              0.00 $             189.00
                        EMPLOYMENT
                        DEVELOPMENT
     AUTO               DEPARTMENT                $             21.00 $              0.00 $               21.00
                        EMPLOYMENT
                        DEVELOPMENT
     AUTO               DEPARTMENT                $            714.00 $              0.00 $             714.00
                Total to be paid to priority creditors                                $           1,104,782.01
                Remaining Balance                                                     $           2,075,260.02


             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $ 18,899,941.03 have been allowed and
     will be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
     timely allowed general (unsecured) dividend is anticipated to be 11.0 percent, plus interest (if
     applicable).

                 Timely allowed general (unsecured) claims are as follows:

                                                      Allowed Amount   Interim Payment to
     Claim No.          Claimant                      of Claim         Date               Proposed Payment
                        Jennifer Orozco
     000006             Esquivias                 $              0.00 $              0.00 $                0.00




UST Form 101-7-NFR (10/1/2010) (Page: 8)
  Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                   Desc
                      Imaged Certificate of Notice Page 61 of 66




                                                    Allowed Amount   Interim Payment to
     Claim No.          Claimant                    of Claim         Date               Proposed Payment
                        Staples Business
     000010             Advantage               $        176,352.10 $            0.00 $        19,363.89
     000012             Office Depot            $           1,638.94 $           0.00 $           179.96
                        UNIVERSITY OF LA
     000013             VERNE                   $         10,796.00 $            0.00 $         1,185.43
     000015             Direct Ed               $        122,857.14 $            0.00 $        13,490.02
                        Newport International
     000016             United College          $         86,333.00 $            0.00 $         9,479.58
     000017             City Year, Inc.         $        230,000.00 $            0.00 $        25,254.56
                        National Career College,
     000018             Inc.                     $        29,595.00 $            0.00 $         3,249.60
     000019             Olivarend Inc.          $         27,583.70 $            0.00 $         3,028.76
                        IMPAQ International,
     000021             LLC                     $         36,022.74 $            0.00 $         3,955.39
     000022             City Year, Inc          $              0.00 $            0.00 $             0.00
                        Mitchell Silberberg &
     000023             Knupp                   $           3,590.50 $           0.00 $           394.25
     000024             DSH                     $         58,759.11 $            0.00 $         6,451.89
     000025             MEDG International, Inc $         18,000.00 $            0.00 $         1,976.44
     000027             Gopher Sport            $         10,166.31 $            0.00 $         1,116.29
     000040             STEM & MORE LLC         $         39,800.00 $            0.00 $         4,370.14
     000043             S&S WORLDWIDE           $           2,510.03 $           0.00 $           275.61
                        INTERNATIONAL
                        INSTITUTE OF LOS
     000044             ANGELES                 $         54,675.58 $            0.00 $         6,003.51
                        TOTAL CORPORATE
     000048             SOLUTIONS       $                    188.15 $            0.00 $            20.66
     000049             Fifth Road Inc          $           1,357.50 $           0.00 $           149.06
                        CLOUD FOR GOOD
     000050             LLC                     $           2,730.00 $           0.00 $           299.76
     000057             Kravitz Inc             $           3,873.75 $           0.00 $           425.35




UST Form 101-7-NFR (10/1/2010) (Page: 9)
  Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                               Desc
                      Imaged Certificate of Notice Page 62 of 66




                                                Allowed Amount   Interim Payment to
     Claim No.         Claimant                 of Claim         Date               Proposed Payment
     000058            Dell Marketing, L.P.     $     15,229.03 $            0.00 $         1,672.18
                       Uniforms and Safety
     000059            Supplies                 $       1,163.01 $           0.00 $           127.70
     000061            ChildCare Careers        $     39,028.52 $            0.00 $         4,285.43
                       Maximus Protective
     000062            Services                 $     41,677.38 $            0.00 $         4,576.28
                       Granada Hills High
     000063            School                   $    169,198.61 $            0.00 $        18,578.42
                       DISCOVERY SCIENCE
     000065            CENTER OF OC      $            16,750.00 $            0.00 $         1,839.19
                       MISSION ECONOMIC
                       DEVELOPMENT
     000066            AGENCY           $               7,017.00 $           0.00 $           770.48
     000067A           Think Together           $    402,575.34 $            0.00 $        44,203.76
                       University of Southern
     000068            California               $     41,000.00 $            0.00 $         4,501.90
                       American Express
     000069            National Bank            $    403,862.76 $            0.00 $        44,345.12
     000070            Wells Fargo Bank, N.A. $         2,052.68 $           0.00 $           225.39
     000073            Mimi Diep                $     21,840.00 $            0.00 $         2,398.09
     000078            826LA                    $     41,281.00 $            0.00 $         4,532.76
                       California Emerging
     000079            Technology Fund          $     50,000.00 $            0.00 $         5,490.12
     000080            Public Counsel           $     42,400.25 $            0.00 $         4,655.65
                       EVALUATION
     000081            SPECIALISTS              $     48,968.00 $            0.00 $         5,376.81
                       Career Development
     000086            Solutions LLC            $     46,859.00 $            0.00 $         5,145.23
     000088B           Yehudellie LLC           $     15,000.00 $            0.00 $         1,647.04
                       MULTICULTURAL
     000093            LEARNING CENTER          $    167,704.00 $            0.00 $        18,414.31
     000094            AAA Institute            $       1,900.00 $           0.00 $           208.62




UST Form 101-7-NFR (10/1/2010) (Page: 10)
  Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                    Desc
                      Imaged Certificate of Notice Page 63 of 66




                                                     Allowed Amount   Interim Payment to
     Claim No.         Claimant                      of Claim         Date               Proposed Payment
     000098            Blanca Rios               $              0.00 $            0.00 $             0.00
                       City of Philadelphia Law
     000099            Tax & Revenue            $          53,898.44 $            0.00 $         5,918.18
                       MDB International
     000101A           Branding LLC              $        662,662.36 $            0.00 $        72,761.96
     000103            ROCIO R RODRIGUEZ $                      0.00 $            0.00 $             0.00
     000104            C3 Business Solutions     $         46,161.25 $            0.00 $         5,068.62
     000105            ROCIO R RODRIGUEZ $                      0.00 $            0.00 $             0.00
                       Wells Fargo Vendor
     000106            Financial Services        $        113,779.24 $            0.00 $        12,493.24
     000114            SARA ISRAEL               $           6,146.10 $           0.00 $           674.86
     000115            leap                      $         23,841.54 $            0.00 $         2,617.86
                       TransPerfect Document
     000127            Management, Inc.      $               3,265.00 $           0.00 $           358.51
     000129            Fresh Start Meals Inc     $         33,423.18 $            0.00 $         3,669.94
                       Cintas Corporation dba
     000131            Cintas Location           $           4,170.38 $           0.00 $           457.92
                       Pioneer Fire
     000132            Professionals, Inc.       $            180.86 $            0.00 $            19.86
                       EdNet Career Institute,
     000133            Inc.                      $         75,200.00 $            0.00 $         8,257.14
     000134            Oracle America, Inc       $         73,321.60 $            0.00 $         8,050.89
                       Orenda Education
     000136            (Principals Exchange)     $         88,100.00 $            0.00 $         9,673.60
     000138            Dolphin Trucking School $              800.40 $            0.00 $            87.89
                       JENNIFER OROZCO
     000139            ESQUIVAS                  $              0.00 $            0.00 $             0.00
     000140            A.M., a Minor             $              0.00 $            0.00 $             0.00
     000141            I.A., a Minor             $              0.00 $            0.00 $             0.00
                       Los Angeles Unified
     000142A           School District           $        294,100.47 $            0.00 $        32,292.96




UST Form 101-7-NFR (10/1/2010) (Page: 11)
  Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                    Desc
                      Imaged Certificate of Notice Page 64 of 66




                                                     Allowed Amount   Interim Payment to
     Claim No.         Claimant                      of Claim         Date               Proposed Payment
                       Teachers On Reserve
     000143            LLC                       $         25,002.37 $            0.00 $         2,745.32
                       Kounkuey Design
     000144            Initiative, Inc.          $           3,253.83 $           0.00 $           357.28
                       California Institute of
     000147            Technology,               $        299,968.00 $            0.00 $        32,937.22
                       HACIENDA LA
                       PUENTE ADULT
     000148            EDUCATION/HACIE           $           8,925.00 $           0.00 $           979.99
                       Los Angeles Valley
     000152            College -                 $           1,615.00 $           0.00 $           177.33
                       National Career College,
     000153            Inc.                     $          29,595.00 $            0.00 $         3,249.60
     000155            Bright Star Schools       $        482,189.00 $            0.00 $        52,945.54
                       California Department of
     000156            Education                $        8,840,512.00 $           0.00 $       970,709.97
                       The Regents of the
     000157            University of             $        167,980.88 $            0.00 $        18,444.71
                       Department of Labor,
     000162            Employee                  $         49,050.00 $            0.00 $         5,385.81
                       California Community
     000163            Foundation                $        400,000.00 $            0.00 $        43,920.98
     000165            MARISSA C JOHNSON $                      0.00 $            0.00 $             0.00
     000082B           AURELIA ORTIZ             $           3,465.38 $           0.00 $           380.51
     000083B           Paola Mejia               $           1,313.25 $           0.00 $           144.20
     000128B           JOCELYN FLORES            $           7,914.00 $           0.00 $           868.98
                       California Dept. of Tax
     000159B           & Fee                     $            808.86 $            0.00 $            88.81
     000091B           JESSICA HENDRICKS $                   3,259.20 $           0.00 $           357.87
     000076B           BELINDA KWAN              $           3,371.44 $           0.00 $           370.19
     000130B           Nonprofit Finance Fund $          3,523,066.63 $           0.00 $       386,841.38
                       FRANCHISE TAX
     000167B           BOARD                     $            411.84 $            0.00 $            45.23




UST Form 101-7-NFR (10/1/2010) (Page: 12)
  Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                          Desc
                      Imaged Certificate of Notice Page 65 of 66




                                                     Allowed Amount      Interim Payment to
     Claim No.         Claimant                      of Claim            Date               Proposed Payment
                       Labor Commissioner of
     000137B           the State of          $           1,076,852.40 $              0.00 $         118,241.04
                Total to be paid to timely general unsecured creditors                $           2,075,260.02
                Remaining Balance                                                     $                    0.00


              Tardily filed claims of general (unsecured) creditors totaling $ 3,265.00 have been allowed and
     will be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured)
     claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus
     interest (if applicable).

                 Tardily filed general (unsecured) claims are as follows:

                                                     Allowed Amount      Interim Payment to
     Claim No.         Claimant                      of Claim            Date               Proposed Payment
                       TransPerfect Legal
     000154            Solutions                 $           3,265.00 $              0.00 $                0.00
                Total to be paid to tardy general unsecured creditors                 $                    0.00
                Remaining Balance                                                     $                    0.00


            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $ 65,804.63 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).

            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:

                                                     Allowed Amount      Interim Payment to
     Claim No.         Claimant                      of Claim            Date               Proposed Payment
                       INTERNAL REVENUE
     000158B           SERVICE          $                  62,569.23 $               0.00 $                0.00
                       California Dept. of Tax
     000159C           & Fee                     $           3,235.40 $              0.00 $                0.00
                Total to be paid to subordinated unsecured creditors                  $                    0.00
                Remaining Balance                                                     $                    0.00




UST Form 101-7-NFR (10/1/2010) (Page: 13)
  Case 2:19-bk-23085-BB Doc 273 Filed 10/14/23 Entered 10/14/23 21:15:37                                       Desc
                      Imaged Certificate of Notice Page 66 of 66




                                            Prepared By: /s/JASON M. RUND


     JASON M. RUND, TRUSTEE
     270 CORAL CIRCLE
     EL SEGUNDO, CA 90245


     STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
     Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-7-NFR (10/1/2010) (Page: 14)
